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                      IN THE UNITED STATES DISTRICT COURT FOR
                           THE MIDDLE DISTRICT OF FLORIDA
                                    Tampa Division

ROBERT L. VAZZO, LMFT, individually           )
and on behalf of his patients, DAVID H.       )
PICKUP, LMFT, individually and on             )      Civil Action No.:
behalf of his patients,                       )
                                              )
                       Plaintiffs,            )      INJUNCTIVE RELIEF SOUGHT
                                              )
v.                                            )
                                              )
CITY OF TAMPA, FLORIDA,                       )
                                              )
                       Defendant              )

            VERIFIED COMPLAINT FOR DECLARATORY, PRELIMINARY
              AND PERMANENT INJUNCTIVE RELIEF, AND DAMAGES

       For their VERIFIED COMPLAINT against Defendant CITY OF TAMPA, FLORIDA

(“City” or “Defendant”), ROBERT L. VAZZO, LMFT (“Vazzo”), and DAVID H. PICKUP,

LMFT (“Pickup”) (collectively “Plaintiffs”), by and through the undersigned counsel, allege and

aver as follows:

                                       INTRODUCTION

       1.      Since time immemorial, the relationship between clients and their licensed mental

health professionals has represented a sacred trust. In this vital relationship, mental health

professionals are tasked with providing essential care to their clients and forming critical

therapeutic alliances that represent the unique relationship between professional and client. This

therapeutic alliance is designed to facilitate the foundational principle of all mental health

counseling: the client’s fundamental right to self-determination. Throughout the history of this

learned profession, clients have provided mental health professionals with their goals, desires, and

objectives that conform to their sincerely held desires and concept of self, and mental health
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professionals have provided counseling that aligns with the clients’ right to self-determination.

That unique relationship has, until now, been protected, revered, and respected as sacrosanct and

inviolable. Now, the City of Tampa has seen fit to storm the office doors of mental health

professionals, thrust itself into the therapeutic alliance, violate the sacred trust between client and

counselor, and run roughshod over the fundamental right of client self-determination and the

counselor’s cherished First Amendment liberties. The City’s purported justification for such

unconscionable actions: it does not like the goals, objectives, or desires of certain clients when it

comes to one type of counseling. The First Amendment demands more, and the City’s actions have

caused, are causing, and will continue to cause irreparable injury to Plaintiffs’ fundamental and

cherished liberties.

       2.      Plaintiffs bring this civil action to challenge the constitutionality of Tampa City

Ordinance 2017-47, “An Ordinance Of The City Of Tampa, Florida, Relating To Conversion

Therapy On Patients Who Are Minors,” (“Ordinance” or “Ordinance 2017-47”) and to prevent the

Ordinance from violating their respective federal and state constitutional guarantees of Freedom

of Speech, Free Exercise of Religion, and the corresponding rights of their minor patients. This

law came into full effect immediately upon being approved by Mayor Bob Buckhorn on April 10,

2017, and thus time is of the essence to obtain judicial relief because Plaintiffs and their clients

have suffered, are currently suffering, and will continue to suffer immediate and irreparable injury

to their most cherished constitutional liberties.

       3.      Plaintiffs engage in licensed, ethical, and professional counseling that honors their

clients’ autonomy and right to self-determination, that permits clients to prioritize their religious

and moral values above unwanted same-sex sexual attractions, behaviors, or identities, and that

enables clients to align their values with a licensed counselor who can address these values.




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Plaintiffs have First Amendment and state constitutional rights as licensed counselors to engage in

and provide counseling consistent with their and their clients’ sincerely held religious beliefs, and

their clients have First Amendment and state constitutional rights to receive such counseling free

from the viewpoint-based intrusion of the City into the sacrosanct therapeutic alliance.

        4.      By preventing minors from seeking counseling to address the conflict about or

questions concerning their unwanted same-sex sexual attractions, behaviors, and identities and

from seeking to reduce or eliminate their unwanted same-sex sexual attractions, behaviors, or

identities through counseling, such as sexual orientation change efforts (“SOCE counseling”), the

Ordinance denies or severely impairs Plaintiffs’ clients and all minors their right to self-

determination, their right to prioritize their religious and moral values, and their right to receive

effective counseling consistent with those values.

        5.      By denying Plaintiffs’ clients and all minors access to counseling from licensed

counselors that can help minors who desire to reduce or eliminate their unwanted same-sex

attractions, behaviors, or identity, the Ordinance infringes on the fundamental rights of Plaintiffs’

clients, and the rights of the parents of Plaintiffs’ clients to direct the upbringing and education of

their children, which includes the right to meet each child’s individual counseling, developmental,

and spiritual needs.

        6.      By prohibiting them from engaging in any efforts that seek to eliminate or reduce

unwanted same-sex attractions, behaviors, or identity, even when the client, the parents, and the

licensed mental health professional all consent to such counseling, the Ordinance also violates the

Plaintiffs’ constitutional rights.




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       7.      Despite the value and benefit that Plaintiffs have provided by offering SOCE

counseling, the Ordinance prohibits SOCE counseling to minors by licensed professionals, which

is causing immediate and irreparable harm to Plaintiffs and Plaintiffs’ clients.

       8.      The Ordinance harms licensed counselors and their clients by prohibiting minors

and their parents from obtaining the counseling services they choose, after receiving full disclosure

and providing informed consent, to resolve, reduce, or eliminate unwanted same-sex sexual

attractions, behaviors, or identity and harms counselors by placing them in a Catch-22 in which

they will be forced to choose between violating ethical codes by complying with the Ordinance or

violating the law by failing to comply with the Ordinance.

       9.      By denying minors the opportunity to pursue a particular course of action that can

most effectively help them address the conflicts between their sincerely held religious beliefs and

goals to reduce or eliminate their unwanted same-sex attractions, behaviors, or identity, the

Ordinance is causing those minors confusion and anxiety over same-sex sexual attractions,

behaviors, and identity, and it is infringing on their free speech and religious liberty rights.

       10.     Plaintiffs seek preliminary and permanent injunctive relief against the City, its

agents, servants, departments, divisions, employees, and those acting in concert and with actual

notice, enjoining the enforcement of the Ordinance because it violates: (1) the rights of Plaintiffs

and their clients to freedom of speech and free exercise of religion, guaranteed by the First and

Fourteenth Amendments to the United States Constitution, (2) the rights of Plaintiffs to liberty of

speech and free exercise and enjoyment of religion, guaranteed by Article I, §§3, 4 of the Florida

Constitution, and (3) the Florida Patient’s Bill of Rights and Responsibilities, Fla. Stat. Ann.

§ 381.026.




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       11.     Plaintiffs also seek preliminary and permanent injunctive relief enjoining the City

from enforcing the Ordinance because the Ordinance is void ab initio as an ultra vires act in excess

of the City’s authority under Article VIII, Section 2(b) of the Florida Constitution.

       12.     Plaintiffs also pray for declaratory relief from this Court declaring that the

Ordinance, both on its face and as-applied, is an unconstitutional violation of the First and

Fourteenth Amendments to the United States Constitution and is void ab initio as an ultra vires

act in excess of the City’s authority under Article VIII, Section 2(b) of the Florida Constitution.

       13.     An actual controversy exists between the parties involving substantial

constitutional issues, in that the Ordinance, both facially and as-applied by the City, violates

Plaintiffs and their clients’ rights to free speech and free exercise under the First Amendment.

                                            PARTIES

       14.     Plaintiff, Robert L. Vazzo, LMFT, is a licensed marriage and family therapist and

is licensed to practice mental health counseling in California, Florida, Nevada, and Ohio.

       15.     Plaintiff, David H. Pickup, LMFT, is a licensed marriage and family therapist and

is licensed to practice mental health counseling in California and Texas, and is currently

undergoing the necessary requirements to obtain his license in Florida.

       16.     Defendant, City of Tampa, is a municipal corporation and political subdivision of

the State of Florida, with authority to sue and be sued.

                                 JURISDICTION AND VENUE

       17.     This action arises under the First and Fourteenth Amendments to the United States

Constitution and is brought pursuant to 42 U.S.C. § 1983. This action also arises under Article I,

§§ 3, 4 of the Florida Constitution.




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        18.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,

and 1367.

        19.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because the City is situated

in this judicial district, and a substantial part of the events or omissions giving rise to Plaintiffs’

claims occurred in this district.

        20.     This Court is authorized to grant declaratory judgment under the Declaratory

Judgment Act, 28 U.S.C. § 2201-02, implemented through Rule 57 of the Federal Rules of Civil

Procedure, and is authorized to grant injunctive relief pursuant to Rule 65 of the Federal Rules of

Civil Procedure.

        21.     This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs,

including a reasonable attorney’s fee, pursuant to 42 U.S.C. § 1988.

                                    GENERAL ALLEGATIONS

        A.      ORDINANCE 2017-46

        22.     On April 6, 2017, the City Council enacted Ordinance 2017-47. A copy of the

Ordinance is attached hereto as EXHIBIT A and incorporated herein.

        23.     On April 10, 2017, Mayor Bob Buckhorn signed and approved the Ordinance.

        24.     The Ordinance immediately went into effect upon its adoption and approval. (See

Exhibit A at 7, § 11) (“this Ordinance shall take effect immediately upon its adoption”).

        25.     Section 5 of the Ordinance states that “[i]t shall be unlawful for any Provider to

practice conversion therapy efforts on any individual who is a minor regardless of whether the

Provider receives monetary compensation in exchange for such services.” (Ex. A at 6, § 5).

        26.     Section 4 of the Ordinance defines “conversion therapy efforts” (“SOCE

counseling”) as:




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        any counseling, practice, or treatment performed with the goal of changing an
        individual’s sexual orientation or gender identity, including, but not limited to,
        efforts to change behaviors, gender identity, or gender expression, or to eliminate
        or reduce sexual or romantic attractions or feelings toward individuals of the same
        gender or sex. Conversion therapy does not include counseling that provides
        assistance to a person undergoing gender transition or counseling that provides
        acceptance, support, and understanding of a person or facilitates a person’s coping,
        social support, and development, including sexual orientation-neutral interventions
        to prevent or address unlawful conduct or unsafe sexual practices, as long as such
        counseling does not seek to change sexual orientation or gender identity.

(Ex. A at 5, § 4(a)).

        27.     Section 4 of the Ordinance defines “Provider” as:

        any person who is licensed by the State of Florida to provide professional
        counseling, or who performs counseling as part of his or her professional
        training . . . including but not limited to medical practitioners, osteopathic
        practitioners, psychologists, psychotherapists, social workers, marriage and family
        therapists, and licensed counselors.

(Ex. A at 6, § 4(c)).

        28.     The Ordinance states that all purported violations of this Ordinance constitute a

separate offense, that the fine for the first offense is $1,000.00 and for each and every subsequent

violation the fine is $2,000.00.

        B.      RESEARCH ON SOCE COUNSELING

        29.     The Ordinance cites the Report of the 2009 American Psychological Association’s

Task Force on Appropriate Therapeutic Responses to Sexual Orientation (“APA Report”) for the

proposition that SOCE counseling is harmful. (Ex. A at 1).

        30.     The City intentionally misrepresents the findings of the APA Report and ignores

the substantial limitations the APA Report noted extensively throughout its findings. A copy of

the APA Report is attached hereto as EXHIBIT B and incorporated herein.




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        31.     Despite the City’s claims that SOCE counseling was found to be harmful to minors,

the APA Report specifically noted that “sexual orientation issues in children are virtually

unexamined.” (Ex. B at 91) (emphasis added).

        32.     The APA Report stated that “[t]here is a lack of published research on SOCE among

children.” (Id. at 72).

        33.     The APA Report also noted that it could make no conclusions about SOCE

counseling for those adolescents who request such counseling. (Id. at 73) (“We found no empirical

research on adolescents who request SOCE.”); (id. at 76) (noting that its conclusions are not based

on specific studies from individuals, including minors, who request SOCE counseling and stating

that its conclusions were thus necessarily limited).

        34.     The APA Report also concluded that “there is a dearth of scientifically sound

research on the safety of SOCE. Early and recent research studies provide no clear indication

of the prevalence of harmful outcomes.” (Id. at 42) (emphasis added).

        35.     But, from the research the APA Report examined, it found evidence of benefits

achieved from SOCE counseling, while noting that there was “some” evidence of certain harm for

others. (Id. at 91).

        36.     Because it noted that there was evidence of benefits for some, the APA Report

concluded that “it is still unclear which techniques or methods may or may not be harmful.” (Id.).

        37.     The APA Report also specifically noted that “for some, sexual orientation identity

[is] fluid or has an indefinite outcome.” (Id. at 2).

        38.     In fact, the APA Report found among its studies that “[s]ome individuals report that

they went on to lead outwardly heterosexual lives, developing a sexual relationship with an other-

sex partner, and adopting a heterosexual identity.” (Id. at 3).




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          39.   The APA Report therefore does not support the City’s purported premise for

adopting the Ordinance.

          40.   Dr. Nicolas Cummings, former president of the American Psychological

Association, has also noted that SOCE counseling can provide enormous benefits. A copy of Dr.

Cummings article discussing SOCE counseling is attached hereto as EXHIBIT C and incorporated

herein.

          41.   Dr. Cummings noted that the City’s premise for adopting the Ordinance is

damaging and incorrect. (See Ex. C. at 1) (“The sweeping allegation that [SOCE counseling] must

be a fraud because homosexual orientation can’t be changed is damaging.”).

          42.   Dr. Cummings personally counseled countless individuals in his years of mental

health practice, and he reported that hundreds of those individuals seeking to reduce or eliminate

their unwanted same-sex attractions, behaviors, or identity were successful. (Id.) (“Of the patients

I oversaw who sought to change their orientation, hundreds were successful.” (emphasis added)).

          43.   Dr. Cummings said that the assertion that same-sex sexual attractions, behaviors,

or identity is one identical inherited characteristic is unsupported by scientific evidence and that

“contending that all same-sex attraction is immutable is a distortion of reality.” (Id. at 2)

(emphasis added).

          44.   Dr. Cummings went on to criticize efforts to prohibit SOCE counseling as violative

of the client’s right to self-determination and therapeutic choice. (Id.) (“Attempting to characterize

all sexual reorientation therapy as unethical violates patient choice and gives an outside party a

veto over patients’ goals for their own treatment.”).

          45.   Dr. Cummings concluded that “[a] political agenda shouldn’t prevent gays and

lesbians who desire to change from making their own decisions.” (Id.).




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       46.     Dr. Cummings concluded by condemning political efforts to prohibit SOCE

counseling as harmful to clients and counselors. (Id.) (“Whatever the situation at an individual

clinic, accusing professionals from across the country who provide treatment to fully informed

persons seeking to change their sexual orientation of perpetrating a fraud serves only to stigmatize

the professional and shame the patient.” (emphasis added)).

       47.     The American College of Pediatricians has noted that the political position

statements of numerous mental health organizations, including many relied upon by the City here,

have “no firm basis” in evidentiary support. A copy of the American College of Pediatricians

statement on SOCE counseling is attached hereto as EXHIBIT D and incorporated herein.

       48.     The American College of Pediatricians noted that, “[t]he scientific literature,

however, is clear: Same-sex attractions are more fluid than fixed, especially for adolescents—

many of whom can and do change.” (Ex. D) (emphasis added).

       49.     The American College of Pediatricians also noted that “there is a body of literature

demonstrating a variety of positive outcomes from SOCE.” (Id.).

       50.     Like Dr. Cummings, the American College of Pediatricians concluded that SOCE

counseling is beneficial and that laws, such as the Ordinance here, that prohibits such counseling

serve only to impose harm on minors who seek it. (Id.) (“Banning change therapy or SOCE will

threaten the health and well-being of children wanting therapy.”).

       C.      CURRENT ETHICAL OBLIGATIONS PROTECTING MINOR CLIENTS
               IN MENTAL HEALTH COUNSELING.

       51.     The Ordinance falsely asserts that there no other effective means, including state

statutes, to protect minors from the purported harms of SOCE counseling. (Ex. A at 4).




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       52.     Licensed marriage and family therapists, such as Vazzo and Pickup, are already

prohibited by law from engaging in false, deceptive, or misleading advertisements relating to their

practice of marriage and family therapy. Fla. Stat. Ann. § 491.009(1)(d).

       53.     Licensed marriage and family therapists, such as Vazzo and Pickup, are already

prohibited from “[m]aking misleading, deceptive, untrue, or fraudulent representations in the

practice of any profession licensed, registered, or certified” by Florida’s Marriage and Family

Therapy Board. Fla. Stat. Ann. § 491.009(1)(l).

       54.     Licensed marriage and family therapists, such as Vazzo and Pickup, are already

prohibited by law from engaging in any practice that is harmful to clients or patients, such as

“[f]ailing to meet minimum standards of performance in professional activities when measured

against generally prevailing peer performance.” Fla. Stat. Ann. 491.009(1)(r).

       55.     Licensed marriage and family therapists, such as Vazzo and Pickup, are already

prohibited by law from violating other ethical regulations governing the practice of marriage and

family therapy. Fla. Stat. Ann. § 491.001(1)(t).

       56.     Failure of licensed marriage and family therapists, such as Vazzo and Pickup, to

abide by the legal requirements imposed upon them by Florida law or other ethical regulations

subjects them to significant fines, suspension of licensing, and permanent revocation of licensing

depending on the nature and extent of the violation. Fla. Admin. Code § 64B4-5.001.

       57.     Other ethical regulations imposed upon marriage and family therapists, such as the

American Association of Marriage and Family Therapists Code of Ethics (“AAMFT Code”),

prohibit licensed marriage and family therapists from engaging in practices that harm clients or

patients, and also prohibit them from refusing to recognize their clients’ right to self-determination

and informed consent.




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       58.     Standard 1 of the AAMFT Code requires that licensed marriage and family

therapists, such as Vazzo and Pickup, “advance the welfare of families and individuals and make

reasonable efforts to find the appropriate balance between conflicting goals.”

       59.     Standard 1.1 of the AAMFT Code prohibits licensed marriage and family

therapists, such as Vazzo and Pickup, from discriminating against clients based on their sexual

orientation or gender identity.

       60.     Standard 1.2 of the AAMFT Code mandates that licensed marriage and family

therapists, such as Vazzo and Pickup, obtain “appropriate informed consent to therapy or related

procedures” and that they inform the clients regarding all information necessary for the client to

make such a decision.

       61.     Standard 1.8 of the AAMFT Code requires licensed marriage and family therapists,

such as Vazzo and Pickup, to “respect the rights of clients to make decisions and help them

understand the consequences of these decisions.”

       62.     Standard 1.9 of the AAMFT Code prohibits licensed marriage and family

therapists, such as Vazzo and Pickup, from continuing any therapeutic relationship if it becomes

reasonably clear that the clients are not benefitting from the relationship.

       63.     Thus, under existing Florida law regulating licensed mental health counselors and

the other ethical obligations imposed upon such counselors, the City’s stated rationale for adopting

the Ordinance is demonstrably fallacious and unsupported by any government interest.

       D.      PLAINTIFF ROBERT L. VAZZO, LMFT

       64.     Plaintiff, Robert L. Vazzo, LMFT, is a licensed marriage and family therapist and

is licensed to practice mental health counseling in California, Florida, Nevada, and Ohio. Vazzo

is also a Licensed Professional Counselor in California.




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        65.     Vazzo received his Master of Marriage and Family Therapy from the University of

Southern California in 2004. He is a member of the American Association of Marriage & Family

Therapists, the California Association of Marriage and Family Therapists, the Alliance for

Therapeutic Choice, and the National Task Force for Therapeutic Equality.

        66.     In his current practice, Vazzo specializes in SOCE counseling, including the areas

of unwanted same-sex attractions, pedophilia, hebephilia, ephebophilia, and transvestic fetishism.

His practice includes approximately 17-25 clients each week and ten percent of those clients are

minors seeking SOCE counseling.

        67.     Prior to engaging in SOCE counseling with any client, Vazzo provides them with

an extensive informed consent form and requires them to review and sign it prior to commencing

SOCE counseling. This informed consent form outlines the nature of SOCE counseling, explains

the controversial nature of SOCE counseling, including the fact that some therapists do not believe

sexual orientation can or should be changed, and informs the client of the potential benefits and

risks associated with SOCE counseling.

        68.     Many of Vazzo’s clients who desire SOCE counseling profess to be Christians with

a sincerely held religious belief that homosexuality is harmful and destructive and therefore seek

SOCE counseling in order to live a lifestyle that is in congruence with their faith and to conform

their identity, concept of self, attractions, and behaviors to their sincerely held religious beliefs.

        69.     Vazzo has never received any complaint or report of harm from any of his clients

seeking and receiving SOCE counseling, including the many minors that he has counseled. In fact,

all of Vazzo’s clients who have engaged in SOCE counseling for at least one year have experienced

some degree of positive change with respect to their unwanted same-sex attractions, behaviors, or

identity.




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        70.    Vazzo does not coerce his clients into engaging in SOCE counseling, but respects

the clients’ right of self-determination and treats each client with unconditional positive respect

regardless of the client’s concept of self or feelings of unwanted same-sex attractions, behaviors,

or identity.

        71.    Vazzo has had many clients who decided that their same-sex attractions were not

unwanted. Even though they knew his personal views about the effectiveness of SOCE counseling

for unwanted same-sex attractions, behaviors, or identity, they chose to remain in counseling with

him because of the fact that his counseling has helped them in dealing with other issues and has

been an extremely positive experience and helpful for their concept of self.

        72.    Vazzo has had numerous clients in Florida, provides counseling to clients in

Florida, and constantly receives inquiries from all over the State concerning SOCE counseling.

        73.    Vazzo has been contacted by individuals in the City who desire to discuss and

engage in SOCE counseling with Vazzo.

        74.    Vazzo currently has a minor client who is fifteen years old and desires SOCE

counseling from Vazzo in the City. Vazzo’s client desires to receive SOCE counseling from a

licensed professional counselor with expertise in this particular area.

        75.    Vazzo’s client struggles with unwanted same-sex attractions, behaviors, and

identity and desires to engage in SOCE counseling with Vazzo to assist is helping to reduce or

eliminate those unwanted same-sex attractions, behaviors, and identity.

        76.    Vazzo is prohibited from engaging SOCE counseling with his minor client because

of the Ordinance, and his client is currently prohibited from receiving such counseling from a

licensed professional.




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E.     PLAINTIFF DAVID H. PICKUP, LMFT

       77.     Plaintiff, David H. Pickup, LMFT, is a licensed marriage and family therapist and

is licensed to provide mental health counseling in California and Texas. Pickup is also currently

seeking licensure in Florida and is currently engaged in the process required for licensure as a

marriage and family therapist in Florida.

       78.     Pickup has a Master of Arts degree in Counseling Psychology. He is a member of

the National Association of Research and Therapy of Homosexuality (“NARTH”), where he

served as the Chairman of the NARTH Clients Rights Committee; a member of the California

Association of Marriage and Family Therapists; an associate member of the American

Psychological Association; the Co-founder of the National Task Force for Therapy Equality; and

a member of the American Association of Christian Counselors.

       79.     In his professional practice, Pickup specializes in providing heterosexual minors

and adults with authentic Reparative Therapy, which includes the psychological industry standards

of Psychodynamic, Cognitive-Behavioral and EMDR methods to help them reduce or eliminate

unwanted same-sex attractions, behaviors, or identity due to emotional and/or sexual abuse during

childhood and beyond. The specific therapy that Pickup specializes in would fall under the

category of SOCE counseling prohibited by the Ordinance.

       80.     Pickup has particular expertise and experience in the area of SOCE counseling and

received and benefitted from counseling that would fall under the City’s definition of SOCE

counseling.

       81.     Pickup’s practice arises from personal experience and success with reparative

therapy for unwanted same-sex attractions, behavior, or identity. When he was 5 years old, he was

sexually molested by a 16-year-old high school boy. As a child, he also suffered severe emotional




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abuse at the hands of other children. When he reached puberty and for many years after it, he was

sexually attracted to men. For all of those years, he carried a feeling of immense and crushing

shame for his same-sex attractions.

       82.     For 20 years following puberty, Pickup became clinically depressed twice, dealt

with tremendous anxiety, experienced obsessive compulsive disorder, and knew that he was very

confused about his sexual orientation and gender identity. In the latter years of that 20-year period,

Pickup found a course of counseling that was tremendously helpful to his mental health issues.

Pickup engaged in authentic Reparative Therapy with the late Dr. Joseph Nicolosi, which is a form

of counseling that would be considered SOCE counseling under the City’s Ordinance.

       83.     Pickup participated in Dr. Nicolosi’s counseling for many years and credits it with

saving his life. This counseling, a form of SOCE counseling, helped him get rid of the shame that

he had for experiencing same-sex attractions and led to the dissipation of his same-sex attraction.

Dr. Nicolosi’s counseling helped Pickup solidify his gender identity, which resulted in a profound

increase in his self-confidence as a man and in his self-esteem.

       84.     Dr. Nicolosi’s counseling allowed Pickup to understand the nature and source of

his same-sex attractions and allowed him to do the deep emotional work that he needed to do to

understand those unwanted feelings. As part of the counseling, Pickup learned the importance of

healthy male relationships and his sexual attractions to women increased.

       85.     Pickup saw a real and profound change in his sexuality that resulted from Dr.

Nicolosi’s counseling, and he pursued training to offer others the chance to achieve the profound

and live-saving assistance he found in such counseling.

       86.     Many of Pickup’s clients who desire SOCE counseling profess to be Christians

with a sincerely held religious belief that homosexuality is harmful and destructive. They seek




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SOCE counseling in order to live a lifestyle that is in congruence with their faith, and to conform

their identity, concept of self, attractions, and behaviors to their sincerely held religious beliefs.

        F.      IRREPARABLE HARM TO VAZZO, PICKUP AND THEIR CLIENTS.

        87.     Vazzo and Pickup have incurred monetary expense to lease office space in the City

to offer and provide SOCE counseling to clients in the City, including minors.

        88.     Consistent with his First Amendment rights, Vazzo desires to advertise his

counseling, including SOCE counseling, to clients and potential clients in the City, including

minors. When he finishes his licensing requirements, Pickup desires to advertise his counseling,

including SOCE counseling, to clients and potential clients in the City, including minors.

        89.     Consistent with his First Amendment rights, Vazzo desires to offer his counseling,

including SOCE counseling, to clients and potential clients in the City, including minors. When

he finishes his licensing requirements, Pickup desires to offer his counseling, including SOCE

counseling, to clients and potential clients in the City, including minors.

        90.     Consistent with his First Amendment rights, Vazzo desires to provide his

counseling, including SOCE counseling, to clients and potential clients in the City, including

minors. When he finishes his licensing requirements, Pickup desires to provide his counseling,

including SOCE counseling, to clients and potential clients in the City, including minors.

        91.     Consistent with their First Amendment rights, Vazzo and Pickup would like to be

able to inform religious leaders, organizations, and ministries that there is help from licensed

mental health professionals with expertise in this area and that it is available to individuals desiring

assistance in the area of unwanted same-sex attractions, behaviors, and identity.

        92.     Both Vazzo and Pickup have received inquiries from various potential clients in the

City, including minors, who desire to receive SOCE counseling.




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        93.     Because of the Ordinance, Vazzo and Pickup are prohibited from advertising SOCE

counseling to clients and potential clients, including minors, in the City.

        94.     Because of the Ordinance, Vazzo and Pickup are prohibited from offering SOCE

counseling to clients and potential clients, including minors, in the City.

        95.     Because of the Ordinance, Vazzo and Pickup are prohibited from engaging in

SOCE counseling with clients and potential clients, including minors, in the City.

        96.     Because of the Ordinance, Vazzo and Pickup have been unable to take advantage

of the office space they lease in the City.

        97.     Because of the Ordinance, Vazzo and Pickup are restricted from engaging in

constitutionally protected speech, including advertising their SOCE counseling to clients and

potential clients in the City.

        98.     Because of the Ordinance, Vazzo and Pickup are prohibited from engaging in

constitutionally protected speech, including offering their SOCE counseling to clients and

potential clients in the City.

        99.     Because of the Ordinance, Vazzo and Pickup are prohibited from engaging in

constitutionally protected speech, including providing their SOCE counseling to clients and

potential clients in the City.

        100.    Because of the Ordinance, Vazzo and Pickup have been chilled in their

constitutionally protected expression.

        101.    Because of the Ordinance, Vazzo and Pickup are prohibited from engaging in

constitutionally protected speech, including providing their SOCE counseling to clients and

potential clients in the City in violation of their clients and potential clients’ First Amendment right

to receive information.




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        102.    Because of the Ordinance, Vazzo and Pickup have been and will be forced to deny

SOCE counseling to their clients and potential clients in violation of their and their clients’

sincerely held religious beliefs.

        103.    Because of the Ordinance, Vazzo and Pickup have been and will be forced to deny

SOCE counseling to their clients and potential clients in violation of the clients’ fundamental rights

to self-determination.

        104.    Because of the Ordinance, Vazzo is currently prohibited from providing SOCE

counseling to his minor client, who is fifteen years old and desires to obtain SOCE counseling

from a licensed professional with knowledge and expertise in this area.

        105.    Because of the Ordinance, Vazzo and Pickup have suffered, are suffering, and will

continue to suffer ongoing, immediate, and irreparable injury to their cherished First Amendment

rights to freedom of speech.

        106.    Because of the Ordinance, Vazzo and Pickup have suffered, are suffering, and will

continue to suffer ongoing, immediate, and irreparable injury to their cherished First Amendment

rights to free exercise of religion.

        107.    Because of the Ordinance, Vazzo and Pickup’s clients have suffered, are suffering,

and will continue to suffer ongoing, immediate, and irreparable injury to their cherished First

Amendment rights to receive information.

        108.    Because of the Ordinance, Vazzo’s current minor client, who if fifteen years old, is

currently prohibited from receiving the SOCE counseling that the client desires to obtain from a

licensed professional with expertise in this area.




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        109.   Vazzo’s minor client has thus suffered, is suffering, and will continue to suffer

ongoing, immediate, and irreparable injury to the client’s cherished First Amendment rights to

receive information.

        110.   Because of the Ordinance, Vazzo and Pickup’s clients have suffered, are suffering,

and will continue to suffer ongoing, immediate, and irreparable injury to their cherished First

Amendment rights to free exercise of religion.

        111.   Vazzo, Pickup, and their clients and potential clients have no adequate remedy at

law to protect the ongoing, immediate, and irreparable injury to their cherished First Amendment

liberties.

  COUNT I – ORDINANCE 2017-47 VIOLATES PLAINTIFFS’ RIGHT TO FREEDOM
               OF SPEECH UNDER THE FIRST AMENDMENT.

        112.   Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

        113.   The Free Speech Clause of the First Amendment to the United States Constitution,

as applied to the states by the Fourteenth Amendment, prohibits Defendant from abridging

Plaintiffs’ freedom of speech.

        114.   Ordinance 2017-47, on its face and as applied, is an unconstitutional prior restraint

on Plaintiffs’ speech.

        115.   Ordinance 2017-47, on its face and as applied, unconstitutionally discriminates on

the basis of viewpoint.

        116.   Ordinance 2017-47, on its face and as applied, authorizes only one viewpoint on

SOCE counseling and unwanted same-sex sexual attractions, behaviors, and identity by forcing

Plaintiffs to present only one viewpoint on the otherwise permissible subject matter of same-sex

attractions, behaviors, or identity. The Ordinance also forces Plaintiffs’ clients and their parents to

receive only one viewpoint on this otherwise permissible subject matter.



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       117.    Ordinance 2017-47, on its face and as applied, discriminates against Plaintiffs’

speech on the basis of the content of the message they offer and that Plaintiffs’ clients seek to

receive.

       118.    Defendant lacks a compelling, legitimate, significant, or even rational

governmental interest to justify Ordinance 2017-47’s infringement of the right to free speech.

       119.    Ordinance 2017-47, on its face and as applied, is not the least restrictive means to

accomplish any permissible government purpose sought to be served by the law.

       120.    Informed consent provisions outlining the required disclosure prior to engaging in

SOCE counseling with a minor would have been far less restrictive of Plaintiff’s speech, and

mental health counseling organizations have written letters in the past with similar legislation

urging that the legislature adopt informed consent provisions. A copy of the California mental

health organizations letter to the California legislature concerning legislation virtually identical to

Ordinance 2017-47 is attached as EXHIBIT E and incorporated herein.

       121.    Ordinance 2017-47 does not leave open ample alternative channels of

communication for Plaintiffs.

       122.    Ordinance 2017-47, on its face and as applied, is irrational and unreasonable and

imposes unjustifiable and unreasonable restrictions on constitutionally protected speech.

       123.    Ordinance 2017-47, on its face and as applied, unconstitutionally chills and

abridges the right of Plaintiffs to freely communicate information pertaining to unwanted same-

sex sexual attractions, behaviors, or identity.

       124.    Ordinance 2017-47, on its face and as applied, unconstitutionally chills and

abridges the right of Plaintiffs’ clients to freely receive information pertaining to unwanted same-

sex sexual attractions, behaviors, or identity.




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        125.    Ordinance 2017-47’s prohibition on licensed mental health counselors offering

SOCE counseling that could change, reduce, or otherwise address a minor client’s unwanted same-

sex attractions, behaviors, or identity, which would include a referral to someone who offers SOCE

counseling, on its face and as applied, abridges Plaintiffs’ right to offer and Plaintiffs’ clients right

to receive information.

        126.    Ordinance 2017-47 vests unbridled discretion in government officials, including

Defendant, to apply or not apply the Ordinance in a manner to restrict free speech, and subjects

Plaintiffs to ethical code violations.

        127.    Ordinance 2017-47, on its face and as applied, is impermissibly vague as it requires

licensed professionals subject to its dictates and government officials tasked with enforcing it to

guess at its meaning and differ as to its application.

        128.    Ordinance 2017-47, on its face and as applied, is under-inclusive by limiting the

prohibition on using SOCE counseling to minors.

        129.    Ordinance 2017-47, on its face and as applied, is unconstitutionally overbroad as it

chills and abridges the free speech rights of all licensed mental health providers in the City of

Tampa who use counseling techniques to provide assistance to a minor seeking to reduce or

eliminate his or her unwanted same-sex attractions, behaviors, or identity and does not leave open

alternative methods of communication.

        130.    On its face and as applied, Ordinance 2017-47’s violation of Plaintiffs’ rights of

free speech has caused, is causing, and will continue to cause Plaintiffs and their clients to suffer

undue and actual hardship and irreparable injury.

        131.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

their most cherished constitutional liberties.




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        WHEREFORE, Plaintiffs respectfully pray for the relief against Defendant as hereinafter

set forth in their prayer for relief.

    COUNT II – ORDINANCE 2017-47 VIOLATES PLAINTIFFS’ CLIENTS’ FIRST
              AMENDMENT RIGHT TO RECEIVE INFORMATION

        132.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

        133.    The First Amendment, as applied to the states by the Fourteenth Amendment,

protects an individual’s freedom of speech, and the corollary to that right, the right to receive

information.

        134.    To withstand constitutional scrutiny, restrictions on the fundamental right of

Plaintiffs’ clients to receive information must be supported by a compelling government interest

and must be narrowly tailored to meet that end.

        135.    Plaintiffs’ clients have sincerely held religious beliefs that shape their desire to

receive SOCE counseling and the information that Plaintiffs can provide on reducing or

eliminating unwanted same-sex attractions, behaviors, and identity.

        136.    Ordinance 2017-47 prevents Plaintiffs’ clients from receiving SOCE counseling

and deprives them of the opportunity to even obtain the information about SOCE counseling from

a licensed mental health professional in the City.

        137.    Ordinance 2017-47 is not supported by a compelling government interest.

        138.    Even if Ordinance 2017-47 were supported by a compelling government interest, it

is not narrowly tailored to achieve that purpose and therefore violates the fundamental rights of

Plaintiffs’ clients to receive information.

        139.    Ordinance 2017-47’s violation of the fundamental rights of Plaintiffs’ clients has

caused, is causing, and will continue to cause undue and actual hardship and irreparably injury.




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        140.    Plaintiffs’ clients have no adequate remedy at law to correct the continuing

deprivation of their most cherished constitutional liberties.

        WHEREFORE, Plaintiffs pray for the relief against Defendant as hereinafter set forth in

their prayer for relief.

    COUNT III – ORDINANCE 2017-47 VIOLATES PLAINTIFFS’ RIGHT TO FREE
                         EXERCISE OF RELIGION

        141.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

        142.    The Free Exercise Clause of the First Amendment to the United States Constitution,

as applied to the states by the Fourteenth Amendment, prohibits Defendant from abridging

Plaintiffs’ right to free exercise of religion.

        143.    Many of Plaintiffs’ clients have sincerely held religious beliefs that same-sex sexual

attractions, behaviors, or identity are wrong, and they seek to resolve these conflicts between their

religious beliefs and their attractions in favor of their religious beliefs.

        144.    Plaintiffs also have sincerely held religious beliefs to provide spiritual counsel and

assistance to their clients who seek such counsel. Plaintiffs hold sincerely held religious beliefs

that they should counsel clients on the subject matter of same-sex attractions, behaviors, or identity

from a religious viewpoint that aligns with their religious beliefs and those of their clients.

        145.    Ordinance 2017-47, on its face and as applied, targets Plaintiffs’ and their clients’

beliefs regarding human nature, gender, ethics, morality, and SOCE counseling, which are

informed by the Bible and constitute central components of their sincerely held religious beliefs.

Ordinance 2017-47 causes them a direct and immediate conflict with their religious beliefs by

prohibiting them from offering, referring, and receiving counseling that is consistent with their

religious beliefs.




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        146.    Ordinance 2017-47, on its face and as applied, has impermissibly burdened

Plaintiffs’ and their clients’ sincerely held religious beliefs and compels them to both change those

religious beliefs and to act in contradiction to them.

        147.    Ordinance 2017-47, on its face and as applied, is neither neutral nor generally

applicable, but rather specifically and discriminatorily targets the religious speech, beliefs, and

viewpoint of those individuals who believe change is possible, and thus expressly on its face and

as applied constitutes a substantial burden on sincerely held religious beliefs that are contrary to

the City-approved viewpoint on same-sex attractions, behavior, or identity.

        148.    The City’s alleged interest in protecting minors from the so-called harm of SOCE

counseling is unsubstantiated and does not constitute a compelling government interest.

        149.    No compelling government interest justifies the burdens Defendant imposes upon

Plaintiffs and their clients’ rights to the free exercise of religion.

        150.    Even if Ordinance 2017-47’s provisions were supported by a compelling

government interest, they are not the least restrictive means to accomplish any permissible

government purpose which Ordinance 2017-47 seeks to serve.

        151.    On its face and as applied, Ordinance 2017-47’s violation of Plaintiffs’ and their

clients’ rights to free exercise of religion has caused, is causing, and will continue to cause

Plaintiffs and their clients to suffer undue and actual hardship and irreparable injury.

        152.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

their most cherished constitutional liberties.

        WHEREFORE, Plaintiffs respectfully pray for the relief against Defendant as hereinafter

set forth in their prayer for relief.




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 COUNT IV – ORDINANCE 2017-47 VIOLATES PLAINTIFFS’ RIGHTS TO LIBERTY
 OF SPEECH UNDER ARTICLE 1, SECTION 4 OF THE FLORIDA CONSTITUTION

       153.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

       154.    Article I, §4 of the Constitution of the State of Florida states, “Every person may

speak, write and publish sentiments on all subjects but shall be responsible for the abuse of that

right. No law shall be passed to restrain or abridge the liberty of speech or of the press.”

       155.    Ordinance 2017-47, on its face and as applied, is an unconstitutional prior restraint

on Plaintiffs’ speech.

       156.    Ordinance 2017-47, on its face and as applied, unconstitutionally discriminates on

the basis of viewpoint.

       157.    Ordinance 2017-47, on its face and as applied, authorizes only one viewpoint on

SOCE counseling and unwanted same-sex sexual attractions, behaviors, and identity by forcing

Plaintiffs to present only one viewpoint on the otherwise permissible subject matter of same-sex

attractions, behaviors, or identity.The Ordinance also forces Plaintiffs’ clients to receive only one

viewpoint on this otherwise permissible subject matter.

       158.    Ordinance 2017-47, on its face and as applied, discriminates against Plaintiffs’

speech on the basis of the content of the message they offer or that Plaintiffs’ clients seek to

receive.

       159.    Defendant lacks a compelling, legitimate, significant, or even rational

governmental interest to justify Ordinance 2017-47’s infringement of the right to free speech.

       160.    Ordinance 2017-47, on its face and as applied, is not the least restrictive means to

accomplish any permissible government purpose sought to be served by the law.

       161.    Informed consent provisions outlining the required disclosure prior to engaging in

SOCE counseling with a minor would have been far less restrictive of Plaintiff’s speech, and



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mental health counseling organizations have written letters in the past with similar legislation

urging that the legislature adopt informed consent provisions. (See Ex. E).

        162.    Ordinance 2017-47 does not leave open ample alternative channels of

communication for Plaintiffs.

        163.    Ordinance 2017-47, on its face and as applied, is irrational and unreasonable and

imposes unjustifiable and unreasonable restrictions on constitutionally protected speech.

        164.    Ordinance 2017-47, on its face and as applied, unconstitutionally chills and

abridges the right of Plaintiffs to freely communicate information pertaining to unwanted same-

sex sexual attractions, behaviors, or identity.

        165.    Ordinance 2017-47, on its face and as applied, unconstitutionally chills and

abridges the right of Plaintiffs’ clients to freely receive information pertaining to unwanted same-

sex sexual attractions, behaviors, or identity.

        166.    Ordinance 2017-47’s prohibition on licensed mental health counselors offering

SOCE counseling that could change, reduce, or otherwise address a minor client’s unwanted same-

sex attractions, behaviors, or identity, which would include a referral to someone who offers SOCE

counseling, on its face and as applied, abridges Plaintiffs’ right to offer and Plaintiffs’ clients’ right

to receive information.

        167.    Ordinance 2017-47 vests unbridled discretion in government officials, including

Defendant, to apply or not apply the Ordinance in a manner to restrict free speech, and subjects

Plaintiffs to ethical code violations.

        168.    Ordinance 2017-47, on its face and as applied, is impermissibly vague as it requires

licensed professionals subject to its dictates and government officials tasked with enforcing it to

guess at its meaning and differ as to its application.




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        169.    Ordinance 2017-47, on its face and as applied, is under-inclusive by limiting the

prohibition on using SOCE counseling to minors.

        170.    Ordinance 2017-47, on its face and as applied, is unconstitutionally overbroad as it

chills and abridges the free speech rights of all licensed mental health providers in the City of

Tampa who use counseling techniques that have the potential help a minor reduce or eliminate his

or her unwanted same-sex attractions, behaviors, or identity and does not leave open alternative

methods of communication.

        171.    On its face and as applied, Ordinance 2017-47’s violation of Plaintiffs’ rights of

free speech has caused, is causing, and will continue to cause Plaintiffs and their clients to suffer

undue and actual hardship and irreparable injury.

        172.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

their most cherished constitutional liberties.

        WHEREFORE, Plaintiffs respectfully pray for the relief against Defendant as hereinafter

set forth in their prayer for relief.

   COUNT V – ORDINANCE 2017-47 VIOLATES PLAINTIFFS’ RIGHT TO FREE
 EXERCISE AND ENJOYMENT OF RELIGION UNDER ARTICLE I, SECTION 3 OF
                    THE FLORIDA CONSTITUTION

        173.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

        174.    Article I, § 3 of the Florida Constitution states, “There shall be no law respecting

the establishment of religion or prohibiting or penalizing the free exercise thereof.”

        175.    Many of Plaintiffs’ clients have sincerely held religious beliefs that same-sex sexual

attractions, behaviors, or identity are wrong, and they seek to resolve these conflicts between their

religious beliefs and their attractions in favor of their religious beliefs.




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        176.    Plaintiffs also have sincerely held religious beliefs to provide spiritual counsel and

assistance to their clients who seek such counsel. Plaintiffs hold sincerely held religious beliefs

that they should counsel clients on the subject matter of same-sex attractions, behaviors, or identity

from a religious viewpoint that aligns with their religious beliefs and those of their clients.

        177.    Ordinance 2017-47, on its face and as applied, targets Plaintiffs and their clients’

beliefs regarding human nature, gender, ethics, morality, and SOCE counseling, which are

informed by the Bible and constitute central components of their sincerely held religious beliefs.

Ordinance 2017-47 will cause them a direct and immediate conflict with their religious beliefs by

prohibiting them from offering, referring, and receiving counseling that is consistent with their

religious beliefs.

        178.    Ordinance 2017-47, on its face and as applied, has impermissibly burdened

Plaintiffs’ and their clients’ sincerely held religious beliefs and compels them to both change those

religious beliefs and to act in contradiction to them.

        179.    Ordinance 2017-47, on its face and as-applied, is neither neutral nor generally

applicable, but rather specifically and discriminatorily targets the religious speech, beliefs, and

viewpoint of those individuals who believe change is possible. The Ordinance,expressly on its face

and as applied, constitutes a substantial burden on sincerely held religious beliefs that are contrary

to the City-approved viewpoint on same-sex attractions, behavior, or identity.

        180.    The City’s alleged interest in protecting minors from the so-called harm of SOCE

counseling is unsubstantiated and does not constitute a compelling government interest.

        181.    No compelling government interest justifies the burdens Defendant imposes upon

Plaintiffs’ and their clients’ rights to the free exercise of religion.




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        182.    Even if Ordinance 2017-47’s provisions were supported by a compelling

government interest, they are not the least restrictive means to accomplish any permissible

government purpose which Ordinance 2017-47 seeks to serve.

        183.    On its face and as applied, Ordinance 2017-47’s violation of Plaintiffs’ and their

clients’ rights to free exercise of religion has caused, is causing, and will continue to cause

Plaintiffs and their clients to suffer undue and actual hardship and irreparable injury.

        184.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

their most cherished constitutional liberties.

        WHEREFORE, Plaintiffs respectfully pray for the relief against Defendant as hereinafter

set forth in their prayer for relief.

  COUNT VI – THE CITY HAD NO AUTHORITY TO ENACT ORDINANCE 2017-47
 AND ITS ADOPTION IS THUS ULTRA VIRES UNDER ARTICLE VIII, SECTION 2(B)
                    OF THE FLORIDA CONSTITUTION

        185.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

        186.    Article VIII, §2(b) of the Florida Constitution provides that “[m]unicipalities shall

have governmental, corporate and proprietary powers to enable them to conduct municipal

government, perform municipal functions and render municipal services, and may exercise any

power for municipal purposes except as otherwise provided by law.”

        187.    Fla. Stat. Ann. § 166.021(1) provides: “municipalities shall have the governmental,

corporate, and proprietary powers to enable them to conduct municipal government, perform

municipal functions, and render municipal services, and may exercise any power for municipal

purposes, except when expressly prohibited by law.”

        188.    Fla. Stat. Ann. § 166.021(2) defines “municipal purpose” as “any activity or power

which may be exercised by the state or its political subdivisions.”




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       189.    Fla. Stat. Ann. § 166.021(3)(c) states that the legislative body of each municipality

has the power to enact legislation concerning any subject matter upon which the state Legislature

may act, except “[a]ny subject expressly preempted to state or county government by the

constitution or by general law.”

       190.    As a municipality in the State of Florida, the City is limited to enacting ordinances

for “municipal purposes” as provided in Fla. Stat. Ann. § 166.021(2), but only to the extent that

said purposes do not seek to impose regulations on any subject that has been preempted by the

State of Florida.

       191.    The Legislature of the State of Florida has pre-empted the field of regulation of

mental health professionals, through enactment of Florida Statutes, Title XXXII, Chapter 491.

       192.    More particularly, the Legislature of the State of Florida has pre-empted the field

of disciplinary actions for licensed mental health professionals in Fla. Stat. Ann. § §491.009 and

the regulations promulgated thereunder, Fla. Admin. Code Ann. r. 64B-5001.

       193.    Fla. Admin. Code Ann. r. 64B-5001 sets forth procedures for determining whether

a licensed mental health professional in the State of Florida has engaged in conduct that is subject

to discipline, and establishes schedules of fees and penalties for said conduct.

       194.    The Legislature of the State of Florida has not prohibited the use of so-called

“conversion therapy” or SOCE counseling or otherwise included the use of such counseling in the

list of conduct that can subject a licensed mental health professional to disciplinary action under

Fla. Stat. Ann. §491.009 or Fla. Admin. Code Ann. r. 64B-5001.

       195.    In fact, in its capacity as the sole regulator of mental health professionals in the

State of Florida, the Legislature has specifically declined to adopt such restrictions on SOCE

counseling. Indeed, H.B. 137, 2016 Leg. (Fla. 2016) and S.B. 258 2016 Leg. (Fla. 2016), which




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were both proposals to prohibit SOCE counseling, were defeated in committee and thus not

adopted by the sole regulator of mental health professionals in Florida.

        196.    Ordinance 2017-47 prohibits licensed mental health professionals from practicing

a type of mental health counseling that is not prohibited by the state and that the state specifically

chose not prohibit when it had the opportunity.

        197.    The City had no authority to adopt any ordinance or provision that exceeded state

law in a preempted field, and its action is void ab initio as an ultra vires act in violation of the

Constitution of the State of Florida.

        198.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

their most cherished constitutional liberties.

        WHEREFORE, Plaintiffs respectfully pray for the relief against Defendant as hereinafter

set forth in their prayer for relief.

         COUNT VII – ORDINANCE 2017-47 VIOLATES PLAINTIFFS’ RIGHTS
   UNDER THE FLORIDA PATIENT’S BILL OF RIGHTS AND RESPONSIBILITIES

        199.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-111.

        200.    Plaintiffs’ clients have the “right to impartial access to medical treatment or

accommodations, regardless of . . . religion.” Fla. Stat. Ann. § 381.026(4)(d)(1).

        201.    Plaintiffs’ clients have the “right to access any mode of treatment that is, in his or

her own judgment and the judgment of his or her health care practitioner, in the best interests of

the patient, including complementary or alternative health care treatments, in accordance with the

provisions of § 456.41.” Fla. Stat. Ann. § 381.026(4)(d)(3).

        202.    Plaintiffs Vazzo and Pickup are “health care practitioners” under the Florida

Patient’s Bill of Rights and Responsibilities because they are health care practitioners under Fla.

Stat. Ann. § 456.41. See Fla. Stat. Ann. §456.41(2)(b) (defining “health care practitioner” as that



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terms is defined in Fla. Stat. Ann. § 456.001(4), which includes marriage and family therapist

licensed under Fla. Stat. Ann. § 491.003(5)).

        203.   Fla. Stat. Ann. § 456.41 states that “[i]t is the intent of the Legislature that citizens

be able to choose from all health care options, including the prevailing or conventional treatment

methods as well as other treatments designed to complement or substitute for the prevailing or

conventional treatment methods.” Fla. Stat. Ann. § 456.41(1).

        204.   Fla. Stat. Ann. § 456.41 states that “[i]t is the intent of the Legislature that health

care practitioners be able to offer complementary or alternative health care treatments.” Id.

        205.   “Complementary or alternative health care treatment means any treatment that is

designed to provide patients with an effective option to the prevailing or conventional treatments

methods.” Fla. Stat. Ann. § 456.41(2)(a) (emphasis added).

        206.   If SOCE counseling is considered “complementary or alternative health care

treatment,” Plaintiff have a right to offer and their clients have a right to receive such counseling

under Florida law.

        207.   Plaintiffs Vazzo and Pickup desire to offer SOCE counseling in the City to those

minor clients who desire such counseling and are seeking their expertise in engaging in such

counseling.

        208.   Plaintiffs Vazzo and Pickup comply with all requirements of Fla. Stat. Ann.

§ 456.41(3) by providing all required information to their clients prior to engaging in SOCE

counseling and obtaining informed consent from the client.

        209.   In Plaintiffs Vazzo and Pickup’s informed and best judgment SOCE counseling is

in the best interest of those clients experiencing unwanted same-sex attractions, behaviors, or

identity.




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         210.   In Plaintiffs’ clients’ informed and best judgment, SOCE counseling is in their best

interest.

         211.   By prohibiting SOCE counseling, the Ordinance violates Plaintiffs Vazzo and

Pickup’s right to offer SOCE counseling in compliance with Fla. Stat. Ann. § 381.026(d)(2) and

Fla. Stat. Ann. § 456.41.

         212.   By prohibiting SOCE counseling, the Ordinance violates Plaintiffs’ clients’ right to

receive SOCE counseling under Fla. Stat. Ann. § 381.026(d)(3).

         213.   Plaintiffs’ clients have sincerely held religious beliefs that they should seek

counseling to aid them in reducing or eliminating their unwanted same-sex attractions, behaviors,

and identity, and Plaintiffs Vazzo and Pickup have sincerely held religious beliefs that they should

offer such counseling to those clients who seek such counseling to conform their attractions,

behaviors, and identity to their sincerely held religious beliefs.

         214.   By prohibiting SOCE counseling, the Ordinance violates Plaintiffs’ clients’ right to

impartial access of medical treatment and accommodations based on their religious beliefs under

Fla. Stat. Ann. § 381.026(d)(1).

         WHEREFORE, Plaintiffs respectfully pray for the relief against Defendant as hereinafter

set forth in their prayer for relief.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief as follows:

    A.      That this Court issue a Preliminary Injunction enjoining Defendant, Defendant’s

officers, agents, employees, attorneys, and all other persons acting in active concert or participation

with it, from enforcing Ordinance 2017-47 so that:




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              i.   Defendant will not use Ordinance 2017-47 in any manner to infringe Plaintiffs’

                   constitutional and statutory rights in the counseling of their clients or from

                   offering a viewpoint on an otherwise permissible subject matter;

             ii.   Defendant will not use Ordinance 2017-47 in any manner to prohibit Plaintiffs

                   from engaging in SOCE counseling with those minor clients who seek such

                   counseling;

            iii.   Defendant will not use Ordinance 2017-47 to prohibit Plaintiffs’ clients from

                   seeking or receiving SOCE counseling for unwanted same-sex sexual

                   attractions, behaviors, or identity; and

             iv.   Defendant will not use Ordinance 2017-47 in any manner to punish Plaintiffs or

                   their clients for engaging, referring to, seeking, or receiving SOCE counseling.

   B.      That this Court issue a Permanent Injunction enjoining Defendant, Defendant’s

officers, agents, employees, attorneys, and all other persons acting in active concert or participation

with them, from enforcing Ordinance 2017-47 so that:

              i.   Defendant will not use Ordinance 2017-47 in any manner to infringe Plaintiffs’

                   constitutional and statutory rights in the counseling of their clients or from

                   offering a viewpoint on an otherwise permissible subject matter;

             ii.   Defendant will not use Ordinance 2017-47 in any manner to prohibit Plaintiffs

                   from engaging in SOCE counseling with those minor clients who seek such

                   counseling;

            iii.   Defendant will not use Ordinance 2017-47 to prohibit Plaintiffs’ clients from

                   seeking or receiving SOCE counseling for unwanted same-sex sexual

                   attractions, behaviors, or identity; and




                                                  35
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             iv.    Defendant will not use Ordinance 2017-47 in any manner to punish Plaintiffs or

                    their clients for engaging, referring to, seeking, or receiving SOCE counseling.

    C.      That this Court render a Declaratory Judgment declaring Ordinance 2017-47 and

Defendant’s actions in applying Ordinance 2017-47 unconstitutional under the United States

Constitution and Florida Constitution, and declaring that:

               i.   Defendant violated Plaintiffs’ and their clients’ right to freedom of speech by

                    prohibiting them from providing, referring to, seeking, or receiving information

                    concerning SOCE counseling;

            ii.     Defendant violated Plaintiffs’ and their clients’ right to free exercise of religion

                    by prohibiting Plaintiffs from providing, referring to, seeking, or receiving

                    information concerning SOCE counseling in accordance with their sincerely

                    held religious beliefs;

             iii.   Defendant acted without authority under Article VIII, § 2(b) of the Florida

                    Constitution, and that its ultra vires actions in adopting and approving Ordinance

                    2017-47 were thus void ab initio such that Ordinance 2017-47 is of no force and

                    effect;

             iv.    Defendant violated Fla. Stat. Ann. § 381.026(d)(3) by infringing Plaintiffs’ right

                    to offer, and their clients’ right to receive, available methods of treatment that

                    Plaintiffs and their clients believe are in their best interest; and

              v.    Defendant violated Fla. Stat. Ann. § 381.026(d)(1) by infringing Plaintiffs’

                    clients’ right to receive medical treatment regardless of their religious beliefs.

    D.      That this Court award Plaintiffs nominal damages for the violation of Plaintiffs’

constitutional rights.




                                                    36
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                                        VERIFICATION

       I, David H. Pickup, LFMT, am over the age of 18 and one of the Plaintiffs in this action.

The statements and allegations about me or which I make in this VERIFIED COMPLAINT are

true and correct, based upon my personal knowledge (unless otherwise indicated), and if called

upon to testify as to their truthfulness, I would and could do so competently. I declare under

penalties of perjury, under the laws of the United States, that the foregoing statements are true and

correct.



                           30th day of November, 2017
           Executed this _____




                                              David H. Pickup




                                                 39
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                   IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF FLORIDA
                                 Tampa Division

ROBERT L. VAZZO, LMFT, individually       )
and on behalf of his patients, DAVID H.   )
PICKUP, LMFT, individually and on         )   Civil Action No.:
behalf of his patients,                   )
                                          )
                    Plaintiffs,           )   INJUNCTIVE RELIEF SOUGHT
                                          )
v.                                        )
                                          )
CITY OF TAMPA, FLORIDA,                   )
                                          )
                    Defendant             )




                                   EXHIBIT A
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2
 I                                                ORDINANCE NO. 2017-                97
3                           AN ORDINANCE OF THE CITY OF TAMPA, FLORIDA,
4                           RELATING TO CONVERSION THERAPY ON PATIENTS
5                           WHO ARE MINORS, MAKING REVISIONS TO CITY OF
6                           TAMPA    CODE   OF   ORDINANCES, CHAPTER        14
7                           (OFFENSES); CREATING ARTICLE X, SECTIONS 14-310 -
8                           14-313;  AMENDING     CHAPTER      19   (PROPERTY
9                           MAINTENANCE     AND   STRUCTURAL      STAND ARDS);
10                          AMENDING SECTION l 9-4(a)(2), DEPARTMENT OF CODE
II                          ENFORCEMENT; DUTIES AND SCOPE OF AUTHORITY OF
12                          THE DIRECTOR; REPEALING ALL ORDINANCES OR
13                          PARTS OF ORDINANCES IN CONFLICT THEREWITH;
14                          PROVIDING FOR SEVERABILITY; PROVIDING AN
15                          EFFECTIVE DATE.
16
17
18                        WHEREAS, as recognized by major professional associations of mental
19
                  health practitioners and researchers in the United States and elsewhere for nearly 40
20
                  years, being lesbian, gay, bisexual, transgender or gender nonconfon11ing, or
21
                  questioning (LGBT or LGBTQ) is not a mental disease, disorder or illness,
22
                  deficiency or shortcoming; and
23
24
25                          WHEREAS, the American Academy of Pediatrics in 1993 published an
26                article in its Journal, stating: "Therapy directed at specifically changing sexual
27                orientation is contraindicated, since it can provoke guilt and anxiety while having
28                little or no potential for achieving changes in orientation;"' and
29
30                       WHEREAS, the American Psychiatric Association in December 1998
31                published its opposition to any psychiatric treatment, including reparative or
32                conversion therapy, which therapy regime is based upon the assumption that
33                homosexuality is a mental disorder per se or that a patient should change his or her
34                homosexual orientation;2 and
35
36                         WHEREAS, the American Psychological Association's Task Force on
37                Appropriate Therapeutic Responses to Sexual Orientation (" APA Task Force")
38                conducted a systematic review of peer-reviewed journal literature on Sexual
39                Orientation Change Efforts ("SOCE"), and issued its report in 2009, citing research
40                that sexual orientation change efforts can pose critical health risks to lesbian, gay, and
41
                  bisexual people, including confusion, depression, guilt, helplessness, hopelessness,
42
                  shame, social withdrawal, suicidality, substance abuse, stress, disappointment, self-
43
                  blame, decreased self-esteem and authenticity to others, increased self-hatred,
44
                  hostility and blame toward parents, feelings of anger and betrayal , loss of friends and
45
                  potential romantic partners, problems in sexual and emotional intimacy, sexual
46
47
48
49
       1
50         http://pediatrics.aappubl ications.orl!/content/pediatrics/92/4/63 1. full.pdf
       z https ://www.camft.org/ias/ images/PDFs/SOC E/ APA Pos ition Statemcnt.pdf



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 I              dysfunction, high-risk sexual behaviors, a feeling of being dehumanized and untrue to
 2              self, a loss of faith, and a sense of having wasted time and resources;3 and
 3
 4                      WHEREAS, following the report issued by the APA Task Force, the
 5              American Psychological Association in 2009 issued a resolution on Appropriate
 6              Affirmative Responses to Sexual Orientation Distress and Change Efforts, advising
 7              parents, guardians, young people, and their families to avoid sexual orientation
 8              change efforts that portray homosexuality as a mental illness or developmental
 9              disorder and to seek psychotherapy, social support, and educational services that
10
                provide accurate information on sexual orientation and sexuality, increase family and
11
                school support, and reduce rejection of sexual minority youth;4 and
12
13
                        WHEREAS, the American Psychoanalytic Association in June 2012 issued a
14
15              position statement on conversion therapy effo11s, articulating that "As with any
16              societal prejudice, bias against individuals based on actual or perceived sexual
17              orientation, gender identity or gender expression negatively affects mental health,
18              contributing to an enduring sense of stigma and pervasive self-criticism through the
19              internalization of such prejudice" and that psychoanalytic technique "does not
20              encompass purposeful attempts to 'convert,' ' repair,' change or shift an individual's
21              sexual orientation, gender identity or gender expression," such efforts being
22              inapposite to "fundamental principles of psychoanalytic treatment and often result in
23              substantial psychological pain by reinforcing damaging internalized attitudes;" 5 and
24
25                      WHEREAS, the American Academy of Child & Adolescent Psychiatry in
26              2012 published an a1ticle in its Journal stating that clinicians should be aware that
27              there is "no evidence that sexual orientation can be altered through therapy and that
28              attempts to do so may be harmful;" that there is "no medically valid basis for
29              attempting to prevent homosexuality, which is not an illness;" and that such efforts
30              may encourage family rejection and undennine self-esteem, connectedness and
31              caring, important protective factors against suicidal ideation and attempts; and that,
32              for similar reasons cumulatively stated above, carrying the risk of significant harm,
33
                SOCE is contraindicated6 ; and
34
35
                        WHEREAS, the Pan American Health Organization, a regional office of the
36
37
                World Health Organization, issued a statement in 2012 stating: '"These supposed
38
                conversion therapies constitute a violation of the ethical principles of health care and
39              violate human rights that are protected by international and regional agreements."'
40              The organization also noted that conversion therapies "lack medical justification and
41              represent a serious threat to the health and well-being of affected people;" 7 and
42
43
44
45       https://www.apa.org/p ii lgbt/ resources/therapeutic-response. pd f
46       htlp://www .apa.org/about/pol icy/sexual-orientation.pd f
         http://www.apsa.org/con tenrl20 12-pos ition-stateme nt-attem pts-chan ge-sexua I-orientation-gender- iclent ity-or-
47
        •ender
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         http://www.jaacap.com/artic le/$0890-8567( 12)00500-X/pdf
49      http://www.paho.org/hq/ index .php?option=com content& view=article& id=6803%3A2012-therapies-
50       hangesex ua 1-orie ntation-lack-mcd ica 1-j ust ifie at ion-thrcatc n health&cat id=740%3 Aprcss-
       rc leases& Item id= I926&1ang=en



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 I                       WHEREAS, in 2014 the American School Counselor Association issued a
 2              position statement that states: "It is not the role of the professional school counselor
 3              to attempt to change a student's sexual orientation or gender identity. Professional
 4              school counselors do not support efforts by licensed mental health professionals to
 5              change a student's sexual orientation or gender as these practices have been proven
 6              ineffective and harmful;"8 and
 7
 8                       WHEREAS, a 2015 report of the Substance Abuse and Mental Health
 9              Services Administration, a division of the U.S. Department of Health and Human
10
                Services, "Ending Conversion Therapy: Supporting and Affirming LGBTQ Youth"
11
                further reiterates based on scientific literature that conversion therapy efforts to
12
                change an individual's sexual orientation, gender identity, or gender expression is a
13
14              practice not suppo11ed by credible evidence and has been disavowed by behavioral
15
                health experts and associations, perpetuates outdated views of gender roles and
16              identities, negative stereotypes, stating, importantly, that such therapy may put young
17              people at risk of serious harm, and recognizing that, same-gender sexual orientation
18              (including identity, behavior, and attraction) is part of the normal spectrum of human
19              diversity and does not constitute a mental disorder; 9 and
20
21                       WHEREAS, the American College of Physicians wrote a position paper in
22              2015 opposing the use of "conversion," "reorientation," or "reparative" therapy for
23              the treatment of LGBT persons, stating that "[a]vailable research does not support the
24              use of reparative therapy as an effective method in the treatment of LGBT persons.
25              Evidence shows that the practice may actually cause emotional or physical harm to
26              LGBT individuals, particularly adolescents or young persons;"JO and
27
28                     WHEREAS, In 2016, the American Medical Association issued policy
29              statement H-160.991, which expressly opposed the use of "reparative" or
30              "conversion" therapy for sexual orientation or gender identity; 11 and
31
32                      WHEREAS, The World Psychiatric Association issued a policy statement in
33              March, 20 I 6 on Gender Identity and Same-Sex Orientation, which stated, "There is
34              no sound scientific evidence that innate sexual orientation can be changed.
35              Furthermore, so-called treatments of homosexuality can create a setting in which
36              prejudice and discrimination flourish, and they can be potentially harmful. The
37              provision of any intervention purporting to 'treat' something that is not a disorder is
38              wholly unethical;" 12 and
39
40                      WHEREAS, The National Association of Social Workers ("NASW") issued
41              a policy statement stating that "No data demonstrates that reparative or conversion
42              therapies are effective, and in fact they may be harmful." The NASW went further
43              and stated that "conversion and reparative therapies are an infringement to the
44              guiding principles inherent to social worker ethics and values;" 13 and
45
46
          htips ://www .school counselor.org/asca/med ia/asca/Posit ion Statements/PS LG !HO.pd f
47
          htlp://store.samhsa.gov/shin/content/SMA 15-4928/SMA 15-4928.pdf
48      0
       ' http://annals.org/article.aspx?m1icleid=229205 I
49     11
           htips:// www.ama-assn.org/dcl iveri ng-care/po Iic ies-lesbia n-ga y-bisex ua 1-transgender-g ueer-1 gbtg-iss ues
50     12
           http://www.wpanet.org/WPA in News.php
       13
           http://www.naswclc.org/cl ivcrsit vII gb/rcparat ivc .asp




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 I
 2                    WHEREAS, The Agency for Healthcare Research and Quality issued a
 3            clinician's guideline for practitioners who work with children and adolescents based
 4            on research provided by the American Academy of Child and Adolescent Psychiatry.
 5            It stated that "There is no empirical evidence that adult homosexuality can be
 6            prevented if gender nonconforming children are influenced to be more gender
 7            conforming. Indeed, there is no medically valid basis for attempting to prevent
 8            homosexuality, which is not an illness. On the contrary, such efforts may encourage
 9            family rejection and undermine self-esteem, connectedness, and caring, which are
                                                                                   14
10            important protective factors against suicidal ideation and attempts;" and
11
12                    WHEREAS, At least two federal circuit courts of appeal have upheld bans
13            on conversion therapy. 15 Both courts found that bans on conversion therapy did not
14            violate free speech rights; nor did such bans run afoul of the Free Exercise Clause;
15            nor were such bans vague or impermissibly overbroad. Further the courts found that
16            counseling is professional speech, subject to a lower level of judicial scrutiny because
I7            the government has a substantial interest in protecting citizens from ineffective or
18            harmful professional practices; and
19
20                    WHEREAS, the City does not intend to prevent mental health providers
21            from speaking to the public about SOCE; expressing their views to patients;
22            recommending SOCE to patients; administering SOCE to any person who is 18 years
23            of age or older; or referring minors to unlicensed counselors, such as religious
24            leaders. This ordinance does not prevent unlicensed providers, such as religious
25            leaders, from administering SOCE to children or adults; nor does it prevent minors
26
              from seeking SOCE from mental health providers in other political subdivisions or
27
              states outside of the City of Tampa, Florida; and
28
29
30
                       WHEREAS, City of Tampa has a compelling interest in protecting the
31
              physical and psychological well-being of minors, including but not limited to lesbian,
32            gay, bisexual, transgender and questioning youth, and in protecting its minors against
33            exposure to serious harms caused by sexual orientation and gender identity change
34            efforts; and
35
36                     WHEREAS, the City Council hereby finds the overwhelming research
37            demonstrating that sexual orientation and gender identity change efforts can pose
38            critical health risks to lesbian, gay, bisexual, transgender or questioning persons, and
39            that being lesbian, gay, bisexual , transgender or questioning is not a mental disease,
40            mental disorder, mental illness, deficiency, or shortcoming; and
41
42                    WHEREAS, the City Council finds minors receiving treatment from licensed
43            therapists in the City of Tampa, Florida who may be subject to conversion or
44            reparative therapy are not effectively protected by other means, including, but not
45            limited to, other state statutes, local ordinances, or federal legislation; and
46
47
48
49     14
         https:// www .guideline.gov/summaries/summary/384 I 7
50     15
         King v. Governor of the State of New Jersey, 767 F.3d 216 (3'd Cir. 2014) and Pickup v. Brown, 740 F.3d 1208
      (9'" Cir. 2013)




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 I                  WHEREAS, the City Council desires to prohibit, within the geographic
2           boundaries of the City, the practice of sexual orientation or gender identity change
3           efforts on minors by licensed therapists only, including reparative and/or conversion
4           therapy, which have been demonstrated to be harmful to the physical and
5           psychological well-being of lesbian, gay, bisexual, transgender and questioning
6           persons.
7
 8
                                           NOW, THEREFORE,
9
10
            BE IT ORDAINED BY THE CITY COUNCIL
II
12
            OF THE CITY OF TAMPA, FLORIDA,
13
14          Section 1.    That the Whereas Clauses are adopted as if set forth fully
15          herein.
16
17          Section 2.    That "Chapter 14, Article X" is created as follows:
18
19                 "CHAPTER 14, ARTICLE X, CONVERSION THERAPY"
20
21          Section 3. That "Sec. 14.310. - Intent." is hereby created by adding the
22          underlined language as follows:
23
24
25
            "Sec. 14-310. - Intent.
26
27                  The Intent of this Ordinance is to protect the physical and psychological well-
28          being of minors, including but not limited to lesbian, gay, bisexual, transgender
29          and/or questioning youth, from exposure to the serious harms and risks caused by
30          conversion therapy or reparative therapy by licensed providers, including but not
31          limited to licensed therapists. These provisions are exercises of police power of the
32          City for the public safety, health, and welfare; and its provisions shall be liberally
33          construed to accomplish that purpose ."
34
35          Section 4. That "Sec. 14-311. - Definitions." is hereby created by adding the
36          underlined language as follows:
37
38          "Sec. 14-311. - Definitions.
39
40          (a)     Conversion lherapy or reparalive Jherapy means, interchangeably, any
41          counseling, practice or treatment performed with the goal of changing an individual's
42          sexual orientation or gender identity, including, but not limited to, efforts to change
43          behaviors. gender identity, or gender expression, or to eliminate or reduce sexual or
44          romantic attractions or feelings toward individuals of the same gender or sex.
45          Conversion therapy does not include counseling that provides support and assistance
46          to a person undergoing gender transition or counseling that provides acceptance,
47          support, and understanding of a person or facilitates a person's coping, social support,
48          and development, including sexual orientation-neutral interventions to prevent or
49          address unlawful conduct or unsafe sexual practices. as long as such counseling does
50          not seek to change sexual orientation or gender identity.




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 I      (b)     Minor means any person less than 18 years of age.
 2      (c)     Provider means any person who is licensed by the State of Florida to provide
 3      professional counseling. or who performs counseling as part of his or her professional
 4      training under chapters 456. 458. 459. 490 or 491 of the Florida Statutes. as such
 5      chapters may be amended. including but not limited to. medical practitioners.
 6      osteopathic practitioners. psychologists. psychotherapists. social workers. marriage
 7      and family therapists. and licensed counselors. A Provider does not include members
 8      of the clergy who are acting in their roles as clergy or pastoral counselors and
 9      providing religious counseling to congregants, as long as they do not hold themselves
10
        out as operating pursuant to any of the aforementioned Florida Statutes licenses."
11
12
        Section 5.     That "Sec. 14-312. - Conversion Therapy Prohibited." is hereby
13
14
        created by adding the underlined language as follows:
15
16      "Sec. 14-312. - Conversion Therapy Prohibited.
17
I8             It shall be unlawful for any Provider to practice conversion therapy efforts on
19      any individual who is a minor regardless of whether the Provider receives monetary
20      compensation in exchange for such services."
21
22      Section 6.     That "Sec. 14-313. - Enforcement and Civil Penalties." is hereby
23      created by adding the underlined language as follows:
24
25      "Sec. 14-313. - Enforcement and Civil Penalties.
26
27      (a)      This article may be enforced pursuant to Chapter 9, Article II of this Code.
28      (b)      The violation of Sec. 14-312 of this Division is deemed an irreparable
29               or irreversible violation.
30      (c)      Each separate incident of a violation of Sec. 14-312 shall constitute a
31               separate violation for enforcement purposes.
32      (d)      The fine for a first violation of Sec. 14-312 is $ I000.00. The fine for a
33               second and subsequent violation(s) of Sec. 14-312 is $5000.00
34
        (e)      These penalties shall not preclude any other remedies available at law or
35               in equity. including, injunctive relief in the circuit court."
36
37
38
        Section 7.      That "Sec. 19:4(a)(2). - Department of Code Enforcement; duties
39
40      and scope of authority of the director" is hereby amended by adding the underline
41      language as follows:
42
43      "Sec. 19-4(a)(2). - Department of Code Enforcement; duties and scope of
44      authority of the director
45
46            (a)The director shall have all powers, duties and responsibilities to administer and
47            enforce the following City Code chapters or sections: The director shall be
48            deemed to be an officer for the purpose of enforcing the provisions of this chapter
49            under authority provided in section 1-14 of this Code.
50
                                  ( I )Section 5-105;



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 I                                 (2)Chapter 14, aiticles Ill, IV, and X;
 2                                 (3)Chapter 19;
 3                                 (4)Chapter 21, articles I, II, Ill and V;
 4                                 (S)Chapter 22, atticles I and III;
 5                                 (6)Chapter 25 , atticle I;
 6                                 (?)Chapter 27."
 7
 8          Section 8.      All ordinances or patts of ordinances in conflict herewith are hereby
 9
            repealed.
10
II
            Section 9.      Should any section or provision of this Ordinance or any portion,
12
13
            paragraph, sentence, or word be declared invalid by a court of competent jurisdiction,
14
            such decision shall not affect the validity of the remainder of this Ordinance.
15
16          Section 10.     Authority is hereby granted to codify the text amendment set forth in
17          Section I of this Ordinance.
18
19          Section 11.     That this Ordinance shall take effect immediately upon its adoption.
20
21
22          PASSED AND ORDAINED BY THE CLTY COUNCIL OF THE CITY OF
23          TAMPA, FLORIDA, ON    APR O ti 2017 .
24
25
26
27
28
29
30
31
32
33
34
35
36
                                                    APPROVED BY ME ON            APR 1 0 2017
37
38
39
40
                                                    ~~             ~,._~t>t-
                                                    BOB BUCKHORN, MAYOR
41
42
43          Approved As to Legal Sufficiency:
44
45                  E/S
46          Ernest Mueller, Senior Assistant City Attorney
47
48
49
50




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                   IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF FLORIDA
                                 Tampa Division

ROBERT L. VAZZO, LMFT, individually       )
and on behalf of his patients, DAVID H.   )
PICKUP, LMFT, individually and on         )   Civil Action No.:
behalf of his patients,                   )
                                          )
                    Plaintiffs,           )   INJUNCTIVE RELIEF SOUGHT
                                          )
v.                                        )
                                          )
CITY OF TAMPA, FLORIDA,                   )
                                          )
                    Defendant             )




                                   EXHIBIT B
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Report of the American Psychological Association Task Force on

Appropriate Therapeutic Responses
      to Sexual Orientation
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    Report of the American Psychological Association Task Force on

    Appropriate Therapeutic Responses
          to Sexual Orientation




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Judith M. Glassgold, PsyD, Chair
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Jack Drescher, MD
Beverly Greene, PhD
Robin Lin Miller, PhD
Roger L. Worthington, PhD

Clinton W. Anderson, PhD, Staff Liaison
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Report of the American Psychological Association Task Force on

Appropriate Therapeutic Responses
to Sexual Orientation
Available online at www.apa.org/pi/lgbc/publications/


Printed copies available from:
Lesbian, Gay, Bisexual, and Transgender Concerns Office
Public Interest Directorate
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lgbc@apa.org




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APA reports synthesize current psychological knowledge in a given area and may offer recommendations for future action. They do not
constitute APA policy or commit APA to the activities described therein. This particular report originated with the APA Task Force on
Appropriate Therapeutic Responses to Sexual Orientation.

August 2009
Printed in the USA
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Preface . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8

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Appendix A: Resolution on Appropriate Affirmative Responses
to Sexual Orientation Distress and Change Efforts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 119

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                                               ABSTRACT


T
     he American Psychological Association Task Force on Appropriate Therapeutic Responses to Sexual Orientation
     conducted a systematic review of the peer-reviewed journal literature on sexual orientation change efforts
     (SOCE) and concluded that efforts to change sexual orientation are unlikely to be successful and involve some
risk of harm, contrary to the claims of SOCE practitioners and advocates. Even though the research and clinical
literature demonstrate that same-sex sexual and romantic attractions, feelings, and behaviors are normal and
positive variations of human sexuality, regardless of sexual orientation identity, the task force concluded that
the population that undergoes SOCE tends to have strongly conservative religious views that lead them to seek
to change their sexual orientation. Thus, the appropriate application of affirmative therapeutic interventions for
those who seek SOCE involves therapist acceptance, support, and understanding of clients and the facilitation of
clients’ active coping, social support, and identity exploration and development, without imposing a specific sexual
orientation identity outcome.




Abstract                                                                                                         v
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                                    EXECUTIVE SUMMARY


I
  n February 2007, the American Psychological                  - Recommendations regarding treatment protocols
  Association (APA) established the Task Force on                that promote stereotyped gender-normative
  Appropriate Therapeutic Responses to Sexual                    behavior to mitigate behaviors that are perceived
Orientation with a charge that included three major              to be indicators that a child will develop a
tasks:                                                           homosexual orientation in adolescence and
                                                                 adulthood.
1. Review and update the Resolution on Appropriate
    Therapeutic Responses to Sexual Orientation (APA,       3. Inform APA’s response to groups that promote
    1998).                                                    treatments to change sexual orientation or its
                                                              behavioral expression and support public policy that
2. Generate a report that includes discussion of              furthers affirmative therapeutic interventions.
    the following:
    - The appropriate application of affirmative               As part of the fulfillment of its charge, the task
      therapeutic interventions for children and            force undertook an extensive review of the recent
      adolescents who present a desire to change either     literature on psychotherapy and the psychology of
      their sexual orientation or their behavioral          sexual orientation. There is a growing body of evidence
      expression of their sexual orientation, or both, or   concluding that sexual stigma, manifested as prejudice
      whose guardian expresses a desire for the minor       and discrimination directed at non-heterosexual sexual
      to change.                                            orientations and identities, is a major source of stress
    - The appropriate application of affirmative            for sexual minorities. This stress, known as minority
      therapeutic interventions for adults who present a    stress, is a factor in mental health disparities found in
      desire to change their sexual orientation or their    some sexual minorities. The minority stress model also
      behavioral expression of their sexual orientation,    provides a framework for considering psychotherapy
      or both.                                              with sexual minorities, including understanding
                                                            stress, distress, coping, resilience, and recovery. For
    - The presence of adolescent inpatient facilities
                                                            instance, the affirmative approach to psychotherapy
      that offer coercive treatment designed to change
                                                            grew out of an awareness that sexual minorities benefit
      sexual orientation or the behavioral expression of
                                                            Note. We use the term sexual minority (cf. Blumenfeld, 1992; McCarn
      sexual orientation.                                   & Fassinger, 1996; Ullerstam, 1966) to designate the entire group of
    - Education, training, and research issues as they      individuals who experience significant erotic and romantic attractions
                                                            to adult members of their own sex, including those who experience
      pertain to such therapeutic interventions.            attractions to members of both their own and the other sex. This term
                                                            is used because we recognize that not all sexual minority individuals
                                                            adopt a lesbian, gay, or bisexual identity.




Executive Summary                                                                                                             1
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when the sexual stigma they experience is addressed                 • Are sexual orientation change efforts (SOCE) effective
in psychotherapy with interventions that reduce and                   at changing sexual orientation?
counter internalized stigma and increase active coping.
                                                                    • Are SOCE harmful?
   The task force, in recognition of human diversity,
conceptualized affirmative interventions within                     • Are there any additional benefits that can be
the domain of cultural competence, consistent with                    reasonably attributed to SOCE?
general multicultural approaches that acknowledge
the importance of age, gender, gender identity, race,               The review covered the peer-reviewed journal articles
ethnicity, culture, national origin, religion, sexual               in English from 1960 to 2007 and included 83 studies.
orientation, disability, language, and socioeconomic                Most studies in this area were conducted before 1978,
status. We see this multiculturally competent and                   and only a few studies have been conducted in the last
affirmative approach as grounded in an acceptance of                10 years. We found serious methodological problems
the following scientific facts:                                     in this area of research, such that only a few studies
                                                                    met the minimal standards for evaluating whether
• Same-sex sexual attractions, behavior, and
                                                                    psychological treatments, such as efforts to change
  orientations per se are normal and positive variants
                                                                    sexual orientation, are effective. Few studies—all
  of human sexuality—in other words, they do not
                                                                    conducted in the period from 1969 to 1978—could be
  indicate either mental or developmental disorders.
                                                                    considered true experiments or quasi-experiments that
• Homosexuality and bisexuality are stigmatized,                    would isolate and control the factors that might effect
  and this stigma can have a variety of negative                    change (Birk, Huddleston, Miller, & Cohler, 1971; S.
  consequences (e.g., minority stress) throughout                   James, 1978; McConaghy, 1969, 1976; McConaghy,
  the life span.                                                    Proctor, & Barr, 1972; Tanner, 1974, 1975). Only one
                                                                    of these studies (i.e., Tanner, 1974) actually compared
• Same-sex sexual attractions and behavior occur
                                                                    people who received a treatment with people who did
  in the context of a variety of sexual orientations
                                                                    not and could therefore rule out the possibility that
  and sexual orientation identities, and for some,
                                                                    other things, such as being motivated to change, were
  sexual orientation identity (i.e., individual or group
                                                                    the true cause of any change the researchers observed
  membership and affiliation, self-labeling) is fluid or
                                                                    in the study participants.
  has an indefinite outcome.
                                                                       None of the recent research (1999–2007) meets
• Gay men, lesbians, and bisexual individuals form                  methodological standards that permit conclusions
  stable, committed relationships and families that are             regarding efficacy or safety. The few high-quality
  equivalent to heterosexual relationships and families             studies of SOCE conducted recently are qualitative (e.g.,
  in essential respects.                                            Beckstead & Morrow, 2004; Ponticelli, 1999; Wolkomir,
                                                                    2001) and aid in an understanding of the population
• Some individuals choose to live their lives in
                                                                    that undergoes sexual orientation change but do not
  accordance with personal or religious values
                                                                    provide the kind of information needed for definitive
  (e.g., telic congruence).
                                                                    answers to questions of safety and efficacy. Given the
                                                                    limited amount of methodologically sound research,
       Summary of the Systematic                                    claims that recent SOCE is effective are not supported.
                                                                       We concluded that the early high-quality evidence
        Review of the Literature                                    is the best basis for predicting what would be the
                                                                    outcome of valid interventions. These studies show that
               Efficacy and Safety                                  enduring change to an individual’s sexual orientation
In order to ascertain whether there was a research                  is uncommon. The participants in this body of research
basis for revising the 1997 Resolution and providing                continued to experience same-sex attractions following
more specific recommendations to licensed mental                    SOCE and did not report significant change to other-
health practitioners, the public, and policymakers, the             sex attractions that could be empirically validated,
task force performed a systematic review of the peer-               though some showed lessened physiological arousal to
reviewed literature to answer three questions:                      all sexual stimuli. Compelling evidence of decreased
                                                                    same-sex sexual behavior and of engagement in sexual
                                                                    behavior with the other sex was rare. Few studies



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provided strong evidence that any changes produced in          these studies and the entire population of people who
laboratory conditions translated to daily life. Thus, the      seek SOCE is unknown because the studies have relied
results of scientifically valid research indicate that it is   entirely on convenience samples.
unlikely that individuals will be able to reduce same-            Former participants in SOCE reported diverse
sex attractions or increase other-sex sexual attractions       evaluations of their experiences: Some individuals
through SOCE.                                                  perceived that they had benefited from SOCE,
   We found that there was some evidence to indicate           while others perceived that they had been harmed.
that individuals experienced harm from SOCE. Early             Individuals who failed to change sexual orientation,
studies documented iatrogenic effects of aversive              while believing they should have changed with such
forms of SOCE. These negative side effects included            efforts, described their experiences as a significant
loss of sexual feeling, depression, suicidality, and           cause of emotional and spiritual distress and negative
anxiety. High drop rates characterized early aversive          self-image. Other individuals reported that SOCE was
treatment studies and may be an indicator that                 helpful—for example, it helped them live in a manner
research participants experienced these treatments             consistent with their faith. Some individuals described
as harmful. Recent research reports on religious and           finding a sense of community through religious SOCE
nonaversive efforts indicate that there are individuals        and valued having others with whom they could
who perceive they have been harmed. Across studies,            identify. These effects are similar to those provided by
it is unclear what specific individual characteristics         mutual support groups for a range of problems, and the
and diagnostic criteria would prospectively distinguish        positive benefits reported by participants in SOCE, such
those individuals who will later perceive that they been       as reduction of isolation, alterations in how problems
harmed by SOCE.                                                are viewed, and stress reduction, are consistent with
                                                               the findings of the general mutual support group
                                                               literature. The research literature indicates that
          Individuals Who Seek SOCE                            the benefits of SOCE mutual support groups are not
             and Their Experiences                             unique and can be provided within an affirmative
Although the recent SOCE research cannot provide               and multiculturally competent framework, which can
conclusions regarding efficacy or safety, it does              mitigate the harmful aspects of SOCE by addressing
provide some information on those individuals who              sexual stigma while understanding the importance of
participate in change efforts. SOCE research identified        religion and social needs.
a population of individuals who experienced conflicts             Recent studies of SOCE participants do not
and distress related to same-sex attractions. The              adequately distinguish between sexual orientation and
vast majority of people who participated in the early          sexual orientation identity. We concluded
studies were adult White males, and many of these              that the failure to distinguish these aspects of
individuals were court-mandated to receive treatment.          human sexuality has led SOCE research to obscure
In the research conducted over the last 10 years, the          what actually can or cannot change in human sexuality.
population was mostly well-educated individuals,               The available evidence, from both early and recent
predominantly men, who consider religion to be an              studies, suggests that although sexual orientation
extremely important part of their lives and participate        is unlikely to change, some individuals modified
in traditional or conservative faiths (e.g., The Church        their sexual orientation identity (i.e., individual or
of Jesus Christ of Latter-Day Saints, evangelical              group membership and affiliation, self-labeling) and
Christianity, and Orthodox Judaism). These recent              other aspects of sexuality (i.e., values and behavior).
studies included a small number of participants who            They did so in a variety of ways and with varied and
identified as members of ethnic minority groups, and a         unpredictable outcomes, some of which were temporary.
few studies included women.                                    For instance, in some research, individuals, through
   Most of the individuals studied had tried a variety of      participating in SOCE, became skilled in ignoring or
methods to change their sexual orientation, including          tolerating their same-sex attractions. Some individuals
psychotherapy, support groups, and religious efforts.          report that they went on to lead outwardly heterosexual
Many of the individuals studied were recruited from            lives, developing a sexual relationship with an other-
groups endorsing SOCE. The relation between the                sex partner, and adopting a heterosexual identity.
characteristics of the individuals in samples used in          These results were less common for those with no prior
                                                               heterosexual experience.



Executive Summary                                                                                                  3
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              Literature on Children                                client’s values, beliefs, and needs; and a reduction in
                                                                    internalized sexual stigma. Active coping includes both
                 and Adolescents                                    cognitive and emotional strategies to manage stigma
As part of the fulfillment of our change, we reviewed               and conflicts, including the development of alternative
the limited research on child and adolescent issues and             cognitive frames to resolve cognitive dissonance and
drew the following conclusions. There is no research                the facilitation of affective expression and resolution of
demonstrating that providing SOCE to children or                    losses. Identity exploration and development include
adolescents has an impact on adult sexual orientation.              offering permission and opportunity to explore a wide
The few studies of children with gender identity                    range of options and reducing the conflicts caused
disorder found no evidence that psychotherapy provided              by dichotomous or conflicting conceptions of self and
to those children had an impact on adult sexual                     identity without prioritizing a particular outcome.
orientation. There is currently no evidence that teaching              This framework is consistent with multicultural and
or reinforcing stereotyped gender-normative behavior                evidence-based practices in psychotherapy (EBPP) and
in childhood or adolescence can alter sexual orientation.           is built on three key findings:
We have concerns that such interventions may increase
self-stigma and minority stress and ultimately increase             • Our systematic review of the early research found
the distress of children and adolescents.                             that enduring change to an individual’s sexual
   We were asked to report on adolescent inpatient                    orientation was unlikely.
facilities that offer coercive treatment designed to                • Our review of the scholarly literature on individuals
change sexual orientation or the behavioral expression                distressed by their sexual orientation indicated that
of sexual orientation. The limited published literature               clients perceived a benefit when offered interventions
on these programs suggests that many do not present                   that emphasize acceptance, support, and recognition
accurate scientific information regarding same-                       of important values and concerns.
sex sexual orientations to youths and families, are
excessively fear-based, and have the potential to                   • Studies indicate that experiences of felt stigma—
increase sexual stigma. These efforts pose challenges                 such as self-stigma, shame, isolation and rejection
to best clinical practices and professional ethics, as                from relationships and valued communities, lack of
they potentially violate current practice guidelines                  emotional support and accurate information, and
by not providing treatment in the least-restrictive                   conflicts between multiple identities and between
setting possible, by not protecting client autonomy, and              values and attractions—played a role in creating
by ignoring current scientific information on sexual                  distress in individuals. Many religious individuals’
orientation.                                                          desired to live their lives in a manner consistent
                                                                      with their values (telic congruence); however, telic
                                                                      congruence based on stigma and shame is unlikely to
            Recommendations                                           result in psychological well-being.
           and Future Directions                                    In terms of formulating the goals of treatment, we
                                                                    propose that, on the basis of research on sexual
                       Practice                                     orientation and sexual orientation identity, what
The task force was asked to report on the appropriate               appears to shift and evolve in some individuals’ lives is
application of affirmative therapeutic interventions                sexual orientation identity, not sexual orientation. Given
for adults who present a desire to change their sexual              that there is diversity in how individuals define and
orientation or their behavioral expression of their sexual          express their sexual orientation identity, an affirmative
orientation, or both. The clinical literature indicated             approach is supportive of clients’ identity development
that adults perceive a benefit when they are provided               without an a priori treatment goal concerning how
with client-centered, multicultural, evidence-based                 clients identify or live out their sexual orientation or
approaches that provide (a) acceptance and support, (b)             spiritual beliefs. This type of therapy can provide a
assessment, (c) active coping, (d) social support, and (e)          safe space where the different aspects of the evolving
identity exploration and development. Acceptance and                self can be acknowledged, explored, and respected and
support include unconditional acceptance and support                potentially rewoven into a more coherent sense of self
for the various aspects of the client; respect for the              that feels authentic to the client, and it can be helpful to



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those who accept, reject, or are ambivalent about their      a developmentally appropriate informed consent to
same-sex attractions. The treatment does not differ,         treatment.
although the outcome of the client’s pathway to a sexual        Some religious individuals with same-sex attractions
orientation identity does. Other potential targets of        experience psychological distress and conflict due to the
treatment are emotional adjustment, including shame          perceived irreconcilability of their sexual orientation
and self-stigma, and personal beliefs, values, and norms.    and religious beliefs. The clinical and research
   We were asked to report on the appropriate                literature encourages the provision of acceptance,
application of affirmative therapeutic interventions         support, and recognition of the importance of faith
for children and adolescents who present a desire to         to individuals and communities while recognizing
change either their sexual orientation or the behavioral     the science of sexual orientation. This includes an
expression of their sexual orientation, or both, or          understanding of the client’s faith and the psychology
whose parent or guardian expresses a desire for the          of religion, especially issues such as religious coping,
minor to change. The framework proposed for adults           motivation, and identity. Clients’ exploration of
(i.e., acceptance and support, assessment, active            possible life paths can address the reality of their
coping, social support, and identity exploration and         sexual orientation and the possibilities for a religiously
development) is also relevant—with unique relevant           and spiritually meaningful and rewarding life. Such
features—to children and adolescents. For instance,          psychotherapy can enhance clients’ search for meaning,
the clinical literature stresses interventions that accept   significance, and a relationship with the sacred in
and support the development of healthy self-esteem,          their lives; increase positive religious coping; foster an
facilitate the achievement of appropriate developmental      understanding of religious motivations; help integrate
milestones—including the development of a positive           religious and sexual orientation identities; and reframe
identity—and reduce internalized sexual stigma.              sexual orientation identities to reduce self-stigma.
   Research indicates that family interventions that            Licensed mental health providers strive to provide
reduce rejection and increase acceptance of their child      interventions that are consistent with current ethical
                                    and adolescent are       standards. The APA Ethical Principles of Psychologists
LMHP can provide to                 helpful. Licensed        and Code of Conduct (APA, 2002b) and relevant APA
parents who are concerned mental health                      guidelines and resolutions (e.g., APA, 2000, 2002c, 2004,
or distressed by their child’s      providers (LMHP) can     2005a, 2007b) are resources for psychologists, especially
sexual orientation accurate provide to parents               Ethical Principles B (Benefit and Harm), D (Justice),
                                    who are concerned        and E (Respect for People’s Rights and Dignity,
information about sexual            or distressed by         including self-determination). For instance, LMHP
orientation and sexual              their child’s sexual     reduce potential harm and increase potential benefits
orientation identity and can orientation accurate            by basing their scientific and professional judgments
offer anticipatory guidance information about                and actions on the most current and valid scientific
and psychotherapy that              sexual orientation and   evidence, such as the evidence provided in this report
                                    sexual orientation       (see APA, 2002b, Standard 2.04, Bases for Scientific
support family reconciliation. identity and can              and Professional Judgment). LMHP enhance principles
offer anticipatory guidance and psychotherapy that           of social justice when they strive to understand the
support family reconciliation (e.g., communication,          effects of sexual stigma, prejudice, and discrimination
understanding, and empathy) and maintenance of the           on the lives of individuals, families, and communities.
child’s total health and well-being.                         Further, LMHP aspire to respect diversity in all aspects
   Additionally, the research and clinical literature        of their work, including age, gender, gender identity,
indicates that increasing social support for sexual          race, ethnicity, culture, national origin, religion, sexual
minority children and youth by intervening in schools        orientation, disability, and socioeconomic status.
and communities to increase their acceptance and safety         Self-determination is the process by which a person
is important. Services for children and youth should         controls or determines the course of her or his own life
support and respect age-appropriate issues of self-          (according to the Oxford American Dictionary). LMHP
determination; services should be provided in the least      maximize self-determination by (a) providing effective
restrictive setting that is clinically possible and should   psychotherapy that explores the client’s assumptions
maximize self-determination. At a minimum, the assent        and goals, without preconditions on the outcome; (b)
of the youth should be obtained and, whenever possible,      providing resources to manage and reduce distress;



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and (c) permitting the client to decide the ultimate                focus on treatment of individuals distressed by their
goal of how to self-identify and live out her or his                same-sex attractions, especially those who struggle to
sexual orientation. Although some accounts suggest                  integrate religious and spiritual beliefs with sexual
that providing SOCE increases self-determination, we                orientation identities; and (d) disseminate this report
were not persuaded by this argument, as it encourages               widely, including publishing a version of this report in
LMHP to provide treatment that has not provided                     an appropriate journal or other publication.
evidence of efficacy, has the potential to be harmful, and             The information available to the public about
delegates important professional decisions that should              SOCE is highly variable and can be confusing and
be based on qualified expertise and training—such                   misleading. Sexual minorities, individuals aware of
as diagnosis and type of therapy. Rather, therapy                   same-sex attractions, families, parents, caregivers,
that increases the client’s ability to cope, understand,            policymakers, the public, and religious leaders can
acknowledge, and integrate sexual orientation concerns              benefit from accurate scientific information about
into a self-chosen life is the measured approach.                   sexual orientation and about appropriate interventions
                                                                    for individuals distressed by their same-sex attractions.
             Education and Training                                 We recommend that APA take the lead in creating
The task force was asked to provide recommendations                 informational materials for sexual minority individuals,
on education and training for licensed mental health                families, parents, and other stakeholders, including
practitioners working with this population. We                      religious organizations, on appropriate multiculturally
recommend that mental health professionals working                  competent and client-centered interventions for those
with individuals who are considering SOCE learn about               distressed by their sexual orientation and who may seek
evidence-based and multicultural interventions and                  SOCE and that APA collaborate with other relevant
obtain additional knowledge, awareness, and skills in               organizations, especially religious organizations, to
the following areas:                                                disseminate this information.
• Sexuality, sexual orientation, and sexual identity
  development.                                                                                 Research
• Various perspectives on religion and spirituality,                The task force was asked to provide recommendations
  including models of faith development, religious                  for future research. We recommend that researchers
  coping, and the positive psychology of religion/                  and practitioners investigate multiculturally competent
                                                                    and affirmative evidence-based treatments for sexual
• Identity development, including integration of                    minorities. In addition, we recommend that researchers
  multiple identities and the resolution of identity                and practitioners provide such treatments to those who
  conflicts.                                                        are distressed by their sexual orientation but not aim
• The intersections of age, gender, gender identity,                to alter sexual orientation. For such individuals, the
  race, ethnicity, culture, national origin, religion,              focus would be on frameworks that include acceptance
  sexual orientation, disability, language, and                     and support, assessment, active coping, social support,
  socioeconomic status.                                             and identity exploration, development, and integration
                                                                    without prioritizing one outcome over another.
• Sexual stigma and minority stress.                                   The research on SOCE has not adequately assessed
                                                                    efficacy and safety. Any future research should conform
We also recommend that APA (a) take steps to                        to best-practice standards for the design of efficacy
encourage community colleges, undergraduate                         research. Research on SOCE would (a) use methods
programs, graduate school training programs,                        that are prospective and longitudinal; (b) employ
internship sites, and postdoctoral programs in                      sampling methods that allow proper generalization; (c)
psychology to include this report and other relevant                use appropriate, objective, and high-quality measures
material on lesbian, gay, bisexual, and transgender                 of sexual orientation and sexual orientation identity; (d)
(LGBT) issues in their curriculum; (b) maintain                     address preexisting and co-occurring conditions, mental
the currently high standards for APA approval of                    health problems, other interventions, and life histories
continuing professional education providers and                     to test competing explanations for any changes; and (e)
programs; (c) offer symposia and continuing professional            include measures capable of assessing harm.
education workshops at APA’s annual convention that



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                        Policy
The task force was asked to inform (a) the association’s
response to groups that promote treatments to change
sexual orientation or its behavioral expression and
(b) public policy that furthers affirmative therapeutic
interventions. We encourage APA to continue its
advocacy for LGBT individuals and families and
to oppose stigma, prejudice, discrimination, and
violence directed at sexual minorities. We recommend
that APA take a leadership role in opposing the
distortion and selective use of scientific data about
homosexuality by individuals and organizations and
in supporting the dissemination of accurate scientific
and professional information about sexual orientation
in order to counteract bias. We encourage APA to
engage in collaborative activities with religious
communities in pursuit of shared prosocial goals
when such collaboration can be done in a mutually
respectful manner that is consistent with psychologists’
professional and scientific roles.
   Finally, the task force recommends that the 1997
APA Resolution on Appropriate Responses to Sexual
Orientation be retained. This resolution focuses on
ethical issues for practitioners and still serves this
purpose. However, on the basis of (a) our systematic
review of efficacy and safety issues, (b) the presence
of SOCE directed at children and adolescents, (c) the
importance of religion for those who currently seek
SOCE, and (d) the ideological and political disputes that
affect this area, we recommend that APA adopt a new
resolution, the Resolution on Appropriate Affirmative
Responses to Sexual Orientation Distress and Change
Efforts, to address these issues (see Appendix A).




Executive Summary                                                                      7
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                                                            PREFACE


I
 n February 2007, the American Psychological                                    behavior to mitigate behaviors that are perceived
 Association (APA) established the Task Force on                                to be indicators that a child will develop a
 Appropriate Therapeutic Responses to Sexual                                    homosexual orientation in adolescence and
Orientation with the following charge:                                          adulthood.

1. Review and update the Resolution on Appropriate                       3. Inform APA’s response to groups that promote
    Therapeutic Responses to Sexual Orientation (APA,                       treatments to change sexual orientation or its
    1998);                                                                  behavioral expression and support public policy that
                                                                            furthers affirmative therapeutic interventions.
2. Generate a report that includes discussion of the
    following:
                                                                            Nominations of task force members were solicited
        - The appropriate application of affirmative                     through an open process that was widely publicized
          therapeutic interventions for children and                     through professional publications, electronic media,
          adolescents who present a desire to change either              and organizations. The qualifications sought were (a)
          their sexual orientation or their behavioral                   advanced knowledge of current theory and research
          expression of their sexual orientation, or both, or            on the development of sexual orientation; (b) advanced
          whose guardian expresses a desire for the minor to             knowledge of current theory and research on therapies
          change.                                                        that aim to change sexual orientation; and (c) extensive
        - The appropriate application of affirmative                     expertise in affirmative mental health treatment for
          therapeutic interventions for adults who present               one or more of the following populations: children
          a desire to change their sexual orientation or their           and adolescents who present with distress regarding
          behavioral expression of their sexual orientation,             their sexual orientation, religious individuals in
          or both.                                                       distress regarding their sexual orientation, and adults
                                                                         who present with desires to their change sexual
        - The presence of adolescent inpatient facilities
                                                                         orientation or have undergone therapy to do so. An
          that offer coercive treatment designed to change
                                                                         additional position was added for an expert in research
          sexual orientation or the behavioral expression of
                                                                         design and methodology. Nominations were open to
          sexual orientation.
                                                                         psychologists, qualified counselors, psychiatrists, or
        - Education, training, and research issues as they               social workers, including members and nonmembers
          pertain to such therapeutic interventions.                     of APA. Nominations of ethnic minority psychologists,
        - Recommendations regarding treatment protocols                  bisexual psychologists, psychologists with disabilities,
          that promote stereotyped gender-normative                      transgender psychologists, and other psychologists




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who are members of underrepresented groups were              committees were asked to select reviewers to provide
welcomed. In April 2007, then-APA President Sharon           feedback to the task force. After these reviews were
Stephens Brehm, PhD, appointed the following people          received, the report was revised in line with these
to serve on the task force: Judith M. Glassgold, PsyD        comments. In 2009, a second draft was sent to a second
(chair); Lee Beckstead, PhD; Jack Drescher, MD;              group of reviewers, including those who had previously
Beverly Greene, PhD; Robin Lin Miller, PhD; and Roger        reviewed the report, scholars in the field (including
L. Worthington, PhD.                                         some who were not members of APA), representatives
   The task force met face-to-face twice in 2007 and         of APA boards and committees, and APA staff. The
supplemented these meetings with consultation and            task force consulted with Nathalie Gilfoyle, JD, of the
collaboration via teleconference and the Internet.           APA Office of General Counsel, as well as with Stephen
Initially, we reviewed our charge and defined necessary      Behnke, PhD, JD, of the APA Ethics Office. Other staff
bodies of scientific and professional literature to review   members of APA were consulted as needed.
to meet that charge. In light of our charge to review the       We would like to thank the following two individuals
1997 resolution, we concluded that the most important        who were invaluable to the accomplishment of our
task was to review the existing scientific literature on     charge: Clinton W. Anderson, PhD, and Charlene
treatment outcomes of sexual orientation change efforts.     DeLong, who supported the task force. Dr. Anderson’s
   We also concluded that a review of research before        knowledge of the field of LGBT psychology as well as his
1997 as well as since 1997 was necessary to provide          sage counsel, organizational experience, and editorial
a complete and thorough evaluation of the scientific         advice and skills were indispensable. Ms. DeLong was
literature. Thus, we conducted a review of the available     fundamental in providing technological support and
empirical research on treatment efficacy and results         aid in coordinating the activities of the task force. Mary
published in English from 1960 on and also used              Campbell also provided editorial advice on the report,
common databases such as PsycINFO and Medline,               and Stephanie Liotta provided assistance in preparing
as well as other databases such as ATLA Religion             the final manuscript.
Database, LexisNexis, Social Work Abstracts, and                We would also like to acknowledge 2007 APA
Sociological Abstracts, to review evidence regarding         President Sharon Stephens Brehm, PhD, who was
harm and benefit from sexual orientation change              supportive of our goals and provided invaluable
efforts (SOCE). The literature review for other areas        perspective at our first meeting, and to thank Alan
of the report was also drawn from these databases            E. Kazdin, PhD, past president, James H. Bray, PhD,
and included lay sources such as GoogleScholar and           president, and Carol D. Goodheart, EdD, president-
material found through Internet searches. Due to our         elect, for their support. Douglas C. Haldeman, PhD,
charge, we limited our review to sexual orientation and      served as the Board of Director’s liaison to the task
did not address gender identity, because the final report    force in 2007–2008 and provided counsel and expertise.
of another APA task force, the Task Force on Gender          Melba J.T. Vasquez, PhD, Michael Wertheimer, PhD,
Identity and Gender Variance, was forthcoming (see           and Armand R. Cerbone, PhD, members of the APA
APA, 2009).                                                  Board of Directors, also reviewed this report and
   The task force received comments from the public,         provided feedback.
professionals, and other organizations and read all             We would very much like to thank Gwendolyn
comments received. We also welcomed submission of            Puryear Keita, PhD, the executive director of the APA
material from the interested public, mental health           Public Interest Directorate, for her advice, support,
professionals, organizations, and scholarly communities.     and expertise. In addition, we acknowledge Rhea
All nominated individuals who were not selected for the      Farberman, executive director, and Kim Mills, associate
task force were invited to submit suggestions for articles   executive director, of the APA Public and Member
and other material for the task force to review. We          Communications office, for their expertise and support.
reviewed all material received. Finally, APA staff met       Stephen H. Behnke, PhD, director of the APA Ethics
with interested parties to understand their concerns.        Office, and Nathalie Gilfoyle, APA Office of the General
   The writing of the report was completed in 2008, with     Counsel, provided invaluable feedback on the report.
editing and revisions occurring in 2009. After a draft          We acknowledge the following individuals, who
report was generated in 2008, the task force asked for       served as scholarly reviewers of the first and second
professional review by noted scholars in the area who        drafts of the report; their feedback on the content was
were also APA members. Additionally, APA boards and          invaluable (in alphabetical order): Eleonora Bartoli,



Preface                                                                                                            9
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PhD; Rosie Phillips Bingham, PhD; Elizabeth D.
Cardoso, PhD; Isiaah Crawford, PhD; June W. J. Ching,
PhD; David Michael Corey, PhD; Anthony D’Augelli,
PhD; Sari H. Dworkin, PhD; Randall D. Ehrbar, PsyD;
Angela Rose Gillem, PhD; Terry Sai-Wah Gock, PhD;
Marvin R. Goldfried, PhD; John C. Gonsiorek, PhD;
Perry N. Halkitis, PhD; Kristin A. Hancock, PhD;
J. Judd Harbin, PhD; William L. Hathaway, PhD;
Gregory M. Herek, PhD; W. Brad Johnson, PhD; Jon
S. Lasser, PhD; Alicia A. Lucksted, PhD; Connie R.
Matthews, PhD; Kathleen M. Ritter, PhD; Darryl S.
Salvador, PsyD; Jane M. Simoni, PhD; Lori C. Thomas,
JD, PhD; Warren Throckmorton, PhD; Bianca D. M.
Wilson, PhD; Mark A. Yarhouse, PsyD; and Hirokazu
Yoshikawa, PhD.




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                                                1. INTRODUCTION


I
  n the mid-1970s, on the basis of emerging scientific                  (LMHP)2 of all professions increasingly took the
  evidence and encouraged by the social movement                        perspective throughout this period that homosexuality
  for ending sexual orientation discrimination, the                     per se is a normal variant3 of human sexuality and that
American Psychological Association (APA) and other                      lesbian, gay, and bisexual (LGB) people deserve to be
professional organizations affirmed that homosexuality                  affirmed and supported in their sexual orientation,4
per se is not a mental disorder and rejected the                        relationships, and social opportunities. This approach
stigma of mental illness that the medical and mental                    to psychotherapy is generally termed affirmative,
health professions had previously placed on sexual                      gay affirmative, or lesbian, gay, and bisexual (LGB)
minorities.1 This action, along with the earlier action                 affirmative.
of the American Psychiatric Association that removed                       Consequently, the published literature on
homosexuality from the Diagnostic and Statistical                       psychotherapeutic efforts to change sexual orientation
Manual of Mental Disorders (DSM; American                               that had been relatively common during the 1950s
Psychiatric Association, 1973), helped counter the social               and 1960s began to decline, and approaches to
stigma that the mental illness concept had helped to                    psychotherapy that were not LGB affirmative came
create and maintain. Through the 1970s and 1980s,                       under increased scrutiny (cf. Mitchell, 1978; Wilson
APA and its peer organizations not only adopted a range                 & Davison, 1974). The mainstream organizations for
of position statements supporting nondiscrimination                     psychoanalysis and behavior therapy—the two types
on the basis of sexual orientation (APA, 1975, 2005a;                   of therapeutic orientation most associated with the
American Psychiatric Association, 1973; American                        published literature on sexual orientation change
Psychoanalytic Association, 1991, 1992; National                        therapies—publicly rejected these practices (American
Association of Social Workers [NASW], 2003) but also                    Psychoanalytic Association, 1991, 1992; Davison, 1976,
acted on the basis of those positions to advocate for legal             1978; Davison & Wilson, 1973; Martin, 2003).
and policy changes (APA, 2003, 2005a, 2008b; NASW,
2003). On the basis of growing scientific evidence                      2
                                                                          We use the term licensed mental health providers (LMHP) to refer
(Gonsiorek, 1991), licensed mental health providers                     to professional providers of mental health services with a variety
                                                                        of educational credentials and training backgrounds, because state
                                                                        licensure is the basic credential for independent practice.
                                                                        3
                                                                         We use the adjective normal to denote both the absence of a mental
1
  We use the term sexual minority (cf. Blumenfeld, 1992; McCarn &       disorder and the presence of a positive and healthy outcome of human
Fassinger, 1996; Ullerstam, 1966) to designate only those individuals   development.
who experience significant erotic and romantic attractions to adult
members of their own sex, including those who experience attractions    4
                                                                          We define sexual orientation as an individual’s patterns of erotic,
to members of both their own and the other sex. This term is used       sexual, romantic, and affectional arousal and desire for other persons
because we recognize that not all sexual minority individuals adopt a   based on those persons’ gender and sex characteristics (see pp. 29–32
lesbian, gay, or bisexual identity.                                     for a more detailed discussion).




Introduction                                                                                                                              11
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   In the early 1990s, some APA members began to                            were substantially different from APA’s position, which
express concerns about the resurgence of individuals                        did not address questions of efficacy or safety of SOCE.
and organizations that actively promoted the idea of                           Second, several highly publicized research reports
homosexuality as a developmental defect or a spiritual                      on samples of individuals who had attempted sexual
and moral failing and that advocated psychotherapy                          orientation change (e.g., Nicolosi, Byrd, & Potts,
and religious ministry to alter homosexual feelings                         2000; Shidlo & Schroeder, 2002; Spitzer, 2003) and
and behaviors, because these practices seemed to                            other empirical and theoretical advances in the
be an attempt to repathologize sexual minorities                            understanding of sexual orientation were published
(Drescher & Zucker, 2006; Haldeman, 1994; S. L.                             (e.g., Blanchard, 2008; Chivers, Seto, & Blanchard,
Morrow & Beckstead, 2004). Many of the individuals                          2007; Cochran & Mays, 2006; Diamond, 2008; Diaz,
and organizations appeared to be embedded within                            Ayala, & Bein, 2004; DiPlacido, 1998; Harper,
conservative political and religious movements                              Jernewall, & Zea, 2004; Herek, 2009; Herek & Garnets,
that supported the stigmatization of homosexuality                          2007; Mays & Cochran, 2001; Meyer, 2003; Mustanski,
(Drescher, 2003; Drescher & Zucker, 2006; Southern                          Chivers, & Bailey, 2002; Mustanski, Rahman & Wilson,
Poverty Law Center, 2005).                                                  2005; Savic & Lindstrom 2008; Szymanski, Kashubeck-
   The concerns led to APA’s adoption in 1997 of the                        West, & Meyer, 2008).
Resolution on Appropriate Therapeutic Responses to                             Third, advocates who promote SOCE as well as those
Sexual Orientation (APA, 1998). In the resolution,                          who oppose SOCE have asked that APA take action on
APA reaffirmed the conclusion shared by all                                 the issue. On the one hand, professional organizations
mainstream health and mental health professions that                        and advocacy groups that believe that sexual
homosexuality is not a mental disorder and rejected any                     orientation change is unlikely, that homosexuality is
form of discrimination based on sexual orientation. In                      a normal variant of human sexuality, and that efforts
addition, APA highlighted the ethical issues that are                       to change sexual orientation are potentially harmful6
raised for psychologists when clients present with a                        wanted APA to take a clearer stand and to clarify
request to change their sexual orientation—issues such                      the conflicting media reports about the likelihood of
as bias, deception, competence, and informed consent                        sexual orientation change (Drescher, 2003; Stålström
(APA, 1997; Schneider, Brown, & Glassgold, 2002). APA                       & Nissinen, 2003). On the other hand, the proponents
reaffirmed in this resolution its opposition to “portrayals                 of SOCE that consist of organizations that adopt a
of lesbian, gay, and bisexual youths and adults as                          disorder model of homosexuality and/or advocate a
mentally ill due to their sexual orientation” and defined                   religious view of homosexuality as sinful or immoral
appropriate interventions as those that “counteract bias                    wanted APA to clearly declare that consumers have
that is based in ignorance or unfounded beliefs about                       the right to choose SOCE (Nicolosi, 2003; Nicolosi &
sexual orientation” (APA, 1998, p. 934).                                    Nicolosi, 2002; Rosik, 2001).
   In the years since APA’s adoption of the 1997                               For these reasons, in 2007, APA established the Task
resolution, there have been several developments                            Force on Appropriate Therapeutic Responses to Sexual
that have led some APA members to believe that the                          Orientation, with the following charge:
resolution needed to be reevaluated. First, several
professional mental health and medical associations
                                                                            1. Revise and update the Resolution on Appropriate
                                                                                Therapeutic Responses to Sexual Orientation
adopted resolutions that opposed sexual orientation
                                                                                (APA, 1998);
change efforts5 (SOCE) on the basis that such efforts
were ineffective and potentially harmful (e.g., American                    2. Generate a report that includes discussion of the
Counseling Association, 1998; American Psychiatric                              following:
Association, 2000; American Psychoanalytic Association,
                                                                                - The appropriate application of affirmative
2000; NASW, 1997). In most cases, these statements
                                                                                  therapeutic interventions for children and
                                                                                  adolescents who present a desire to change either
5
  In this report, we use the term sexual orientation change efforts               their sexual orientation or their behavioral
(SOCE) to describe methods that aim to change a same-sex sexual                   expression of their sexual orientation, or both, or
orientation (e.g., behavioral techniques, psychoanalytic techniques,
medical approaches, religious and spiritual approaches) to
heterosexual, regardless of whether mental health professionals or lay      6
                                                                             Two advocacy organizations (Truth Wins Out and Lambda Legal) are
individuals (including religious professionals, religious leaders, social   encouraging those who feel they were harmed by SOCE to seek legal
groups, and other lay networks, such as self-help groups) are involved.     action against their providers.




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      whose guardian expresses a desire for the minor        7 returns to the 1997 APA resolution and its focus on
      to change.                                             ethics to provide an updated discussion of the ethical
   - The appropriate application of affirmative              issues surrounding SOCE. Chapter 8 considers the
     therapeutic interventions for adults who present a      more limited body of research on SOCE and reports of
     desire to change their sexual orientation or their      affirmative psychotherapy with children, adolescents,
     behavioral expression of their sexual orientation,      and their families. Chapter 9 summarizes the report
     or both.                                                and presents recommendations for research, practice,
                                                             education, and policy. The policy resolution that the task
   - The presence of adolescent inpatient facilities that
                                                             force recommends for APA’s adoption is Appendix A.
     offer coercive treatment designed to change sexual
     orientation or the behavioral expression of sexual
     orientation.                                                           Laying the Foundation
   - Education, training, and research issues as they
     pertain to such therapeutic interventions.
                                                                                 of the Report
   - Recommendations regarding treatment protocols                            Understanding Affirmative
     that promote stereotyped gender-normative
     behavior to mitigate behaviors that are perceived
                                                                              Therapeutic Interventions
     to be indicators that a child will develop a            The task force was asked to report on appropriate
     homosexual orientation in adolescence and               application of affirmative psychotherapeutic
     adulthood.                                              interventions for those who seek to change their
                                                             sexual orientation. As some debates in the field
3. Inform APA’s response to groups that promote              frame SOCE and conservative religious values as
  treatments to change sexual orientation or its             competing viewpoints to affirmative approaches (cf.
  behavioral expression and support public policy that       Throckmorton, 1998; Yarhouse, 1998a) and imply that
  furthers affirmative therapeutic interventions.            there is an alternative “neutral” stance, we considered
                                                             it necessary to explain the term affirmative therapeutic
The task force addressed its charge by completing a          interventions, its history, its relationship to our
review and analysis of the broad psychological literature    charge and current psychotherapy literature, and our
in the field. After reviewing the existing 1997 resolution   application and definition of the term. The concept of
in light of this literature review, we concluded that        gay-affirmative therapeutic interventions emerged
a new resolution was necessary. The basis for this           in the early literature on the psychological concerns
conclusion, including a review and analysis of the           of sexual minorities (Paul, Weinrich, Gonsiorek, &
extant research, is presented in the body of this report,    Hotvedt, 1982; Malyon, 1982), and its meaning has
and a new resolution for APA adoption is presented in        evolved over the last 25 years to include more diversity
Appendix A.                                                  and complexity (Bieschke, Perez, & DeBord, 2007;
   The report starts with a brief review of the task         Herek & Garnets, 2007; Perez, DeBord, & Bieschke,
force charge and the psychological issues that form          2000; Ritter & Terndrup, 2002).
the foundation of the report. The second chapter is a           The affirmative approach grew out of a perception
brief history of the evolution of psychotherapy, from        that sexual minorities benefit when the sexual stigma7
treatments based on the idea that homosexuality is a         they experience is addressed in psychotherapy with
disorder to those that focus on affirmative approaches       interventions that address the impacts of stigma (APA,
to sexual orientation diversity. Chapters 3 and 4 are        2000; Brown, 2006; Browning, Reynolds, & Dworkin,
a review of the peer-reviewed research on SOCE.              1991; Davison, 1978; Malyon, 1982; Ritter & Terndrup,
Chapter 3 provides a methodological evaluation of this       2002; Shannon & Woods, 1991; Sophie, 1987). For
research, and Chapter 4 reports on the outcomes of this      example, Garnets, Hancock, Cochran, Goodchilds,
research. Chapter 5 reviews a broader base of literature     and Peplau (1991) proposed that LHMP use an
regarding the experience of individuals who seek SOCE        understanding of societal prejudice and discrimination
in order to elucidate the nature of clients’ distress and    to guide treatment for sexual minority clients and
identity conflicts. Chapter 6 then examines affirmative      help these clients overcome negative attitudes about
approaches for psychotherapy practice with adults and        themselves.
presents a specific framework for interventions. Chapter     7
                                                                 See p. 15 for the definition of sexual stigma.




Introduction                                                                                                       13
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   The most recent literature in the field (e.g., APA,              R. L. Worthington & Reynolds, 2009). We define an
2000, 2002c, 2004, 2005b, 2007b; Bartoli & Gillem,                  affirmative approach as supportive of clients’ identity
2008; Brown, 2006; Herek & Garnets, 2007) places                    development without a priori treatment goals for how
affirmative therapeutic interventions within the larger             clients identify or express their sexual orientations.
domain of cultural competence, consistent with general              Thus, a multiculturally competent affirmative approach
multicultural approaches. Multicultural approaches                  aspires to understand the diverse personal and cultural
recognize that individuals, families, and communities               influences on clients and enables clients to determine
exist in social, political, historical, and economic                (a) the ultimate goals for their identity process; (b) the
contexts (cf. APA, 2002b) and that human diversity is               behavioral expression of their sexual orientation; (c)
multifaceted and includes age, gender, gender identity,             their public and private social roles; (d) their gender
race, ethnicity, culture, national origin, religion, sexual         roles, identities, and expression;8 (e) the sex9 and gender
orientation, disability, language, and socioeconomic                of their partner; and (f) the forms of their relationships.
status. Understanding and incorporating these aspects
of diversity are important to any intervention (APA,                EvIDEnCE-BASED PRACTICE AnD EmPIRICALLy
2000, 2002c, 2004, 2005b, 2007b).                                   SuPPORTED TREATmEnTS
   The task force takes the perspective that a multi-
                                                                    Interest in the efficacy,10 effectiveness, and empirical
culturally competent and affirmative approach with
                                                                    basis of psychotherapeutic interventions has grown in
sexual minorities is based on the scientific knowledge
                                                                    the last decade. Levant and Hasan (2009) distinguished
in key areas: (a) homosexuality and bisexuality are
                                                                    between two types of treatments: empirically supported
stigmatized, and this stigma can have a variety
                                                                    treatments (EST) and evidence-based approaches
of negative consequences throughout the life span
                                                                    to psychotherapy (EBPP). EST are interventions for
(D’Augelli & Patterson, 1995, 2001); (b) same-sex
                                                                    individuals with specific disorders that have been
sexual attractions, behavior, and orientations per se are
                                                                    demonstrated as effective through rigorously controlled
normal and positive variants of human sexuality and
                                                                    trials (Levant & Hasan, 2009). EBPP is, as defined by
are not indicators of either mental or developmental
                                                                    APA’s Policy Statement on Evidence-Based Practice
disorders (American Psychiatric Association, 1973;
                                                                    in Psychology11 (2005a), “the integration of the best
APA, 2000; Gonsiorek, 1991); (c) same-sex sexual
                                                                    available research with clinical expertise in the context
attractions and behavior can occur in the context of a
                                                                    of patient characteristics, culture, and preferences”
variety of sexual orientation identities (Klein, Sepekoff,
                                                                    (p. 1; see also, Sackett, Rosenberg, Gray, Haynes, &
& Wolf, 1985; McConaghy, 1999; Diamond, 2006,
                                                                    Richardson, 1996).
2008); and (d) lesbians, gay men, and bisexual people
                                                                       We were not able to identify affirmative EST for
can live satisfying lives and form stable, committed
                                                                    this population (cf. Martell, Safran, & Prince, 2004).
relationships and families that are equivalent to
                                                                    The lack of EST is a common dilemma when working
heterosexuals’ relationships and families in essential
                                                                    with diverse populations for whom EST have not been
respects (APA, 2005c; Kurdek, 2001, 2003, 2004; Peplau
                                                                    developed or when minority populations have not been
& Fingerhut, 2007).
   Although affirmative approaches have historically
                                                                    8
                                                                      Gender refers to the cultural roles, behaviors, activities, and
been conceptualized around helping sexual minorities
                                                                    psychological attributes that a particular society considers appropriate
accept and adopt a gay or lesbian identity (e.g.,                   for men and women. Gender identity is a person’s own psychological
Browning et al., 1991; Shannon & Woods, 1991), the                  sense of identification as male or female, another gender, or
                                                                    identifying with no gender. Gender expression is the activities and
                                        recent research on          behaviors that purposely or inadvertently communicate our gender
We define an affirmative                sexual orientation          identity to others, such as clothing, hairstyles, mannerisms, way of
approach as supportive of               identity diversity          speaking, and social roles.

clients’ identity development           illustrates that            9
                                                                      We define sex as biological maleness and femaleness in contrast to
without a priori treatment              sexual behavior,            gender, defined above.

goals for how clients identify or sexual attraction,                10
                                                                      Efficacy is the measurable effect of an intervention, and effectiveness
                                        and sexual                  aims to determine whether interventions have measurable effects
express their sexual orientations. orientation identity             in real-world settings across populations (Nathan, Stuart, & Dolan,
                                                                    2000).
are labeled and expressed in many different ways, some
                                                                    11
                                                                      Discussion of the overall implications for practice can be found in
of which are fluid (e.g., Diamond, 2006, 2008; Firestein,
                                                                    Goodheart, Kazdin, and Sternberg (2006) and the Report of the 2005
2007; Fox, 2004; Patterson, 2008; Savin-Williams, 2005;             Presidential Task Force on Evidence-Based Practice (APA, 2005b).




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included in trials (Brown, 2006; Martell et al., 2004; Sue   Jones & Gabriel, 1999). King et al. concluded that a
& Zane, 2006; Whaley & Davis, 2007). Thus, we provide        knowledge base about sexual minorities’ lives and social
an affirmative model in Chapter 6 that is consistent         context is important for effective practice.
with APA’s definition of EBPP in that it applies the
most current and best evidence available to guide
decisions about the care of this population (APA, 2005a;
                                                                                    Sexual Stigma
Sackett et al., 1996). We considered the APA EBPP            To understand the mental health concerns of
resolution as utilizing a flexible concept of evidence,      sexual minorities, one must understand the social
because it incorporates research based on well-designed      psychological concept of stigma (Herek & Garnets,
studies with client values and clinical expertise. Given     2007). Goffman (1963) defined stigma as an undesirable
that the distress surrounding sexual orientation is not      difference that discredits the individual. Link and
included in psychotherapy research (because it is not a      Phelan (2001) characterized stigma as occurring
clearly defined syndrome) and most treatment studies         when (a) individual differences are labeled; (b) these
in psychology are for specific mental health disorders,      differences are linked to undesirable traits or negative
not for problems of adjustment or identity relevant to       stereotypes; (c) labeled individuals are placed in distinct
sexual orientation concerns, we saw this flexibility as      categories that separate them from the mainstream;
necessary (Brown, 2006). However, EST for specific           and (d) labeled persons experience discrimination and
disorders can be incorporated into this affirmative          loss of status that lead to unequal access to social,
approach (cf. Martell et al., 2004). We acknowledge that     economic, and political power. This inequality is a
the model presented in this report would benefit from        consequence of stigma and discrimination rather than
rigorous evaluation.                                         of the differences themselves (Herek, 2009). Stigma is
   Affirmative approaches, as understood by this task        a fact of the interpersonal, cultural, legal, political, and
force, are evidence-based in three significant ways:         social climate in which sexual minorities live.
                                                                 The stigma that defines sexual minorities has been
• They are based on the evidence that homosexuality          termed sexual stigma:12 “the stigma attached to any
  is not a mental illness or disorder, which has             non-heterosexual behavior, identity, relationship or
  a significant empirical foundation (APA, 2000;             community” (Herek, 2009, p. 3). This stigma operates
  Gonsiorek, 1991).                                          both at the societal level and at the individual level. The
• They are based on studies of the role of stigma            impact of this stigma as a stressor may be the unique
  in creating distress and health disparities in             factor that characterizes sexual minorities as a group
  sexual minorities (Cochran & Mays, 2006; Mays &            (Herek, 2009; Herek & Garnets, 2007; Katz, 1995).
  Cochran, 2001; Meyer, 1995, 2003; Pachankis, 2007;             Further, stigma has shaped the attitudes of mental
  Pachankis & Goldfried, 2004; Pachankis, Goldfried, &       health professions and related institutions toward
  Ramrattan, 2008; Safren & Heimberg, 1999).                                                    this population
                                                             In the late modern period,         (Drescher, 1998a;
• They are based on the literature that has shown            the medical and mental             Haldeman, 1994;
  the importance of the therapeutic alliance and             health professions added a LeVay, 1996; Murphy,
  relationship on outcomes in therapy and that these         new type of stigmatization         1997; Silverstein,
  outcomes are linked to empathy, positive regard,                                              1991). Moral and
                                                             and discrimination by
  honesty, and other factors encompassed in the
  affirmative perspective on therapeutic interventions
                                                             conceptualizing and treating religious values in
                                                                                                North America and
  (Ackerman & Hilsenroth, 2003; Brown, 2006; Farber          homosexuality as a mental
                                                                                                Europe provided the
  & Lane, 2002; Horvath & Bedi, 2002; Norcross, 2002;        illness or disorder.
                                                                                                initial rationale for
  Norcross & Hill, 2004).                                    criminalization, discrimination, and prejudice against
                                                             same-sex behaviors (Katz, 1995). In the late modern
   The affirmative approach was the subject of a recent      period, the medical and mental health professions
literature review that found that clients describe the       added a new type of stigmatization and discrimination
safety, affirmation, empathy, and nonjudgmental
acceptance inherent in the affirmative approach as           12
                                                               Herek (2009) coined this term, and we use it because of the
helpful in their therapeutic process (M. King, Semlyen,      comprehensive analysis in which it is embedded. There are other
Killaspy, Nazareth, & Osborn, 2007; see also, M. A.          terms for the same construct, such as Balsam and Mohr’s (2007)
                                                             sexual orientation stigma.




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by conceptualizing and treating homosexuality as a                          minorities. Members of the stigmatized groups as well
mental illness or disorder (Brown, 1996; Katz, 1995).                       as nonmembers of the group can internalize these
    Sexual minorities may face additional stigmas,                          values. Self-stigma is internalized stigma in those
as well, such as those related to age, gender, gender                       individuals who experience same-sex sexual attractions
identity, race, ethnicity, culture, national origin,                        and whose self-concept matches the stigmatizing
religion, sexual orientation, disability, language, and                     interpretations of society. Examples of this self-stigma
socioeconomic status. At the societal level, sexual                         are (a) accepting society’s negative evaluation and (b)
stigma is embedded in social structures through civil                       harboring negative attitudes toward oneself and one’s
and criminal law, social policy, psychology, psychiatry,                    own same-sex sexual attractions. Sexual prejudice
medicine, religion, and other social institutions.                          is the internalized sexual stigma held by the non-
Sexual stigma is reflected in disparate legal and                           stigmatized majority.
social treatment by institutions and is apparent in,
for example, (a) the long history of criminalization
of same-sex sexual behaviors; (b) the lack of legal
                                                                                   The Impact of Stigma on Members
protection for LGB individuals from discrimination                                       of Stigmatized Groups
in employment, health care, and housing; and (c) the                        One of the assumptions of the stigma model is that
lack of benefits for LGB relationships and families that                    social stigma influences the individual through
would support their family formation, in contrast to the                    its impact on the different settings, contexts, and
extensive benefits that accrue to heterosexual married                      relationships that each human being is a part of
couples and even sometimes to unmarried heterosexual                        (D’Augelli, 1994). This hypothesis appears to be
couples.13 The structural sexual stigma, called                             confirmed by a body of literature comparing sexual
heterosexism in the scholarly literature, legitimizes                       minority populations to the general population that
and perpetuates stigma against sexual minorities and                        has found health disparities between the two (Cochran
perpetuates the power differential between sexual                           & Mays, 2006; Mays & Cochran, 2001). The concept of
minorities and others (Herek, 2007; see also Szymanski                      minority stress (e.g., DiPlacido, 1998; Hatzenbuehler,
et al., 2008).                                                              Nolen-Hoeksema, & Erickson, 2008; Meyer, 1995,
   Expressions of stigma, such as violence, discrimin-                      2003) has been increasingly used to explain these
ation, rejection, and other negative interpersonal                          health disparities in much the same way that concepts
interactions, are enacted stigma (Herek, 2009).                             of racism-derived stress and minority stress have
Individuals’ expectations about the probability that                        been used to explain health disparities and mental
stigma will be enacted in various situations is felt                        health concerns in ethnic minority groups (Carter,
stigma. Individuals’ efforts to avoid enacted and felt                      2007; Harrell, 2000; Mays, Cochran, & Barnes, 2007;
stigma may include withdrawing from self (e.g., self-                       Saldaina, 1994; Wei, Ku, Russell, Mallinckrodt, &
denial or compartmentalization) and withdrawing from                        Liao, 2008). Theoretically any minority group facing
others (e.g., self-concealment or avoidance) (e.g., see                     social stigma and prejudice, including stigma due to
Beckstead & Morrow, 2004; Drescher, 1998a; Malyon,                          age, gender, gender identity, race, ethnicity, culture,
1982; Pachankis, 2007; Pachankis, Goldfried, &                              national origin, religion, sexual orientation, disability,
Ramrattan, 2008; Troiden, 1993).                                            language, and socioeconomic status, could develop
   In Herek’s (2009) model, internalized stigma14 is                        minority stress.
the adoption of the social stigma applied to sexual                            In theory, minority stress—chronic stress experienced
                                                                            by members of minority groups—causes distress in
13
  Same-sex sexual behaviors were only recent universally
decriminalized in the United States by Supreme Court action                 certain sexual minority individuals (DiPlacido, 1998;
in Lawrence v. Texas (2003). There is no federal protection from            Meyer, 1995, 2003). Meyer (2003) described these stress
employment and housing discrimination for LGB individuals, and              processes as due to (a) external objective events and
only 20 states offer this protection. Only 4 states permit same-sex
couples to marry, 7 permit civil unions or domestic partnerships,           conditions, such as discrimination and violence;
and 5 have some limited form of recognition. For more examples, see         (b) expectations of such events, and the vigilance that
National Gay and Lesbian Task Force, n.d.).
14
  Herek (2009) defined internalization as “the process whereby              (Malyon, 1982; Sophie, 1987; Weinberg, 1972). However, this term has
individuals adopt a social value, belief, regulation, or prescription for   been criticized because holding negative attitudes does not necessarily
conduct as their own and experience it as part of themselves” (p. 7).       involve a phobia; in other words, “an exaggerated usually inexplicable
The internalization of negative attitudes and assumptions concerning        and illogical fear of a particular object, class of objects, situation
homosexuality has often been termed internalized homophobia                 (Merriam-Webster’s Online Dictionary, n.d.).




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such expectations bring; and (c) internalization of                    community participation, and identity confusion
negative social and cultural attitudes. For instance,                  predicted coping with sexual stigma.
mental health outcomes among gay men have been
found to be influenced by negative appraisals of stigma-
related stressors (Meyer, 1995).                                                  Psychology, Religion,
   The task force sees stigma and minority stress as                               and Homosexuality
playing a manifest role in the lives of individuals
who seek to change their sexual orientation (Davison,                  Most of the recent studies on SOCE focus on
1978, 1982, 1991; Herek, Cogan, Gillis, & Glunt, 1998;                 populations with strong religious beliefs (e.g., Beckstead
Green, 2003; Silverstein, 1991; Tozer & Hayes, 2004).                  & Morrow, 2004; Nicolosi et al., 2000; Schaeffer, Hyde,
Davison, in particular, has argued that individuals who                Kroencke, McCormick, & Nottebaum, 2000; Ponticelli,
seek psychotherapy to change their sexual orientation                  1999; Spitzer, 2003; Tozer & Hayes, 2004; Wolkomir,
do so because of the distress arising from the impact                  2001). Beliefs about sexual behavior and sexual
of stigma and discrimination. A survey of a small                      orientation rooted in interpretations of traditional
sample of former SOCE clients in Britain supports                      religious doctrine also guide some efforts to change
this hypothesis, as many of the former participants                    others’ sexual orientation as well as political opposition
reported that hostile social and family attitudes and the              to the expansion of civil rights for LGB individuals
criminalization of homosexual conduct were the reasons                 and their relationships (Burack & Josephson, 2005; S.
they sought treatment (Smith, Bartlett, & King, 2004).                 L. Morrow & Beckstead, 2004; Southern Poverty Law
   One of the advantages of the minority stress model                  Center, 2005; Pew Forum on Religion and Public Life,
is that it provides a framework for considering the                    2003; Olyam & Nussbaum, 1998). One of the issues
social context of stress, distress, coping, resilience                 in SOCE is the expansion of religiously based SOCE.
(Allen, 2001; David & Knight, 2008; Herek, Gillis, &                   Religious beliefs, motivations, and struggles play a role
Cogan, 2009; Selvidge, Matthews, & Bridges, 2008;                      in the motivations of individuals who currently engage
Levitt et al., 2009; Pachankis, 2007), and the goals of                in SOCE (Beckstead & Morrow, 2004; Ponticelli, 1999;
affirmative psychotherapy (Beckstead & Israel, 2007;                   Shidlo & Schroeder, 2002; Wolkomir, 2001; Yarhouse,
Bieschke, 2008; Frost & Meyer, 2009; Glassgold, 2007;                  Tan, & Pawlowski, 2005). Thus, we considered an
Rostosky, Riggle, Horne, & Miller, 2009; Martell et al.,               examination of issues in the psychology of religion to be
2004; Russell & Bohan, 2007). Some authors propose                     an important part in fulfilling our charge.
that lesbians, gay men, and bisexual men and women
improve their mental health and functioning through                        Intersections of Psychology, Religion,
a process of positive coping, termed stigma competence
(David & Knight, 2008). In this model, it is proposed
                                                                                  and Sexual Orientation
that through actions such as personal acceptance of                    World religions regard homosexuality from a spectrum
one’s LGB identity and reduction of internalized stigma,               of viewpoints. It is important to note that some
an individual develops a greater ability to cope with                  religious denominations’ beliefs and practices have
stigma (cf. Crawford, Allison, Zamboni, & Soto, 2002;                  changed over time, reflecting evolving scientific and
D’Augelli, 1994). For instance, Herek and Garnets                      civil rights perspectives on homosexuality and sexual
(2007) proposed that collective identity (often termed                 orientation (see, e.g., Dorff, Nevins, & Reisner, 2006;
social identity)15 mitigates the impact of minority stress             Hebrew Union College, n.d.; Olyam & Nussbaum,
above and beyond the effects of individual factors such                1998; Ontario Consultants on Religious Tolerance,
as coping skills, optimism, and resiliency. Individuals                n.d). A number of religious denominations in the
with a strong sense of positive collective identity                    United States welcome LGB laity, and a smaller
integrate their group affiliation into their core self-                number ordain LGB clergy (e.g., Reconstructionist
concept and have community resources for responding                    Judaism, Reform Judaism, Conservative Judaism,
to stigma (Balsam & Mohr, 2007; Crawford et al.,                       Buddhist Peace Fellowship, Buddhist Churches
2002; Levitt et al., 2009). In support of this hypothesis,             of America, Episcopal Church of America, Friends
Balsam and Mohr (2007) found that collective identity,                 General Conference, Unitarian Society, United Church
                                                                       of Christ Congregational) (Greenberg, 2004; Hebrew
15
  A collective or social identity refers to an individual’s sense of   Union College, n.d.; Olyam & Nussbaum, 1998; Ontario
belonging to a group (the collective), and the collective or social
identity forms a part of his or her personal identity.                 Consultants on Religious Tolerance, n.d.). However,



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others view homosexuality as immoral and sinful (e.g.,                     communication, June 30, 2008; cf. Gonsiorek, 2004;
Christian Reformed Church of North America, Church                         Malyon, 1982). This perspective gives priority to the
of Jesus Christ of Latter-Day Saints, Eastern Orthodox                     unfolding of developmental processes, including self-
Christianity, Orthodox Judaism, Presbyterian Church                        awareness and personal identity.
in American, Roman Catholicism, Southern Baptist                              This difference in worldviews can impact
Convention, United Methodist Church) (Ontario                              psychotherapy. For instance, individuals who have
Consultants on Religious Tolerance, n.d.). These issues                    strong religious beliefs can experience tensions and
are being discussed within numerous denominations                          conflicts between their ideal self and beliefs and their
(e.g., Van Voorst, 2005), and some views are in                            sexual and affectional needs and desires (Beckstead
flux (e.g., the Presbyterian Church (USA) (Ontario                         & Morrow, 2004; D. F. Morrow, 2003). The different
Consultants on Religious Tolerance, n.d).                                  worldviews would approach psychotherapy for these
   Several professional publications (e.g., Journal of Gay                 individuals from dissimilar perspectives: The telic
and Lesbian Psychotherapy, 2001, 5[3/4]; Professional                      strategy would prioritize values (Rosik, 2003; Yarhouse
Psychology, 2002, 33[3]; Archives of Sexual Behavior,                      & Burkett, 2002), whereas the organismic approach
                                  2003, 32[5]; The                         would give priority to the development of self-awareness
Some difficulties arise           Counseling Psychologist,                 and identity (Beckstead & Israel, 2007; Gonsiorek,
because the professional          2004, 32[5]; Journal                     2004; Haldeman, 2004). It is important to note that
psychological community           of Psychology and                        the organismic worldview can be congruent with
considers same-sex sexual         Christianity, 2005,                      and respectful of religion (Beckstead & Israel, 2007;
                                  24[4]) have specifically                 Glassgold, 2008; Gonsiorek, 2004; Haldeman, 2004;
attractions and behaviors
                                  considered the                           Mark, 2008), and the telic worldview can be aware
to be a positive variant of       interactions among                       of sexual stigma and respectful of sexual orientation
human sexuality, while some scientific views of sexual                     (Throckmorton & Yarhouse, 2006; Tan, 2008; Yarhouse,
traditional faiths continue       orientation, religious                   2008). Understanding this philosophical difference may
to consider it a sin, moral       beliefs, psychotherapy,                  improve the dialogue between these two perspectives
failing, or disorder that         and professional ethics.                 represented in the literature, as it refocuses the debate
                                  Some difficulties arise                  not on one group’s perceived rejection of homosexuals
needs to be changed.
                                  because the professional                 or the other group’s perceived minimization of religious
psychological community considers same-sex sexual                          viewpoints but on philosophical differences that extend
attractions and behaviors to be a positive variant of                      beyond this particular subject matter. However, some of
human sexuality, while some traditional faiths continue                    the differences between these philosophical assumptions
to consider it a sin, moral failing, or disorder that needs                may be difficult to bridge.
to be changed.                                                                Contrasting views exist within psychology regarding
   The conflict between psychology and traditional faiths                  religious views about homosexuality. One way in which
may have its roots in different philosophical viewpoints.                  psychology has traditionally examined the intersections
Some religions give priority to telic congruence (i.e.,                    between religion and homosexuality is by studying the
living consistently within one’s valuative goals16) (W.                    impact of religious beliefs and motivations on attitudes
Hathaway, personal communication, June 30, 2008; cf.                       and framing the discussion in terms of tolerance and
Richards & Bergin, 2005). Some authors propose that                        prejudice (Fulton, Gorsuch, & Maynard, 1999; Herek,
for adherents of these religions, religious perspectives                   1987; Hunsberger & Jackson, 2005; Plugge-Foust
and values should be integrated into the goals of                          & Strickland, 2000; Schwartz & Lindley, 2005). For
psychotherapy (Richards & Bergin, 2005; Throckmorton                       instance, one finding is that religious fundamentalism
& Yarhouse, 2006). Affirmative and multicultural                           is correlated with negative views of homosexuality,
models of LGB psychology give priority to organismic                       whereas a quest orientation is associated with decreased
congruence (i.e., living with a sense of wholeness in                      discriminatory or prejudicial attitudes (Batson, Flink,
one’s experiential self17) (W. Hathaway, personal                          Schoenrade, Fultz, & Pych, 1986; Batson, Naifeh,
                                                                           & Pate, 1978; Fulton et al., 1999; Plugge-Foust &
16
  These conflicts are not unique to religious individuals but are
applicable to individuals making commitments and decisions about
                                                                           Strickland, 2000). However, some authors have argued,
how to live according to specific ethics and ideals (cf. Baumeister &
Exline, 2000; Diener, 2000; Richards & Bergin, 2005; Schwartz, 2000).      organization, unity, and integration of human beings expressed
                                                                           through each individual’s inherent growth or developmental tendency
17
     Such naturalistic and empirically based models stress the             (see, e.g., Rogers, 1961; Ryan, 1995).




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in contrast to this approach, that conservative religious     by religion are harmful to individuals, society, and
moral beliefs and evaluations about same-sex sexual           international relations.
behaviors and LGB individuals and relationships should           In areas of conflicts between psychology and
be treated as religious diversity rather than as sexual       religion, as the APA Resolution on Religious, Religion-
prejudice (e.g., Rosik, 2007; Yarhouse & Burkett, 2002;       Related, and/or Religion-Derived Prejudice (2008b)
Yarhouse & Throckmorton, 2002).                               states, psychology has no legitimate function in
                                                              “arbitrating matters of faith and theology” (line 433)
                                                              or to “adjudicate religious or spiritual tenets,” and
         APA Policies on the Intersection                     psychologists are urged to limit themselves to speak
          of Religion and Psychology                          to “psychological implications of religious/spiritual
APA has addressed the interactions of religion and            beliefs or practices when relevant psychological findings
psychology in two recent resolutions: the Resolution          about those implications exist” (line 433). Further,
Rejecting Intelligent Design as Scientific and                the resolution states that faith traditions “have no
Reaffirming Support for Evolutionary Theory (APA,             legitimate place arbitrating behavioral or other
2008b) and the Resolution on Religious, Religion-             sciences” (line 432) or to “adjudicate empirical scientific
Related, and/or Religion-Derived Prejudice (2008c). The       issues in psychology” (line 432).
first resolution articulates psychology’s epistemological        The APA (2002b, 2008c) recommends that
commitment: Hypothesis testing through rigorous               psychologists acknowledge the importance of religion
scientific methods is the best means to gain new              and spirituality as forms of meaning-making,
knowledge and to evaluate current practices, and              tradition, culture, identity, community, and diversity.
psychologists base their theories on such research:           Psychologists do not discriminate against individuals
                                                              based on those factors. Further, when devising
     While we are respectful of religion and individuals’     interventions and conducting research, psychologists
     right to their own religious beliefs, we also
                                                              consider the importance of religious beliefs and cultural
     recognize that science and religion are separate and
                                                              values and, where appropriate, consider religiously and
     distinct. For a theory to be taught as science it must
     be testable, supported by empirical evidence and         culturally sensitive techniques and approaches (APA,
     subject to disconfirmation. (APA, 2007a)                 2008c).

This is in contrast to viewpoints based on faith, as faith
does not need confirmation through scientific evidence.                    Psychology of Religion
Further, science assumes some ideas can be rejected           Historically, some in psychology and psychiatry have
when proven false; faith and religious beliefs cannot be      held negative views of religion (Wulff, 1997). Yet, with
falsified in the eyes of adherents.                           the development of more sophisticated methodologies
   The APA Council of Representatives also passed             and conceptualizations, the field of the psychology of
a Resolution on Religious, Religion-Related, and/or           religion has flourished in the last 30 years (Emmons
Religion-Derived Prejudice (2008b). This resolution           & Paloutzian, 2003), culminating in new interest in a
                                  acknowledges the            diverse field (e.g., Koenig & Larson, 2001; Paloutzian &
The resolution affirms APA’s      existence of two forms      Park, 2005; Pargament, 2002; Pargament & Mahoney,
position that prejudices          of prejudice related to     2005; Richards & Bergin, 2005; Sperry & Shafranske,
directed at individuals           religion: one derived       2004; Spilka, Hood, Hunsberger, & Gorsuch, 2003).
                                  from religious beliefs         Many scholars have attempted to elucidate what is
because of their religious
                                  and another directed        significant and unique about religious and spiritual
beliefs and prejudices            at religions and their      faith, beliefs, and experiences (e.g., George, Larson,
derived from or justified         adherents. The APA          Koenig, & McCullough, 2000; McClennon, 1994).
by religion are harmful to        strongly condemns           Pargament, Maygar-Russell, and Murray-Swank
individuals, society, and         both forms of prejudice.    (2005) summarized religion’s impact on people’s lives
                                  The resolution affirms      as a unique form of motivation regarding how to
international relations.
                                  APA’s position that         live one’s life and how to respond to self, others, and
prejudices directed at individuals because of their           life events; a source of significance regarding what
religious beliefs and prejudices derived from or justified    aspects of life one imbues with meaning and power; a
                                                              contributor to mortality and health; a form of positive



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and negative coping; and a source of fulfillment and                Haldeman, 2004; Lasser & Gottlieb, 2004; S. L.
distress. Others, such as Fowler (1981, 1991) and                   Morrow & Beckstead, 2004; Ritter & O’Neill, 1989;
colleagues (Oser, 1991; Streib, 2001, 2005) have posited            Tan, 2008; Throckmorton & Yarhouse, 2006; Yarhouse,
developmental models of religious identity that are                 2008). For instance, a growing number of authors
helpful in understanding personal faith.                                                              address the religious
   Additionally, there is a growing literature on                   We take the perspective           and spiritual needs
integrating spirituality into psychotherapy practice                that religious faith and          of LGBT individuals
(Richards & Bergin, 2000, 2004, 2005; Shafranske,                   psychology do not have to from integrative and
2000; Sperry & Shafranske, 2004; E. L. Worthington,
                                                                    be seen as being opposed affirmative perspectives
Kurusu, McCullough, & Sandage, 1996). These                                                           that provide resources
approaches include delineating how LMHP can work                    to each other. Further,           for LMHP working
effectively with individuals from diverse religious                 psychotherapy that respects with this population
traditions (Richards & Bergin, 2000, 2004; Sperry &                 faith can also explore the        (Astramovich, 2003;
Shafranske, 2004). Many of these techniques can be                  psychological implications Beckstead & Israel,
effective (McCullough, 1999) and improve outcomes                                                     2007; Beckstead
                                                                    and impacts of such beliefs.
in clinical treatment with religious clients (Probst,                                                 & Morrow, 2004;
Ostrom, Watkins, Dean, & Mashburn, 1992; Richards,                  Glassgold, 2008; Haldeman, 1996, 2004; Horne &
Berrett, Hardman, & Eggett, 2006; E. L. Worthington                 Noffsinger-Frazier, 2003; Mark, 2008; D. F. Morrow,
et al., 1996), even for clients in treatment with secular           2003; O’Neill & Ritter, 1992; Ritter & O’Neill, 1989;
LMHP (Mayers, Leavey, Vallianatou, & Barker, 2007).                 Throckmorton & Yarhouse, 2006; Yarhouse, 2008).
These innovations point to ways that psychology can                 Based on of these scholarly contributions, we take the
explore and understand religious beliefs and faith in an            perspective that religious faith and psychology do not
evidence-based and respectful manner.                               have to be seen as being opposed to each other. Further,
   There have been claims that some LMHP do not                     psychotherapy that respects faith can also explore the
address the issues of conservative religious individuals            psychological implications and impacts of such beliefs.
who are distressed by their same-sex sexual attractions                We support affirmative and multi-culturally
(e.g., Yarhouse, 1998a; Throckmorton, 2002; Yarhouse                competent approaches that integrate concepts from the
& Burkett, 2002; Yarhouse & Throckmorton, 2002).                    psychology of religion and the modern psychology of
One of the problems in the field has been an either/or              sexual orientation. These perspectives are elaborated
perspective in which sexual orientation and religion                later in this report. In the next chapter we review the
are seen as incompatible (Phillips, 2004). Certainly,               history of SOCE in order to provide a perspective on the
some individuals may perceive their religion and                    foundation and evolution of these approaches.
their sexual orientation as incompatible, because in
some faiths homosexuality is perceived as sinful and
immoral. However, there is a growing body of evidence
illustrating that many individuals do integrate their
religious and sexual orientation identities (Coyle &
Rafalin, 2000; Kerr, 1997; Mahaffy, 1996; Rodriguez,
2006; Rodriguez & Ouellete, 2000; Thumma, 1991;
Yip, 2002, 2003, 2005). Thus, this dichotomy may be
enabling a discourse that does not fully reflect the
evidence and may be hindering progress to find a
variety of viable solutions for clients.
   Recently, some authors have suggested alternative
frameworks, many of which are drawn from a variety of
models of psychotherapy, such as multicultural views of
psychology and the psychology of religion, that provide
frames for appropriate psychotherapeutic interventions
seeking to bridge this divide (Bartoli & Gillem, 2008;
Beckstead & Israel, 2007; Buchanon, Dzelme, Harris,
& Hecker, 2001; Glassgold, 2008; Gonsiorek; 2004;



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                              2. A BRIEF HISTORY OF SEXUAL
                              ORIENTATION CHANGE EFFORTS


S
      exual orientation change efforts within mental        psychoanalysis, the dominant psychiatric paradigm of
      health fields originally developed from the science   that time (Drescher, 1998a).
      of sexuality in the middle of the 19th century
(Katz, 1995). At that time, same-sex eroticism and
gender nonconforming behaviors came under increased                          Homosexuality
medical and scientific scrutiny. New terms, such as                        and Psychoanalysis
urnings, inversion, homosexual, and homosexuality,
emerged as scientists, social critics, and physicians       Initial psychotherapeutic approaches to homosexuality
sought to make sense of what was previously defined         of the first half of the 20th century reflected
as sin or crime (Katz, 1995). This shift to a scientific    psychoanalytic theory. Freud’s own views on sexual
approach did not challenge the underlying social values,    orientation and homosexuality were complex. Freud
however, and thus continued to reflect the existing         viewed homosexuality as a developmental arrest and
sexual stigma, discrimination, criminalization, and         heterosexuality as the adult norm, although bisexuality
heterosexism. Much of the medical and scientific work       was normative (Freud, 1905/1960). However, in a now-
at that time conceptualized homosexual attractions and      famous letter, Freud (1935/1960) reassured a mother
behaviors as abnormal or as an illness (Katz, 1995).        writing to him about her son that homosexuality was
  In that era, homosexuality was predominantly              “nothing to be ashamed of, no vice, no degradation, it
viewed as either a criminal act or a medical problem,       cannot be classified as an illness, but a variation of
or both (Krafft-Ebing, 1886/1965). Homosexuality was        sexual function” (p. 423). He further went on to say
seen as caused by psychological immaturity (i.e., as        that psychoanalysts could not promise to “abolish
a passing phase to be outgrown on the road to adult         homosexuality and make normal heterosexuality take
heterosexuality) or pathology (e.g., genetic defects,       its place” (p. 423), as the results of treatment could
gender-based confusions, intrauterine hormonal              not be determined. Freud’s only report (1920/1960)
exposure, too much parental control, insufficient           about his deliberate attempt to change someone’s
parenting, hostile parenting, seduction, molestation, or    sexual orientation described his unsuccessful efforts
decadent lifestyles) (Drescher, 1998a, 2002). The first     at changing the sexual orientation of a young woman
treatments attempted to correct or repair the damage        brought for involuntary treatment by her parents. At
done by pathogenic factors or to facilitate maturity        the end of this case, Freud concluded that attempts to
(Drescher, 1998a, 2002; LeVay, 1996; Murphy, 1992,          change homosexual sexual orientation were likely to be
1997). These perspectives on homosexuality lasted into      unsuccessful.18
the first half of the 20th century, shaping the views of
                                                            18
                                                              Analyses of this case have focused on Freud’s intense negative
                                                            reactions to this young woman and his attempts to enforce social




A Brief History of Sexual Orientation Change Efforts                                                                           21
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  In the psychoanalysis that dominated the mental                       reconditioning, and satiation therapy (Beckstead
health fields after Freud, especially in the United States,             & Morrow, 2004; S. James, 1978; Langevin, 1983;
homosexuality was viewed negatively, considered to be                   LeVay, 1996; Katz, 1995; Murphy, 1992, 1997). Some
abnormal, and believed to be caused by family dynamics                  nonaversive treatments used an educational process of
(Bieber et al., 1962; Rado, 1940; Socarides, 1968).                     dating skills, assertiveness, and affection training with
Other approaches based loosely on psychoanalytic ideas                  physical and social reinforcement to increase other-sex
advocated altering gender-role behaviors to increase                    sexual behaviors (Binder, 1977; Greenspoon & Lamal,
conformity with traditional gender roles (Moberly, 1983;                1987; Stevenson & Wolpe, 1960). Cognitive therapists
Nicolosi, 1991). Significantly impacting psychiatric                    attempted to change gay men’s and lesbians’ thought
thought in the mid-20th century, these theories were                    patterns by reframing desires, redirecting thoughts,
part of the rationale for including homosexuality as a                  or using hypnosis, with the goal of changing sexual
mental illness in both the first (1952) and second (1968)               arousal, behavior, and orientation (e.g., Ellis, 1956,
editions of the American Psychiatric Association’s                      1959, 1965).
Diagnostic and Statistical Manual of Mental Disorders
(DSM), thus reinforcing and exacerbating sexual stigma
and sexual prejudice. It was during this period that                        Affirmative Approaches: Kinsey;
the first attempts to study the efficacy of SOCE were                        Ford and Beach; and Hooker
conducted (e.g., Bieber et al., 1962).
                                                                        At the same time that the pathologizing views of
                                                                        homosexuality in American psychiatry and psychology
               Sexual Orientation                                       were being codified, countervailing evidence was

                 Change Efforts                                         accumulating that this stigmatizing view was ill
                                                                        founded. The publication of Sexual Behavior in the
The pathologizing psychiatric and psychological                         Human Male (Kinsey, Pomeroy, & Martin, 1948)
conception of homosexuality and concomitant efforts                     and Sexual Behavior in the Human Female (Kinsey,
to alter sexual orientation through psychoanalytic                      Pomeroy, Martin, & Gebhard, 1953) demonstrated
and behavior therapy were prevalent through the                         that homosexuality was more common than previously
1960s and into the early 1970s. Although behavior                       assumed, thus suggesting that such behaviors were part
therapy emerged in the 1960s, adding a different                        of a continuum of sexual behaviors and orientations.
set of techniques to psychotherapy, the goals of                        C. S. Ford and Beach (1951) revealed that same-sex
SOCE did not change. For example, Ovesey (1969)                         behaviors and homosexuality were present in a wide
based his behavioral interventions on the belief that                   range of animal species and human cultures. This
homosexuality developed from a phobia of taking on                      finding suggested that there was nothing unnatural
the normal qualities of one’s gender and that sexual                    about same-sex behaviors or homosexual sexual
intercourse with the other19 sex would cure the so-                     orientation.
called phobia.                                                             Psychologist Evelyn Hooker’s (1957) research put
   Behavior therapists tried a variety of aversion                      the idea of homosexuality as mental disorder to a
treatments, such as inducing nausea, vomiting, or                       scientific test. She studied a nonclinical sample of
paralysis; providing electric shocks; or having the                     homosexual men and compared them with a matched
individual snap an elastic band around the wrist                        sample of heterosexual men. Hooker found, among
when the individual became aroused to same-sex                          other things, that based on three projective measures
erotic images or thoughts. Other examples of aversive                   (the Thematic Apperception Test, the Make-a-Picture-
behavioral treatments included covert sensitization,                    Story test, and the Rorschach), the homosexual men
shame aversion, systematic desensitization, orgasmic                    were comparable to their matched heterosexual peers
                                                                        on ratings of adjustment. Strikingly, the experts
conformity—especially with regard to traditional female gender
                                                                        who examined the Rorschach protocols could not
roles and sexuality (e.g., Lesser & Schoenberg, 1999; O’Connor &
Ryan, 1993).                                                            distinguish the protocols of the homosexual cohort from
                                                                        the heterosexual cohort, a glaring inconsistency with
19
   We use other sex instead of opposite sex, as the latter term makes
assumptions regarding the binary nature of male and female that         the then-dominant understanding of homosexuality
are unsupported. We acknowledge that this term also has limitations,    and projective assessment techniques. Armon (1960)
as there are fluid and diverse representations of sex and gender in
many cultures.




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performed research on homosexual women and found                       remove homosexuality as a mental disorder from the
similar results.                                                       American Psychiatric Association’s DSM (D’Emilio,
   In the years following Hooker’s (1957) and Armon’s                  1983; Kameny, 2009). This campaign grew stronger
(1960) research, inquiry into sexuality and sexual                     in the aftermath of the Stonewall riots in 1969. Those
orientation proliferated. Two major developments                       riots were a watershed, as the movement for gay and
marked an important change in the study of                             lesbian civil rights was embraced openly by thousands
homosexuality. First, following Hooker’s lead, more                    rather than limited to small activist groups (D’ Emilio,
researchers conducted studies of nonclinical samples                   1983; Katz, 1995). In the area of mental health, given
of homosexual men and women. Prior studies                             the results of research, activists within and outside of
primarily included participants who were in distress or                the professions led a large and vocal advocacy effort
incarcerated. Second, quantitative methods to assess                   directed at mental health professional associations,
human personality (e.g., Eysenck Personality Inventory,                such as the American Psychiatric Association, the
Cattell’s Sixteen Personality Factor Questionnaire                     American Psychological Association, and the American
[16PF]) and mental disorders (Minnesota Multiphasic                    Association for Behavior Therapy, and called for the
                                    Personality Inventory              evaluation of prejudice and stigma within mental health
Research conducted with             [MMPI]) were                       associations and practices (D’Emilio, 1983; Kameny,
these newly developed               developed and were                 2009). At the same time, some LGB professionals and
measures indicated that             a vast psychometric                their allies encouraged the field of psychotherapy to
homosexual men and women improvement over                              assist sexual minority clients to accept their sexual
were essentially similar to         prior measures,                    orientation (Silverstein, 2007).
heterosexual men and women such as the                                    As a result of the research and the advocacy outside
                                    Rorschach, Thematic                of and within the American Psychiatric Association,
in adaptation and functioning. Apperception Test,                      that association embarked upon an internal process
and House-Tree-Person Test. Research conducted                         of evaluating the literature to address the issue of
with these newly developed measures indicated that                     homosexuality as a psychiatric disorder (Bayer, 1981;
homosexual men and women were essentially similar                      Drescher 2003; Drescher & Merlino, 2007; Sbordone,
to heterosexual men and women in adaptation and                        2003; Silverstein, 2007). Upon the recommendation of
functioning (Siegelman, 1979; M. Wilson & Green, 1971;                 its committee evaluating the research, the American
see also review by Gonsiorek, 1991). Studies failed to                 Psychiatric Association Board of Trustees and general
support theories that regarded family dynamics, gender                 membership voted to remove homosexuality per se21
identity, or trauma as factors in the development                      from the DSM in December 1973 (Bayer, 1981). The
of sexual orientation (e.g., Bell, Weinberg, &                         American Psychiatric Association (1973) then issued
Hammersmith, 1981; Bene, 1965; Freund & Blanchard,                     a position statement supporting civil rights protection
1983; Freund & Pinkava, 1961; Hooker, 1969; McCord,                    for gay people in employment, housing, public
McCord, & Thurber, 1962; D. K. Peters & Cantrell,                      accommodation, and licensing, and the repeal of all
1991; Siegelman, 1974, 1981; Townes, Ferguson, &                       sodomy laws.
Gillem, 1976). This research was a significant challenge                  In December 1974, the American Psychological
to the model of homosexuality as psychopathology.                      Association (APA) passed a resolution affirming the
                                                                       resolution of the American Psychiatric Association.
                                                                       APA concluded:
       Homosexuality Removed From the
                                                                            Homosexuality per se implies no impairment in
       Diagnostic and Statistical Manual                                    judgment, stability, reliability, or general social
In recognition of the legal nexus between psychiatric                       and vocational capabilities. Further, the American
diagnosis and civil rights discrimination, especially                       Psychological Association urges all mental health
for government employees, activists within the                              professionals to take the lead in removing the
homophile20 rights movement, including Frank Kameny                         stigma of mental illness that has long been
and the Mattachine Society of Washington, DC,                          21
                                                                         The diagnoses of sexual orientation disturbance and ego-dystonic
launched a campaign in late 1962 and early 1963 to                     homosexuality sequentially replaced homosexuality. These diagnoses,
                                                                       however, were ultimately removed, due to conceptual problems and
                                                                       psychiatry’s evolving evidence-based approach for delineating a
20
  Homophile is an early term for what would become the gay rights or   mental disorder (Drescher, Stein, & Byne, 2005).
gay and lesbian rights movement.




A Brief History of Sexual Orientation Change Efforts                                                                                  23
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      associated with homosexual orientations. (APA,                  (ApsaA, 1991, 1992). In 2000, ApsaA adopted a policy
      1975, p. 633)                                                   against SOCE, attempting to end that practice within
Since that time, the APA has passed numerous                          the field:
resolutions supporting LGB civil rights and                                 As in all psychoanalytic treatments, the
psychological well-being (see APA, 2005a).                                  goal of analysis with homosexual patients is
  Other mental health associations, including the                           understanding. Psychoanalytic technique does
NASW and the American Counseling Association,                               not encompass purposeful efforts to “convert” or
and medical associations, including the American                            “repair” an individual’s sexual orientation. Such
                                                                            directed efforts are against fundamental principles
Medical Association and the American Academy of
                                                                            of psychoanalytic treatment and often result in
Pediatrics, have passed similar resolutions. Gradual                        substantial psychological pain by reinforcing
shifts began to take place in the international mental                      damaging internalized homophobic attitudes. (¶ 1)
health community as well. In 1992, the World Health
Organization removed homosexuality per se from the                    Numerous publications document the theoretical
International Classification of Diseases (Nakajima,                   limitations and problems with SOCE within
2003).                                                                psychoanalysis (Drescher, 1998a, 1998b; O’Connor &
                                                                      Ryan, 1993). In the last decade, many psychoanalytic
                                                                      publications have described an affirmative approach to
                Decline of SOCE                                       sexual orientation variation and diversity.22
                                                                         Currently, mainstream mental health professional
Following the removal of homosexuality from the
                                                                      associations support affirmative approaches that focus
DSM, the publication of studies of SOCE decreased
                                                                      on helping sexual minorities cope with the impact
dramatically, and nonaffirming approaches to
                                                                      of minority stress and stigma (American Counseling
psychotherapy came under increased scrutiny. Behavior
                                                                      Association Governing Council, 1998; American
therapists became increasingly concerned that aversive
                                                                      Psychiatric Association, 2000; APA, 1997, 2000; NASW,
therapies designed as SOCE for homosexuality were
                                                                      1997). The literature on affirmative psychotherapy has
inappropriate, unethical, and inhumane (Davison,
                                                                      grown enormously during this time (e.g., Bieschke et
1976, 1978; Davison & Wilson, 1973; M. King, Smith, &
                                                                      al., 2007; Eubanks-Carter, Burckell, & Goldfried, 2005;
Bartlett, 2004; Martin, 2003; Silverstein, 1991, 2007).
                                                                      Ritter & Terndrup, 2002). Included in this literature are
The Association for Behavioral and Cognitive Therapies
                                                                      publications that aim to support individuals with strong
(formerly the Association for Advancement of Behavior
                                                                      religious beliefs and same-sex sexual orientation in
Therapy) as well as other associations affiliated with
                                                                      exploring ways to integrate the two (e.g., Astramovich,
cognitive and behavior therapies currently reject the
                                                                      2003; Beckstead & Israel, 2007; Glassgold, 2008;
use of SOCE (Martin, 2003). Behavior therapy for
                                                                      Haldeman, 1996, 2004; Horne & Noffsinger-Frazier,
LGB individuals now focuses on issues of increasing
                                                                      2003; Mark, 2008; D. F. Morrow, 2003; O’Neill & Ritter,
adjustment, as well as on addressing a variety of their
                                                                      1992; Ritter & O’Neill, 1989, 1995; Ritter & Terndrup,
mental health concerns (Campos & Goldfried, 2001;
                                                                      2002; Tan, 2008; Throckmorton & Yarhouse, 2006;
Hart & Heimberg, 2001; Martell et al., 2004; Pachankis
                                                                      Yarhouse, 2008). These changes within the mental
& Goldfried, 2004; Safren & Rogers, 2001).
                                                                      health fields are reflected in the larger society, where
   Prominent psychoanalytic practitioners (see, e.g.,
                                                                      there have been increasing shifts in acceptance of LGB
Mitchell, 1978, 1981) began questioning SOCE within
                                                                      individuals (National Gay and Lesbian Task Force,
their own profession and challenged therapies that
                                                                      n.d.). For instance, in 2003, the U.S. Supreme Court
started with assumptions of pathology. However, such
                                                                      made a landmark ruling in Lawrence v. Texas that
a movement did not take hold until the late 1980s
                                                                      declared as unconstitutional the sodomy laws of the 13
and early 1990s (Drescher, 1998a, 1998b; Glassgold &
                                                                      states that still criminalized homosexuality. However,
Iasenza, 1995). In 1991, the American Psychoanalytic
Association (ApsaA) effectively ended stigmatization of
homosexuality by mainstream psychoanalysis when it                    22
                                                                        ApsaA and Divisions 39 (Psychoanalysis) and 44 (Society
adopted a sexual orientation nondiscrimination policy                 for the Psychological Study of Lesbian, Gay, & Bisexual
                                                                      Concerns) have collaborated on a bibliography of affirmative
regarding the selection of candidates for psychoanalytic              resources in psychoanalysis, and the American Psychoanalytic
training. This policy was revised in 1992 to include                  Association maintains its own bibliography: http://www.apsa.
selection of faculty and training analysts as well                    org/APSAAMEMBERSSECTION/COMMITTEEWORKROOMS/
                                                                      GAYANDLESBIANISSUES/tabid/381/Default.aspx.




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issues such as same-sex marriage are still controversial    with charges that professional psychology has not
(Phy-Olsen, 2006).                                          reflected the concerns of religious individuals,23 and
   However, SOCE is still provided by LMHP. Some            both supporters and opponents of SOCE have presented
LMHP (Nicolosi, 2003, Nicolosi & Nicolosi, 2002;            themselves as advocates for consumers (cf. Brooke,
Rosik, 2001) advocate for SOCE to be provided to            2005). Despite the polarization, there have been recent
distressed individuals, and an organization was             attempts to envision alternate frameworks to address
founded to advocate for these types of treatments           these issues (e.g., Bartoli & Gillem, 2008; Beckstead &
(National Association for Research and Treatment of         Israel, 2007; Benoit, 2005; Haldeman, 2004; McMinn,
Homosexuality). Additionally, a survey of randomly          2005; Phillips, 2004; Tan, 2008; Throckmorton &
selected British LMHP (psychologists, counselors, and       Yarhouse, 2006).
psychiatrists) completed in 2003 found that 17% of the        We conclude that these debates can only be resolved
total sample of 1,328 had provided SOCE in the past         through an evidence-based appraisal of the potential
and that 4% would consider providing such therapy           benefits and harm of SOCE. In the next two chapters,
upon client request in the future. Among those who          we consider the research evidence on SOCE. In Chapter
provided such services, the number of clients provided      3 we discuss methodological concerns; in Chapter 4, the
SOCE had remained constant over time (cf. M. King et        results that can be drawn from this literature.
al., 2004).


Sexual Orientation Change Efforts
 Provided to Religious Individuals
The visibility of SOCE has increased in the last decade
(Drescher, 2003; Drescher & Zucker, 2006; Herek,
2003). From our survey of recent publications and
research, most SOCE currently seem directed to those
holding conservative religious and political beliefs, and
recent research on SOCE includes almost exclusively
individuals who have strong religious beliefs (e.g.,
Beckstead & Morrow, 2004; S. L. Jones & Yarhouse,
2007; Nicolosi et al., 2000; Ponticelli, 1999; Shidlo &
Schroeder, 2002; Spitzer, 2003). In an evolution for
some religious communities, sexual minorities are
not automatically expelled or shunned (Drescher &
Zucker, 2006; Sanchez, 2007; SPLC, n.d.). Instead,
individuals with a same-sex sexual orientation are
embraced for renouncing their homosexuality and
seeking “healing” or change (Burack & Josephson,
2005; Erzen, 2006; Ponticelli, 1999). This development
has led to a movement of religiously based self-help
groups for distressed individuals who often refer to
themselves as ex-gay (Erzen, 2006; Ponticelli, 1999;
Wolkomir, 2001, 2006). Individuals and organizations
that promote religion-based efforts to change sexual
orientation often target messages to adults, adolescents,
and their families that include negative portrayals of
homosexuality, religious outreach efforts, and support
groups, as well as psychotherapy (Burack & Josephson,
2005; Cianciotto & Cahill, 2006; Wolkomir, 2006).
  Debates between those who advocate SOCE and
                                                            23
                                                              APA has received correspondence from individuals and
those who oppose it have at times become polemical,
                                                            organizations asserting this point.




A Brief History of Sexual Orientation Change Efforts                                                                 25
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         3. A SYSTEMATIC REVIEW OF RESEARCH
               On THE EFFICACy OF SOCE:
      OVERVIEW AND METHODOLOGICAL LIMITATIONS


A
       lthough the charge given to the task force did not           • High drop-out rates
       explicitly call for a systematic review of research
                                                                    • Indirect harm such as the costs (time, energy, money)
       on the efficacy and safety of sexual orientation
                                                                      of ineffective interventions
change efforts (SOCE), we decided in our initial
deliberations that such a review was important to the
                                                                       Finally, we were charged to “inform APA’s response
fulfillment of our charge. First, the debate over SOCE
                                                                    to groups that promote treatments to change sexual
has centered on the issues of efficacy, benefit, and harm.
                                                                    orientation or its behavioral expression and support
Thus, we believe it was incumbent on us to address
                                                                    public policy that furthers affirmative therapeutic
those issues in our report. We attempt to answer the
                                                                    interventions.” We decided that a systematic review24
following questions in this review:
                                                                    would likely be the only effective basis for APA’s
• Do SOCE alter sexual orientation?                                 response to advocacy groups for SOCE.
                                                                       In our review, we considered only peer-reviewed
• Are SOCE harmful?
                                                                    research, in keeping with current standards for
• Do SOCE result in any outcomes other than changing                conducting scientific reviews (see Khan, Kunz, Kleijnen,
  sexual orientation?                                               & Antes, 2003), which exclude the grey literature25 and
                                                                    lay material. In this chapter, we provide an overview of
   Second, systematic literature reviews are frequently             the review and a detailed report on the methodological
used to answer questions about the effectiveness of                 concerns that affect the validity26 of the research. In the
interventions in health care to provide the basis for               next chapter, we present our review of the outcomes of
informed treatment decisions (D. J. Cook, Mulrow, &                 the research.
Haynes, 1998; Petticrew, 2001). Current criteria for
effective treatments and interventions are specific in
                                                                    24
                                                                      A systematic review starts with a clear question to be answered,
stating that to be considered effective, an intervention            strives to locate all relevant research, has clear inclusion and
has consistent positive effects without serious harmful             exclusion criteria, and carefully assesses study quality and
side effects (Beutler, 2000; Flay et al., 2005). Based on           synthesizes study results (Petticrew, 2001).

Lilienfeld’s (2007) comprehensive review of the issue of            25
                                                                      Grey literature refers to any publication in any format published
harm in psychotherapy, our systematic review examines               outside of peer-reviewed scientific journals.

harm in the following ways:                                         26
                                                                      Validity is defined as the extent to which a study or group of
                                                                    studies produce information that is useful for a specific purpose. It
• Negative side effects of treatment (iatrogenic effects)           also includes an overall evaluation of the plausibility of the intended
                                                                    interpretations—in this case, does SOCE produce a change in sexual
• Client reports of perceptions of harm from treatment              orientation (see American Educational Research Association, APA, &
                                                                    National Council on Measurement in Education, 1999).




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                 Overview of the                                          potential harm of SOCE and experiences of those who
                                                                          seek sexual orientation (Schroeder & Shidlo, 2001;
                Systematic Review                                         Shidlo & Schroeder, 2002). A third type is high-quality28
                                                                          qualitative research investigations that provide insight
Our review included peer-reviewed empirical research
                                                                          into people’s experiences of efforts aimed at altering
on treatment outcomes published from 1960 to the
                                                                          their same-sex sexual attractions (e.g., Beckstead &
present. Studies were identified through systematic
                                                                          Morrow, 2004; Ponticelli, 1999; Wolkimir, 2001).29
searches of scholarly databases including PsycINFO
                                                                             In all areas of intervention evaluation, the quality
and Medline, using such search terms as reparative
                                                                          of the methods used in the research affects the validity
therapy, sexual orientation, homosexuality, and ex-
                                                                          and credibility of any claims the researcher can make
gays cross-referenced with treatment and therapy.
                                                                          about whether the intervention works, for whom it
Reference lists from all identified articles were searched
                                                                          works, and under what circumstances it works. Many
for additional nonindexed, peer-reviewed material.
                                                                                                               have described
We also obtained review articles and commentaries                         Overall, we found that the           methodological
and searched the reference lists from these articles
                                                                          low quality of the research          concerns regarding
to identify refereed publications of original research
investigations on treatment of same-sex attraction
                                                                          on SOCE is such that claims          the research
that had not been identified via the aforementioned                       regarding its effectiveness and literature on sexual
procedures. In all, we obtained and reviewed original                     widespread applicability must orientation change
                                                                                                               efforts (e.g., Cramer,
publications of 83 studies. The reviewed studies are                      be viewed skeptically.
                                                                                                               Golom, LoPresto,
listed in Appendix B.27
                                                                          & Kirkley, 2008; Haldeman, 1994; S. L. Morrow &
   The vast majority of research on SOCE was conducted
                                                                          Beckstead, 2004; Murphy, 1992; Sandfort, 2003).
prior to 1981. This early research predominantly
                                                                          Overall, we found that the low quality of the research on
focused on evaluating behavioral interventions,
                                                                          SOCE is such that claims regarding its effectiveness and
including those using aversive methods. Following the
                                                                          widespread applicability must be viewed skeptically.
declassification of homosexuality as a mental disorder
                                                                             As shown in Appendix B, few studies on SOCE
in 1973 (American Psychiatric Association, 1973)
                                                                          produced over the past 50 years of research rise to
and subsequent statements of other mental health
                                                                          current scientific standards for demonstrating the
professional associations, including APA (Conger,
                                                                          efficacy of psychological interventions (Chambless
1975), research on SOCE declined dramatically. Indeed,
                                                                          & Hollon, 1998; Chambless & Ollendick, 2001;
we found that the peer-reviewed empirical literature
                                                                          Flay et al., 2005; Shadish, Cook, & Campbell, 2002;
after 1981 contains no rigorous intervention trials on
                                                                          Society for Prevention Research, 2005) or provide for
changing same-sex sexual attractions.
                                                                          unambiguous causal evidence regarding intervention
   There is a small, more recent group of studies
                                                                          outcomes. Indeed, only six studies, all conducted in the
conducted since 1999 that assess perceived effects of
                                                                          early period of research, used rigorous experimental30
SOCE among individuals who have participated in
                                                                          procedures. Only one of these experiments (Tanner,
psychotherapy as well as efforts based in religious
beliefs or practices, including support groups, faith                     28
                                                                            These studies meet the standards of research rigor that are used for
healing, and prayer. There are distinct types of research                 the qualitative research paradigms that informed each of the studies
                                                                          (e.g., grounded theory, ethnomethodology, phenomenology).
within this recent literature. One type focused on
evaluating individuals’ positive accounts of sexual
                                                                          29
                                                                            These studies are discussed more thoroughly in later sections of
                                                                          the report.
orientation change (Nicolosi et al., 2000; Schaeffer
et al., 2000; Spitzer, 2003). Another type examined
                                                                          30
                                                                             True experiments have more methodological rigor because study
                                                                          participants are randomly assigned to treatment groups such
27
  A meta-analytic review of 14 research articles (Byrd & Nicolosi,        that individual differences are more equally distributed and are
2002) is not discussed in this report. The review suffers from            not confounded with any change resulting from the treatment.
significant methodological shortcomings and deviations from               Experiments are also rigorous because they include a way for the
recommended meta-analytic practice (see, e.g., Durlak, Meerson, &         researcher to determine what would have happened in the absence
Ewell-Foster, 2003; Lipsey & Wilson, 2001) that preclude reliable         of any treatment (e.g., a counterfactual), usually through the use of a
conclusions to be drawn from it. However, studies that were included      no-treatment control group. Quasi-experimental designs do not have
in the meta-analysis and were published in refereed journals between      random assignment but do incorporate a comparison of some kind.
1960 and the present are included and described in the current review.    Although they are less rigorous than experiments, quasi-experiments,
Additionally, a recent study (Byrd, Nicolosi, & Potts, 2008) is not       if appropriately designed and conducted, can still provide for
included, as it was published after the review period and appears to be   reasonable causal conclusions to be made.
a reworking of an earlier study by Nicolosi, Byrd, and Potts (2000).




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1974) assessed treatment outcomes in comparison                     validity. Research on SOCE has rarely used designs
to an untreated control group. Only three additional                that allow for confident conclusions regarding cause-
studies used strong quasi-experimental procedures such              and-effect relationships between exposure to SOCE
as a nonequivalent comparison group (see Appendix                   and outcomes.
B). All of these studies were also from the early                      As noted previously, true experiments and rigorous
period. The rest of the studies that we reviewed are                quasi-experiments are rare in the SOCE research.
nonexperimental (see Appendix B). We thus concluded                 There are only a few studies in the early period that
that there is little in the way of credible evidence that           are experiments or quasi-experiments, and no true
could clarify whether SOCE does or does not work in                 experiments or quasi-experiments exist within the
changing same-sex sexual attractions.                               recent research. Thus, none of these recent studies meet
   The studies in this area also include a highly                   current best practice standards for experimental design
select group of people who are unique among those                   and cannot establish whether SOCE is efficacious.
who experience same-sex sexual attractions. Thus,                      In early studies, comparison and no-treatment
psychologists should be extremely cautious in                       control groups were uncommon procedures, and early
attributing success to SOCE and assuming that the                   studies rarely employed multiple baseline assessments,
findings of the studies of it can be applied to all sexual          randomization to condition, multiple long-term follow-
minorities. An overview of the methodological problems              up assessments, or other procedures to aid in making
in determining the effects of SOCE and making                       causal inferences. These procedures are widely accepted
treatment decisions based on findings from these                    as providing the most compelling basis for ruling out
studies follows.                                                    the possibility that an alternative source is responsible
                                                                    for causing an observed or reported treatment effect.
                                                                       Common threats to internal validity in early
  Methodological Problems in the                                    studies include history (i.e., other events occurring
   Research Literature on SOCE                                      over the same time period as the treatment that could
                                                                    produce the results in the absence of the intervention),
      Problems in Making Causal Claims                              regression (i.e., extreme scores are typically less
                                                                    extreme on retest in the absence of intervention), and
A principal goal of the available research on SOCE was
                                                                    testing (i.e., taking a test once influences future scores
to demonstrate that SOCE consistently and reliably
                                                                    on the test in the absence of intervention). Within-
produce changes in aspects of sexual orientation.
                                                                    subject and patient case studies are the most common
Overall, due to weaknesses in the scientific validity
                                                                    designs in the early SOCE research (see Appendix
of research on SOCE, the empirical research does not
                                                                    B). In these designs, an individual’s scores or clinical
provide a sound basis for making compelling causal
                                                                    status prior to treatment is compared with his or her
claims. A detailed analysis of these issues follows.
                                                                    scores or status following treatment. These designs
                                                                    are particularly vulnerable to internal validity threats,
InTERnAL vALIDITy COnCERnS                                          notably threats to internal validity due to sample
Internally valid research convincingly demonstrates                 attrition and retrospective pretests.
that a cause (such as SOCE) is the only plausible
explanation for an observed outcome such as change                  Sample attrition
                                   in same-sex sexual               Early research is especially vulnerable to threats
Research on SOCE has               attractions. Lack                to internal validity related to sample attrition. The
rarely used designs that allow of internal validity                 proportions of participants in these studies who dropped
for confident conclusions          limits certainty that            out of the intervention and were lost to follow-up are
regarding cause-and-effect         observed changes in              unacceptably high; drop-out rates go as high as 74%
relationships between exposure people’s attitudes,                  of the initial study sample. Authors also reported high
                                   beliefs, and behaviors           rates of refusal to undergo treatment after participants
to SOCE and outcomes.              are a function of the            were initially enrolled in the studies. For instance,
particular interventions to which they were exposed. A              6 men in Bancroft’s (1969) study refused to undergo
major limitation to research on SOCE, both the early                treatment, leaving only 10 men in the study. Callahan
and the recent research, stems from the use of weak                 and Leitenberg (1973) reported that of 23 men enrolled,
research designs that are prone to threats to internal



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7 refused and 2 dropped out of treatment; 8 also showed               2005; Lam & Bengo, 2003; Norman, 2003; M. A. Ross,
inconsistent baseline responses in penile arousal to the              1989; Sprangers, 1989), and effort justification (Aronson
experimental stimuli so could not be included in the                  & Mills, 1959; Beauvois & Joule, 1996; Festinger,
analysis, leaving only 6 subjects on whom treatment                   1957). Individuals tend to want to present themselves
analyses could be performed. Of 37 studies reviewed by                in a favorable light. As a result, people have a natural
H. E. Adams and Sturgis (1977), 31 studies lost from                  tendency to report on their current selves as improved
36% to 58% of the sample. In many studies, therefore,                 over their prior selves (impression management).
what appear to be intervention effects may actually                   People will also report change under circumstances in
reflect systematic changes in the composition of the                  which they have been led to expect that change will
study sample; in the handful of available comparison                  occur, even if no change actually does occur (change
group studies, differences between the groups in the                  expectancy) and will seek to justify the time and
studies in the rate of dropout and in the characteristics             effort that they have made in treatment to reduce any
of those who drop out may be the true cause of any                    dissonance they may feel at experiencing no or less
observed differences between the groups. Put simply,                  change than they had expected by overestimating the
dropout may undermine the comparability of groups in                  effectiveness of the treatment (effort justification).
ways that can bias study outcomes.                                    Effort justification has been demonstrated to become
                                                                      stronger as intervention experiences become more
Retrospective pretest                                                 unpleasant. In combination, these factors lead to
With the exception of prospective ethnographic studies                inaccurate self-reports and inflated estimates of
(e.g., Ponticelli, 1999; Wolkomir, 2001), the recent                  treatment effects, distortions that are magnified in the
research relies exclusively on uncontrolled retrospective             context of retrospective pretest designs.
pretest designs. In these studies, people who have been
exposed to SOCE are asked to recall and report on their               COnSTRuCT vALIDITy COnCERnS
feelings, beliefs, and behaviors at an earlier age or time            Construct validity is also a significant concern in
and are then asked to report on these same issues at                  research on SOCE. Construct validity refers to
present. Change is assessed by comparing contemporary                 the degree to which the abstract concepts that are
scores with scores provided for the earlier time period               investigated in the study are validly defined, how
based on retrospective recall. In a few studies, LMHP                 well these concepts are translated into the study’s
who perform SOCE reported their view of how their                     treatments and measures, and, in light of these
clients had changed. The design is problematic because                definitional and operational decisions, whether the
all of the pretest measures are not true pretests but                 study findings are appropriately interpreted. For
retrospective accounts of pretest status. Thus, the                   instance, do the researchers adequately define and
recent research studies on SOCE have even weaker                      measure sexual orientation? Are their interpretations
designs than do nonexperimental studies from the early                of the study results regarding change in sexual
period of research on SOCE. Again, none of these recent               orientation appropriate, given how the constructs were
studies can establish whether SOCE is efficacious.                    defined and translated into measures? On the whole,
   An extensive body of research demonstrates the                     research on SOCE presents serious concerns regarding
unreliability of retrospective pretests. For example,                 construct validity.
retrospective pretests are extremely vulnerable to
response-shift biases resulting from recall distortion                Definition of sexual orientation
and degradation (Schwarz & Clore, 1985; Schwartz                      Sexual orientation is a complex human characteristic
& Rapkin, 2004). People find it difficult to recall                   involving attractions, behaviors, emotions, and identity.
and report accurately on feelings, behaviors, and                     Modern research of sexual orientation is usually seen
occurrences from long ago and, with the passage of time,              as beginning with the Kinsey studies (Kinsey et al.,
will often distort the frequency, intensity, and salience             1948, 1953). Kinsey used a unidimensional, 7-category
of things they are asked to recall.                                   taxonomic continuum, from 0 (exclusively heterosexual)
   Retrospective pretests are also vulnerable to biases               to 6 (exclusively homosexual), to classify his
deriving from impression management (Fisher & Katz,                   participants. As the research has developed since the
2000; Schwarz, Hippler, Deutsch, & Strack, 1985;                      Kinsey studies, the assessment of sexual orientation has
Wilson & Ross, 2001), change expectancy (Hill & Betz,                 focused largely on measuring three variables—identity,




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behavior, and attraction. Many studies measure only                    We adopted this current understanding of sexuality
one or two, but very seldom all three, of these aspects.            to clarify issues in the research literature. For instance,
   A key finding in the last 2 decades of research on               sexual orientation refers to an individual’s patterns of
sexual orientation is that sexual behavior, sexual                  sexual, romantic, and affectional arousal and desire
attraction, and sexual orientation identity are labeled             for other persons based on those persons’ gender
and expressed in many different ways (Carrillo, 2002;               and sex characteristics. Sexual orientation is tied to
Diamond, 2003, 2006; Dunne, Bailey, Kirk, & Martin,                 physiological drives and biological systems that are
2000; Laumann, Gagnon, Michael, & Michals, 1994;                    beyond conscious choice and involve profound emotional
Savin-Williams, 2005). For instance, individuals                    feelings, such as “falling in love.” Other dimensions
with sexual attractions may not act on them or may                  commonly attributed to sexual orientation (e.g., sexual
understand, define, and label their experiences                     behavior with men and/or women; social affiliations
differently than those with similar desires because of              with LGB or heterosexual individuals and communities,
the unique cultural and historical constructs regarding             emotional attachment preferences for men or women,
ethnicity, gender, and sexuality (Harper et al., 2004;              gender role and identity, lifestyle choices) are potential
Mays & Cochran, 1998; Walters, Simoni, & Horwath,                   correlates of sexual orientation rather than principal
2001; Weinrich & Williams, 1991).                                   dimensions of the construct.
   Further, a subset of individuals who engage in                      Sexual orientation identity refers to acknowledgment
same-sex sexual behaviors or have same-sex sexual                   and internalization of sexual orientation and reflects
attractions do not self-identify as LGB or may remain               self-exploration, self-awareness, self-recognition,
unlabeled and some self-identified lesbian and gay                  group membership and affiliation, culture, and self-
individuals may engage in other-sex sexual behaviors                stigma. Sexual orientation identity involves private
without self-identifying as bisexual or heterosexual                and public ways of self-identifying and is a key
(Beckstead, 2003; Carrillo, 2002; Diamond, 2003, 2008;              element in determining relational and interpersonal
Diamond & Savin-Williams, 2000; Dunne et al., 2000;                 decisions, as it creates a foundation for the formation of
Fox, 2004; Gonsiorek, Sell, & Weinrich, 1995; Hoburg,               community, social support, role models, friendship, and
Konik, Williams, & Crawford, 2004; Kinsey et al., 1948,             partnering (APA, 2003; Jordan & Deluty, 1998; McCarn
1953; Klein et al., 1985; Masters & Johnson, 1979;                  & Fassinger, 1996; Morris, 1997; Ponticelli, 1999;
McConaghy, 1987; McConaghy, 1999; McConaghy,                        Wolkomir, 2001).
Buhrich, & Silove, 1994; Storms, 1980; Thompson &                      Given this new understanding of sexual orientation
                                     Morgan, 2008). Thus,           and sexual orientation identity, a great deal of debate
A number of scholars have            for some individuals,          surrounds the question of how best to assess sexual
argued that the construct            personal and social            orientation in research (Gonsiorek et al., 1995; Kinsey
of sexual orientation would          identities differ from         et al., 1948, 1953; Masters & Johnson, 1979; Sell,
be more easily and reliably          sexual attraction, and         1997). For example, some authors have criticized the
assessed and defined if it           sexual orientation             Kinsey scale for dichotomizing sexual orientation—with
were disentangled from sexual identities may vary                   heterosexuality and homosexuality as opposites along
                                     due to personal                a single dimension and bisexuality in between—
orientation identity.
                                     concerns, culture,             thus implying that in increasing desire for one sex
contexts, ethnicity, nationality, and relationships.                represents reduced desire for the other sex (Gonsiorek
   As a result, a number of scholars have argued that               et al., 1995; Sell, 1997; R. L. Worthington, 2003; R. L.
the construct of sexual orientation would be more easily            Worthington & Reynolds, 2009). An alternative that
and reliably assessed and defined if it were disentangled           has been proposed suggests that same-sex and other-
from sexual orientation identity (e.g., Chang &                     sex attractions and desires may coexist relatively
Katayama, 1996; Drescher, 1998a, 1998b; Drescher,                   independently and may not be mutually exclusive
Stein, & Byne, 2005; Rust, 2003; Stein, 1999; R. L.                 (Diamond, 2003, 2006; 2008; Fox, 2004; Klein et al.,
Worthington, Savoy, Dillon, & Vernaglia, 2002). Recent              1985,31 Sell, 1997; Shively & DeCecco, 1977; Storms,
research has found that distinguishing the constructs of
sexual orientation and sexual orientation identity adds             31
                                                                      Although Klein advanced the notion of sexual orientation as a
clarity to an understanding of the variability inherent             multidimensional variable, his Sexual Orientation Grid confounds
                                                                    constructs of sexual orientation and sexual orientation identity, as it
in reports of these two variables (R. L. Worthington et
                                                                    includes attraction; behavior; identification; and emotional, political,
al., 2002; R. L. Worthington & Reynolds, 2009).                     and social preferences.




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1980; R. L. Worthington, 2003; R. L. Worthington &                    intervention component, approach, or provider.
Reynolds, 2009). Models with multiple dimensions that                 For instance, these interventions were provided
permit the rating of the intensity of an individual’s                 simultaneously or sequentially, without specific separate
sexual desire or arousal for other-sex individuals                    evaluations of each intervention. The recent research
separately from the intensity of that individual’s                    and much of the early research cannot provide clarity
sexual desire or arousal for same-sex individuals allow               regarding which specific efforts are associated with
individuals to have simultaneous levels of attractions.               which specific outcomes.
Some commentators believe such models allow for
greater understanding of sexual diversity and its                     Outcome measures
interactions with other aspects of identity and culture               Regarding assessment mode, outcomes in early studies
(Mays & Cochran, 1998; R. L. Worthington et al. 2002).                were assessed by one or more of the following: gauging
   Considered in the context of the conceptual                        an individual’s physiological responses when presented
complexities of and debates over the assessment of                    with sexual stimuli, obtaining the person’s self-report
                                   sexual orientation, much           of recent sexual behavior and attractions, and using
Much of the SOCE research of the SOCE research                        clinical opinion regarding improvement. In men
does not adequately                does not adequately                especially, physiological measures are considered more
define the construct of            define the construct               dependable for detecting sexual arousal in men and
sexual orientation, does           of sexual orientation,             women than self-report of sexual arousal or attraction
                                   does not differentiate it          (McConaghy, 1999). However, these measures have
not differentiate it from          from sexual orientation            important limitations when studying sexual orientation.
sexual orientation identity,       identity, or has                   Many men are incapable of sexual arousal to any
or has misleading definitions misleading definitions                  stimuli in the laboratory and must be excluded from
that do not accurately             that do not accurately             research investigations in which the measure is the sole
assess or acknowledge              assess or acknowledge              outcome measure. More recent research indicates that
                                   bisexual individuals.              some penile circumference gauges are less consistent
bisexual individuals.
                                   Early research that                than penile volume gauges (Kuban, Barbaree, &
focuses on sexual arousal may be more precise than that               Blanchard, 1999; McConaghy, 1999; Quinsey &
which relies on self-report of behavior. Overall, recent              Lalumiere, 2001; Seto, 2004) and that some men can
research may actually measure sexual orientation                      intentionally produce false readings on the penile
identity (i.e., beliefs about sexual orientation, self-report         circumference gauges by suppressing their standard
of identity or group affiliation, self-report of behavior,            sexual arousal responses (Castonguay, Proulx, Aubut,
and self-labeling) rather than sexual orientation.                    McKibben, & Campbell, 1993; Lalumiere & Harris,
                                                                      1998) or consciously making themselves aroused when
Study treatments                                                      presented with female erotic stimuli (Freund, 1971,
In general, what constitutes SOCE in empirical                        1976; Freund, Watson, & Rienzo, 1988; Lalumiere &
research is quite varied. As we show in Appendix B,                   Earls, 1992; McConaghy, 1999, 2003). The physiological
early studies tested a variety of interventions that                  measure used in all the SOCE experiements was the
include aversive conditioning techniques (e.g., electric              penile circumference gauge. McConaghy (1999) has
shock, deprivation of food and liquids, smelling salts,               questioned the validity of the results of SOCE research
chemically induced nausea), biofeedback, hypnosis,                    using this gauge and believes that data illustrating
masturbation reconditioning, psychotherapy, systematic                a reduction in same-sex sexual attraction should be
desensitization, and combinations of these approaches. A              viewed skeptically.
small number of early studies compare approaches alone                   In recent research on SOCE, overreliance on self-
or in combination. The more recent research includes                  report measures and/or on measures of unknown
an even wider variety of interventions (e.g., gender role             validity and reliability is common. Reliance on self-
reconditioning, support groups, prayer, psychotherapy)                reports is especially vulnerable to a variety of
and providers (e.g., licensed and unlicensed LMHP in                  reactivity biases such that shifts in an individual’s
varied disciplines, pastoral counselors, laypersons).                 score will reflect factors other than true change. Some
The recent studies were conducted in such a way that                  of these biases are related to individual motivations,
it is not possible to attribute results to any particular             which have already been discussed, and others are




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due to features of the experimental situation. Knowing               relationship among variables that are drawn
that one is being studied and what the experimenter                  from statistical tests. Small sample sizes, sample
hopes to find can heighten people’s tendency to self-                heterogeneity, weak measures, and violations to the
report in socially desirable ways and in ways that                   assumptions of statistical tests (e.g., non-normally
please the experimenter.                                             distributed data) are central threats to drawing valid
   Measures used in early studies vary tremendously                  conclusions. In this body of research, conclusion validity
in their psychometric acceptability, particularly for                is often severely compromised. Many of the studies from
attitudinal and mental health measures, with a limited               the early period are characterized by samples that are
number of studies using well-validated measures.                     very small, containing on the average about 9 subjects
Recent research has not advanced significantly in using              (see Appendix B; see also H. E. Adams & Sturgis,
psychometrically sound measures of important study                   1977). Coupled with high rates of attrition, skewed
variables such as depression, despite the widespread                 distributions, unreliable measures, and infrequent
use of measures that permit accurate assessment of                   use of statistical tests designed for small and skewed
these variables in other studies. Measures in these                  samples, confidence in the statistical results of many
studies are also sources of bias due to problems such                of these studies may be misplaced. The recent research
as item wording and response anchors from which                      involved unreliable measures and inappropriate
participants may have inferred that other-sex attraction             selection and performance of statistical tests, which are
is a normative standard, as well as from the exclusion               threats to their statistical conclusion validity,32 even
of items related to healthy homosexual functioning                   though these studies involved larger samples than the
to parallel items that ask for reports on healthy                    early research.
heterosexual functioning.

Study operations                                                             Problems in Generalizing Findings
                                                                     A significant challenge to interpreting the research on
Regarding the adequacy of study operations, few of
                                                                     SOCE is establishing external validity—that is, judging
the early studies attempted to overcome the demand
                                                                     to whom and to what circumstances the results of any
characteristics associated with the interventionists,
obtaining measures of change themselves. In other                    particular study might reasonably be generalized.
words, few studies sought to minimize the possibility
that people receiving treatment would be motivated                   32
                                                                       For instance, to assess whether sexual orientation had changed,
to please their treatment providers by providing                     Nicolosi et al. (2000) performed a chi-square test of association on
them with reports that were consistent with what the                 individuals’ prior and current self-rated sexual orientation. Several
                                                                     features of the analysis are problematic. Specifically, the nature of
providers were perceived to desire and expect. Issues in
                                                                     the data and research question are inappropriate to a chi-square test
recruitment of participants may also contribute to this              of association, and it does not appear that the tests were properly
effect; subjects were aware of the goals of the study,               performed. Chi-square tests of association assume that data are
                                                                     independent, yet these data are not independent because the row
were recruited by individuals with that knowledge,                   and column scores represent an individual’s rating of his or her past
or were participating in treatment to avoid legal and/               and present self. Chi-square tests ought not to be performed if a cell
or religious sanction. Novelty effects associated with               in the contingency table includes fewer than five cases. Other tests,
                                                                     such as the nonparametric McNemar’s test for dichotomous variables
exposure to an experimental laboratory situation                     (McNemar, 1969) or the sign (Conover, 1980) or Wilcoxon signed-rank
may also have influenced study results. People may                   tests (Wilcoxon, 1945) for nominal and ordinal data, respectively, are
become excited and energized by participating in a                   used to assess whether there are significant differences between an
                                                                     individual’s before and after score and are appropriate when data
research investigation, and these reactions to being in              fail to meet the assumptions of independence and normality, as these
the research environment may contribute to change in                 data do and would have been more appropriate choices. Paired t-tests
scores. Recent research is also vulnerable to demand                 for mean differences could also have been performed on these data.
                                                                     There are procedural problems in performing the chi-square test such
characteristics as a function of how individuals are                 as missing data, and the analyses are conducted without adjustment
recruited into samples, which is discussed in more                   for chance, with different numbers of subjects responding to each
detail in the section on sampling concerns.                          item, and without corrections to the gain scores to address regression
                                                                     artifacts. Taken together, however, the problems associated with
                                                                     running so many tests without adjusting for chance associations or
COnCLuSIOn vALIDITy COnCERnS                                         correcting for regression artifacts and having different respondents
                                                                     in nearly every test make it difficult to assess what changes in scores
Conclusion validity concerns the validity of the                     across these items actually reflect.
inferences about the presence or absence of a



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SAmPLE COmPOSITIOn                                                    Brown, & Castell, 1964; Thorpe, Schmidt, & Castell,
Concerns regarding the sample composition in these                    1963). Thus, the early samples are notable for including
studies are common in critiques (e.g., Cramer et                      men who may not be same-sex attracted at all or who
al., 2008). The studies from the early period are                     may not be distressed by their attractions but who had
characterized by samples that are narrow in their                     to undergo intervention by court order or out of fear of
demographic characteristics, composed almost                          being caught by law enforcement in the future.
exclusively of Caucasian males over the age of 18.                       Moreover, in the early research—to the extent that it
No investigations are of children and adolescents                     was assessed—the samples contained individuals who
exclusively, although adolescents are included in a                   varied widely along the spectrum of same-sex sexual
very few study samples. Few SOCE studies in the early                 orientation prior to intervention, so that the studies
period include women. Although more recent research                   included men who were other-sex sexually attracted to
                                     includes women                   varying degrees alongside men who were primarily or
The research findings from early and respondents of                   exclusively same-sex sexually attracted (Bancroft, 1969;
                                                                      Barlow et al., 1975; Birk, 1974; Conrad & Wincze, 1976;
and recent studies may have diverse ethnic and
                                     racial backgrounds               Fookes, 1960; Hallman & Rachman, 1972; Kendrick &
limited applicability to non-                                         MacCulloch, 1972; LoPiccolo, Stewart, & Watkins, 1972;
                                     (e.g., Moran, 2007;
Whites, youth, or women.                                              Marquis, 1970; McCrady, 1973). Additionally, study
                                     Nicolosi et al., 2000;
Ponticelli, 1999; Schaeffer et al., 2000; Spitzer, 2003;              samples included men with and without histories of
Wolkomir, 2001), White men continue to dominate                       current and prior sexual contact with men and women
recent study samples. Thus, the research findings                     (Bancroft, 1969; Colson, 1972; Curtis & Presly, 1972;
from early and recent studies may have limited                        Fookes, 1960; Freeman & Meyer, 1975; Gray, 1970;
applicability to non-Whites, youth, or women. The                     Hallman & Rachman, 1972; Herman, Barlow, & Agras,
samples in the recent research have been narrowly                     1974; Larson, 1970; Levin, Hirsch, Shugar, & Kapche,
defined in other respects, focusing on well-educated,                 1968; LoPiccolo et al., 1972; MacCulloch & Feldman,
middle-class individuals to whom religion is extremely                1967; McConaghy, 1969; McConaghy et al., 1972, 1981;
important (e.g., Beckstead & Morrow, 2004; Nicolosi                   McConaghy & Barr, 1973; Segal & Sims, 1972; Thorpe
et al, 2000; Pattison & Pattison, 1980; Schaeffer et                                                     et al., 1964), so that
                                                                      Including participants with        men who are or have
al., 2000; Spitzer, 2003; Wolkomir, 2001). Same-sex
sexual attraction and treatments are confounded with
                                                                      attractions, sexual arousal,       been sexually active
these particular demographic characteristics across                   and behaviors to both sexes with women and men,
the recent literature. These research findings may be                 in the research on SOCE            only women, only
most applicable to educated White men who consider                    makes evaluating change            men, or neither are
themselves highly religious.                                                                             combined. Some recent
                                                                      more difficult.
   The early research sometimes included men who                                                         studies of SOCE
were receiving intervention involuntarily (e.g., Barlow,              have similar problems (e.g., Spitzer, 2003). Including
Agras, Abel, Blanchard, & Young, 1975; Callahan                       participants with attractions, sexual arousal, and
& Leitenberg, 1973; S. James, 1978; MacCulloch &                      behaviors to both sexes in the research on SOCE makes
Feldman, 1967; MacCulloch et al., 1965; McConaghy,                    evaluating change more difficult (Diamond, 2003; Rust,
1969, 1976; McConaghy, Proctor, & Barr, 1972),                        2003; Vasey & Rendell, 2003; R. L. Worthington, 2003).
usually men who were court referred as a result of                       Data analyses rarely adjust for preintervention
convictions on charges related to criminalized acts of                factors such as voluntary pursuit of intervention, initial
homosexual sex.33 The samples also include men who                    degree of other-sex attraction, or past and current
were not receiving intervention because of same-sex                   other-sex and same-sex behaviors; in very few studies
sexual attractions; rather, some of the men receiving                 did investigators perform and report subgroup analyses
intervention are described as pedophiles, exhibitionists,             to clarify how subpopulations fared as a result of
transvestites, and fetishists (Callahan & Leitenberg,                 intervention. The absence of these analyses obscure
1973; Conrad & Wincze, 1976; Fookes, 1960; Hallam                     results for men who are primarily same-sex attracted
& Rachman, 1972; Marquis, 1970; Thorpe, Schmidt,                      and seeking intervention regarding these attractions
                                                                      versus any other group of men in these studies, such
33
   Shidlo and Schroeder (2002) found that roughly 24% of their
                                                                      as men who could be characterized as bisexual in their
respondents perceived that SOCE was imposed on them rather than
pursued voluntarily.                                                  attractions and behaviors or those on whom treatment



A Systematic Review of Research on the Efficacy of SOCE: Overview and methodological Limitations                            33
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was imposed. For these reasons, the external validity                               Treatment Environments
(generalizability) of the early studies is unclear, with
                                                                    Clinically trained professionals using reasonably
selection-treatment interactions of particular concern.
                                                                    well-described change efforts generally conducted
It is uncertain which effects observed in these studies
                                                                    early research in clinical laboratory settings. By
would hold for which groups of same-sex attracted
                                                                    contrast, the recent research included a wide variety
people.
                                                                    of change efforts, providers, and settings in which these
                                                                    efforts may take place. The recent research has not
SAmPLIng AnD RECRuITmEnT PROCEDuRES                                 been performed in a manner that permits examination
Early and recent study samples are typically of                     of the interactions among characteristics of change
convenience, so it is unclear precisely what populations            efforts, providers, settings, and individuals seeking to
these samples represent. Respondents in the recent                  change, nor does the research associate these patterns
studies are typically recruited through ex-gay ministries           with outcomes.
and advocates of SOCE rather than through population-
based probability sampling strategies designed to obtain
a representative sample of same-sex attracted people                                          Summary
or the subset of them who experience their attractions
                                                                    Our analysis of the methodology of SOCE reveals
as distressing and have sought and been exposed
                                                                    substantial deficiencies. These deficiencies include
to SOCE. Additionally, study respondents are often
                                                                    limitations in making causal claims due to threats
invited to participate in these studies by LMHP who are
                                                                    to internal validity (such as sample attrition, use
proponents of SOCE, introducing unknown selection
                                                                    of retrospective pretests, lack of construct validity
biases into the recruitment process (cf. Beckstead, 2003;
                                                                    including definition and assessment of sexual
Shidlo & Schroeder, 2002).
                                                                    orientation, and variability of study treatments and
   Qualitative studies have been more successful in
                                                                    outcome measures). Additional limitations with
applying a variety of purposive stratified sampling
                                                                                                       recent research
strategies (e.g., Beckstead & Morrow, 2004; Ponticelli,             The recent empirical               include problems with
1999; Wolkomir, 2001) and developing appropriate                    literature provides little basis conclusion validity
comparison samples. However, the qualitative studies
were not undertaken with the purpose of determining
                                                                    for concluding whether             (the ability to make
                                                                    SOCE has any effect on             inferences from the
if SOCE interventions are effective in changing sexual
                                                                                                       data) due to small
orientation. These studies focused on understanding                 sexual orientation.
                                                                                                       or skewed samples,
aspects of the experience of participating in SOCE from
                                                                    unreliable measures, and inappropriate selection
the perspective of same-sex attracted people in distress.
                                                                    and performance of statistical tests. Due to these
   As noted previously, recent research has used designs
                                                                    limitations, the recent empirical literature provides
that are incapable of making attributions of intervention
                                                                    little basis for concluding whether SOCE has any effect
effects. In many of the recent studies, the nature of
                                                                    on sexual orientation. Any reading of the literature on
the procedures for recruiting samples is likely to have
                                                                    SOCE outcomes must take into account the limited
accentuated response-shift biases rather than to have
                                                                    generalizability of the study samples to the population
minimized them, because study recruiters were open
                                                                    of people who experience same-sex sexual attraction and
proponents of the techniques under scrutiny; it cannot
                                                                    are distressed by it. Taking into account the weaknesses
be assumed that the recruiters sought to encourage the
                                                                    and limitations of the evidence base, we next
participation of those individuals whose experiences
                                                                    summarize the results from research in which same-sex
ran counter to their own view of the value of these
                                                                    sexual attraction and behavior have been treated.
approaches. Proponents of these efforts may also have
limited access to the research for former clients who
were perceived to have failed the intervention or who
experienced it as harmful. Some of the recent research
to assess harm resulting from these interventions
(Schroeder & Shidlo, 2001; Shidlo & Schroeder, 2002)
suffers from sampling weaknesses and biases of a
similar nature.




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                   4. A SYSTEMATIC REVIEW OF RESEARCH
                  On THE EFFICACy OF SOCE: OuTCOmES


I
  n Chapter 3, we provided an overview of our                               • Increased interest in, sexual attraction to, and sexual
  systematic review of research on sexual orientation                         behavior with other-sex sexual partners
  change efforts34 (SOCE) and the results of the review
                                                                            • Increased healthy relationships and marriages with
for methodological concerns. In this chapter, we describe
                                                                              other-sex partners
the evidence on outcomes associated with SOCE,
whether beneficial or harmful. No studies reported                          • Improved quality of life and mental health
effect size estimates or confidence intervals, and many
studies did not report all of the information that                          Although not all of these aims are equally well
would be required to compute effect sizes. As a result,                     studied, these are the outcomes that have been studied
statistical significance and methodology are considered                     frequently enough to be reported in this systematic
in interpreting the importance of the findings. As the                      review. One general point that we wish to emphasize
report will show, the peer-refereed empirical research                      as we begin the discussion of the outcomes that have
on the outcomes of efforts to alter sexual orientation                      been reported in this literature is that nonexperimental
provides little evidence of efficacy and some evidence of                   studies often find positive effects that do not hold up
harm. We first summarize the evidence of efficacy and                       under the rigor of experimentation. The literature on
then the evidence of unintended harmful effects.                            SOCE is generally consistent with this point. In other
                                                                            words, the least rigorous studies in this body of research
                                                                            generally provide a more positive assessment of efficacy
                 Reports of Benefit                                         than do studies that meet even the most minimal
Sexual orientation change efforts have aimed to address                     standards of scientific rigor.
distress in individuals with same-sex sexual attractions
by achieving a variety of different outcomes:
                                                                              Decreasing Same-Sex Sexual Attraction
• Decreased interest in, sexual attraction to, and sexual
  behavior with same-sex sexual partners                                    EARLy STuDIES
                                                                            A number of investigators have assessed aversion
                                                                            therapy interventions to reduce physiological and
                                                                            self-reported sexual arousal in response to same-sex
34
   In this report, we use the term sexual orientation change efforts
(SOCE) to describe a method that aims to change a same-sex                  stimuli and self-reports of same-sex sexual attraction
sexual orientation (e.g., behavioral techniques, psychoanalytic             (see Appendix B).
techniques, medical approaches, religious and spiritual approaches) to
heterosexual, regardless of whether mental health professionals or lay
individuals (including religious professionals, religious leaders, social
groups, and other lay networks, such as self-help groups) are involved.




A Systematic Review of Research on the Efficacy of SOCE Outcomes                                                                  35
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Experimental studies                                                differences between the experimental and control groups
Results from the experimental studies of aversive                   in the frequency of same-sex sexual behavior.
techniques provide some evidence that these treatments                 The results of the experimental studies suggest that
can reduce self-reported and physiological sexual                   some men who participate in clinical treatment studies
arousal for some men. The experimental studies that                 may be conditioned to control their sexual arousal
we reviewed showed lower rates of change in sexual                  response to sexual stimuli, although McConaghy’s
arousal toward the same sex than did the quasi-                     (cf. McConaghy, 1999) studies suggest that aversive
experimental and nonexperimental studies. This finding              treatments may affect sexual arousal indiscriminately.
was consistent with H. E. Adams and Sturgis’s (1977)                These studies found that not all men reduce their
review of studies published through 1976.                           sexual arousal to these treatments and that changes in
   In their review, H. E. Adams and Sturgis (1977)                  sexual arousal in the lab are not necessarily associated
found that across the seven studies that they classified            with change in sexual behavior.
as controlled studies, 34% of the 179 subjects that were
retained in these studies decreased their same-sex                  Quasi-experimental studies
sexual arousal. McConaghy (1976) found that roughly                 The three quasi-experiments listed in Appendix B all
half of the men who received one of four treatment                  compare treatment alternatives for nonequivalent
regimens reported less intense sexual interest in men at            groups of men. Birk et al. (1971) found that 5 (62%)
6 months. McConaghy, Proctor, and Barr (1972) found                 of the 8 men in the aversive treatment condition
reductions in penile response in the laboratory following           reported decreased sexual feelings following treatment;
treatment. However, penile response to female nudes                 one man out of the 8 (12%) demonstrated reduced
also declined for those men who initially responded to              sexual arousal at long-term follow-up. In comparing
female stimuli. McConaghy (1969) similarly reported                 groups, the researchers found that reports of same-
a decline in sexual arousal to all stimuli as a result              sex “cruising,” same-sex sexual “petting,” and orgasm
of treatment for some men and that treatment also                   declined significantly for men receiving shocks when
increased same-sex sexual arousal for some men.                     compared with men receiving associative conditioning.
Overall, however, a majority of participants showed                 McConaghy and colleagues (1981) found that 50%
decreases in same-sex sexual arousal immediately                    of respondents reported decreased sexual feelings at
following treatment. McConaghy and Barr (1973) found                1 year. S. James (1978) reported that anticipatory
that about half of men reported that their same-sex                 avoidance learning was relatively ineffective when
sexual attractions were reduced. Tanner (1975) found                compared with desensitization. In their review, H. E.
that aversive shock could lessen erectile response to               Adams and Sturgis (1977) found that 50% of the 124
male stimuli.                                                       participants in what they termed uncontrolled studies
   An important caveat in considering the results of                reported reduced sexual arousal.
these experiments is that none compared treatment
outcomes to an untreated control group. That is, these              Nonexperimental studies
studies compared treatments to one another. The fact                Nonexperimental studies, which lack sufficient rigor to
that four of these studies also involved men who were               assess efficacy but which may be useful in identifying
being treated by court referral should also be considered           potential treatment approaches, offer a similar view of
in interpreting the findings. These experiments cannot              the impact of aversive treatment on reductions in sexual
address whether men would have changed their sexual                 arousal. For instance, Bancroft (1969), in a within-
arousal pattern in the absence of treatment. Only one of            subject study without a comparison group, delivered
the experiments that we identified compared treatment               electric shocks based on males’ penile volume response
outcomes against the outcomes for an untreated control              to photographs of nude men as they were fantasizing
group. Tanner (1974) examined change in sexual arousal              about homosexual sexual encounters. Research subjects
among 8 men receiving electric shock therapy. Tanner                underwent a minimum of 30 treatment sessions.
found that physiological arousal to male stimuli in the             Bancroft reported that of the men who were initially
laboratory had declined at the 8-week follow-up, when               sexually attracted to both sexes, 30% (n = 3) of these
scores among the 8 men in the treatment were compared               men lessened their same-sex sexual interest over the
with those of the 8 men in a control group. Changes                 long-term. Among those with no initial other-sex sexual
were not achieved for all of the men, and there were no             attraction, no lasting changes were observed in sexual




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arousal and attraction. Several other uncontrolled                 increased rather than decreased, a result that was
studies found reductions in participants’ self-reported            obtained for some men in the experimental studies.
sexual attraction and physiological response under                 In a study by Barlow and colleagues (1975), among
laboratory conditions (range = 7%–100%; average                    3 men who were each exposed to unique biofeedback
= 58%) (Callahan & Leitenberg, 1973; Feldman &                     treatment regimens, all maintained same-sex sexual
MacCulloch, 1965; Fookes, 1960; Hallan & Rachman,                  arousal patterns at follow-up, as measured by penile
1972; MacCulloch & Feldman, 1967; Sandford, Tustin,                circumference change in response to photos of male
& Priest, 1975).                                                   stimuli.
   As is typically found in intervention research, the                Mintz (1966) found that 8 years after initiating group
average proportion of men who are reported to change               and individual therapy, 5 of his 10 research participants
in uncontrolled studies is roughly double the average              (50%) had dropped out of therapy. Mintz perceived
proportion of men who are reported to change in                    that among those who remained, 20% (n = 1) were
controlled studies. For instance, as noted previously,             distressed, 40% (n = 2) accepted their same-sex sexual
results from controlled studies show that far less                                                      attractions, and 40%
change can be produced in same-sex sexual arousal by               Overall, the low degree              (n = 2) were free from
aversion techniques. H.E. Adams and Sturgis (1977)                 of scientific rigor in these         conflict regarding
reported that in the nonexperimental studies in their              studies is likely to lead            same-sex sexual
review, 68% of 47 participants reduced their same-sex              to overestimates of the              attractions. Birk
sexual arousal, as compared with 34% of participants in            benefits of these treatments         (1974) assessed the
experimental studies.                                              on reductions in same-sex            impact of behavioral
   The studies of nonaversive techniques as the                    sexual arousal and attraction therapy on 66 men,
primary treatment, such as biofeedback and hypnosis,                                                    of whom 60% (n =
                                                                   and may also explain the
were only assessed in the nonexperimental within-                                                       40) had dropped out
                                                                   contradictory results obtained
subject and patient case studies. For example, Blitch                                                   of intervention by 7
and Haynes (1972) treated a single female who was
                                                                   in nonexperimental studies.          months. Among those
heterosexually experienced and whom they described                 who remained in the study, a majority shifted toward
as strongly committed to reducing her same-sex                     heterosexual scores on the Kinsey scale by 18 months.
sexual attractions. Using relaxation, rehearsal, and                  Overall, the low degree of scientific rigor in these
masturbation reconditioning, she was reported to be                studies is likely to lead to overestimates of the benefits
able to masturbate without female fantasies 2 months               of these treatments on reductions in same-sex sexual
after intervention. Curtis and Presly (1972) used covert           arousal and attraction and may also explain the
sensitization to treat a married man who experienced               contradictory results obtained in nonexperimental
guilt about his attraction to and extramarital                     studies.
engagement with men. After intervention, he showed
reduced other-sex and same-sex sexual interest, as                 RECEnT STuDIES
measured by questionnaire items. Huff (1970) treated               Recent studies have investigated whether people
a single male who was interested in becoming sexually              who have participated in efforts to change their
attracted to women. Following desensitization, his                 sexual orientation report decreased same-sex sexual
journal entries showed that his same-sex sexual                    attractions (Nicolosi et al., 2000; Schaeffer et al., 2000;
fantasies continued, though the ratio of other-sex to              Spitzer, 2003) or how people evaluate their overall
same-sex sexual fantasies changed by the 6-month                   experiences of SOCE (Beckstead & Morrow 2004;
follow-up to favor other-sex sexual fantasies. His MMPI            Pattison & Pattison, 1980; Ponticelli, 1999; Schroeder
scores showed improvement in his self-concept and                  & Shidlo, 2001; Shidlo & Schroeder, 2002; Wolkomir,
reductions in his distress.                                        2001). These studies all use designs that do not permit
   By contrast, among the 4 men exposed to orgasmic                cause-and-effect attributions to be made. We conclude
reconditioning by Conrad and Wincze (1976), all                    that although these studies may be useful in describing
reported decreased same-sex sexual attractions                     people who pursue SOCE and their experiences of
immediately following intervention, but only one                   SOCE, none of the recent studies can address the
demonstrated a short-term measurable alteration in                 efficacy of SOCE or its promise as an intervention.
physiological responses to male stimuli. Indeed, one               These studies are therefore described elsewhere in the
subject’s sexual arousal to same-sex sexual stimuli



A Systematic Review of Research on the Efficacy of SOCE Outcomes                                                           37
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report in places where they contribute to understanding                  picture of the effects of aversive forms of SOCE similar
respondents’ motivations for and experiences of SOCE.                    to that painted by H. E. Adams & Sturgis.
                                                                            For instance, in his study comparing aversion and
SummARy                                                                  aversion relief therapies,36 McConaghy (1969) reported
Overall, early studies suggest that modest short-term                    that about 20% of men had engaged in same-sex sexual
effects on reducing same-sex sexual arousal in the                       behavior within 2 weeks following treatment. No longer
laboratory may be obtained for a minority of study                       term data are reported. McConaghy (1976) found that
participants through some forms of SOCE, principally                     50% of men had reduced the frequency of their same-sex
interventions involving aversion procedures such                         behavior, 25% had not changed their same-sex behavior,
as electric shock. Short-term reductions in sexual                       and 25% reported no same-sex behavior at 1 year.
arousal to other-sex stimuli were also reported for                      McConaghy and Barr (1973) reported that 25% of men
some treatments. When outcomes were described for                        had reduced their same-sex sexual behavior at 1-year.
individual participants or subgroups of participants,                    Tanner (1975) reported a significant decline in same-
short-term reductions in same-sex sexual arousal                         sex behavior across treatments. In the only untreated
patterns were more commonly reported for people                          control group study that we identified, Tanner (1974)
described as having other-sex sexual attractions prior                   found that intervention had no effect on rates of same-
to intervention and high levels of motivation to change.                 sex behavior, even though the intervention did reduce
Initial and sustained reductions in sexual arousal were                  changes in penile circumference in response to male
reported less commonly for people who were described                     stimuli in the lab.
as having no other-sex sexual attraction prior to
intervention. The results from the uncontrolled studies                  Quasi-experimental studies
are more positive than those from the controlled studies,                Birk and colleagues (1971) found that 2 of 18 men
as would be expected. Yet these studies also found that                  (11%) had avoided same-sex behavior at 36 months.
reduction in sexual arousal may not occur for study                      McConaghy, Armstrong, and Blaszczynski (1981)
participants. Recent studies provide no sound scientific                 reported that among the 11 men who were sexually
basis for determining the impact of SOCE on decreasing                   active with same-sex partners, about 25% reduced their
same-sex sexual attraction.                                              same-sex behavior. S. James (1978) did not report on
                                                                         behavior. In their review, H. E. Adams and Sturgis
                                                                         (1977) found that 50% of the 124 participants in what
      Decreasing Same-Sex Sexual Behavior                                they called uncontrolled group studies reported reduced
                                                                         sexual arousal, and 42% reported less frequent same-
EARLy STuDIES
                                                                         sex sexual behavior. Among the quasi-experiments
Early studies show that SOCE have limited impact on                      that we reviewed, the reported reductions in sexual
same-sex sexual behavior, even in cases when lab results                 behavior were lower (i.e., 11% and 25%) than what was
show some reduction in same-sex sexual arousal.35                        reported by Adams and Sturgis. These differences may
                                                                         be due to our more rigorous criteria of what constitutes
Experimental studies                                                     a quasi-experiment than the criteria employed by
In their review, H. E. Adams and Sturgis (1977) found                    Adams and Sturgis.
that across the seven controlled studies published
between 1960 and 1976, 18% of 179 subjects in these                      Nonexperimental studies
studies were reported to have decreased same-sex                         Among the case and single-group within-subject studies,
sexual behavior; the percentage reporting reductions                     the results are mixed. Some studies found that people
in sexual arousal was nearly double that percentage,                     reported having abstained from same-sex behavior
at 34%. In our review, we found that the results of                      in the months immediately following intervention or
the experimental studies that we reviewed provided a                     having decreased its frequency. Bancroft (1969) found
35
  In considering the results of early studies on this outcome, readers   that 4 of the 10 men in his study had reduced their
are advised that data on this outcome are not always reported. In        behavior at follow-up. Freeman and Meyer (1975) found
some cases, not all research participants in these studies had engaged   that 7 of the 9 men in their study were abstinent at 18
in sexual activity with same-sex partners prior to treatment, though
they may have fantasized about doing so. In other studies, reducing
sexual arousal under lab conditions was examined and not behavior in     36
                                                                           Aversive therapy is the application of a painful stimuli; aversion
daily life.                                                              relief therapy is the cessation of an aversive stimulus.




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months. Other single-subject and case study subjects               EARLy STuDIES
reported declines in or no same-sex behavior (Gray,
1970; Huff, 1970; B. James, 1962, 1963; Kendrick &                 Experimental studies
McCullough, 1972; Larson, 1970; LoPiccolo, 1971; Segal             In many of the early experiments on aversive
& Sims, 1972).                                                     treatments, sexual arousal to female sexual stimuli
   Not all individuals, however, successfully abstained            was a desired outcome. McConaghy (1969) found that
on every occasion of sexual opportunity (Colson, 1972;             about 16% of 40 men increased their sexual arousal to
Rehm & Rozensky, 1974), and some relapse occurred                  female stimuli immediately following treatment and
within months following treatment (Bancroft, 1969;                 that 5% increased their sexual arousal to male stimuli.
Freeman & Meyer, 1975; Hallam & Rachman, 1972;                     It is unclear how the 50% of men in this study who
Levin et al., 1968; MacCulloch et al., 1965; Marquis,              were aroused by females prior to the treatment were
1970). In other studies, the proportion reporting that             distributed among the men who increased their sexual
they changed their sexual behavior is a minority.                  arousal and among those who did not. In other words,
For instance, among Barlow et al.’s (1975) research                it is possible that most of the men who changed were
participants, 2 of the 3 men demonstrated no change                sexually aroused by women initially. In interviews
in their same-sex behavior. In the case studies, clients           following treatment, McConaghy (1976) reported that
who were described as exclusively attracted to the same            25% of 157 men indicated that they felt more sexual
sex prior to treatment were most commonly reported to              arousal toward females than they did before treatment.
have failed to avoid same-sex sexual behavior following            McConaghy, Proctor, and Barr (1972) found no change
treatment.                                                         in rates of sexual arousal to female stimuli. McConaghy
                                                                   et al.’s (1972) research participants showed no change
RECEnT STuDIES                                                     in penile volume in response to female stimuli after
                                                                   intervention.
As we have noted, recent studies provide no sound
                                                                      In a randomized control trial, Tanner’s (1974) 8
basis for attributing individual reports of their current
                                                                   research participants reported increases in sexual
behavior to SOCE. No results are reported for these
                                                                   fantasizing about other-sex partners after aversive
studies.
                                                                   conditioning. However, penile circumference data
                                                                   showed no increased sexual arousal to female stimuli.
SummARy                                                            H. E. Adams and Sturgis (1977) found that 26% of 179
In the early studies with the greatest rigor, it appears           participants in the controlled studies that they reviewed
that SOCE may have decreased short-term same-sex                   increased their sexual arousal toward the other-sex.
sexual behavior for a minority of men. However, in the
only randomized control group trial, the intervention              Quasi-experimental studies
had no effect on same-sex sexual behavior. Quasi-
                                                                   Birk and colleagues (1971) found no difference between
experimental results found that a minority of men
                                                                   their treatment groups in reported sexual arousal to
reported reductions in same-sex sexual behavior
                                                                   women. Two men (11% of 18 participants) in the study
following SOCE. The nonexperimental studies found
                                                                   reported sustained sexual interest in women following
that study participants often reported reduced behavior
                                                                   treatment. McConaghy and colleagues (1981) reported
but also found that reductions in same-sex sexual
                                                                   no significant improvement in attraction to females.
behavior, when reported, were not always sustained.
                                                                   S. James (1978) reported little impact of treatment on
                                                                   participants in anticipatory avoidance learning. He
   Increasing Other-Sex Sexual Attraction                          noted a general improvement among 80% of the 40 men
                                                                   undergoing desensitization to other-sex situations.
Early studies provide limited evidence for reductions in
sexual arousal to same-sex stimuli and for reductions in
                                                                   Nonexperimental studies
same-sex sexual behavior following aversive treatments.
The impact of the use of aversive treatments for                   Among the nonexperimental studies, for men who were
increasing other-sex sexual arousal is negligible.                 described as having some degree of other-sex sexual
                                                                   attraction and experience before the intervention,
                                                                   the balance of studies showed an increase in other-
                                                                   sex sexual attraction over time, although given the




A Systematic Review of Research on the Efficacy of SOCE Outcomes                                                        39
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nonexperimental nature of these studies, this change                    Increasing Other-Sex Sexual Behavior
cannot be validly attributed to SOCE. For men with
                                                                    Studies on whether interventions can lead to other-sex
little or no preintervention other-sex sexual attraction,
                                                                    sexual activity show limited results. These studies
the research provides little evidence of increased other-
                                                                    show more success for those who had an other-sex
sex sexual attraction.
                                                                    sexual orientation (e.g., sexual arousal) and were
   As in some of the experimental studies, the results
                                                                    sexually experienced with members of the other sex
reported in the nonexperiments were not always in
                                                                    prior to intervention than for those who had no other-
the desired direction. Studies occasionally showed
                                                                    sex sexual orientation and no history of other-sex sexual
that reductions in sexual arousal and interest may
                                                                    behavior. The results for this outcome suggest that some
occur for same- and other-sex partners, suggesting the
                                                                    people can initiate other-sex sexual behavior whether or
possibility that treatments may lower sexual arousal
                                                                    not they have any observed other-sex sexual orientation.
to sexual stimuli in general. For instance, Curtis and
                                                                       As previously noted, in the early studies many people
Presly’s (1972) married male subject reported slightly
                                                                    were described as heterosexually experienced. From
lower rates of sexual arousal in response to women than
                                                                    the data provided by H.E. Adam and Sturgis in their
before intervention, in addition to reduced same-sex
                                                                    1977 review, 61%–80% of male research participants
sexual arousal.
                                                                    appeared to have histories of dating women, and
   Among early studies, many found little or no
                                                                    33%–63% had sexual intercourse with women prior
increases in other-sex sexual attraction among
                                                                    to intervention. Additionally, some of the men were
participants who showed limited or no other-sex
                                                                    married at the time of intervention. Because so many
sexual attraction to begin with. For instance, 2 of
                                                                    of the research participants in these studies had other-
the 3 men in Barlow et al.’s (1975) within-subject
                                                                    sex sexual attractions or intimate relationships at the
biofeedback investigation reported little or no other-sex
                                                                    outset, it is unclear how to interpret changes in their
sexual interest prior to intervention. As measured by
                                                                    levels of other-sex sexual activity.
penile circumference, one of these men demonstrated
negligible increases in other-sex sexual attraction; one
other individual showed stable low other-sex sexual                 EARLy STuDIES
attraction, which contradicted his self-report.                     Experimental studies
   In contrast, a handful of the early single-patient
                                                                    According to H. E. Adams and Sturgis (1977), only 8%
case studies found increases in other-sex attraction.
                                                                    of participants in controlled studies are reported to have
For instance, Hanson and Adesso’s (1972) research
                                                                    engaged in other-sex sexual behavior following SOCE.
participant, who was reported to be primarily same-sex
                                                                    Among those studies we reviewed, only 2 participants
sexually attracted at the onset of intervention, increased
                                                                    showed a significant increase in other-sex sexual
his sexual arousal to women and ultimately reported
                                                                    activity (McConaghy & Barr, 1973; Tanner, 1974). In
that he enjoyed sex with women. Huff’s (1970) male
                                                                    Tanner’s randomized controlled trial, men increased the
research participant also reported increased other-sex
                                                                    frequency of intercourse with females but maintained
sexual attraction at 6 months following desensitization.
                                                                    the frequency of intercourse with males.

RECEnT STuDIES                                                      Quasi-experimental studies
As we have noted, recent studies provide no sound basis             McConaghy et al. (1981) found no difference in the
for attributing individual reports of their current other-          frequency of other-sex sexual behavior following SOCE.
sex sexual attraction to SOCE. No results are reported
for these studies.                                                  Nonexperimental studies
                                                                    Among within-subject patient studies in which aversion
SummARy                                                             techniques were used, some studies reported that a
Taken together, the research provides little support                subset of 12%–40% of people in the multiple-subject
for the ability of interventions to develop other-sex               studies and all people in single-patient studies engaged
sexual attraction where it did not previously exist,                in other-sex sexual behavior following intervention
though it may be possible to accentuate other-sex sexual            (e.g., Bancroft, 1969; Fookes, 1960; Hallam & Rachman,
attraction among those who already experience it.                   1972; Hanson & Adesso, 1972; Kendrick & McCullough,
                                                                    1972; Larson, 1970). Regarding other techniques



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studied in early intervention research, Barlow et                  weak measures of these constructs and weak study
al. (1975) reported that 1 of 3 research participants              designs. Among the early studies that report on mental
began to date women after biofeedback. Huff’s (1970)               health, three nonexperimental single-patient case
research participant also began to date women after                studies report that clients were more self-assured
desensitization training. LoPiccolo (1971) used orgasmic           (Blitch & Haynes, 1972) or less fearful and distressed
reconditioning to treat a male–female couple. The male             (Hanson & Adesso, 1972; Huff, 1970).
could not achieve an erection with his female partner                Overall, the lack of high-quality data on mental
and found sex with women dissatisfying. At 6 months,               health outcomes of efforts to change sexual orientation
he was able to develop and maintain an erection and                provide no sound basis for claims that people’s mental
ejaculate intravaginally.                                          health and quality of life improve. Indeed, these studies
                                                                   add little to understanding how SOCE affects people’s
RECEnT STuDIES                                                     long-term mental health.
As previously noted, recent studies provide no sound
basis for attributing individual reports of their current
sexual behavior to SOCE. No results are reported for
                                                                                  Reports of Harm
these studies.                                                     Determining the efficacy of any intervention includes
                                                                   examination of its side effects and evidence of its harm
SummARy                                                            (Flay et al., 2005; Lilienfeld, 2007). A central issue
                                                                   in the debates regarding efforts to change same-sex
In general, the results from studies indicate that while
                                                                   sexual attractions concerns the risk of harm to people
some people who undergo SOCE do engage in other-sex
                                                                   that may result from attempts to change their sexual
sexual behavior afterward, the balance of the evidence
                                                                   orientation. Here we consider evidence of harm in early
suggests that SOCE is unlikely to increase other-sex
                                                                   and recent research.
sexual behavior. Findings show that the likelihood of
having sex with other-sex partners for those research
participants who possess no other-sex sexual orientation           EARLy STuDIES
prior to the intervention is low.                                  Early research on efforts to change sexual orientation
                                                                   focused heavily on interventions that include aversion
                                                                   techniques. Many of these studies did not set out to
                         Marriage                                  investigate harm. Nonetheless, these studies provide
One outcome that some proponents of efforts to change              some suggestion that harm can occur from aversive
sexual orientation are reported to value is entry into             efforts to change sexual orientation.
heterosexual marriage. Few early studies reported on
whether people became heterosexually married after                 ExPERImEnTAL STuDIES
intervention. In a quasi-experimental study, Birk et               In McConaghy and Barr’s (1973) experiment, 1
al. (1971) found that 2 of 18 respondents (11%) were               respondent of 46 subjects is reported to have lost all
married at 36 months. Two uncontrolled studies                     sexual feeling and to have dropped out of the treatment
(Birk, 1974; Larson, 1970) indicated that a minority of            as a result. Two participants reported experiencing
research participants ultimately married, though it is             severe depression, and 4 others experienced milder
not clear what role, if any, intervention played in this           depression during treatment. No other experimental
outcome. Recent research provides more information on              studies reported on iatrogenic effects.
marriage, though research designs do not permit any
attribution of marital outcomes to SOCE.
                                                                   QuASI-ExPERImEnTAL STuDIES
                                                                   None reported on adverse events.
             Improving Mental Health
The relationship between mental health, psychological              nOnExPERImEnTAL STuDIES
well-being, sexual orientation, sexual orientation                 A majority of the reports on iatrogenic effects are
identity, and sexual behavior is important. Few studies            provided in the nonexperimental studies. In the study
report health and mental health outcomes, and those                conducted by Bancroft (1969), the negative outcomes
that do report outcomes tend to use psychometrically               reported include treatment-related anxiety (20% of 16



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participants), suicidal ideation (10% of 16 participants),          perceptions of relief, happiness, improved relationships
depression (40% of 16 participants), impotence (10%                 with God, and perceived improvement in mental
of 16 participants), and relationship dysfunction                   health status, among other reported benefits. Many
(10% of 16 participants). Overall, Bancroft reported                participants in studies by Beckstead and Morrow (2004)
the intervention had harmful effects on 50% of the                  and Shidlo and Schroeder (2002) described experiencing
16 research subjects who were exposed to it. Quinn,                 first the positive effects and then experiencing or
Harrison, and McAllister (1970) and Thorpe et al.                   acknowledging the negative effects later.
(1964) also reported cases of debilitating depression,                 Overall, the recent studies do not give an indication of
gastric distress, nightmares, and anxiety. Herman and               the client characteristics that would lead to perceptions
Prewett (1974) reported that following treatment, their             of harm or benefit. Although the nature of these studies
research participant began to engage in abusive use of              precludes causal attributions for harm or benefit to
alcohol that required his rehospitalization. It is unclear          SOCE, these studies underscore the diversity of and
to what extent and how his treatment failure may have               range in participants’ perceptions and evaluations of
contributed to his abusive drinking. B. James (1962)                their SOCE experiences.
reported symptoms of severe dehydration (acetonuria),
which forced treatment to be suspended. Overall,
although most early research provides little information
                                                                                               Summary
on how research participants fared over the longer term             We conclude that there is a dearth of scientifically
and whether interventions were associated with long-                sound research on the safety of SOCE. Early and recent
term negative effects, negative effects of treatment are            research studies provide no clear indication of the
reported to have occurred for some people during and                                                 prevalence of harmful
immediately following treatment.
                                                                    Studies from both periods        outcomes among people
   High dropout rates characterize early treatment                  indicate that attempts to        who have undergone
studies and may be an indicator that research                       change sexual orientation efforts to change their
participants experience these treatments as harmful.                may cause or exacerbate sexual orientation
Lilienfeld’s (2007) review of harm in psychotherapy                 distress and poor mental         or the frequency of
identifies dropout as not only an indicator of direct                                                occurrence of harm
                                                                    health in some individuals,
harm but also of treatment ineffectiveness.                                                          because no study to date
                                                                    including depression and         of adequate scientific
                                                                    suicidal thoughts. The lack      rigor has been explicitly
RECEnT STuDIES
                                                                    of rigorous research on the designed to do so. Thus,
Although the recent studies do not provide valid causal
evidence of the efficacy of SOCE or of its harm, some
                                                                    safety of SOCE represents we cannot conclude how
                                                                    a serious concern, as            likely it is that harm
recent studies document that there are people who
                                                                    do studies that report           will occur from SOCE.
perceive that they have been harmed through SOCE
                                                                                                     However, studies from
(Beckstead & Morrow, 2004; Nicolosi et al., 2000;                   perceptions of harm.
                                                                                                     both periods indicate
Schaeffer et al., 2000; Schroeder & Shidlo, 2001; Shidlo
                                                                    that attempts to change sexual orientation may cause
& Schroeder, 2002; Smith et al., 2004), just as other
                                                                    or exacerbate distress and poor mental health in some
recent studies document that there are people who
                                                                    individuals, including depression and suicidal thoughts.
perceive that they have benefited from it (Beckstead &
                                                                    The lack of rigorous research on the safety of SOCE
Morrow, 2004; Nicolosi et al., 2000; Pattison & Pattison,
                                                                    represents a serious concern, as do studies that report
1980; Schaeffer et al., 2000; Spitzer, 2003). Among
                                                                    perceptions of harm (cf. Lilienfeld, 2007).
those studies reporting on the perceptions of harm, the
reported negative social and emotional consequences
include self-reports of anger, anxiety, confusion,                                         Conclusion
depression, grief, guilt, hopelessness, deteriorated
relationships with family, loss of social support, loss             The limited number of rigorous early studies and
of faith, poor self-image, social isolation, intimacy               complete lack of rigorous recent prospective research on
difficulties, intrusive imagery, suicidal ideation,                 SOCE limits claims for the efficacy and safety of SOCE.
self-hatred, and sexual dysfunction. These reports                  Within the early group of studies, there are a small
of perceptions of harm are countered by accounts of                 number of rigorous studies of SOCE, and those focus on
                                                                    the use of aversive treatments. These studies show that



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enduring change to an individual’s sexual orientation is
uncommon and that a very small minority of people in
these studies showed any credible evidence of reduced
                              same-sex sexual attraction,
Few studies provided          though some show lessened
strong evidence that          physiological arousal
any changes produced to all sexual stimuli.
in laboratory conditions Compelling evidence of
                              decreased same-sex sexual
translated to daily life.
                              behavior and increased
attraction to and engagement in sexual behavior with
the other sex was rare. Few studies provided strong
evidence that any changes produced in laboratory
conditions translated to daily life. We found that
nonaversive and recent approaches to SOCE have not
been rigorously evaluated. Given the limited amount
of methodologically sound research, we cannot draw a
conclusion regarding whether recent forms of SOCE are
or are not effective.
   We found that there was some evidence to indicate
that individuals experienced harm from SOCE. Early
studies do document iatrogenic effects of aversive
forms of SOCE. High dropout rates characterize early
aversive treatment studies and may be an indicator
that research participants experience these treatments
as harmful. Recent research reports indicate that there
are individuals who perceive they have been harmed
and others who perceive they have benefited from
nonaversive SOCE. Across studies, it is unclear what
specific individual characteristics and diagnostic criteria
would prospectively distinguish those individuals
who will later perceive that they have succeeded and
benefited from nonaversive SOCE from those who will
later perceive that they have failed or been harmed.
In the next chapter, we explore the literature on
individuals who seek to change their sexual orientation
to better understand their concerns.




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                 5. RESEARCH ON ADULTS WHO UNDERGO
                  SEXUAL ORIENTATION CHANGE EFFORTS


I
  n the three chapters preceding this one, we have                                                                for religious
  focused on sexual orientation change efforts37 (SOCE),                    We hope that an empathic              populations. We hope
  because such interventions have been the primary                          and comprehensive review              that an empathic
focus of attention and contention in recent decades. Now                    of the scholarly literature of        and comprehensive
we turn from the problem of sexual orientation change,                      the population that seeks             review of the
as it has been defined by “expert” narratives of sin,                       and participates in SOCE              scholarly literature
crime, disorder, and dysfunction in previous chapters,                      can facilitate an increased           of the population
to the problem of sexual orientation distress, as it exists                 understanding of the needs            that seeks and
in the lives of individuals who seek sexual orientation                                                           participates in
                                                                            of this population so that
change. We try to present what the research literature                                                            SOCE can facilitate
                                                                            an affirmative therapeutic
reveals—and clarify what it does not—about the natural                                                            an increased
history of the phenomenon of people who present to
                                                                            approach may be developed.            understanding of
LMHP seeking SOCE.                                                          the needs of this population so that an affirmative
   We do this for two major reasons. The first is to                        therapeutic approach may be developed.
provide a scholarly basis for responding to the core task                      We decided to expand our review beyond empirical
force charge: “the appropriate application of affirmative                   literature to have a fuller view of the population in
therapeutic interventions” for the population of those                      question. Because of the lack of empirical research in
individuals who seek sexual orientation change. The                         this area, the conclusions must be viewed as tentative.
second is our hope to step out of the polemic that has                      The studies that are included in this discussion are (a)
defined approaches to sexual orientation distress. As                       surveys and studies of individuals who participated
discussed in the introduction, some professional articles                   in SOCE and their perceptions of change, benefit, and
(e.g., Rosik, 2001, 2003; Yarhouse & Burkett, 2002),                        harm (e.g., S. L. Jones & Yarhouse, 2007; Nicolosi et al.,
organizations, and accounts of polemical debates (cf.                       2000; Schaeffer et al., 2000; Schroeder & Shidlo, 2001;
Drescher, 2003) have argued that APA and mainstream                         Shidlo & Schroeder, 2002; Spitzer, 2003; Throckmorton
psychology are ignoring the needs of those for whom                         & Welton, 2005);38 (b) high-quality qualitative studies
same-sex sexual attractions are unwanted, especially                        of the concerns of participants and the dynamics of
                                                                            SOCE (e.g., Beckstead & Morrow, 2004; Erzen, 2006;
37
   In this report, we use the term sexual orientation change efforts        Ponticelli, 1999; Wolkomir, 2001, 2006); (c) case reports,
(SOCE) to describe a method that aims to change a same-sex                  clinical articles, dissertations, and reviews where sexual
sexual orientation (e.g., behavioral techniques, psychoanalytic
techniques, medical approaches, religious and spiritual approaches) to
heterosexual, regardless of whether mental health professionals or lay      38
                                                                              As previously noted, these studies, due to their significant
individuals (including religious professionals, religious leaders, social   methodological issues, cannot assess whether actual sexual
groups, and other lay networks, such as self-help groups) are involved.     orientation change occurred.




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orientation or sexual orientation identity change were             not fully addressed age, gender, gender identity, race,
considered or attempted (e.g., Borowich, 2008; Drescher,           ethnicity, culture, national origin, disability, language,
1998a; Glassgold, 2008; Gonsiorek, 2004; Haldeman,                 and socioeconomic status in the population of distressed
2004; Karten, 2006; Mark, 2008; Tan, 2008; Yarhouse et             individuals who have sought SOCE.
al., 2005; Yarhouse, 2008); and (d) scholarly articles on             Samples in recent SOCE studies have been composed
the concerns of religious individuals who are conflicted           predominantly of individuals from conservative
by their same-sex sexual attractions, many of whom                 Christian denominations (Beckstead & Morrow, 2004;
accept their same-sex sexual orientation (e.g., Coyle &            Erzen, 2006; Nicolosi et. al., 2000; Ponticelli, 1999;
Rafalin, 2000; Horlacher, 2006; Kerr, 1997; Mahaffy,               Schroeder & Shidlo, 2001; Shidlo & Schroeder, 2002;
1996; Moran, 2007; O’Neill & Ritter, 1992; Ritter                  Spitzer, 2003; Wolkomir, 2001). These studies included
& O’Neill, 1989, 1995; Smith et al., 2004; Thumma,                 very few nonreligious individuals, and the concerns of
1991; Yip, 2000, 2002, 2003, 2005). We also reviewed               religious individuals of faiths other than Christian are
a variety of additional scholarly articles on subtopics            not described. The published literature focused on the
such as individuals in other-sex marriages and general             impact of religiously oriented self-help groups or was
literature on sexual orientation concerns.                         performed by those who sought referrals from groups
                                                                   that advocate SOCE. Thus, the existing literature
                                                                   limits information to the concerns of a particular group
                  Demographics                                     of religious individuals. Finally, most individuals in
The majority of participants in research studies on                studies of SOCE have tried multiple ways to change
SOCE have been Caucasian men. Early studies included               their sexual orientation, ranging from individual
some men who were court-referred (S. James, 1978;                  psychotherapy to religiously oriented groups, over long
McConaghy, 1969, 1976; McConaghy et al., 1972) and                 periods of time and with varying degrees of satisfaction
whose participation was not voluntary, but more recent             and varying perceptions of success (Beckstead &
research primarily includes men who indicated that                 Morrow, 2004; Comstock, 1996; Horlacher, 2006; S. L.
their religion is of central importance (Beckstead &               Jones & Yarhouse, 2007; Mark, 2008; Nicolosi et al.,
Morrow, 2004; S. L. Jones & Yarhouse, 2007; Wolkomir,              2000; Shidlo & Schroeder, 2002).
2001). Some studies included small numbers of women
(22%–29%; Nicolosi et al., 2000; S. L. Jones & Yarhouse,
2007; Schaeffer et al., 2000; Schroeder & Shidlo, 2001;
                                                                                  Why Individuals
Shidlo & Schroeder, 2002; Spitzer, 2003), and two                                 Undergo SOCE
studies focused exclusively on women (Moran, 2007;
                                                                   Because no research provides prevalence estimates
Ponticelli, 1999). However, these studies do not examine
                                                                   of those participating in SOCE, we cannot determine
if there are potential differences between the concerns
                                                                   how prevalent the wish to change sexual orientation
of men and women. Members of racial-ethnic groups are
                                                                   is among the conservative Christian men who have
not included in some samples (Beckstead & Morrow,
                                                                   predominated in the recent research, or among any
2004; Ponticelli, 1999; Wolkomir, 2001) and are a small
                                                                   other population. Clients’ motivations to seek out and
percentage (5%–14%) of the sample in other studies (S.
                                                                   participate in SOCE seem to be complex and varied
                                      L. Jones & Yarhouse,
To date, the research has not                                      and may include mental health and personality issues,
                                      2007; Nicolosi et al.,
                                                                   cultural concerns, religious faith, internalized stigma,
fully addressed age, gender,          2000; Schroeder &
                                                                   as well as sexual orientation concerns (Beckstead
gender identity, race, ethnicity, Shidlo, 2001; Shidlo
                                                                   & Morrow, 2004; Drescher, 1998a; Glassgold, 2008;
culture, national origin, disability, & Schroeder, 2002;           Gonsiorek, 2004; Haldeman, 2004; Lasser & Gottlieb,
language, and socioeconomic Spitzer, 2003). In                     2004; S. L. Jones & Yarhouse, 2007; Nicolosi et al.,
status in the population of           the recent studies,
                                                                   2000). Some of the factors influencing a client’s request
distressed individuals who have no comparisons were                for SOCE that have been identified in the literature
                                      reported between the
sought SOCE.                                                       include the following:
                                      ethnic minorities in
the sample and others. Thus, there is no evidence that             • Confusion or questions about one’s sexuality and
can elucidate concerns of ethnic minority individuals                sexual orientation (Beckstead & Morrow, 2004; Smith
who have sought SOCE. To date, the research has                      et al., 2004)




Research on Adults Who unDERgO Sexual orientation change efforts                                                         45
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• Religious beliefs that consider homosexuality sinful             might not feel adept at managing a minority status and
  or unacceptable (Erzen, 2006; Haldeman, 2004;                    thus seek out SOCE as a resolution.
  S. L. Jones & Yarhouse, 2007; Mark, 2008; Ponticelli,              Licensed mental health providers’ views about SOCE
  1999; Tan, 2008; Tozer & Hayes, 2004; Wolkomir,                  and homosexuality appear to influence clients’ decision
  2001, 2006; Yarhouse, 2008)                                      making in choosing SOCE; some clients reported being
                                                                   urged by their provider to participate in SOCE (M.
• Fear, stress, and anxiety surrounding the
                                                                   King et al. 2004; Schroeder & Shidlo, 2001; Smith et al.,
  implications of an LGB identity (especially the
                                                                   2004). For example, Smith et al. (2004) found that some
  illegitimacy of such an identity within the client’s
                                                                   who had received SOCE had not requested it. These
  religious faith or community) (Beckstead & Morrow,
                                                                   individuals stated they had presented with confusion
  2004; Glassgold, 2008; Haldeman, 2004; Mark, 2008;
                                                                   and distress about their orientation due to cultural
  Shidlo & Schroeder, 2002)
                                                                   and relational conflicts and were offered SOCE as
• Family pressure to be heterosexual and community                 the solution.
  rejection of those who are LGB (Haldeman, 2004;
  Glassgold, 2008; Mark, 2008; Shidlo & Schroeder,
                                                                                     Specific Concerns
  2002; Smith et al., 2004)                                                        of Religious Individuals
                                                                   In general, the participants in research on SOCE have
   Some individuals who have pursued SOCE report                   come from faiths that believe heterosexuality and
having had only unsuccessful or unfulfilling same-sex              other-sex relationships are part of the natural order
sexual experiences in venues such as bars or sexual                and are morally superior to homosexuality (Beckstead
“cruising” areas (Beckstead & Morrow, 2004; Shidlo                 & Morrow, 2004; Ponticelli, 1999; Shidlo & Schroeder,
& Schroeder, 2002). These experiences reflected and                2002; Wolkomir, 2001, 2006). The literature on SOCE
re-created restricted views that the “gay lifestyle”               suggests that individuals reject or fear their same-sex
is nonspiritual, sexually desperate, or addicted,                  sexual attractions because of the internalization of the
depressive, diseased, and lonely (Drescher, 1998a;                 values and attitudes of their religion that characterize
Green, 2003; Rosik, 2003; Scasta, 1998). Many sexual               homosexuality negatively and as something to avoid
minority individuals who do not seek SOCE are also                 (Beckstead & Morrow, 2004; Erzen, 2006; Glassgold,
affected by these factors. Thus, these findings do not             2008; Mark, 2008; Nicolosi et al., 2000; Ponticelli, 1999;
explain why some people seek SOCE and others do not.               Wolkomir, 2001, 2006).
   There are some initial findings that suggest                      The experiences of some conservative religious
differences between those who seek SOCE and those                  individuals with same-sex sexual attractions who
who resolve their sexual minority stress through                   undergo SOCE appear to involve significant stress
other means. For example, Ponticelli (1999) and S.                 due to the struggle to live life congruently with their
L. Jones and Yarhouse (2007) reported higher levels                religious beliefs (S. L. Jones & Yarhouse, 2007;
of self-reported family violence and sexual abuse in               Yarhouse et al., 2005; Yarhouse & Tan, 2004). These
their samples than were reported by Laumann et al.                 individuals perceive homosexuality to be irreconcilable
(1994) in a population-based sample. Beckstead and                 with their faith and do not wish to surrender or change
Morrow (2004) and S. L. Jones and Yarhouse reported                their faith (Wolkomir, 2006). Some report fearing
high levels of parental rejection or authoritarianism              considerable shifts or losses in their core identity, role,
among their religious samples (see also Smith et al.,              purpose, and sense of order if they were to pursue an
2004). Wolkomir (2001) found that distress surrounding             outward LGB identity (Beckstead & Morrow, 2004;
nonconformity to traditional gender roles distinguished            Glassgold, 2008; Haldeman, 2004; Mark, 2008; O’Neill
the men in her sample who did not accept their sexual              & Ritter, 1992; Ritter & O’Neill, 1989, 1995; Wolkomir,
orientation from those who did. Similarly, Beckstead               2006). Some report difficulty coping with intense guilt
and Morrow found that distress and questions about                 over the failure to live a virtuous life and inability to
masculinity were an important appeal of SOCE; some                 stop committing unforgivable sins, as defined by their
men who sought SOCE described feeling distress about               religion (Beckstead & Morrow, 2004; Glassgold, 2008;
not acting more traditionally masculine. In reviewing              Mark, 2008). Some struggled with the belief in their
the SOCE literature, Miville and Ferguson (2004)                   Higher Power, with the perception that this Power was
proposed that White, conservatively religious men                  punishing or abandoning them—or would if they acted




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on their attractions; some expressed feelings of anger             religion and positive and negative religious coping
at the situation in which their Power had placed them              (Ano & Vasconcelles, 2005; Exline, 2002; Pargament
(Beckstead & Morrow, 2004; Glassgold, 2008; cf. Exline,            & Mahoney, 2002; Pargament et al., 2005; Trenholm,
2002; Pargament, Smith, Koenig, & Perez, 1998, 2005).              Trent, & Compton, 1998).
   Some individuals’ distress took the form of a crisis               Some individuals coped by trying to compartmen-
of faith in which their religious beliefs that a same-             talize their sexual orientation and religious identities
sex sexual orientation and religious goodness are                  and behaviors or to suppress one identity in favor
diametrically opposed led them to question their faith             of another (Beckstead & Morrow, 2004; Haldeman,
and themselves (Glassgold, 2008; Moran, 2007; Tozer                2004; Glassgold, 2008; Mark, 2008). Relief came as
& Hayes, 2004). Spiritual struggles also occurred for              some sought repentance from their “sins,” but others
                                        religious sexual           continued to feel isolated and unacceptable in both
The distress experienced by             minorities due to          religious and sexual minority communities (Shidlo &
religious individuals appeared          struggling with            Schroeder, 2002; Yarhouse & Beckstead, 2007). As an
intense, for not only did they          conservatively             alternative, some with strong religious motivations
face sexual stigma from society         religious family,          and purpose were willing to make sexual abstinence a
at large but also messages from friends, and                       goal and to limit sexual and romantic needs in order
their faith that they were deficient, communities who              to achieve congruence with their religious beliefs (S.
sinful, deviant, and possibly           thought differently        L. Jones & Yarhouse, 2007; Yarhouse et al., 2005;
unworthy of salvation unless they than they did.                   Yarhouse, 2008). These choices are consistent with
                                        The distress               the psychology of religion that emphasizes religious
changed sexual orientation.
                                        experienced by             motivations and purpose (cf. Emmons, 1999; Emmons
religious individuals appeared intense, for not only did           & Paloutzian, 2003; Hayduk, Stratkotter, & Rovers,
they face sexual stigma from society at large but also             1997; Roccas, 2005). Success with this choice varied
messages from their faith that they were deficient,                greatly and appeared successful in a minority of
sinful, deviant, and possibly unworthy of salvation                participants of studies, although not always in the long
unless they changed sexual orientation (Beckstead &                term, and both positive and negative mental heath
Morrow, 2004).                                                     effects have been reported (Beckstead & Morrow, 2004;
   These spiritual struggles had mental health                     Horlacher, 2006; S. L. Jones & Yarhouse, 2007; Shidlo
consequences. Clinical publications and studies of                 & Schroeder, 2002).
religious clients (both male and female) (Beckstead &                 Some conservatively religious individuals felt a
Morrow, 2004; Glassgold, 2008; Haldeman, 2004; Mark,               need to change their sexual orientation because of the
2008) have described individuals who felt culpable,                positive benefits that some individuals found from
unacceptable, unforgiven, disillusioned, and distressed            religion (e.g., community, mode of life, values, sense
due to the conflict between their same-sex sexual                  of purpose) (Beckstead & Morrow, 2004; Borowich,
attractions and religion. The inability to integrate               2008; Glassgold, 2008; Haldeman, 2004; Mark, 2008;
religion and sexual orientation into a religiously                 Nicolosi et al., 2000; Yarhouse, 2008). Others hoped that
sanctioned life (i.e., one that provides an option                 being heterosexual would permit them to avoid further
for positive self-esteem and religiously sanctioned                negative emotions (e.g., self-hatred, unacceptability,
sexuality and family life) has been described as                   isolation, confusion, rejection, and suicidality) and
causing great emotional distress (Beckstead & Morrow,              expulsion from their religious community (Beckstead
2004; Glassgold, 2008; Mark, 2008; D. F. Morrow,                   & Morrow, 2004; Borowich, 2008; Glassgold, 2008;
2003). These spiritual struggles were sometimes                    Haldeman, 2004; Mark, 2008).
associated with anxiety, panic disorders, depression,                 The literature on non-Christian religious
and suicidality, regardless of the level of religiosity or         denominations is very limited, and no detailed
the perception of religion as a source of comfort and              literature was found on most faiths that differed from
coping (Beckstead & Morrow, 2004; Glassgold, 2008;                 the descriptions cited previously. There is limited
Haldeman, 2004). The emotional reactions reported in               information on the specific concerns of observant
the literature on SOCE among religious individuals                 and Orthodox Jews39 (e.g., Blechner, 2008; Borowich,
are consistent with the literature in the psychology of
                                                                   39
                                                                     Among Jewish traditions, Orthodox Judaism is the most
religion that describes both the impact of an inability
                                                                   conservative and does not have a role for same-sex relationships or
to live up to religious motivations and the effects of             sexual orientation identities within its faith (Mark, 2008). Individuals




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2008; Glassgold, 2008; Mark, 2008; Wolowelsky &                          2006; Yip, 2000, 2002, 2003, 2005). For instance, some
Weinstein, 1995). This work stresses the conflicts that                  individuals are adherents of more accepting faiths
emerge within a communal and insular culture that                        and thus experience less distress. Some end their
values obedience to religious law and separates itself                   relationship with all religious institutions, although
from mainstream society and other faiths, including                      they may retain the religious and spiritual aspects of
mainstream LGB communities, thus isolating those in                      their original faiths that are essential to them. Others
conflict and distress (Glassgold, 2008; Mark, 2008). As                  choose another form of religion or spirituality that
marriage, family, and community are the central units                    is affirming of sexual minorities (Lease, Horne, &
of life within such a religious context, LGB individuals                 Noffsinger-Frazier, 2005; Ritter & O’Neill, 1989, 1995;
do not have a place in Orthodox Judaism and traditional                  Ritter & Terndrup, 2002; Rodriguez & Ouellette, 2000;
Jewish society and may fear losing contact with                          Yip, 2000, 2002, 2003, 2004).
family and society or bringing shame and negative
consequences to their family if their sexual orientation
is disclosed.40 Many of the responses and concerns of the
                                                                              Conflicts of Individuals in Other-Sex
conservative Christian population appear relevant to                             Marriages or Relationships
those who are Orthodox Jews, especially those that arise                 There is some indication that some individuals with
from the conflicts of faith and sexual orientation, such                 same-sex sexual attractions in other-sex marriages or
as feelings of guilt, doubt, crisis of faith, unworthiness,              relationships may request SOCE. Many subjects in the
and despair (Glassgold, 2008; Mark, 2008).                               early studies were married (H. E. Adams & Sturgis,
    We found no scholarly psychological literature on                    1977). In the more recent research, some individuals
sexual minority Muslims who seek out SOCE. There                         were married (e.g., Horlacher, 2006; Spitzer, 2003),
is some literature on debates about homosexuality                        and there are clinical reports of experiences of SOCE
                                       within Islam and                  among other-sex married people (e.g., Glassgold, 2008;
It is important to note that not cultural conflicts                      Isay, 1998). For some, the marriage to another-sex
all sexual minorities with strong for those Muslims                      person was described as based on socialization, religious
religious beliefs experience           who live in Western               views that deny same-sex sexual attractions, lack of
sexual orientation distress, and societies with more                     awareness of alternatives, and hopes that marriage
some resolve such distress in          progressive attitudes             would change them (Gramick, 1984; Higgins, 2006;
                                       toward homosexuality              Isay, 1998; Malcolm, 2000; Ortiz & Scott, 1994; M.
other ways than SOCE
                                       (Halstead & Lewicka,              W. Ross, 1989). Others did not recognize or become
1998; Hekma, 2002; de Jong & Jivraj, 2002; Massad,                       aware of their sexuality, including same-sex sexual
2002; Nahas, 2004). Additionally, there is some                          attractions, until after marriage, when they became
literature on ways in which individuals integrate LGBT                   sexually active (Bozett, 1982; Carlsson, 2007; Schneider
identities with their Muslim faith (Minwalla, Rosser,                    et al. 2002). Others had attractions to both men and
Feldman, & Varga, 2005; Yip, 2005). We did not find                      women (Brownfain, 1985; Coleman, 1989; Wyers, 1987).
scholarly articles about individuals from other faiths                      For those who experienced distress with their other-
who sought SOCE, except for one article (Nicolosi et al.,                sex relationship, some were at a loss as to how to
2000) that that did not report any separate results for                  decide what to do with their conflicting needs, roles,
individuals from non-Christian faiths.                                   and responsibilities and experienced considerable guilt,
    It is important to note that not all sexual minorities               shame, and confusion (Beckstead & Morrow, 2004;
with strong religious beliefs experience sexual                          Bozett, 1982; Buxton, 1994, 2004, 2007; Gochros, 1989;
orientation distress, and some resolve such distress                     Hays & Samuels, 1989; Isay, 1998; Shidlo & Schroeder,
in other ways than SOCE (Coyle & Rafalin, 2000;                          2002; Yarhouse & Seymore, 2006). Love for their spouse
Mahaffy, 1996; O’Neill & Ritter, 1992; Ritter & O’Neill,                 conflicted with desires to explore or act on same-sex
1989, 1995; Rodriguez & Ouellette, 2000; Rodriguez,                      romantic and sexual feelings and relationships or to
                                                                         connect with similar others (Bridges & Croteau, 1994;
in other denominations (e.g., Conservative, Reform, Reconstructionist)   Coleman, 1981/1982; Yarhouse & Seymore, 2006).
may not face this type of conflict or this degree of conflict.
                                                                         However, many individuals wished to maintain their
40
  These conflicts may also be relevant to those whose religion and       marriage and work at making that relationship last
community are similarly intertwined and separate from larger society;
see Cates (2007), for instance, regarding an individual from an Old      (Buxton, 2007; Glassgold, 2008; Yarhouse, Pawlowski,
Amish community.




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& Tan, 2003; Yarhouse & Seymore, 2006). Thus, the                  reported that some men felt they had more control in
sexual minority individual sometimes felt frustrated               their sexual behavior and struggled less with their
and hopeless in facing feelings of loss and guilt that             attractions after interventions, although same-sex
result from trying to decide whether to separate from              sexual attractions still existed (cf. Beckstead & Morrow,
or remain in the marriage as they balanced hopes                   2004). Additionally, some SOCE consumers describe
and ambiguities (e.g., the chances of finding a same-              that trying and failing to change their same-sex sexual
sex romantic or sexual partner or the possibilities of             orientation actually allowed them to accept their same-
experiencing further intimacy with one’s heterosexual              sex attractions (Beckstead & Morrow, 2004; Smith et
spouse) (Hernandez & Wilson, 2007).                                al., 2004).
                                                                       Participants described the social support aspects
                                                                   of SOCE positively. Individuals reported as positive
      Reported Impacts of SOCE                                     that their LMHP accepted their goals and objections
                                                                   and had similar values (i.e., believing that a gay
          Perceived Positives of SOCE                              or lesbian identity is bad, sick, or inferior and not
In this section we review the perceptions of individuals           supporting same-sex relationships) (Nicolosi et al.,
who underwent SOCE in order to examine what may                    2000; Throckmorton & Welton, 2005). Erzen (2006),
be perceived as being helpful or detrimental by such               Ponticelli (1999), and Wolkomir (2001) described
individuals, distinct from a scientific evaluation of the          these religiously-oriented ex-gay groups as a refuge
efficacy or harm associated with sexual orientation                for those who were excluded both from conservative
change efforts, as reported in Chapter 4.                          churches and from their families, because of their same-
   Individuals have reported that SOCE provided                    sex sexual attractions, and from gay organizations
several benefits: (a) a place to discuss their conflicts           and social networks, because of their conservative
(Beckstead & Morrow, 2004; Erzen, 2006; Ponticelli,                religious beliefs. In Erzen’s experiences with these
1999; Wolkomir, 2001); (b) cognitive frameworks that               men, these organizations seemed to provide options for
permitted them to reevaluate their sexual orientation              individuals to remain connected to others who shared
identity, attractions, and selves in ways that lessened            their religious beliefs, despite ongoing same-sex sexual
shame and distress and increased self-esteem (Erzen,               feelings and behaviors. Wolkomir (2006) found that
2006; Karten, 2006; Nicolosi et al., 2000; Ponticelli,                                                   ex-gay groups recast
1999; Robinson, 1998; Schaeffer et al., 2000; Spitzer,             ...such groups built hope,            homosexuality as
2003; Throckmorton, 2002); (c) social support and                  recovery, and relapse into an an ordinary sin,
role models (Erzen, 2006; Ponticelli, 1999; Wolkomir,              ex-gay identity, thus expecting and thus salvation
2001, 2006); and (d) strategies for living consistently            same-sex sexual behaviors             was still achievable.
with their religious faith and community (Beckstead &              and conceiving them as                Erzen observed that
Morrow, 2004; Erzen, 2006; Horlacher, 2006; S. L. Jones                                                  such groups built
                                                                   opportunities for repentance
& Yarhouse, 2007; Nicolosi et al., 2000; Ponticelli, 1999;                                               hope, recovery, and
Robinson, 1998; Wolkomir, 2001, 2006; Throckmorton &
                                                                   and forgiveness.                      relapse into an ex-
Welton, 2005).                                                     gay identity, thus expecting same-sex sexual behaviors
   For instance, participants reporting beneficial                 and conceiving them as opportunities for repentance
effects in some studies perceived changes to their                 and forgiveness.
sexuality, such as in their sexual orientation, gender                 Some participants of SOCE reported what they
identity, sexual behavior, sexual orientation identity             perceived as other positive values and beliefs
(Beckstead, 2001; Nicolosi et al., 2000; Schaeffer et              underlying SOCE treatments and theories, such as
al., 2000; Spitzer, 2003; Throckmorton & Welton,                   supporting celibacy, validating other-sex marriage,
2005), or improving nonsexual relationships with                   and encouraging and supporting other-sex sexual
men (Karten, 2006). These changes in sexual self-                  behaviors (Beckstead & Morrow, 2004; S. L. Jones &
views were described in a variety of ways (e.g., ex-               Yarhouse, 2007; Nicolosi et al., 2000; Throckmorton
gay, heterosexual, heterosexual with same-sex sexual               & Welton, 2005). For instance, many SOCE theories
attractions, heterosexual with a homosexual past) and              and communities focus on supporting clients’ values
with varied and unpredictable outcomes, some of which              and views, often linked to religious beliefs and
were temporary (Beckstead, 2003; Beckstead & Morrow,               values (Nicolosi et al., 2000; Schaeffer et al., 2000;
2004; Shidlo & Schroeder, 2002). McConaghy (1999)                  Throckmorton & Welton, 2005). Ponticelli (1999)



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described that ex-gay support groups provide alternate               orientation identity, and a unique self-identity. Some
ways of viewing same-sex attractions that permit                     individuals chose actively to disidentify with a sexual
individuals to see themselves as heterosexual, which                 minority identity so the individual’s sexual orientation
provided individuals a sense of possibility.                         identity and sexual orientation may be incongruent
   Participants’ interpretations of their SOCE                       (Wolkomir, 2001, 2006; Yarhouse, 2001; Yarhouse &
experiences and the outcomes of their experiences                    Tan, 2004; Yarhouse et al., 2005).
appeared to be shaped by their religious beliefs and                   Further, the findings suggest that some participants
by their motivations to be heterosexual. In Schaeffer                may have reconceptualized their sexual orientation
et al. (2000), people whose motivation to change was                 identity as heterosexual but not achieved sexual
                                    strongly influenced by           orientation change, as they still experienced same-
These findings underscore           their Christian beliefs          sex sexual attractions and desires (for a discussion of
the importance of the nature and convictions were                    the distinction between sexual orientation and sexual
and strength of participants’ more likely to perceive                orientation identity, see Chapter 3; see also R. L.
motivations, as well as the         themselves as having             Worthington, 2003; R. L. Worthington et al., 2002). For
importance of religious             a heterosexual sexual            these individuals, sexual orientation identity may not
identity in shaping self-           orientation after their          reflect underlying attractions and desires (Beckstead,
reports of perceived sexual         efforts. Schaeffer et al.        2003; Beckstead & Morrow, 2004; McConaghy, 1999;
                                    also found that those            Shidlo & Schroeder, 2002).
orientation change.
                                    who were less religious
were more likely to perceive themselves as having an
LGB sexual orientation after the intervention. Some
                                                                               Perceived Negatives of SOCE
of the respondents in Spitzer’s (2003) study concluded               Participants in the studies by Beckstead and Morrow
that they had altered their sexual orientation, although             (2004) and Shidlo and Schroeder (2002) described the
they continued to have same-sex sexual attractions.                  harm they experienced as (a) decreased self-esteem and
These findings underscore the importance of the nature               authenticity to others; (b) increased self-hatred and
and strength of participants’ motivations, as well as the            negative perceptions of homosexuality; (c) confusion,
importance of religious identity in shaping self-reports             depression, guilt, helplessness, hopelessness, shame,
of perceived sexual orientation change.                              social withdrawal, and suicidality; (d) anger at and a
   A number of authors (Beckstead & Morrow, 2004;                    sense of betrayal by SOCE providers; (e) an increase
Ponticelli, 1999; Wolkomir, 2001; Yarhouse et al.,                   in substance abuse and high-risk sexual behaviors;
2005; Yarhouse & Tan, 2004) have found that identity                 (f) a feeling of being dehumanized and untrue to self;
exploration and reinterpretation were important parts                (g) a loss of faith; and (h) a sense of having wasted
of SOCE. Beckstead and Morrow (2004) described the                   time and resources. Interpreting SOCE failures as
identity development of their research participants who              individual failures was also reported in this research,
were or had been members of the Church of Jesus Christ               in that individuals blamed themselves for the failure
of Latter-Day Saints and had undergone therapy to                    (i.e., weakness, and lack of effort, commitment, faith, or
change their sexual orientation to heterosexual. In this             worthiness in God’s eyes). Intrusive images and sexual
research, those who experienced the most satisfaction                dysfunction were also reported, particularly among
with their lives seemed to undergo a developmental                   those who had experienced aversion techniques.
process that included the following aspects: (a)                        Participants in these studies related that their
becoming disillusioned, questioning authorities, and                 relationships with others were also harmed in the
reevaluating outside norms; (b) wavering between ex-                 following ways: (a) hostility and blame toward parents
gay, “out” gay, heterosexual, or celibate identities that            due to believing they “caused” their homosexuality;
depended on cultural norms and fears rather than on                  (b) anger at and a sense of betrayal by SOCE providers;
internally self-informed choices; and (c) resolving their            (c) loss of LGB friends and potential romantic
conflicts through developing self-acceptance, creating               partners due to beliefs they should avoid sexual
a positive self-concept, and making decisions about                  minority people; (d) problems in sexual and emotional
their relationships, religion, and community affiliations            intimacy with other-sex partners, (e) stress due to the
based on expanded information, self-evaluations, and                 negative emotions of spouses and family members
priorities. The participants had multiple endpoints,                 because of expectations that SOCE would work (e.g.,
including LGB identity, “ex-gay” identity, no sexual                 disappointment, self-blame for failure of change,



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perception of betrayal by partner) (see also J. G. Ford,              Ponticelli (1999) and Wolkomir (2001, 2006) found
2001); (f) guilt and confusion when they were sexually             several emotional and cognitive processes that
intimate with other same-sex members of the ex-gay                 seemed central to the sexual orientation “identity
groups to which they had turned for help in avoiding               reconstruction” (i.e., recasting oneself as ex-gay,
their attractions.                                                 heterosexual, disidentifying as LGB) (Ponticelli, 1999,
   Licensed mental health providers working with                   p. 157) that appeared to relieve the distress caused by
former participants in SOCE noted that when                        conflicts between religious values and sexual orientation
clients who formerly engaged in SOCE consider                      (Ponticelli, 1999). Ponticelli identified certain conditions
adopting an LGB identity or experience same-sex                    necessary for resolving identity conflicts, including (a)
romantic and sexual relationships later in life, they              adopting a new discourse or worldview, (b) engaging
have more difficulty with identity development due                 in a biographical reconstruction, (c) embracing a new
to delayed developmental tasks and dealing with                    explanatory model, and (d) forming strong interpersonal
any harm associated with SOCE (Haldeman, 2001;                     ties. For those rejecting a sexual minority identity, these
Isay, 2001). Such treatments can harm some men’s                   changes occurred by participants taking on “ex-gay”
understanding of their masculine identity (Haldeman,               cultural norms and language and finding a community
2001; Schwartzberg & Rosenberg, 1998) and obscure                  that enabled and reinforced their primary religious
other psychological issues that contribute to distress             beliefs, values, and concerns. For instance, participants
(Drescher, 1998a).                                                 were encouraged to rely on literal interpretations of
   These individuals identified aspects of SOCE                    the Bible, Christian psychoanalytic theories about
that they perceived as negative, which included (a)                the causes of homosexuality, and “ex-gay” social
receiving pejorative or false information regarding                relationships to guide and redefine their lives.
sexual orientation and the lives of LGB individuals;                  Interesting counterpoints to the SOCE support
(b) encountering overly directive treatment (told not              groups are LGB-affirming religious support groups.
to be LGB) or to repress sexuality; (c) encountering               These groups employ similar emotional and cognitive
treatments based on unsubstantiated theories or                    strategies to provide emotional support, affirming
methods; (d) being misinformed about the likelihood                ideologies, and identity reconstruction. Further, they
of treatment outcomes (i.e. sexual orientation                     appear to facilitate integration of same-sex sexual
change); (e) receiving inadequate information about                attractions and religious identities into LGB-affirming
alternative options; and (f) being blamed for lack of              identities (Kerr, 1997; Thumma, 1991; Wolkomir, 2001,
progress of therapy. Some participants in Schroeder                2006).
and Shidlo’s (2001) study reported feeling coerced by                 Both sexual-minority-affirming and ex-gay mutual
their psychotherapist or religious institution to remain           help groups potentially appear to offer benefits to
in treatment and pressured to represent to others                  their participants that are similar to those claimed for
that they had achieved a “successful reorientation” to             self-help groups, such as social support, fellowship,
heterosexuality.                                                   role models, and new ways to view a problem through
                                                                   unique philosophies or ideologies (Levine, Perkins, &
                                                                   Perkins, 2004).
               Religiously Oriented                                   Mutual help groups’ philosophy often gives a
              Mutual Support Groups                                normalizing meaning to the individual’s situation and
Much of the literature discusses the specific dynamics             may act as an “antidote” to a sense of deficiency (Antze,
and processes of religiously oriented mutual self-                 1976). New scripts can shape how a member views
help groups. A reduction of distress through sexual                and shares her or his life story by replacing existing
orientation identity reconstruction or development                 personal or cultural scripts with the group ideology
is described in the literature of self-help or religious           (Humphreys, 2004; Mankowski, 1997, 2000; Maton,
groups, both for individuals who reject (Erzen, 2006;              2000). For instance, individuals who are involved
Ponticelli, 1999; Wolkomir, 2001, 2006) and for                    in SOCE or LGB-affirming groups may adopt a new
individuals who accept a minority sexual orientation               explanation for their homosexuality that permits
identity (Kerr, 1997; Rodriguez, 2006; Rodriguez &                 reconceptualizing themselves as heterosexual or
Ouellette, 2000; Thumma, 1991; Wolkomir, 2006).                    acceptable as LGB people (Ponticelli, 1999; Wolkomir,
                                                                   2001, 2006).




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                  Remaining Issues                                        Pleck, 1995) made groups that embraced traditional
                                                                          gender roles and gender-based models of homosexuality
Ponticelli (1999) ended her article with the following                    appealing to some men. Gender-based internalized
questions: “What leads a person to choose Exodus                          stigma and self-stigma increased distress in these men.
and a frame that defined them as sinful and in need                          Finally, “contractual promises” to God (Wolkomir,
of change?” (p. 170). Why do some individuals choose                      2001, p. 332) regarding other concerns (e.g., drug/
SOCE over sexual-minority-affirming groups, and why                       alcohol abuse) increased the likelihood that men would
are some individuals attracted to and able to find relief                 choose ex-gay groups. However, these issues are as yet
in a particular ideology or group over other alternatives?                underresearched and remain unresolved.
   There are some indications that the nature and                            Very little is known about the concerns of other
type of religious motivation and faith play a role.                       religious faiths and diverse ethnicities and cultures
In comparing individuals with intrinsic41 and quest                       (Harper et al., 2004; Miville & Ferguson, 2004). There
religious motivations, Tozer and Hayes (2004) proposed                    are some studies in the empirical and theoretical
that those with a greater intrinsic religiosity may be                    literature, clinical cases, and material from other fields
motivated to seek out SOCE more than those with                           (e.g., anthropology, sociology) on sexual orientation
the quest motivation. However, within both groups                         among ethnic minorities and in different cultures
(intrinsic and quest motivation), internalized stigma                     and countries. Sexual orientation identity may be
influenced who sought SOCE; those who sought                              constructed differently in ethnic minority communities
SOCE had higher levels of internalized stigma. Tozer                      and internationally (Carillo, 2002; Boykin, 1996;
and Hayes (2004) and Mahaffy (1996) found that                            Crawford et al., 2002; Harper et al., 2004; Mays,
individuals in earlier stages of sexual minority identity                 Cochran, & Zamudio, 2004; Miville & Ferguson,
development (see, e.g., Cass, 1979; Troiden, 1993) were                   2004; Walters, Evans-Campbell, Simoni, Ronquillo,
more likely to pursue SOCE.                                               & Bhuyan, 2006; Wilson & Miller, 2002; Zea, Diaz, &
   Wolkomir (2001, 2006) found some evidence                              Reisen, 2003). There is some information that such
that biographical factors may be central to these                         populations experience distress or conflicts due to
choices. Wolkomir (2006) found that motivations for                       legal discrimination, cultural stigma, and other factors
participation in faith distinguished individuals who                      (McCormick, 2006), and in some other countries,
joined ex-gay groups from sexual-minority-affirming                       homosexuality is still seen as a mental disorder or is
groups. For instance, men who joined conservative                         illegal (Forstein, 2001; International Gay & Lesbian
Christian communities as a solution to lives that had                     Human Rights Commission, n.d.). We did not identify
been lonely and disconnected and those who turned                         empirical research on members of these populations
to faith when they felt overwhelmed by circumstance                       who had sought or participated in SOCE other than as
were more likely to join ex-gay groups. Wolkomir                          part of the research already cited.
hypothesized that these men perceived homosexuality
as a threat to the refuge that conservative faith
provided (cf. Glassgold, 2008).                                                   Summary and Conclusion
   The other common path to an ex-gay (as well as, to                     The recent literature identifies a population of
some degree, to a sexual-minority-affirming) group was                    predominantly White men who are strongly religious
remaining in the community of faith in which one was                      and participate in conservative faiths. This contrasts
raised and meeting the expectations of that faith, such                   with the early research that included nonreligious
as heterosexuality. The loss of a personal relationship or                individuals who chose SOCE due to the prejudice and
a betrayal by a loved one might influence an individual’s                 discrimination caused by sexual stigma. Additionally,
choice of a group, and the stress of loss and the self-                   there is a lack of research on non-Christian individuals
blame that accompany such a loss may constitute                           and limited information on ethnic minority populations,
factors that lead someone to seek SOCE (Wolkomir,                         women, and nonreligious populations.
2001, 2006).                                                                 The religious individuals in the recent literature
   Additionally, Wolkomir found that a sense of gender                    report experiencing serious distress, including
inadequacy (see also “gender role strain”; Levant, 1992;                  depression, identity, confusion, and fear due to the
                                                                          strong prohibitions of their faith regarding same-
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  Internal motivation refers to a motivation that focuses on belief and
values as ends in themselves, and quest sees religion as a process of     sex sexual orientation, behaviors, and relationships.
exploration.




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These individuals struggle to combine their faiths and             • Experiencing understanding and recognition of the
their sexualities in meaningful personal and social                  importance of religious beliefs and concerns
identities. These struggles cause them significant
                                                                   • Receiving empathy for their very difficult dilemmas
distress, including frequent feelings of isolation from
                                                                     and conflicts
both religious organizations and sexual minority
communities. The ensuing struggles with faith,                     • Being provided with affective and cognitive tools for
sexuality and identity lead many individuals to                      identity exploration and development
attempt sexual orientation change through professional
interventions and faith-based efforts.                             Reports of clients’ perceptions of harm also provide
   These individuals report a range of effects from their          information about aspects of interventions to avoid:
efforts to change their sexual orientation, including
                                                                   • Overly directive treatment that insists on a particular
                                    both benefits and
Mutual self-help groups                                              outcome
                                    harm. The benefits
(whether affirming or rejecting include social and                 • Inaccurate, stereotypic, or unscientific information or
of sexual minorities) may           spiritual support, a             lack of positive information about sexual minorities
provide a means to resolve          lessening of isolation,          and sexual orientation
the distress caused by              an understanding
                                    of values and                  • The use of unsound or unproven interventions
conflicts between religious
                                    faith and sexual               • Misinformation on treatment outcomes
values and sexual orientation. orientation identity
reconstruction. The perceived harms include negative                  It is important to note that the factors that are
mental health effects (depression and suicidality),                identified as benefits are not unique to SOCE and can
decreased self-esteem and authenticity to others,                  be provided within an affirmative and multiculturally
increased self-hatred and negative perceptions of                  competent framework that can mitigate the harmful
homosexuality; a loss of faith, and a sense of having              aspects of SOCE by addressing sexual stigma while
wasted time and resources.                                         understanding the importance of religion and social
   Mutual self-help groups (whether affirming or                   needs. An approach that integrates the information
rejecting of sexual minorities) may provide a means                identified in this chapter as helpful is described in an
to resolve the distress caused by conflicts between                affirmative model of psychotherapy in Chapter 6.
religious values and sexual orientation (Erzen, 2006;
Kerr, 1997; Ponticelli, 1999; Thumma, 1991; Wolkomir,
2001, 2006). Sexual orientation identity reconstruction
found in such groups (Ponticelli, 1999; Thumma, 1991)
and identity work in general may provide reduction
in individual distress (Beckstead & Morrow, 2004).
Individuals may seek out sexual-minority-affirming
religious groups or SOCE in the form of ex-gay religious
support groups due to (a) a lack of other sources of social
support; (b) a desire for active coping, including both
cognitive and emotional coping (Folkman & Lazarus,
1980); and (c) access to methods of sexual orientation
identity exploration and reconstruction (Ponticelli,
1999; Wolkomir, 2001).
   The limited information provided by the literature on
individuals who experience distress with their sexual
attractions and seek SOCE provides some direction to
LMHP in formulating affirmative interventions for this
population. The following appear to be helpful to clients:

• Finding social support and interacting with others in
  similar circumstances



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              6. THE APPROPRIATE APPLICATION
         OF AFFIRMATIVE THERAPEUTIC INTERVENTIONS
                FOR AdulTS WHO SEEK SOCE


O
         ur charge was to “generate a report that                      emphasized acceptance, support. and recognition of
         includes discussion of “the appropriate                       important values and concerns.
         application of affirmative therapeutic
interventions for children, adolescents, and adults                 The appropriate application of affirmative psycho-
who present [themselves for treatment expressing] a                 therapy is based on the following scientific facts:
desire to change either their sexual orientation or their
                                                                    • Same-sex sexual attractions, behavior, and
behavioral expression of their sexual orientation.” In
                                                                      orientations per se are normal and positive variants
this chapter, we report on affirmative interventions
                                                                      of human sexuality; in other words, they are not
for adults. Affirmative interventions for children and
                                                                      indicators of mental or developmental disorders.
adolescents are reported separately in Chapter 8.
   The appropriate application of affirmative therapeutic           • Homosexuality and bisexuality are stigmatized,
interventions for adults is built on three key findings in            and this stigma can have a variety of negative
the research:                                                         consequences (e.g., minority stress) throughout the
                                                                      life span (D’Augelli & Patterson, 1995; DiPlacido,
• Our systematic review of the research on SOCE
                                                                      1998; Herek & Garnets, 2007; Meyer, 1995, 2003).
  found that enduring change to an individual’s
  sexual orientation as a result of SOCE was unlikely.              • Same-sex sexual attractions and behavior can occur
  Further, some participants were harmed by the                       in the context of a variety of sexual orientations and
  interventions.                                                      sexual orientation identities (Diamond, 2006; Hoburg
                                                                      et al., 2004; Rust, 1996; Savin-Williams, 2005).
• What appears to shift and evolve in some individuals’
  lives is sexual orientation identity, not sexual                  • Gay men, lesbians, and bisexual individuals can live
  orientation (Beckstead, 2003; Beckstead & Morrow,                   satisfying lives as well as form stable, committed
  2004; Buchanan, Dzelme, Harris, & Hecker, 2001;                     relationships and families that are equivalent to
  Cass, 1983/1984; Diamond, 1998, 2006; McConaghy,                    heterosexual relationships in essential respects
  1999; Ponticelli, 1999; Rust, 2003; Tan, 2008;                      (APA, 2005c; Kurdek, 2001, 2003, 2004; Peplau &
  Throckmorton & Yarhouse, 2006; Troiden, 1988;                       Fingerhut, 2007).
  Wolkomir, 2001, 2006; R. L. Worthington, 2003,
  2004).                                                            • There are no empirical studies or peer-reviewed
                                                                      research that support theories attributing same-sex
• Some participants in SOCE reported benefits, but the                sexual orientation to family dysfunction or trauma
  benefits were not specific to SOCE. Rather, clients                 (Bell et al., 1981; Bene, 1965; Freund & Blanchard,
  perceived a benefit when offered interventions that                 1983; Freund & Pinkava, 1961; Hooker, 1969;




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  McCord et al., 1962; D. K. Peters & Cantrell, 1991;                   & Israel, 2007, Buchanan et al., 2001; Drescher, 1998a;
  Siegelman, 1974, 1981; Townes et al., 1976).                          Glassgold; 2008; Gonsiorek; 2004; Haldeman, 2004,
                                                                        Lasser & Gottlieb, 2004; Mark, 2008; Ritter & O’Neill,
   Studies indicated that experiences of felt stigma, such              1989, 1995; Tan, 2008; Throckmorton & Yarhouse,
as self-stigma, isolation and rejection from relationships              2006; Yarhouse & Tan, 2005a; and Yarhouse, 2008).
and valued communities, lack of emotional support and                   The client-centered approach (Rogers, 1957; cf. Brown,
accurate information, and conflicts between multiple                    2006) stresses (a) the LMHP’s unconditional positive
identities and between values and attractions, played                   regard for and congruence and empathy with the client,
a role in creating distress in individuals (Bartoli &                   (b) openness to the client’s perspective as a means to
Gillem, 2008; Beckstead & Morrow, 2004; Coyle &                         understanding their concerns, and (c) encouragement
Rafalin, 2000; Glassgold, 2008; Haldeman, 2004; Herek,                  of the client’s positive self-concept. This approach
2009; Mahaffy, 1996; Mark, 2008; Ponticelli, 1999;                      incorporates aspects of the therapeutic relationships
Wolkomir, 2001; Yip, 2000, 2002, 2005). Consequently,                   that have been shown to have a positive benefit in
an essential focus of treatment is mitigating the                       research literature, such as empathy, positive regard,
negative mental health consequences of minority stress                  and honesty (APA, 2005a, 2005b; Lambert & Barley,
from stigma resulting from age, gender, gender identity,                2001; Norcross, 2002; Norcross & Hill, 2004).
race, ethnicity, culture, national origin, religion, sexual                This approach consists of empathic attunement to
orientation, disability, language, and socioeconomic                    concerns regarding sexual orientation identity that
status (Brown, 2006; Cochran & Mays, 2006; Herek,                       acknowledges the role of cultural context and diversity
2009; Herek & Garnets, 2007; Mays & Cochran,                            and allows the different aspects of the evolving
2001; Russell & Bohan, 2007). For instance, although                    self to be acknowledged, explored, respected, and
many religious individuals’ desired to live their lives                 potentially rewoven into a more coherent sense of self
consistently with their values, primarily their religious               that feels authentic to the client (Bartoli & Gillem,
values, we concluded that telic congruence grounded                                                        2008; Beckstead &
in self-stigma and shame was unlikely to result in                      The client-centered                Morrow, 2004; Brown,
psychological well-being (Beckstead & Morrow, 2004;                     therapeutic environment            2006; Buchanan et
Glassgold, 2008; Gonsiorek, 2004; Haldeman, 2004;                       aspires to be a place of           al., 2001; Glassgold,
Mark, 2008; Shidlo & Schroeder, 2002).                                  compassionate caring               2008; Gonsiorek, 2004;
                                                                                                           Haldeman, 2004;
                                                                        and respect that facilitates Mark, 2008; Miville &
 A Framework for the Appropriate                                        development...by exploring Ferguson, 2004; Tan,
     Application of Affirmative                                         issues without criticism           2008; Throckmorton
                                                                        or condemnation and                & Yarhouse, 2006;
     Therapeutic Interventions                                          reducing distress caused by Yarhouse, 2008).
On the basis of the three findings summarized                                                              The client-centered
                                                                        isolation, stigma, and shame. therapeutic environment
previously and our comprehensive review of the
research and clinical literature, we developed a                        aspires to be a place of compassionate caring and
framework for the appropriate application of affirmative                respect that facilitates development (Bronfennbrenner,
therapeutic interventions for adults that has the                       1979; Winnicott, 1965) by exploring issues without
following central elements: (a) acceptance and support,                 criticism or condemnation (Bartoli & Gillem,
(b) assessment, (c) active coping, (d) social support, and              2008; Beckstead & Morrow, 2004; McMinn, 2005;
(e) identity exploration and development.                               Throckmorton & Welton, 2005) and reducing distress
                                                                        caused by isolation, stigma, and shame (Drescher,
                                                                        1998a; Glassgold, 2008; Haldeman, 2004; Isay, 2001).
            Acceptance and Support                                         This approach involves empathizing with the client’s
In our review of the research and clinical literature, we               desire to change his or her sexual orientation while
found that the appropriate application of affirmative                   understanding that this outcome is unlikely (Beckstead
therapeutic interventions for adults presenting                         & Morrow, 2004; Glassgold, 2008; Haldeman, 2004).
with a desire to change their sexual orientation has                    Haldeman (2004) cautioned that LMHP who turn down
been grounded in a client-centered approach (e.g.,                      a client’s request for SOCE at the onset of treatment
Astramovich, 2003; Bartoli & Gillem, 2008; Beckstead                    without exploring and understanding the many



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reasons why the client may wish to change may instill               as part of the whole person and to develop interventions
hopelessness in the client, who already may feel at a               based on all significant variables (Beckstead & Israel,
loss about viable options. Haldeman emphasized that                 2007; Gonsiorek, 2004; Haldeman, 2004; Lasser &
before coming to a conclusion regarding treatment                   Gottlieb, 2004). This comprehensive assessment
goals, LMHP should seek to validate the client’s wish               includes understanding how a client’s distress may
to reduce suffering and normalize the conflicts at the              involve (a) psychological disequilibrium from trying
root of distress, as well as create a therapeutic alliance          to manage the stressors (e.g., anxiety, depression,
that recognizes the issues important to the client (cf.             substance abuse and dependence, sexual compulsivity,
Beckstead & Israel, 2007; Glassgold, 2008; Liddle, 1996;            posttraumatic stress disorder) and (b) negative effects
Yarhouse, 2008).                                                    from developmental experiences and traumas and
   Affirmative client-centered approaches consider                  the impact of cultural and family norms. Assessing
sexual orientation uniquely individual and inseparable              the influence of factors such as age, gender, gender
from an individual’s personality and sense of self                  identity, race, ethnicity, culture, national origin,
(Glassgold, 1995; 2008). This includes (a) being aware              religion, disability, language, and socioeconomic status
of the client’s unique personal, social, and historical             on the experience and expression of sexual orientation
context; (b) exploring and countering the harmful                   and sexual orientation identity may aid the LMHP in
                                     impact of stigma               understanding the complexity of the client’s distress.
LMHP who work with religious         and stereotypes                   The literature indicated that most of the individuals
clients who are distressed by        on the client’s self-          who are extremely distressed about their same-sex
their sexual orientation may         concept (including             sexual orientation and who are interested in SOCE have
wish to consult the literature       the prejudice related          conservative religious beliefs. A first step to addressing
from the psychology of religion. to age, gender,                    the conflicts regarding faith and sexual orientation is a
                                     gender identity,               thorough assessment of clients’ spiritual and religious
This literature reminds us that      race, ethnicity,               beliefs, religious identity and motivations, and spiritual
religion is a complex way of         culture, national              functioning (Exline, 2002; Hathaway, Scott, & Garver,
making meaning that includes origin, religion,                      2004; Pargament et al., 2005). This helps the LMHP
not only beliefs and values but sexual orientation,                 understand how the current dilemmas impact clients’
also community, relationships,       disability, language,          spiritual functioning (and vice versa) and assess
traditions, family ties, coping,     and socioeconomic              resources for growth and renewal.
                                     status); and (c)                  This assessment could include (a) understanding
and social identity.
                                     maintaining a broad            the specific religious beliefs of the client; (b) assessing
view of acceptable life choices. LMHP who work with                 the religious and spiritual conflicts and distress
religious clients who are distressed by their sexual                experienced by the client (Hathaway et al., 2004);
orientation may wish to consult the literature from                 (c) assessing clients’ religious goals (Emons &
the psychology of religion. This literature reminds us              Paloutzian, 2003) and motivations (e.g., internal,
that religion is a complex way of making meaning that               external, quest, fundamentalism) and positive
includes not only beliefs and values but also community,            and negative ways of coping within their religion
relationships, traditions, family ties, coping, and social          (Pargament, Koenig, Tasakeshwas, & Hahn, 2001;
identity (Mark, 2008; Pargament & Mahoney, 2002,                    Pargament & Mahoney, 2005; Pargament et al., 1998);
2005; Pargament et al., 2005; Park, 2005).                          (d) seeking to understand the impact of religious beliefs
                                                                    and religious communities on the experience of self-
                                                                    stigma, sexual prejudice, and sexual orientation identity
                     Assessment                                     (Beckstead & Morrow, 2004; Buchanan et al., 2001;
In our review of the research and clinical literature, we           Fulton et al., 1999; Herek, 1987; Hunsberger & Jackson,
found that the appropriate application of affirmative               2005; J. P. Schwartz & Lindley, 2005; Schulte & Battle,
therapeutic interventions for adults presenting with                2004); (e) developing an understanding of clients’
a desire to change their sexual orientation included                faith identity development (Fowler, 1981, 1991; Oser,
comprehensive assessment in order to obtain a fuller                1991; Reich, 1991; Streib, 2005) and its intersection
understanding of the multiple issues that influence that            with sexual orientation identity development (Harris,
client’s presentation. Such an assessment allows the                Cook, & Kashubeck-West, 2008; Hoffman et al., 2007;
LMHP and client to see the client’s sexual orientation              Knight & Hoffman, 2007; Mahaffy, 1996; Yarhouse &



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Tan, 2005a; Yarhouse et al., 2005); and (f) enhancing                   relational health.42 Initiating sensitive but open and
with clients, when applicable, the search for meaning,                  educated discussions with clients about their views of
significance, and a relationship with the definitions                   and experiences with sexuality may be most helpful,
of the sacred in their lives (Fowler, 2001; Goldstein,                  especially for those who have never had permission or
2007; Pargament & Mahoney, 2005; Shafranske, 2000).                     space to talk about such issues (Schneider et al. 2002).
Finally, an awareness of the varieties of religious faith,
issues for religious minorities, and the unique role of
religion in ethnic minority communities is important (D.
                                                                                                Active Coping
A. Cook & Wiley, 2000; Zea, Mason, & Muruia, 2000;                      In our review of the research and clinical literature, we
Trujillo, 2000).                                                        found that the appropriate application of affirmative
   Some individuals who present with requests for                       therapeutic interventions for adults presenting with a
SOCE may have clinical concerns that go beyond their                                                       desire to change their
sexual orientation conflicts. These may include mental
                                                                        Active coping strategies are sexual orientation
health disorders, personality disorders, or trauma-                     efforts that include cognitive, seeks to increase
related conditions that influence the presentation of                   behavioral, or emotional           clients’ capacity
sexual orientation conflicts and distress (cf. Brown,                   responses designed to              for active coping to
2006; Drescher, 1998a; Glassgold, 2008; Haldeman,                       change the nature of the           mitigate distress.
2001; Iwasaki & Ristock, 2007; Lasser & Gottlieb,                                                          Coping strategies
                                                                        stressor itself or how an
2004; Mohr & Fassinger, 2003; S. L. Morrow, 2000;                                                          refer to the efforts
                                                                        individual perceives it.           that individuals use to
Pachankis et al., 2008; Schneider et al., 2002; Sherry,
2007; Szymanski & Kashubeck-West, 2008). Such                           resolve, endure, or diminish stressful life experiences,
conditions may require intervention separate from                       and active coping strategies are efforts that include
or in conjunction with the intervention directed at                     cognitive, behavioral, or emotional responses designed
the sexual orientation distress. For instance, some                     to change the nature of the stressor itself or how an
clients who seek SOCE may have histories of trauma                      individual perceives it (Folkman & Lazarus, 1980).
(Ponticelli, 1999), and in some individuals sexual abuse                Research has indicated that active coping is superior
can cause sexual orientation identity confusion and                     to other efforts, such as passive coping, and that
other sexuality-related concerns (Gartner, 1999). Other                 individuals use both cognitive and emotional strategies
individuals seeking SOCE may make homosexuality the                     to address stressful events (Folkman & Lazarus, 1980).
explanation for all they feel is wrong with their lives                 These strategies are described in more depth below.
(Beckstead & Morrow, 2004; Erzen, 2006; Ponticelli,
1999; Shidlo & Schroeder, 2002). This displacement of                   COgnITIvE STRATEgIES
self-hatred onto homosexuality can be an attempt to                     Research on those individuals who resolve their sexual
resolve a sense of badness and shame (cf. Brandchaft,                   orientation conflicts indicate that cognitive strategies
2007; Drescher, 1998a), and clients may thus need                       helped to reduce cognitive dissonance (Coyle & Rafalin,
effective interventions to deal with this self-hatred and               2000; Mahaffy, 1996). One of the dilemmas for many
shame (Brandchaft, 2007; Linehan, Dimeff, & Koerner,                    clients who seek sexual orientation change is that
2007; Zaslav, 1998).                                                    they see their situation as an either–or dichotomy. For
   Sexual stigma impacts a client’s appraisal of                        instance, their same-sex sexual attractions make them
sexuality, and since definitions and norms of healthy                   unworthy or bad, and only if they are heterosexual can
sexuality vary among individuals, LMHP, and religious                   they be worthy (Beckstead & Morrow, 2004; Haldeman,
and societal institutions, potential conflicts can arise                2001, 2004; Lasser & Gottlieb, 2004; D. F. Morrow,
for clients about what a person should do to be sexually
acceptable and healthy. O’Sullivan, McCrudden,                          42
                                                                          The Pan American Health Organization and the World Health
and Tolman (2006) emphasized that sexuality is an                       Organization (2000) defined sexual health in the following manner:
integral component of psychological health, involving                   “Sexual health is the ongoing process of physical, psychological, and
                                                                        sociocultural well-being in relationship to sexuality. Sexual health can
mental and emotional health, physical health, and
                                                                        be identified through the free and responsible expressions of sexual
                                                                        capabilities that foster harmonious personal and social wellness,
                                                                        enriching life within an ethical framework. It is not merely the
                                                                        absence of dysfunction, disease and/or infirmity. For sexual health
                                                                        to be attained and maintained it is necessary that sexual rights be
                                                                        recognized and exercised” (p. 9).




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2003; Wolkomir, 2001, 2006). Cognitive strategies can               promote positive meaning-making, an active process
reduce the all-or-nothing thinking, mitigate self-stigma,           through which people revise or reappraise an event or
and alter negative self-appraisals (Beckstead & Israel,             series of events (Baumeister & Vohs, 2002; cf. Taylor,
2007; Johnson, 2001, 2004; Lasser & Gottlieb, 2004;                 1983) to resolve issues that arise out of crises, loss, and
Martell et al., 2004). For example, Buchanan et al.                 suffering (cf. Frankl, 1992; Nolen-Hoeksema & Davis,
(2001), using a narrative therapy approach, described               2002; O’Neill & Ritter, 1992; Pargament et al., 2005;
a process of uncovering and deconstructing dominant                 Ritter & O’Neill, 1989, 1995). Such new meanings
worldviews and assumptions with conflicted clients that             involve creating a new purpose in life, rebuilding a sense
enabled them to redefine their attitudes toward their               of mastery, and increasing self-worth (Nolen-Hoeksema
spirituality and sexuality (cf. Bright, 2004; Comstock,             & Davis, 2002; Pargament & Mahoney, 2002).
1996; Graham, 1997; Yarhouse, 2008). Similarly,
rejection of stereotypes about LGB individuals                      EmOTIOn-FOCuSED STRATEgIES
was found to be extremely important for increased                   For those who seek SOCE, the process of addressing
psychological well-being in a mixed sample of LGB                   one’s sexual orientation can be very emotionally
individuals (Luhtanen, 2003).                                       challenging, as the desired identity does not fit the
   Recent developments in cognitive–behavior                        individual’s psychological, emotional, or sexual
therapy, such as mindfulness-based cognitive therapy,               predispositions and needs. The experience of
dialectical behavior therapy, and acceptance and                    irreconcilability of one’s sexual orientation to one’s
commitment therapy techniques are especially relevant               deeply felt values, life situation, and life goals may
(e.g., Hayes, Strosahl, & Wilson, 2003; Linehan et                  disrupt one’s core sense of meaning, purpose, efficacy,
al., 2007). Acceptance of the presence of same-sex                  and self-worth (Beckstead & Morrow, 2004; Yarhouse,
sexual attractions and sexual orientation paired with               2008; cf. Baumeister & Vohs, 2002; L. A. King &
exploring narratives or reframing cognitions, meanings,             Smith, 2004) and result in emotional conflict, loss,
or assumptions about sexual attractions have been                   and suffering (Glassgold, 2008; O’Neill & Ritter, 1992;
reported to be helpful (cf. Beckstead & Morrow, 2004;               Ritter & O’Neill, 1989, 1995). Thus, emotion-focused
Buchanan et al., 2001; Moran, 2007; Rodriguez, 2006;                strategies that facilitate grieving and mourning losses
Tan, 2008; Yarhouse, 2005a, 2005c; Yarhouse &                       have reportedly been helpful to some (Beckstead &
                                     Beckstead, 2007).              Israel, 2007; Glassgold, 2008; O’Neill & Ritter, 1992;
Acceptance of same-sex               For instance, using            Ritter & O’Neill, 1989, 1995; Yarhouse, 2008; cf.
sexual attractions and sexual        these techniques,              Wolkomir, 2001, 2006).
orientation may not mean the         Beckstead and                     Therapeutic outcomes that have been reported
formation of an LGB sexual           Morrow (2004)                  include (a) coming to terms with the disappointments,
                                     and Tan (2008)
orientation identity; alternate                                     losses, and dissonance between psychological and
                                     helped conflicted              emotional needs and possible and impossible selves
identities may develop instead. clients cope with
                                                                    (Bartoli & Gillem, 2008; Drescher, 1998a; L.A. King
their sexual arousal experiences and live with them,                & Hicks, 2007; O’Neill & Ritter, 1992; Ritter &
rather than negatively judge or fight against them.                 O’Neill, 1989, 1995); (b) clarifying and prioritizing
Male participants in Beckstead and Morrow’s (2004)                  values and needs (Glassgold, 2008; Yarhouse, 2008);
investigation, regardless of their ultimate sexual                  and (c) learning to tolerate and positively adapt to
orientation identity, described their ability to accept,            the ambiguity, conflict, uncertainty, and multiplicity
reframe, or “surrender” to their attractions as reducing            (Bartoli & Gillem, 2008; Beckstead & Morrow, 2004;
their distress by decreasing their self-judgments and               Buchanan et al., 2001; Corbett, 2001; Drescher, 1998a;
reducing their fear, anxiety, and shame. However,                   Glassgold, 2008; Halbertal & Koren, 2006; Haldeman,
acceptance of same-sex sexual attractions and sexual                2002; Miville & Ferguson, 2004).
orientation may not mean the formation of an LGB
sexual orientation identity; alternate identities may
                                                                    RELIgIOuS STRATEgIES
develop instead (Beckstead & Morrow, 2004; Tan, 2008;
Throckmorton & Yarhouse, 2006; Yarhouse, 2008;                      Integrated with other active coping strategies,
Yarhouse et al., 2005).                                             psychotherapeutic interventions can focus the client on
   For clients with strong values (religious or secular),           positive religious coping (e.g., Ano & Vasconcelles, 2005;
an LMHP may wish to incorporate techniques that                     Pargament et al., 2005; Park, 2005; Silberman, 2005; T.



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B. Smith, McCullough, & Poll, 2003) that may present                    study that focused on reducing excessive self-criticism,
the client with alternatives to the concreteness of the                 which lessened the self-stigma surrounding same-sex
conflict between sexual orientation and religious values.               sexual attractions. This approach seeks to understand
For instance, several publications indicate that active                 the core depressive cognitive structures and other
engagement with religious texts can reduce identity                     problematic schema that can become associated with the
conflicts by reducing the salience of negative messages                 clients’ religious values or distort their religious values
about homosexuality and increasing self-authority                       (Johnson, 2001, 2004; Nielsen, 2001; Robb, 2001).
                                    or understanding
Connecting the client to            (Brzezinski, 2000;
core and overarching values Comstock, 1996;                                                     Social Support
and virtues, such as charity,       Coyle & Rafalin,                    In our review of the research and clinical literature, we
hope, forgiveness, gratitude, 2000; Glassgold,                          found that the appropriate application of affirmative
                                    2008; Gross, 2008;                  therapeutic interventions for adults presenting
kindness, and compassion,
                                    Mahaffy, 1996; Ritter               with a desire to change their sexual orientation
may refocus clients on the                                              seeks to increase clients’ access to social support.
                                    & O’Neill, 1989, 1995;
more accepting elements             Rodriguez, 2006;                    As Coyle (1993) and others have noted (e.g., Wright
of their religion, which            Rodriguez & Ouellette,              & Perry, 2006), struggling with a devalued identity
may provide more self-              2000; Schnoor, 2006;                without adequate social support has the potential
acceptance, direction, and          Schuck & Liddle,                    to erode psychological well-being. Increasing social
peace rather than dwelling          2001; Thumma, 1991;                 support through psychotherapy, self-help groups, or
                                    Wilcox, 2001, 2002;                 welcoming communities (ethnic communities, social
on their religion’s rejection
                                    Yip, 2002, 2003,                    groups, religious denominations) may relieve some
of homosexuality.                   2005). Additionally,                distress. For instance, participants reported benefits
connecting the client to core and overarching values                    from mutual support groups, both sexual-minority-
and virtues, such as charity, hope, forgiveness,                        affirming and ex-gay groups (Kerr, 1997; Ponticelli,
gratitude, kindness, and compassion, may refocus                        1999; Rodriguez, 2006; Rodriguez & Ouellette, 2000;
clients on the more accepting elements of their religion,               Rodriguez, 2006; Thumma, 1991; Wolkomir, 2001).
which may provide more self-acceptance, direction,                      These groups counteracted and buffered minority stress,
and peace, rather than on their religion’s rejection                    marginalization, and isolation. Religious denominations
of homosexuality (Lease et al., 2005; McMinn, 2005).                    that provide cognitive and affective strategies that aid
Exploration of how to integrate religious values and                    in the resolution of cognitive dissonance and increase
virtues into their sexuality may further development (cf.               religious coping were helpful to religious individuals
Helminiak, 2004).                                                       as well (Kerr, 1997; Maton, 2000; Ponticelli, 1999;
   Altering the meaning of suffering and the burden                     Rodriguez & Ouellette, 2000: Wolkomir, 2001, 2006).
of being conflicted as spiritual challenges rather                         Licensed mental health providers can provide
than as divine condemnation (Glassgold, 2008; Hall                      clients with information about a wide range of diverse
& Johnson, 2001) and believing that God continues                       sexual minority communities and religious and
to love and accept them, because of or despite their                    faith organizations available locally, nationally, or
sexual orientation, may be helpful in resolving distress                internationally in person or over the Internet.43 These
(Graham, 1997; Ritter & O’Neill, 1989, 1995). For some,                 settings can provide contexts in which clients may
reframing spiritual struggles not only as a crisis of faith             explore and integrate identities, find role models, and
but also as an opportunity to increase faith or delve                   reduce self-stigma (Heinz, Gu, Inuzuka, & Zender,
more deeply into it may be productive (Bartoli & Gillem,                2002; Johnson & Buhrke, 2006; Schneider et al.,
2008; de la Huerta, 1999; Glassgold, 2008; Horne &                      2002). However, some groups may reinforce prejudice
Noffisnger-Frazier, 2003, Ritter & Terndrup, 2002).                     and stigma by providing inaccurate or stereotyped
   Examining the intersection between mental health                     information about homosexuality, and LMHP may
concerns and the presentation of religious beliefs can
be helpful in understanding the client (Johnson, 2001,                  43
                                                                          There are growing numbers of communities available that address
2004; Nielsen, 2001; Pargament et al., 2005; Robb,                      unique concerns and identities (see, e.g., www.safraproject.org/ for
                                                                        Muslim women or http://www.al-fatiha.org/ for LGB Muslims; for
2001; Shrafranske, 2004). For instance, Johnson (2004)
                                                                        Orthodox Jews, see http://tirtzah.wordpress.com/).
described a rational emotive behavior therapy case



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wish to weigh with clients alternative options in these             & Mohr, 2007; Beckstead & Morrow, 2004; Coyle &
circumstances (Schneider et al., 2002).                             Rafakin, 2000; Drescher, 1998a; Glassgold, 2008; Herek
   For those clients who cannot express all aspects                 & Garnets, 2007; Mahaffy, 1996; Yarhouse et al., 2005;
of themselves in the community settings currently                   Yip, 2002, 2003, 2005).
available to them, LMHP can help the client to                         Ideally, identity comprises a coherent sense of
consider more flexible and strategic ways of expressing             one’s needs, beliefs, values, and roles, including those
the multiple aspects of self that include managing                  aspects of oneself that are the bases of social stigma,
self-disclosure and multiple identities (Bing,                      such as age, gender, race, ethnicity, disability, national
2004; Glassgold, 2008; Halbertal & Koran, 2006;                     origin, socioeconomic status, religion, spirituality, and
LaFromboise, Coleman, & Gerton, 1993). Social support               sexuality (G. R. Adams & Marshall, 1996; Bartoli &
may be difficult to find for clients whose communities              Gillem, 2008; Baumeister & Vohs, 2002; LaFramboise
stigmatize their sexual orientation identity and other              et al., 1993; Marcia, 1966; Meyers et al., 1991; R. L.
identities (e.g., ethnic, racial, religious), and these             Worthington et al., 2002). Marcia (1966) generated
clients may benefit from considering the alternate                  a model in which identity development is an active
frame that the problem does not lie with the client but             process of exploring and assessing one’s identity and
with the community that is not able to affirm their                 establishing a commitment to an integrated identity. R.
sexual orientation or particular identity or meet their             L. Worthington et al. (2002) hypothesized that sexual
developmental needs (Blechner, 2008; Buchanan et al.,               orientation identity could be conceptualized along
2001; Lasser & Gottlieb, 2004; Mark, 2008; Tremble,                 these same lines and advanced a model of heterosexual
1989).                                                              identity development based on the assumption that
   Individuals with same-sex attractions in other-sex               congruence among the dimensions of individual identity
marriages may struggle with the loss (or fear of the loss)          is the most adaptive status, which is achieved by
of social support and important relationships. Several              active exploration. There is some empirical research
authors (e.g., Alessi, 2008; Auerback & Moser, 1987;                supporting this model (R. L. Worthington, Navarro,
Bridges & Croteau, 1994; Brownfain, 1985; Buxton,                                                       Savoy, & Hampton,
1994, 2001, 2004, 2007; Carlsson, 2007; Coleman,                    An affirmative approach is          2008). Additionally,
1989; Corley & Kort, 2006; Gochros, 1989; Hernandez                 supportive of clients’ identity there is some research
& Wilson, 2007; Isay, 1998; Klein & Schwartz, 2001;                 development without an a            illustrating that
Malcolm, 2000; Schneider et al. 2002; Treyger, Ehlers,              priori treatment goal for how resolution of identity
Zajicek, & Trepper, 2008; Yarhouse et al., 2003)                    clients identify or live out their development has
have laid out counseling strategies for individuals in                                                  important mental
                                                                    sexual orientation.
marriages with the other sex who consider SOCE. These                                                   health benefits
strategies for individual, couples, and group counseling            for sexual minorities in the formation of a collective
do not focus solely on one outcome (e.g., divorce,                  identity that buffers individuals from sexual stigma,
marriage) but on exploring the underlying personal and              increasing self-esteem and identification with a social
contextual problems, motivations, realities, and hopes              group (Balsam & Mohr, 2007; Crawford et al., 2002;
for being in, leaving, or restructuring the relationship.           Herek & Garnets, 2007).
                                                                       An affirmative approach is supportive of clients’
                                                                    identity development without an a priori treatment
   Identity Exploration and Development                             goal for how clients identify or live out their sexual
In our review of the research and clinical literature,              orientation. Sexual orientation identity exploration
we found that identity issues, particularly the ability             can be helpful for those who eventually accept or reject
to explore and integrate aspects of self, are central to            their same-sex sexual attractions; the treatment does
the appropriate application of affirmative therapeutic              not differ, although the outcome does. For instance,
interventions for adults presenting with a desire to                the existing research indicates that possible outcomes
change their sexual orientation. As described in earlier            of sexual orientation identity exploration for those
sections of this report, conflicts among disparate                  distressed by their sexual orientation may be:
elements of identity appear to play a major role in
the distress of those seeking SOCE, and identity                    • LGB identities (Glassgold, 2008; Haldeman, 2004;
exploration and development appear to be ways in                      Mahaffy, 1996; Yarhouse, 2008)
which individuals resolve or avoid distress (e.g., Balsam



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• Heterosexual sexual orientation identity (Beckstead                   O’Neill, 1989, 1995). Others have found that individuals
  & Morrow, 2004)                                                       disidentify or reject LGB identities (Ponticelli, 1999;
                                                                        Wolkomir, 2001, 2006; Yarhouse et al., 2005). Thus,
• Disidentifying from LGB identities (e.g., ex-gay)
                                                                        LMHP seeking to take an affirmative attitude recognize
  (Yarhouse, 2008; Yarhouse & Tan, 2004; Yarhouse et
                                                                        that individuals will define sexual orientation identities
  al., 2005)
                                                                        in a variety of ways (Beckstead, as cited in Shidlo,
• Not specifying an identity (Beckstead & Morrow,                       Schroeder, & Drescher, 2002; Diamond, 2003; 2006;
  2004; Haldeman, 2004; Tan, 2008)                                      2008; Savin-Williams, 2005; Yarhouse et al., 2005).
                                                                           Some religious individuals may wish to resolve the
   The research literature indicates that there are                     tension between values and sexual orientation by
variations in how individuals express their sexual                      choosing celibacy (sexual abstinence), which in some
orientation and label their identities based on ethnicity,              faiths, but not all, may be a virtuous path (Olson, 2007).
culture, age and generation, gender, nationality,                       We found limited empirical research on the mental
acculturation, and religion (Boykin, 1996; Carrillo, 2002;              health consequences of that course of action.44 Some
Chan, 1997; Crawford et al., 2002; Denizet-Lewis, 2003;                 clinical articles and surveys of individuals indicate
Kimmel & Yi, 2004; Martinez & Hosek, 2005; Miville &                    that some may find such a life fulfilling (S. L. Jones
Ferguson, 2004; Millett, Malebranche, Mason, & Spikes,                  & Yarhouse, 2007); however, there are others who
2005; Stokes, Miller, & Mundhenk, 1998; Toro-Alfonso,                   cannot achieve such a goal and might struggle with
2007; Weeks, 1995; Yarhouse, 2008; Yarhouse et al.,                     depression and loneliness (Beckstead & Morrow, 2004;
2005; Zea et al., 2003). Some authors have provided                     Glassgold, 2008; Haldeman, 2001; Horlacher, 2006;
analyses of identity that take into account diversity                   Rodriguez, 2006; Shidlo & Schroeder, 2002). In a similar
in sexual identity development and ethnic identity                      way, acting on same-sex sexual attractions may not
formation (Helms, 1995; LaFramboise et al., 1993;                       be fulfilling solutions for others (Beckstead & Morrow,
Myers et al., 1991; Yi & Shorter-Gooden, 1999), religious               2004; Yarhouse, 2008).
identity (Fowler, 1981, 1991; Oser, 1991; Strieb,                          Licensed mental health providers may approach such
2001), as well as combinations of religious and sexual                  a situation by neither rejecting nor promoting celibacy
orientation identities (Coyle & Rafalin, 2000; Hoffman                  but attempting to understand how this outcome is part
et al., 2007; Kerr, 1997; Knight & Hoffman, 2007; Ritter                of the process of exploration, sexual self-awareness, and
& O’Neill, 1989, 1995; Thumma, 1991; Throckmorton &                     understanding of core values and goals. The therapeutic
Yarhouse, 2006; Yarhouse & Tan 2004).                                   process could entail exploration of what drives this goal
   In some of the literature on SOCE, religious beliefs                 for clients (assessing cultural, family, personal context
and identity are presented as fixed, whereas sexual                     and issues, sexual self-stigma), the possible short-
orientation is considered changeable (cf. Rosik, 2003).                 and long-term consequences/rewards, and impacts on
Given that there is a likelihood that some individuals                  mental health while providing education about sexual
will change religious affiliations during their lifetime                health and exploring how a client will cope with the
(Pew Forum on Religion and Public Life, 2008) and that                  losses and gains of this decision (cf. L. A King & Hicks,
many scholars have found that both religious identity                   2007; Ritter & O’Neill, 1989, 1995).
and sexual orientation identity evolve (Beckstead                          On the basis of the aforementioned analyses, we
& Morrow, 2004; Fowler, 1981; Glassgold, 2008;                          adopted a perspective that recognizes the following:
Haldeman, 2004; Mahaffy, 1996; Ritter & Terndrup,
                                                                        • The important functional aspects of identity (G. R.
2002; Yarhouse & Tan, 2005b), it is important for
                                                                          Adams & Marshall, 1996).
LMHP to explore the development of religious identity
and sexual orientation identity (Bartoli & Gillem,                      • The multiplicity inherent in experience and identity,
2008). Some authors hypothesize that developmental                        including age, gender, gender identity, race, ethnicity,
awareness or stage of religious or sexual orientation                     culture, national origin, religion, sexual orientation,
identity may play a role in identity outcomes (Knight                     disability, language, and socioeconomic status
& Hoffman, 2007; Mahaffy, 1996; cf. Yarhouse & Tan,
2005a). Other authors have described a developmental
process that includes periods of crisis, mourning,                      44
                                                                          However, Sipe (1990, 2003) has surveyed clergy and found difficulty
                                                                        in maintaining behavior consistent with aspirations. Other studies
reevaluation, identity deconstruction, and growth                       indicate that this goal is only achieved for a minority of participants
(Comstock, 1996; O’Neill & Ritter, 1992; Ritter &                       who choose it (Brzezinski, 2000; Jones & Yarhouse, 2007).




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  (Bartoli & Gillem, 2008; Miville & Ferguson, 2004;                    Understanding gender roles and gender expression
  Myers et al., 1991).                                               and developing a positive gender identity45 continue
                                                                     to be concerns for many individuals who seek SOCE,
• The influence of social context and the environment
                                                                     especially as nonconformity with social expectations
  on identity (Baumeister & Muraven, 1996;
                                                                     regarding gender can be a source of distress and stigma
  Bronfenbrenner, 1979; Meeus, Iedema, Helsen,
                                                                     (APA, 2008e; Beckstead & Morrow, 2004; Corbett, 1996,
  & Vollebergh, 1999; Myers et al., 1991; Steenbarger,
                                                                     1998; Wolkomir, 2001). Some SOCE teach men how
  1991).
                                                                     to adopt traditional masculine behaviors as a means
• That aspects of multiple identities are dynamic                    of altering their sexual orientation (e.g., Nicolosi,
  and can be in conflict (Beckstead & Morrow, 2004;                  1991, 1993) despite the absence of evidence that such
  Glassgold, 2008; Mark, 2008; D. F. Morrow, 2003;                   interventions affect sexual orientation. Such theoretical
  Tan, 2008; Yarhouse, 2008).                                        positions have been characterized as products of
                                                                     stigma and bias that are without an evidentiary basis
• Identities can be explored, experienced, or integrated
                                                                     and may increase distress (American Psychoanalytic
  without privileging or surrendering one or another
                                                                     Association, 2000; Isay, 1987, 1999; Drescher, 1998a;
  at any age (Bartoli & Gillem, 2008; Glassgold, 2008;
                                                                     Haldeman, 1994, 2001). For instance, Haldeman (2001)
  Gonsiorek, 2004; Haldeman, 2004; Myers et al., 1991;
                                                                     emphasized in his clinical work with men who had
  Phillips, 2004; Shallenberger, 1996).
                                                                     participated in SOCE that some men were taught that
                                                                     their homosexuality made them less masculine—a belief
Approaches based on models of biculturalism
                                                                     that was ultimately damaging to their self-esteem.
(LaFromboise et al., 1993) and pluralistic models
                                                                     Research on the impact of heterosexism and traditional
of identity, including combining models of ethnic,
                                                                     gender roles indicates that an individual’s adoption
sexual orientation, and religious identity that help
                                                                     of traditional masculine norms increases sexual self-
individuals develop all aspects of self simultaneously
                                                                     stigma and decreases self-esteem and emotional
or some sequentially (Dworkin, 1997; Harris et al.,
                                                                     connection with others, thus negatively affecting mental
2008; Hoffman et al., 2007; Knight & Hoffman, 2007;
                                                                     health (Szymanski & Carr, 2008).
Myers et al., 1991; Omer & Strenger, 1992; Ritter &
                                                                        Advances in the psychology of men and masculinity
O’Neill, 1989, 1995; Rosario, Schrimshaw, & Hunter,
                                                                     provide more appropriate conceptual models for
2004; Rosario, Yali, Hunter, & Gwadz, 2006; Sophie,
                                                                                                       considering gender
1987; Troiden, 1988, 1993), can encourage identity                   Most literature in this area      concerns—for instance,
development and synthesis rather than identity conflict,             suggests that for clients who in such concepts as
foreclosure, or compartmentalization.
   Sexual orientation identity exploration can help
                                                                     experience distress with their gender role strain or
                                                                     gender-role nonconformity,        gender role stress (cf.
clients create a valued personal and social identity that
                                                                                                       Butler, 2004; Enns,
provides self-esteem, belonging, meaning, direction,                 LMHP provide them with
                                                                                                       2008; Fischer &
and future purpose, including the redefining of religious            a more complex theory of          Good, 1997; Heppner
beliefs, identity, and motivations and the redefining                gender that affirms a wider       & Heppner, 2008;
of sexual values, norms, and behaviors (Beckstead &                  range of gender diversity         Levant, 1992; Levant
Israel, 2007; Glassgold, 2008; Haldeman, 2004; Mark,
                                                                     and expands definitions and & Silverstein, 2006;
2008; Tan, 2008; Yarhouse, 2008). We encourage LMHP
                                                                     expressions of masculinity        O’Neil, 2008; Pleck,
to support clients in determining their own (a) goals
                                                                                                       1995; Wester, 2008).
for their identity process; (b) behavioral expression of             and femininity.
                                                                                                       This literature suggests
sexual orientation; (c) public and private social roles; (d)
                                                                     exploring with clients the role of traditional gender
gender role, identity, and expression; (e) sex and gender
                                                                     norms in distress and reconceptualizing gender in ways
of partner; and (f) form of relationship(s).
                                                                     that feel more authentic to the client. Such approaches
                                                                     45
                                                                       Gender refers to the roles, behaviors, activities, and attributes
                                                                     that a particular society considers appropriate for men and women.
                                                                     Gender identity is a person’s own psychological sense of identification
                                                                     as male or female, another gender, or identifying with no gender.
                                                                     Gender expression is the activities and behaviors that purposely or
                                                                     inadvertently communicate our gender identity to others, such as
                                                                     clothing, hairstyles, mannerisms, way of speaking, and social roles.




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could also reduce the gender stereotypes associated with                the interventions; (b) sexual orientation identity—
same-sex sexual orientation (Corbett, 1998; Haldeman,                   not sexual orientation—appears to change via
2001; Schwartzberg & Rosenberg, 1998). Most literature                  psychotherapy, support groups, and life events; and (c)
in this area suggests that for clients who experience                   clients perceive a benefit when offered interventions
distress with their gender-role nonconformity, LMHP                     that emphasize acceptance, support, and recognition of
provide them with a more complex theory of gender                       important values and concerns.
that affirms a wider range of gender diversity and                         On the basis of these findings and the clinical
expands definitions and expressions of masculinity and                  literature on this population, we suggest client-centered
femininity (Butler, 2004; Corbett, 1996, 1998, 2001;                    approaches grounded on the following scientific facts:
Haldeman, 2001; Levant & Silverstein, 2006).
                                                                        • Same-sex sexual attractions, behavior, and
   Some women find current categories for
                                                                          orientations per se are normal and positive variants
conceptualizing their sexual orientation and sexual
                                                                          of human sexuality—in other words, they are not
orientation identity limiting, as concepts in popular
                                                                          indicators of mental or developmental disorders.
culture and professional literature do not mirror their
experiences of fluidity and variation in sexuality and                  • Same-sex sexual attractions and behavior can occur
relationships (Chivers et al., 2007; Diamond, 2006,                       in the context of a variety of sexual orientations and
2008; Peplau & Garnets, 2000). Some women, for                            sexual orientation identities.
example, may experience relationships with others as
                                                                        • Gay men, lesbians, and bisexual individuals can live
important parts of sexuality and may place sexuality,
                                                                          satisfying lives as well as form stable, committed
sexual orientation, and sexual orientation identity
                                                                          relationships and families that are equivalent to
in the context of interpersonal bonds and contexts
                                                                          heterosexual relationships in essential respects.
(Diamond, 2003, 2006, 2008; Diamond & Savin-
Williams, 2000; Garnets & Peplau, 2000; Kinnish,                        • No empirical studies or peer-reviewed research
Strassberg, & Turner 2005; Kitzinger, & Wilkinson,                        support theories attributing same-sex sexual
1994; Miller, 1991; Morgan & Thompson, 2006; Peplau                       orientation to family dysfunction or trauma.
& Garnets, 2000; Surrey, 1991). Specific psychotherapy
approaches that focus on an understanding of emotional                  Affirmative client-centered approaches consider sexual
and erotic interpersonal connections in sexuality rather                orientation uniquely individual and inseparable from
than simply on sexual arousal can aide LMHP in                          an individual’s personality and sense of self (Glassgold,
providing a positive framework and goals for therapy                    1995, 2008). This includes (a) being aware of the client’s
with women (Garnets & Peplau, 2000; Glassgold, 2008;                    unique personal, social, and historical context; (b)
Miller, 1991; Surrey, 1991).                                            exploring and countering the harmful impact of stigma
   For many women, religious or cultural influences                     and stereotypes on the client’s self-concept (including
discourage exploration of sexuality and do not portray                  the prejudice related to age, gender, gender identity,
female sexuality as positive or self-directed (Brown,                   race, ethnicity, culture, national origin, religion, sexual
2006; Espin, 2005; Fassinger & Arseneau, 2006;                          orientation, disability, language, and socioeconomic
Mahoney & Espin, 2008; Moran, 2007; Stone, 2008).                       status); and (c) maintaining a broad view of acceptable
Treatment might involve deconstructing cultural scripts                 life choices.
in order to explore possibilities for religion, sexuality,                 We developed a framework for the appropriate
sexual orientation, identity, and relationships (Avishai,               application of affirmative therapeutic interventions
2008; Biaggio, Coan, & Adams, 2002; Morgan &                            for adults that has the following central elements:
Thompson, 2006; Rose & Zand, 2000).                                     (a) acceptance and support; (b) comprehensive
                                                                        assessment; (c) active coping; (d) social support; and

                      Conclusion                                        (e) identity exploration and development. Acceptance
                                                                        and support include (a) unconditional positive regard
The appropriate application of affirmative therapeutic                  for and empathy with the client; (b) an openness to the
interventions to adults is built on three key findings                  client’s perspective as a means to understanding their
in the research: (a) An enduring change to an                           concerns; and (c) encouragement of the client’s positive
individual’s sexual orientation as a result of SOCE                     self-concept.
was unlikely, and some participants were harmed by




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   Client assessment includes an awareness of the
complete person, including mental health concerns that
could impact distress about sexual orientation. Active
                                    coping strategies are
Psychotherapy, self-help            efforts that include
groups, or welcoming                cognitive, behavioral,
communities (ethnic                 or emotional responses
communities, social groups,         designed to change the
religious denominations)            nature of the stressor
provide social support that         itself or how an
can mitigate distress caused individual perceives
                                    it and includes
by isolation, rejection, and
                                    both cognitive and
lack of role models.
                                    emotional strategies.
Psychotherapy, self-help groups, or welcoming
communities (ethnic communities, social groups,
religious denominations) provide social support that can
mitigate distress caused by isolation, rejection, and lack
of role models.
   Conflicts among disparate elements of identity
play a major role in the conflicts and mental health
concerns of those seeking SOCE. Identity exploration
is an active process of exploring and assessing
one’s identity and establishing a commitment to an
integrated identity that addresses the identity conflicts
without an a priori treatment goal for how clients
identify or live out their sexual orientation. The process
may include a developmental process that includes
periods of crisis, mourning, reevaluation, identity
deconstruction, and growth.
   Licensed mental health providers address specific
issues for religious clients by integrating aspects of
the psychology of religion into their work, including by
obtaining a thorough assessment of clients’ spiritual
and religious beliefs, religious identity and motivations,
and spiritual functioning; improving positive religious
coping; and exploring the intersection of religious
and sexual orientation identities. This framework is
consistent with modern multiculturally competent
approaches and evidence-based psychotherapy practices
and can be integrated into a variety of theoretical
systems.




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          7. ETHICAl COnCERnS And dECISIOn mAKIng
                IN PSYCHOTHERAPY WITH ADULTS                                                                 46




E
      thical concerns relevant to sexual orientation                For a discussion of the resolution’s application to
      change efforts (SOCE) have been a major theme                 clinical situations, readers are referred to Schneider
      in the literature and a central aspect of the debate          et al. (2002). APA reaffirmed (a) its position that
around SOCE (e.g., Benoit, 2005; Cramer et al., 2008;               homosexuality is not a mental disorder; (b) its
Davison, 1976, 1978, 1991; Drescher, 1999, 2001,                    opposition to stigma, prejudice, and discrimination
2002; Gonsiorek, 2004; Haldeman, 1994, 2002, 2004;                  based on sexual orientation; and (c) its concern about
Herek, 2003; Lasser & Gottlieb, 2004; Rosik, 2003;                  the contribution of the promotion of SOCE to the
Schreier, 1998; Schroeder & Shidlo, 2001; Sobocinski,               continuation of sexual stigma in U.S. culture.
1990; Tozer & McClanahan, 1999; Wakefield, 2003;                       The APA’s charge to the task force included “to
Yarhouse, 1998a; Yarhouse & Burkett, 2002; Yarhouse                 review and update the APA Resolution on Appropriate
& Throckmorton, 2002). The major concerns raised                    Therapeutic Responses to Sexual Orientation.” In
in these publications have been (a) the potential for               the process of fulfilling this aspect of our charge, we
harm, (b) the client’s right to choose sexual orientation           considered the possibility of recommending revisions
change efforts and other issues generally related to the            to the 1997 resolution to update it with the specific
ethical issue of client autonomy, and (c) questions of              principles and standards of the 2002 APA Ethics Code.
how to appropriately balance respect for two aspects                Ultimately, we decided against a revision,47 because the
of diversity—religion and sexual orientation. SOCE                  relevant concepts in the two versions of the principles
presents an ethical dilemma to practitioners because                and code are similar. Instead, this chapter examines the
these publications have urged LMHP to pursue multiple               relevant sections of the 2002 APA Ethical Principles for
and incompatible courses of action (cf. Kitchener, 1984).           Psychologists and Code of Conduct [hereafter referred to
   In 1997 APA adopted the Resolution on Appropriate                as the Ethics Code] in light of current debates regarding
Therapeutic Responses to Sexual Orientation. This                   ethical decision making in this area.48 We build
resolution highlighted the provisions of the then-                  our discussion on the concepts outlined in the 1997
current Ethical Principles for Psychologists and Code of
Conduct (APA, 1992) that APA believed to be relevant                47
                                                                      As the final chapter of this report reveals, we have developed a new
to situations in which clients request treatments to                resolution that we recommend APA adopt.
alter sexual orientation and psychologists provide such             48
                                                                       This section is for descriptive and educational purposes. It is not
treatments, including the provisions regarding bias                 designed to interpret the APA (2002b) Ethics Code. The APA Ethics
and discrimination, false or deceptive information,                 Committee alone has the authority to interpret the APA (2002b)
                                                                    Ethics Code and render decisions about whether a course of treatment
competence, and informed consent to treatment.                      is ethical. Furthermore, this section is not intended to provide
                                                                    guidelines or standards for practice. Guidelines and standards for
 Ethical concerns for children and adolescents are considered in
46
                                                                    practice are created through a specific process that is outside the
Chapter 8.                                                          purview of the task force.




Ethical Concerns and Decision making in Psychotherapy with Adults                                                                     65
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resolution and discuss some of the ethical controversies                  The first finding from our review is that there is
in light of the newer APA Ethics Code (2002b) and of                   insufficient evidence that SOCE are efficacious for
the systematic research review presented in Chapters                   changing sexual orientation. Furthermore, there is some
3 and 4 of this report. Although many of the principles                evidence that such efforts cause harm. On the basis
and standards in the Ethics Code are potentially                                                          of this evidence,
pertinent,49 the principles and standards most relevant                On the basis of this evidence, we consider it
to this discussion are (in alphabetical order):                        we consider it inappropriate       inappropriate for
                                                                       for psychologists and other        psychologists and
1. Bases for Scientific and Professional Judgments
     (Standard 2.04) and Competence (e.g. 2.01a, 2.01b)50
                                                                       LMHP to foster or support in       other LMHP to foster
                                                                       clients the expectation that       or support in clients
2. Principle A: Beneficence and Nonmaleficence                         they will change their sexual      the expectation that

3. Principle D: Justice                                                orientation if they participate they will change their
                                                                                                          sexual orientation
                                                                       in SOCE.                           if they participate
4. Principle E: Respect for People’s Rights and Dignity
                                                                       in SOCE. We believe that among the various types of
                                                                       SOCE, the greatest level of ethical concern is raised by
            Bases for Scientific and                                   SOCE that presuppose that same-sex sexual orientation
            Professional Judgments                                     is a disorder or a symptom of a disorder.51 Treatments
                                                                       based on such assumptions raise the greatest level of
              and Competence                                           ethical scrutiny by LMHP because they are inconsistent
Many of the standards of the Ethics Code are derived                   with the scientific and professional consensus that
from the ethical and valuative foundations found in                    homosexuality per se is not a mental disorder. Instead,
the principles (Knapp & VandeCreek, 2004). Two of                      we counsel LMHP to consider other treatment
the more important standards are competence and                        options when clients present with requests for sexual
the bases for scientific and professional judgments.                   orientation change.
These standards are linked, as competence is based on                     The second key finding from our review is that those
knowledge of the scientific evidence relevant to a case                who participate in SOCE, regardless of the intentions
(Glassgold & Knapp, 2008). When practicing with those                  of these treatments, and those who resolve their distress
who seek sexual orientation change for themselves                      through other means, may evolve during the course of
or for others, commentators on ethical practice have                   their treatment in such areas as self-awareness, self-
recommended that the practitioner understand the                       concept, and identity. These changes may include (a)
scientific research on sexual orientation and SOCE                     sexual orientation identity, including changes in private
(Glassgold & Knapp, 2008; Schneider et al., 2002). It                  and public identification, group membership, and
is obviously beyond the task force’s scope to provide                  affiliation; (b) emotional adjustment, including reducing
a systematic review of the whole body of research                      self-stigma and shame; and (c) personal beliefs, values,
on sexual orientation, but we have tried to provide a                  and norms, including changes in religious and moral
systematic review of the research on SOCE in Chapters                  beliefs and behaviors and motivations (Buchanon et
3 and 4. From this review, we have drawn two key                       al., 2001; Diamond, 1998, 2006; Rust, 2003; Savin-
conclusions.                                                           Williams, 2004; R. L. Worthington, 2002, 2004, 2005;
                                                                       Yarhouse, 2008). These areas become targets of LMHP
49
  The following are some of the pertinent standards: 2. Competence,    interventions in order to reduce identity conflicts and
2.01 Boundaries of Competence, 2.03 Maintaining Competence, 2.04
                                                                       distress and to explore and enhance the client’s identity
Bases for Scientific and Professional Judgments; 3. Human Relations,
3.01 Unfair Discrimination, 3.03 Other Harassment, 3.04 Avoiding       integration.
Harm, 3.10 Informed Consent; 5.01 Avoidance of False and Deceptive        Because a large number of individuals who seek
Statements, 5.04 Media Presentations; 7.01 Design of Education
                                                                       SOCE are from conservative faiths and indicate that
and Training Programs; 8.02 Informed Consent to Research; 10.01
Informed Consent to Therapy; 10.02 Therapy Involving Couples or        religion is very important to them, research on the
Families.                                                              psychology of religion can be integrated into treatment.
50
  Knapp and VandeCreek (2004) proposed that 2. Competence is           For instance, individual religious motivations can be
derived from Principle A Beneficence & Nonmaleficence, as it is more
likely that an LMHP can provide benefit if he or she is competent;     51
                                                                         See, e.g., Socarides (1968), Hallman (2008), and Nicolosi
however, for our purposes, this chapter will discuss these issues      (1991); these theories assume homosexuality is always a sign of
sequentially.                                                          developmental defect or mental disorder.




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examined, positive religious coping increased, and                  Beckstead & Israel, 2007; Glassgold, 2008; Gonsiorek,
religious identity and sexual orientation identity                  2004; Haldeman, 2004; Tan, 2008; Yarhouse, 2008).
explored and integrated (Beckstead & Israel, 2007;
Fowler, 1981; Glassgold, 2008; Haldeman, 2004; Knight
& Hoffman, 2007; O’Neill & Ritter, 1992; Yarhouse &                               Benefit and Harm
Tan, 2005a, 2005b). This is consistent with advances in             Principle A of the APA Ethics Code, Beneficence and
the understanding of human diversity that place LGB-                Nonmaleficence, establishes that psychologists aspire
affirmative approaches within current multicultural                 to provide services that maximize benefit and minimize
perspectives that include age, gender, gender identity,             harm (APA, 2002b). Many ethicists and scholars
race, ethnicity, culture, national origin, religion, sexual         consider the avoidance of harm to be the priority of
orientation, disability, language, and socioeconomic                modern health care and medical ethics (Beauchamp &
status (e.g., Bartoli & Gillem, 2008; Brown, 2006;                  Childress, 2008; Herek, 2003; S. L. Morrow, 2000). The
Fowers & Davidov, 2006), consistent with Principle D                literature on effective treatments and interventions
(Justice) and Principle E (Respect for People’s Rights              stresses that effective interventions do not have serious
and Dignity).                                                       negative side effects (Beutler, 2000; Flay et al., 2005).
   However, in some of the debates on these issues,                 When applying this principle in the context of providing
there are tensions between conservative religious                   interventions, LMHP assess the risk of harm, weigh
perspectives and affirmative and scientific perspectives            that risk with the potential benefits, and communicate
(Haldeman, 2002; Rosik, 2003; Throckmorton & Welton,                this to clients through informed consent procedures
2005; Yarhouse, 1998a; Yarhouse & Burkett, 2002;                    that aspire to provide the client with an understanding
Yarhouse & Throckmorton, 2002). Although there are                  of potential risks and benefits that are accurate and
tensions between religious and scientific perspectives,             unbiased. Some of the published considerations of
the task force and other scholars do not view these                 ethical issues related to SOCE have focused on the
perspectives as mutually exclusive (Bartoli & Gillem,               limited evidence for its efficacy, the potential for client
2008; Haldeman, 2004; S. L. Morrow & Beckstead, 2004;               harm, and the potential for misrepresentation of these
Yarhouse, 2005b). As we noted in the introduction,                  issues by proponents of SOCE (Cramer et al., 2008;
in its Resolution on Religious, Religion-Related, and/              Haldeman, 1994, 2002, 2004; Herek, 2003; Schroeder
                                  or Religion-Derived               & Shidlo, 2001; Shidlo & Schroeder, 2002). Other
APA (2008a) delineates            Prejudice, APA                    discussions focus on other harms of SOCE, such as
a perspective that                (2008a) delineates                reinforcing bias, discrimination, and stigma against
affirms the importance of         a perspective that                LGB individuals (Davison, 1976, 1978, 1991; Drescher,
science in exploring and          affirms the importance            1999, 2001, 2002; Gonsiorek, 2004).
understanding human               of science in exploring              In weighing the harm and benefit of SOCE, LMHP
behavior while respecting         and understanding                 can review with clients the evidence presented in
                                  human behavior while              this report. Research on harm from SOCE is limited,
religion as an important
                                  respecting religion as            and some of the research that exists suffers from
aspect of human diversity.        an important aspect of            methodological limitations that make broad and
human diversity. Scientific findings from the psychology            definitive conclusions difficult. Early well-designed
of religion can be incorporated into treatment, thus                experiments that used aversive and behavioral
respecting all aspects of diversity while providing                 interventions did cause inadvertent and harmful mental
therapy that is consistent with scientific research.                health effects such as increased anxiety, depression,
   Most important, respecting religious values does not             suicidality, and loss of sexual functioning in some
require using techniques that are unlikely to have an               participants. Additionally, client dropout rate is
effect. We proposed an approach that respects religious             sometimes an indication of harmful effects (Lilienfeld,
values and welcomes all of the client’s actual and                  2007). Early studies with aversive procedures are
potential identities by exploring conflicts and identities          characterized by very high dropout rates, perhaps
without preconceived outcomes. This approach does                   indicating harmful effects, and substantial numbers
not prioritize one identity over another and may aide               of clients unwilling to participate further. Other
a client in creating a sexual orientation identity with             perceptions of harm mentioned by recipients of SOCE
religious values (see Chapter 6) (Bartoli & Gillem, 2008;           include increased guilt and hopelessness due to the




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failure of the intervention, loss of spiritual faith, and a         regarding how to manage such inconsistencies, stigma,
sense of personal failure and unworthiness (Beckstead               and negative repercussions may provide the client with
& Morrow, 2004; Haldeman, 2001, 2004; Shidlo &                      more informed and empowered solutions from which
Schroeder, 2002). Other indirect harms from SOCE                    to choose, thus increasing benefit and autonomy and
include the time, energy, and cost of interventions                 reducing harm.
that were not beneficial (Beckstead & Morrow, 2004;
Lilienfeld, 2007; Smith et al., 2004).
    We found limited research evidence of benefits from                           Justice and Respect
SOCE. There is qualitative research that describes                               for Rights and Dignity
clients’ positive perceptions of such efforts, such as
experiencing empathy and a supportive environment                   In this section, we focus on two concepts, Justice
to discuss problems and share similar values, which                 (Principle D) and Self-Determination (Principle E,
seemed to reduce their stress about their same-                     Respect for People’s Rights and Dignity). The first
sex sexual attractions (Beckstead & Morrow, 2004;                   considers justice, both distributive and procedural
Ponticelli, 1999; Wolkomir, 2001). The literature on                justice (Knapp & VandeCreek, 2004), and the second
SOCE support groups, for instance, illustrates results              focuses on recognizing diversity and maximizing a
similar to those found for LGB-affirming groups and                 client’s ability to choose. The APA Ethics Code uses the
mutual help groups in general (e.g., Kerr, 1997; Levine             term self-determination to encompass the meanings for
et al., 2004; Thumma, 1991). The positive experiences               which many ethicists have used the term autonomy;
clients report in SOCE are not unique. Rather, they are             we define self-determination as the process by which
benefits that have been found in studies of therapeutic             a person controls or determines the course of her
                                   relationships and                or his own life (Oxford American Dictionary, n.d.).
...the benefits reported           support groups in a              Client self-determination encompasses the ability
by participants in SOCE            number of different              to seek treatment, consent to treatment, and refuse
                                                                    treatment. The informed consent process is one of the
may be achieved through            contexts (Levine et
                                                                    ways by which self-determination is maximized in
treatment approaches that al., 2004; Norcross,                      psychotherapy.
do not attempt to change           2002; Norcross &
                                   Hill, 2004). Thus,                  Informed consent and self-determination cannot be
sexual orientation.                                                 considered without an understanding of the individual,
                                   the benefits reported
by participants in SOCE may be achieved through                     community, and social contexts that shape the lives of
treatment approaches that do not attempt to change                  sexual minorities. By understanding self-determination
sexual orientation.                                                 as context-specific and by working to increase clients’
    Perceptions of risks and rewards of certain courses             awareness of the influences of context on their
of action influence the individual’s decisions, distress,           decision making, the LMHP can increase clients’ self-
and process of exploration in psychotherapy. The                    determination and thereby increase their ability to
client and LMHP may define these risks and rewards                  make informed life choices (Beckstead & Israel, 2007;
differently, leading to different perceptions of benefit            Glassgold, 1995; 2008; Haldeman, 2004). For instance,
and harm. Recognizing, understanding, and clarifying                some have suggested that social stigma and prejudice
these different perceptions of risks and rewards are                are fundamental reasons for sexual minorities’ desire
crucial for a thorough ethical analysis of each client’s            to change their sexual orientation (Davison, 1976,
unique situation and are aspects of client-centered                 1978, 1982, 1991; Haldeman, 1994; Silverstein, 1991;
approaches. For instance, an LMHP may attempt                       G. Smith et al., 2004; Tozer & Hayes, 2004). As stigma,
to provide information to the client to reduce sexual               prejudice, and discrimination continue to be prevalent,52
stigma and increase life options by informing the client            52
                                                                      For instance, the criminalization of certain forms of same-sex sexual
about the research literature on same-sex couples. Such             behavior between consenting adults in private was constitutional
relationships may be threatening to the client when                 in the United States until 2003 (see Lawrence v. Texas, 2003). The
                                                                    federal government and most U.S. states do not provide civil rights
such a life course is perceived as being inconsistent
                                                                    protections to LGB individuals and their families (National Gay
with existing religious beliefs and motivations                     and Lesbian Task Force, n.d.). In some other countries, homosexual
and potentially having negative repercussions on                    behavior is still illegal and subject to extreme consequences, even
                                                                    death (e.g., Human Rights Watch, 2008; International Gay & Lesbian
existing relationships with religious communities.
                                                                    Human Rights Commission (IGLHRC), n.d.; Wax, 2008). In extremely
Yet, discussing positive coping resources with clients              repressive environments, sexual orientation conversion efforts are




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we recommend that LMHP strive to understand their                             For instance, current ethics guidance focuses on the
clients’ request for SOCE in the context of sexual                         interrelatedness of ethical principles and understanding
stigma and minority stress (e.g., DiPlacido, 1998;                         a clinical situation fully so as to appropriately
Meyer, 2001). We further recommend that providers                          balance the various pertinent principles (e.g., Knapp
explore with their clients the impact of these factors                     & VandeCreek, 2004). Self-determination and
on their clients’ decision making in order to assess the                   autonomy can vary in degree due to interpersonal and
extent to which self-determination is compromised (cf.                     intrapersonal concerns and can be considered in relation
G. Smith et al., 2004).                                                    to other ethical principles, such as providing services
   For instance, repressive, coercive, or invalidating                     that (a) are likely to provide benefit, (b) are not effective,
cultural, social, political, and religious influences can                  or (c) have the potential for harm.
limit autonomous expression of sexual orientation,                            We believe that simply providing SOCE to clients
including the awareness and exploration of options for                     who request it does not necessarily increase self-
expression of sexual orientation within an individual                      determination but rather abdicates the responsibility
life (e.g., Glassgold, 2008; Mark, 2008; McCormick,                                                            of LMHP to provide
2006; G. Smith et al., 2004; Wax, 2008). We recommend                     We also believe that                 competent assessment
that LMHP consider the impact of discrimination and                       LMHP are more likely to              and interventions that
stigma on the client and themselves (e.g., Beckstead &                    maximize their clients’ self-        have the potential for
Israel, 2007; Haldeman, 2001, 2002). This consideration                   determination by providing benefit with a limited
can become quite complex when the client or the                           effective psychotherapy that risk of harm. We also
community of the client or the LMHP believes that                         increases a client’s abilities       believe that LMHP
homosexuality is sinful and immoral (see Beckstead &                                                           are more likely to
                                                                          to cope, understand,
Israel, 2007). Further exploration of religious beliefs                                                        maximize their clients’
and the cognitive assumptions underlying those beliefs
                                                                          acknowledge, explore, and self-determination
may be helpful in understanding the client’s beliefs and                  integrate sexual orientation by providing effective
perception of choices (Buchanan et al., 2001; Fischer                     concerns into a self-chosen psychotherapy
& DeBord, 2007; Johnson, 2004; Yarhouse, 2008; Yip,                       life in which the client             that increases a
2000, 2002, 2005).                                                        determines the ultimate              client’s abilities to
   The issue of self-determination and autonomy                           manner in which he or she            cope, understand,
has become controversial, and some have suggested                         does or does not express             acknowledge, explore,
that SOCE be offered in the spirit of maximizing                                                               and integrate sexual
                                                                          sexual orientation.
client autonomy53 so that clients have access to a                                                             orientation concerns
treatment they request (e.g., Rosik, 2003; Yarhouse &                      into a self-chosen life in which the client determines
Throckmorton, 2002). Others have cautioned against                         the ultimate manner in which he or she does or does
providing interventions that have very limited evidence                    not express sexual orientation (Bartoli & Gillem, 2008;
of effectiveness, run counter to current scientific                        Beckstead & Israel, 2007; S. L. Morrow & Beckstead,
knowledge, and have the potential for harm, despite                        2004; Haldeman, 2004; Tan, 2008; Throckmorton &
client requests (Drescher, 1999, 2002; Forstein, 2001;                     Yarhouse, 2006; Yarhouse, 2008).
Gonsiorek, 2004; Haldeman, 2002; Herek, 2003). With
regard to claims that client autonomy is the defining
concern in treatment decision making, elevating one
                                                                                    Relational Issues in Treatment
aspect of ethical reasoning, such as autonomy, above                      Ideal or desired outcomes may not always be possible,
all others is not consistent with the current framework                   and at times, the client may face difficult decisions that
of the APA Ethics Code or medical ethics that focus on                    require different types and degrees of disappointment,
the interrelatedness of ethical principles (Beauchamp &                   distress, and sacrifice, as well as benefits, fulfillment,
Childress, 2008; Knapp & VandeCreek, 2004).                               and rewards (Beckstead & Morrow, 2004; Glassgold,
                                                                          2008; Haldeman, 2004; Yarhouse, 2008). LMHP may
                                                                          face strong emotions regarding the limits of their ability
provided in a coercive manner and have been the subject of human          to provide relief from such difficult decisions or their
rights complaints (e.g., IGLHRC, 2001).
                                                                          consequences. Such emotions are understandable in
53
   The APA Ethics Code does not use the word autonomy; rather it          this complex area, yet acting on such emotions within
uses self-determination, which is defined here as “the process by which
a person controls their own life” (Oxford American Dictionary, n.d.).     treatment has the potential to be harmful to the client



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(Knapp & VandeCreek, 2004; Pope & Vasquez, 2007).                   and to be aware of the importance of religion to clients’
In these situations, in order to aid the client, the LMHP           worldviews, LMHP focus on scientific evidence and
may have to address his or her own emotional reactions              professional judgment in determining mental health
to the client’s dilemmas. As the client must address                interventions (APA, 2008a; Beckstead, 2001; Glassgold,
regrets, losses (such as impossible and possible selves;            2008; Haldeman, 2004; Yarhouse & Burkett, 2002).
see L. A. King & Hicks, 2007), and definitions of what is
a fulfilling and worthwhile life, the LMHP must address
his or her own values and beliefs about such issues. The                                      Summary
LMHP’s self-awareness, self-care, and judicious use of              The principles and standards of the 2002 Ethical
consultation can be helpful in these circumstances (Pope            Principles for Psychologists and Code of Conduct most
& Vasquez, 2007; Porter, 1995).                                     relevant to working with sexual minorities who seek to
   Moreover, LMHP may have their own internalized                   alter their sexual orientation are (a) Bases for Scientific
assumptions about sexual orientation, sexual                        and Professional Judgments (Standard 2.04) and
orientation identity, sexuality, religion, race, ethnicity,         Competence (2.01); (b) Beneficence and Nonmaleficence
and cultural issues (APA, 2000, 2002b; Garnets et al.,              (Principle A); (c) Justice (Principle D); and (d) Respect
1991; McIntosh, 1990; Pharr, 1988; Richards & Bergin,               for People’s Rights and Dignity (Principle E). The key
2005). The ethical principles of justice and respect                scientific findings relevant to the ethical concerns that
for people’s rights and dignity encourage LMHP to be                are important in the area of SOCE are the limited
aware of discrimination and prejudice so as to avoid                evidence of efficacy or benefit and the potential for
condoning or colluding with the prejudices of others,               harm. LMHP are cautioned against promising sexual
including societal prejudices. As a way to increase                 orientation change to clients. LMHP are encouraged
awareness of their assumptions and promote the                      to consider affirmative treatment options when clients
resolution of their own conflicts, R. L. Worthington,               present with requests for sexual orientation change.
Dillon, and Becker-Schutte (2005) advised LMHP to                   Such options include the therapeutic approaches
develop their own competence surrounding sexual                     included in Chapter 6 and focus on supporting a client’s
orientation, sexual minorities, and heterosexual                    exploration and development of sexual orientation
privilege. Such competence requires self-reflection,                identity, which provide realistic opportunities for
contact with diverse sexual minority communities, and               maximizing self-determination. These approaches
self-management of biases and sexual prejudice (cf.                 balance an understanding of the role of sexual stigma
Israel, Ketz, Detrie, Burke, & Shulman, 2003).                      and respect other aspects of diversity in a client’s
   Several authors (e.g., Faiver & Ingersoll, 2005;                 exploration and maximize client self-determination.
Lomax, Karff, & McKenny, 2002; Richards & Bergin,
2005; Yarhouse & Tan, 2005a; Yarhouse & VanOrman,
1999) have described potential ethical concerns related
to working with religious clients. LMHP can strive to be
                                     aware of how their
Although LMHP strive to              own religious values
respect religious diversity and affect treatment
to be aware of the importance and can aspire to
of religion to clients’ worldviews, focus on the client’s
LMHP focus on scientific             perspective and
evidence and professional            aspire to become
judgment in determining mental informed about the
                                     importance and
health interventions.
                                     content of specific
religious beliefs and the psychology of religion (Bartoli,
2007; Yarhouse & VanOrman, 1999; Yarhouse &
Fisher, 2002). Yet, for LMHP, the goal of treatment
is determined by mental health concerns rather
than directed by religious values (Gonsiorek, 2004).
Although LMHP strive to respect religious diversity



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                              8. ISSUES FOR CHILDREN,
                           ADOLESCENTS, AND THEIR FAMILIES

             Task Force Charge                                                mitigate behaviors that are perceived to be indicators
                                                                              that a child will develop a homosexual orientation in
            and Its Social Context                                            adolescence and adulthood.



T
       he task force was asked to report on three issues
                                                                         This charge reflects recent events and current social
       for children and adolescents:
                                                                         context. Advocacy groups, both for and against sexual
                                                                         orientation change efforts (SOCE), law journals, and
1. The appropriate application of affirmative therapeutic                the media have reported on involuntary SOCE among
     interventions for children and adolescents who                      adolescents (Goishi, 1997; Morey, 2006; Sanchez, 2007;
     present a desire to change either their sexual                      Weithorn, 1998; Williams, 2005).56 Publications by
     orientation54 on their behavioral expression of their               LMHP directed at parents and outreach from religious
     sexual orientation, or both, or whose guardian                      organizations advocate SOCE for children and youth
     expresses a desire for the minor to change.                         as interventions to prevent adult same-sex sexual
                                                                         orientation (Cianciotto & Cahill, 2006; Kennedy &
2. The presence of adolescent inpatient facilities
                                                                         Cianciotto, 2006; Nicolosi & Nicolosi, 2002; Rekers,
     that offer coercive treatment designed to change
                                                                         1982; Sanchez, 2007).
     sexual orientation or the behavioral expression of
                                                                            Reports by LGB advocacy groups (e.g., Cianciotto
     sexual orientation.55
                                                                         & Cahill, 2006; Kennedy & Cianciotto, 2006) have
3. Recommendations regarding treatment protocols that                    claimed that there has been an increase in attention
     promote stereotyped gender-normative behavior to                    to youths by religious organizations that believe
                                                                         that homosexuality is a mental illness or an adverse
54
  In this report, we define adolescents as individuals between the       developmental outcome. These reports further suggest
ages of 12 and 18 and children as individuals under age 12. The age      that there has been an increasing in outreach to
of 18 was chosen because many jurisdictions in the United States use     youths that portrays homosexuality in an extremely
this age as the legal age of majority, which determines issues such as
consent to treatment and other relevant issues.                          negative light and uses fear and shame to fuel this
                                                                         message. These reports expressed concern that such
55
  We define coercive treatments as practices that compel or
manipulate a child or adolescent to submit to treatment through          efforts have a negative impact on adolescents’ and
the use of threats, intimidation, trickery, or some other form of        their parents’ perceptions of their sexual orientation
pressure or force. The threat of future harm leads to the cooperation
or obedience. Threats of negative consequences can be physical
or emotional, such as threats of rejection or abandonment from           56
                                                                           We define involuntary treatment as that which is performed
or disapproval by family, community, or peer-group; engendering          without the individual’s consent or assent and may be contrary to
feelings of guilt/obligation or loss of love; exploiting physical,       his or her expressed wishes. Unlike coercive treatment, no threats or
emotional, or spiritual dependence.                                      intimidation are involved.




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or potential sexual orientation, increase the perception           may be concerned about behaviors in the child that
that homosexuality and religion are incompatible, and              are stereotypically associated with a same-sex sexual
increase the likelihood that some adolescents will be              orientation (e.g., affection directed at another child
exposed to SOCE without information about evidence-                of the same sex, lack of interest in the other sex, or
based treatments.                                                  behaviors that do not conform to traditional gender
   One aspect of these concerns expressed by LGB                   norms) (American Academy of Pediatrics [AAP],
advocacy groups has been the presence of residential               1999; Haldeman, 2000). This situation contrasts with
programs in which adolescents have been placed by                  the condition of gender dysphoria in childhood and
their parents, in some cases with reported lack of                 adolescence, for which there is clear evidence that some
assent from the adolescent (e.g., Cianciotto & Cahill,             children and adolescents experience distress regarding
2006; Kennedy & Cianciotto, 2006). In addition, a                  their assigned sex, and some experience distress with
longstanding concern raised by advocacy groups for                 the consequences of their gender and biological sex (i.e.,
both LGB people and transgender people has been the                youth struggling with social discrimination and stigma
alleged use of residential psychiatric commitment and              surrounding gender nonconformity) (APA, 2008e;
gender-normative behavioral treatments for children                Menveille, 1998; Menveille & Tuerk, 2002; R. Green,
and adolescents whose expression of gender or sexuality            1986, 1987; Zucker & Bradley, 1995).
violates gender norms (Goishi, 1997; Morey, 2006;                     Childhood interventions to prevent homosexuality
Weithorn, 1988).                                                   have been presented in non-peer-reviewed literature
   To fulfill our charge, we reviewed the literature on            (see Nicolosi & Nicolosi, 2002; Rekers, 1982).57 These
SOCE in children and adolescents and affirmative                   interventions are based on theories of gender and
psychotherapy for children, adolescents, and their                 sexual orientation that conflate stereotypic gender roles
families. We considered the literature on best practices           or interests with heterosexuality and homosexuality
in child and adolescent treatment, inpatient treatment,            or that assume that certain patterns of family
and legal issues regarding involuntary or coercive                 relationships cause same-sex sexual orientation.
treatments and consent to and refusal of treatment.                These treatments focus on proxy symptoms (such
We also reviewed the literature on the development of              as nonconforming gender behaviors), since sexual
sexual orientation in children and adolescents.                    orientation as it is usually conceptualized does not
                                                                   emerge until puberty with the onset of sexual desires
                                                                   and drives (see APA, 2002a; Perrin, 2002). These
              Literature Review                                    interventions assume a same-sex sexual orientation
                                                                   is caused by certain family relationships that form
              Literature on Children                               gender identity and assume that encouraging gender
There is a lack of published research on SOCE among                stereotypic behaviors and certain family relationships
children. Research on sexuality in childhood is limited            will alter sexual orientation (Burack & Josephson, 2005;
and seldom includes sexual orientation or sexual                   see, e.g., Nicolosi & Nicolosi, 2002; Rekers, 1979, 1982).
orientation identity (Perrin, 2002). Although LGB                     The theories on which these interventions are based
adults and others with same-sex sexual attractions                 have not been confirmed by empirical study (Perrin,
often report emotional and sexual feelings and                     2002; Zucker, 2008; Zucker & Bradley, 1995). Although
attractions from their childhood or early adolescence              retrospective research indicates that some gay men
and recall a sense of being different even earlier in              and lesbians recall gender nonconformity in childhood
childhood (Beckstead & Morrow, 2004; Bell et al., 1981;            (Bailey & Zucker, 1995; Bem, 1996; Mathy & Drescher,
D’Augelli & Hershberger, 1993; Diamond & Savin-
Williams, 2000; Troiden, 1989), such concerns have not             57
                                                                     The only peer-reviewed literature is on children who exhibited
                                                                   nonconformity with gender roles or gender identity disorder and did
been studied directly in young children (cf. Bailey &
                                                                   not focus on sexual orientation (e.g., Rekers, 1979, 1981; Rekers,
Zucker, 1995; Cohen & Savin-Williams, 2004).                       Bentler, Rosen, & Lovaas, 1977; Rekers, Kilgus, & Rosen, 1990;
   There is no published research suggesting that                  Rekers & Lovaas, 1974). However, the relevance of such work to
                                                                   this topic is limited, as none of these children reported experiencing
children are distressed about their sexual orientation
                                                                   same-sex sexual attractions or were followed into adulthood. Gender
per se. Parental concern or distress about a child’s               nonconformity differs from gender identity disorder, and children
behavior, mental health, and possible sexual orientation           with gender identity disorder are not necessarily representative of
                                                                   the larger population of those children who will experience same-sex
plays a central role in referrals for psychotherapy                sexual attractions in adulthood (Bailey & Zucker, 1995; Bradley &
(Perrin, 2002; Ryan & Futterman, 1997). Parents                    Zucker, 1998; Zucker, 2008).




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2008), there is no research evidence that childhood            The absence of evidence for adolescent sexual
gender nonconformity and adult homosexuality are            orientation distress that results in requests for SOCE
identical or are necessarily sequential developmental       and the few studies in the literature on religious
phenomena (Bradley & Zucker, 1998; Zucker, 2008).           adolescents seeking psychotherapy related to sexual
Theories that certain patterns of family relationships      orientation suggest that such distress is most likely
cause same-sex sexual orientation have been discredited     to occur among adolescents in families for whom
(Bell et al., 1981; Freund & Blanchard, 1983; R. R.         a religion that views homosexuality as sinful and
Green, 1987; D. K. Peters & Cantrell, 1991).                undesirable is important. Yarhouse (1998b) and
   The research that has been attempted to determine        colleagues (Yarhouse & Tan, 2005a; Yarhouse, Brooke,
whether interventions in childhood affect adult sexual      Pisano, & Tan, 2005) discussed clinical examples of
orientation exists only within the specific population      distress caused by conflicts between faith and sexual
of children with gender identity disorder (GID). R.         orientation surrounding the incompatibility between
Green (1986, 1987) and Zucker and Bradley (1995)            religious beliefs and LGB identities. For instance, a
(to a limited degree) examined prospectively whether        female adolescent client struggled with guilt and shame
psychotherapy in children with GID influenced adult         and fears that God would not love her, and a male
or adolescent sexual orientation and concluded that         adolescent experienced a conflict between believing
it did not (for a review of the issues for children with    God created him with same-sex feelings and believing
GID, see APA, 2009, Report of the Task Force on Gender      that God prohibited their expression (Yarhouse &
Identity and Gender Variance). Thus, we concluded that      Tan, 2005a). Cates (2007) described three cases of
there is no existing research to support the hypothesis     Caucasian males who were referred by schools, courts,
that psychotherapy in children alters adult sexual          or parents for concerns that included their sexual
orientation.                                                orientation. All three youths perceived that within
                                                            their faith community and family, an LGB identity was
                                                            unacceptable and would probably result in exclusion
              Literature on Adolescents                     and rejection (Cates, 2007). Because of the primacy
We found no empirical research on adolescents who           of religious beliefs, the adolescents or their families
request SOCE, but there were a few clinical articles        requested religiously based therapy or SOCE. For
reporting cases of psychotherapy with religious             instance, Cates described the treatment of an adolescent
adolescents (Cates, 2007; Yarhouse, 1998b; Yarhouse         who belonged to the Old Amish Community and who
& Tan, 2005a; Yarhouse et al., 2005) who expressed          requested SOCE. The young man perceived that there
confusion regarding their sexual orientation and            was no place for him in his faith community as a gay
conflicts between religious values and sexual               man and did not want to leave that community.
orientation. In some of these cases, the adolescents or
their families sought SOCE or considered SOCE (Cates,
                                     2007; Yarhouse             Research on Parents’ Concerns
The general body of research & Tan, 2005a;                   About Their Children’s Sexual Orientation
on adolescents who identify          Yarhouse et al.,       We did not find specific research on the characteristics
themselves as same-sex               2005). The general     of parents who bring their children to SOCE. Thus,
oriented does not suggest that body of research             we do not know whether this population is similar
the normal development of a          on adolescents who     to or different from the more general population
same-sex sexual orientation          identify themselves    of parents who may have concerns or questions
in adolescence is typically          as same-sex oriented   regarding their children’s sexual orientation or future
characterized by distress that does not suggest             sexual orientation. We cannot conclude that parents
                                     that the normal
results in requests for sexual                              who present to LMHP with a request for SOCE are
                                     development of a       motivated by factors that cause distress in other parents
orientation change.
                                     same-sex sexual        of adolescents with emerging LGB identities.
orientation in adolescence is typically characterized by       In the small samples represented by articles on case
distress that results in requests for sexual orientation    studies and clinical papers, parents’ religious beliefs
change (e.g., D’Augelli, 2002; Garofalo & Harper, 2003;     appear to be factors in their request of SOCE for their
Savin-Williams & Cohen, 2004).                              children. For instance, in clinical case discussions and




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psychotherapy articles, Cates (2007), Yarhouse (1998b),             approaches that stress conformity to traditional gender
Yarhouse and Tan (2005a), and Yarhouse et al. (2005)                roles and behaviors.
identified a population of parents who have strong                     Concerns have arisen over the conduct of some
conservative religious beliefs that reject LGB identities           private psychiatric hospitals that use alternative
and perceive homosexuality as sinful.                               diagnoses—such as GID, conduct disorders, oppositional
   Other reports suggest that parents of adolescents with           defiant disorders, or behaviors identified as self-
emerging same-sex sexual orientation and conservative               defeating or self-destructive—to justify hospitalization
religious beliefs that perceive homosexuality negatively            of LGB and questioning youth and expose adolescents
appear to be influenced by religious authorities and                to SOCE (Arriola, 1998; Morey, 2006). Data on these
LMHP who promote SOCE. For instance, Burack and                     issues are incomplete, as each state has different
Josephson (2005) and Cianciotto and Cahill (2006)                   reporting requirements for public and private hospitals,
reported that fear and stereotypes appeared to be                   and laws regarding confidentiality understandably
contributing factors in parents who resort to residential           protect client information.
SOCE or other related coercive treatment on youth.
Cianciotto and Cahill found that some advocacy groups               ADOLESCEnTS’ RIgHTS TO COnSEnT
do outreach to parents that encourages commitment                   TO TREATmEnT
to SOCE residential programs even if the children do
                                                                    In researching involuntary treatment, we reviewed the
not assent. These programs also appear to provide
                                                                    recent literature on the growing movement to increase
information to parents that stresses that sexual
                                                                                                     adolescents’ rights to
orientation can be changed (Burack & Josephson, 2005;               It is now recognized that        consent to outpatient
Cianciotto & Cahill, 2006), despite the very limited                adolescents are cognitively and inpatient mental
empirical evidence for that assertion.
                                                                    able to participate in           health treatment so as
                                                                    some health care treatment to reduce involuntary
      Residential and Inpatient Services                            decisions, and such              hospitalization
                                                                                                     (Mutcherson, 2006;
We were asked to report on “the presence of adolescent              participation is helpful.
                                                                                                     Redding, 1993). It
inpatient facilities that offer coercive treatment
                                                                    is now recognized that adolescents are cognitively
designed to change sexual orientation or the behavioral
                                                                    able to participate in some health care treatment
expression of sexual orientation.” We performed a
                                                                    decisions, and such participation is helpful (Hartman,
thorough review of the literature on these programs.
                                                                    2000, 2002; Mutcherson, 2006; Redding, 1993). The
Upon completion of this review, we decided that the
                                                                    APA Guidelines for Psychotherapy for Lesbian, Gay,
best way to address this task was to evaluate issues of
                                                                    and Bisexual Clients (2000) and the APA Ethics Code
the appropriateness of these programs for adolescents
                                                                    (2002b) encourage professionals to seek the assent
in light of issues of harm and benefit based on the
                                                                    of minor clients for treatment. Within the field of
literature on adolescent development, standards for
                                                                    adolescent mental health and psychiatry, there are
inpatient and residential treatment, and ethical issues
                                                                    developmental assessment models to determine an
such as informed consent.
                                                                    adolescent’s competence to assent or consent to and
   There are several accounts of inpatient and
                                                                    potentially refuse treatment (Forehand & Ciccone, 2004;
residential treatment, sometimes involuntary or
                                                                    Redding, 1993; Rosner, 2004a, 2004b). Some states now
coerced, for adolescents who were LGB-identified,
                                                                    permit adolescents some rights regarding choosing or
confused or questioning their sexual orientation, gender
                                                                    refusing inpatient treatment, participating in certain
nonconforming, or transgender (Arriola, 1998; Burack &
                                                                    interventions, and control over disclosure of records
Josephson, 2005; Goishi, 1997; Molnar, 1997; Weithorn,
                                                                    (Koocher, 2003).
1988). These incidents mostly occurred because the
parent or guardian was distressed regarding the child’s
actual sexual orientation or potential and perceived                InPATIEnT TREATmEnT
sexual orientation. An account of an adolescent boy who             The use of inpatient and residential treatments for
was placed in a program sponsored by Love in Action,                SOCE is inconsistent with the recommendations of the
a religious-based program, was reported widely in the               field. For instance, the American Academy of Child
press (Williams, 2005). This program was reported                   and Adolescent Psychiatry (1989) recommended that
to focus on religious approaches to SOCE as well as                 inpatient treatment, when it does occur, be of the



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shortest possible duration and reserved for the most                     To provide an overview of the issues with residential
serious psychiatric illnesses, such as those of a psychotic           programs for youth, we reviewed information gathered
nature or where there is an acute danger to self or                   by the APA (2002a) Committee on Children, Youth, and
others. For less serious mental health conditions, the                Families in collaboration with the APA State Advocacy
Academy recommended that inpatient hospitalization                    Office and the testimony and subsequent published
occur only after less restrictive alternatives (i.e.,                 report by members of the U.S. General Accounting
outpatient and community resources) are shown to                      Office before the Committee on Education and Labor of
be ineffective. In Best Practice Guidelines: Serving                  the U.S. House of Representatives (Kutz & O’Connell,
LGBT Youth in Out-of-Home Care (Wilber, Ryan, &                       2007). These reports and testimony evaluated some
Marksamer, 2006), the Child Welfare League of America                 current problems in adolescent residential mental
recommended that, if necessary, hospitalization or                    health care. There are a large number of unlicensed and
residential substance abuse treatment for adolescents                 unregulated programs marketed to parents struggling
be in a setting that provides mental health treatments                to find behavioral or mental health programs for their
that are affirmative of LGB people and for which the                  adolescent children. Although many of these programs
staff is competent to provide such services. Further, in              avoid regulation by not identifying themselves as
a review of the psychiatric literature, Weithorn (1988)               mental health programs, they do advertise mental
concluded that the deprivation of normal social contacts              health, behavioral, and/or educational goals, especially
and prevention of attendance at school and other normal               for those youth perceived as troubled by their parents.
social settings can be harmful as well as punitive.                   Many of these programs are involuntary and coercive
                                                                      and use seclusion or isolation and escort services to
PROgRAmS WITH RELIgIOuS AFFILIATIOnS                                  transport unwilling youth to program locations (Kutz &
Programs sponsored by religious groups, such as Love                  O’Connell, 2007). The testimony and report described
in Action’s program, Refuge,58 provide religiously                    the negative mental health impacts of these programs
based interventions that claim to change sexual                       and expressed grave concerns about them, including
orientation, control sexual behavior, or prevent the                  questions about quality of care and harm caused by
development of same-sex sexual orientation. The                       coercive or involuntary measures (Kutz & O’Connell,
interventions have been marketed to parents in this                   2007).
way (Burack & Josephson, 2005; Sanchez, 2007;                            Thus, residential and outpatient programs that
Williams, 2005). Because they are religious in nature                 are involuntary and coercive and provide inaccurate
and are not explicitly mental health facilities,59 many               scientific information about sexual orientation or are
of these programs are not licensed or regulated by                                                         excessively fear-
                                                                      Although religious doctrines         based pose both
state authorities. Burack and Josephson reported
that there was effort by religious organizations and
                                                                      themselves are not the purview clinical and ethical
sponsors of these programs to communicate to parents                  of psychologists, how religious      concerns, whether
that homosexuality is abnormal and sinful and could                   doctrine is inculcated through       or not they are
be changed.60 Such religious organizations, according                 educational and socialization        based on religious
                                                                                                           doctrine. Although
to the authors of the report, encouraged parents to                   practices is a psychological
seek treatment for their children. Based on anecdotal                                                      religious doctrines
                                                                      issue and an appropriate             themselves are
accounts of current and past residents, these programs,
                                                                      subject of psychological             not the purview of
to influence adolescents’ life decisions, allegedly used
                                                                      examination, especially if           psychologists, how
fear and even threats about negative spiritual, health,
and life consequences and thus are viewed as coercive                 there are concerns regarding         religious doctrine
(Burack & Josephson, 2005; Sanchez, 2007).                            substantiation of benefit or harm, is inculcated
                                                                      unlicensed and unregulated           through educational
                                                                                                           and socialization
58
  The program “Refuge,” directed at adolescents, was closed in 2007   facilities, and coercive and
                                                                                                           practices is a
and is no longer advertised. However, Love in Action still sponsors   involuntary treatment.
residential programs for adults.                                                                           psychological issue
59
  These programs advertise helping with addiction, “negative self-
                                                                      and an appropriate subject of psychological examination,
talk and irrational belief systems,” and behavior change (see www.    especially if there are concerns regarding substantiation
loveinaction.org/default.aspx?pid=91).                                of benefit or harm, unlicensed and unregulated facilities,
60
     See www.loveinaction.org/default.aspx?pid=122                    and coercive and involuntary treatment.



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   As noted earlier, we define coercive treatments as               2004, 2007; Yarhouse & Tan, 2005a).61 This literature
practices that compel or manipulate an individual                   recommends that LMHP learn about the law and
to submit to treatment through the use of threats,                  scholarship on developmental factors in informed
intimidation, manipulation, trickery, or some other                 consent and take steps to ensure that minor clients
form of pressure, including threats of future harm.                 have a developmentally appropriate understanding
Harm can be physical or psychological. Harmful                      of treatment, are afforded complete information
psychological consequences include disapproval; loss of             about their rights, and are provided treatment in the
love; rejection or abandonment by family, community, or             least restrictive environment. LMHP can review the
peer group; feelings of guilt/obligation; and exploitation          recommendations for assent to treatment recommended
of physical, emotional, or spiritual dependence.                    in the Guidelines for Psychotherapy for Lesbian,
Coercive and involuntary treatment present ethical                  Gay, and Bisexual Clients (APA, 2000) and can seek
dilemmas for providers working with many clients                    an adolescent’s consent consistent with evolving
(APA, 2002b; Beauchamp & Childress, 2008; Davis,                    considerations of developmental factors (Forehand &
2002); however, with children and adolescents, such                 Ciccone, 2004; Redding, 1993; Rosner, 2004a, 2004b).
concerns are heightened (Molnar, 1997; Weithorn,                       APA policies (APA, 1993, 2000) and the vast majority
1988). Children and adolescents are more vulnerable to              of current publications on therapy for LGB and
such treatments because of the lack of legal rights and             questioning adolescents who are concerned about their
cognitive and emotional maturity and emotional and                  sexual orientation recommend that LMHP support
physical dependence on parents, guardians, and LMHP                 adolescents’ exploration of identity by
(Molnar, 1997; Weithorn, 1988). The involuntary nature
                                                                    • accepting homosexuality and bisexuality as normal
of particular programs raises issues similar to those
                                                                      and positive variants of human sexual orientation,
of other involuntary mental health settings; however,
because they are religious programs, not mental health              • accepting and supporting youths as they address the
programs, they pose complex issues for licensure and                  stigma and isolation of being a sexual minority,
regulation (Williams, 2005). Given ethical imperatives
                                                                    • using person-centered approaches as youths
that stress maximizing autonomous decision making
                                                                      explore their identities and experience important
and self-determination (APA, 2002b; Beauchamp &
                                                                      developmental milestones (e.g., exploring sexual
Childress, 2008), LMHP should strive to maximize
                                                                      values, dating, and socializing openly),
autonomous decision making and self-determination
and avoid coercive and involuntary treatments.                      • ameliorating family and peer concerns (e.g., APA,
                                                                      2000, 2002a; D’Augelli & Patterson, 2001; Floyd &

      Appropriate Application of                                      Stein, 2002; Fontaine & Hammond, 1996; Hart &
                                                                      Heimberg, 2001; Hetrick & Martin, 1987; Lemoire
      Affirmative Intervention With                                   & Chen, 2005; Mallon, 2001; Martin, 1982; Perrin,

      Children and Adolescents                                        2002; Radkowsky & Siegel, 1997; Ryan, 2001; Ryan
                                                                      et al., 2009; Ryan & Diaz, 2005; Ryan & Futterman,
                                                                      1997; Schneider, 1991; Slater, 1988; Wilber, Ryan &
      Multicultural and Client-Centered                               Marksamer, 2006; Savin-Williams & Cohen, 2004;
       Approaches for Adolescents                                     Yarhouse & Tan, 2005a).
A number of researchers and practitioners have
advised LMHP that when working with children or                     When sexual minority and questioning youth require
adolescents and their families, they should address                 residential or inpatient treatment for mental health,
concerns regarding sexual orientation and base their                behavioral, or family issues, it has been recommended
interventions on the current developmental literature               that such treatment be safe from discrimination and
on children and adolescents and the scholarly literature            prejudice and affirming of sexual orientation diversity
on parents’ responses to their child’s sexual orientation           61
                                                                      Due to the limited research on children, adolescents, and families
(e.g., Ben-Ari, 1995; Bernstein, 1990; Holtzen &                    who seek SOCE, our recommendations for affirmative therapy
Agriesti, 1990; Mattison & McWhirter, 1995; Perrin,                 for children, youth, and their families distressed about sexual
                                                                    orientation are based on general research and clinical articles
2002; Ryan, Huebner, Diaz, & Sanchez, 2009; Salzburg,               addressing these and other issues, not on research specific to those
                                                                    who specifically request SOCE. We acknowledge that limitation in
                                                                    our recommendations.




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by staff who are knowledgeable about LGB identities         age-appropriate exploration with children, adolescents,
and life choices (Mallon, 2001; Wilber et al., 2006).       and parents regarding these issues.
   Other aspects of human diversity, such as age,
gender, gender identity, race, ethnicity, culture,
national origin, religion, disability, language, and
                                                                 Multicultural and Client-Centered
socioeconomic status, may be relevant to an adolescent’s        Approaches for Parents and Families
identity development, and these differences may             Parental attitudes and behaviors play a significant role
intersect with sexual orientation identity (Diamond         in children’s and adolescents’ adjustment (Radkowsky
& Savin-Williams, 2000; Rosario, Rotheram-Borus,            & Siegel, 1997; Ryan & Diaz, 2005; Ryan et al., 2009;
& Reid, 1996; Rosario, Scrimshaw, & Hunter, 2004;                                                Savin-Williams,
Rosario, Schrimshaw, Hunter, & Braun, 2006). Some           Reducing parental rejection,         1989b, 1998;
adolescents are more comfortable with fluid or flexible     hostility, and violence (verbal Wilber et al., 2006;
identities due to gender differences and generational or    or physical) may contribute to Yarhouse, 1998b).
developmental concerns, and their sexual orientation        the mental health and safety         One retrospective
identities may not be exclusive or dichotomous                                                   research study of
                                                            of the adolescent.
(Diamond, 2006; Morgan & Thompson, 2006; Savin-                                                  adults indicated
Williams, 2005).                                            that LGB children are more likely to be abused by
   Only a few articles addressed the specific conflicts     their families than by nonrelated individuals (Corliss,
between religious identities and sexual orientation         Cochran, & Mays, 2002). Another found that family
identities among youth (Cates, 2007; Yarhouse, 1998b;       rejection is a key predictor of negative health outcomes
Yarhouse & Tan, 2005a). For instance, Yarhouse and          in White and Latino LGB young adults (Ryan,
Tan proposed solutions that respect religious beliefs       Huebner, Diaz, & Sanchez, 2009). Reducing parental
and emphasized nondirective exploration of religious        rejection, hostility, and violence (verbal or physical)
and sexual orientation identity that do not advocate        may contribute to the mental health and safety of the
a particular sexual orientation identity outcome. As        adolescent (Remafedi et al., 1991; Ryan et al., 2009;
adolescents may experience a crisis of faith and distress   Savin-Williams, 1994; Wilber et al., 2006). Further, to
linked to religious and spiritual beliefs, the authors      improve parents’ responses, LMHP need to find ways
explored interventions that integrate the psychology        to ameliorate parents’ distress about their children’s
of religion into interventions that stress improving the    sexual orientation. Exploring parental attributions
client’s positive religious coping and relationship with    and values regarding same-sex sexual orientation is
the sacred (e.g., Exline, 2002; Pargament & Mahoney,        especially important in order to facilitate engagement in
2005; Pargament et al., 1998, 2005). Cates (2007), from     treatment, resolution of ethical dilemmas, and increase
a more secular frame, emphasized a client-centered          of potential benefits of psychotherapy (Morrisey-Kane &
approach that stresses the LMHP’s unconditional             Prinz, 1999; Sobocinski, 1990).
acceptance of the client and client choices even if the        Family therapy for families who are distressed
client cannot accept his or her own sexual orientation.     by their child’s sexual orientation may be helpful
   The ethical issues outlined in Chapter 7 are also        in facilitating dialogues, increasing acceptance
relevant to children and adolescents; however, working      and support, reducing rejection, and improving
with adolescents presents unique ethical dilemmas to        management of conflicts or misinformation that
LMHP (Koocher, 2003). Children and adolescents are          may exacerbate an adolescent’s distress (Mattison &
often unable to anticipate the future consequences of       McWhirter, 1995; Ryan et al., 2009; Salzburg, 2004,
a course of action and are emotionally and financially      2007). Such therapy can include family psychoeducation
dependent on adults. Further, they are in the midst of      to provide accurate information and teach coping
developmental processes in which the ultimate outcome       skills and problem-solving strategies for dealing more
is unknown. Efforts to alter that developmental path        effectively with the challenges sexual minority youth
may have unanticipated consequences (Perrin, 2002).         may face and the concerns the families and caretakers
LMHP should strive to be mindful of these issues,           may have (Ben-Ari, 1995; Perrin, 2002; Ryan & Diaz,
particularly as these concerns affect assent and consent    2005; Ryan & Futterman, 1997; Ryan et al., 2009;
to treatment and goals of treatment (Koocher, 2003;         Salzburg, 2004, 2007; Yarhouse, 1998b). Ryan and
Rosner, 2004a, 2004b; Sobocinski, 1990). Possible           Futterman (1997) termed this anticipatory guidance:
approaches include open-ended and scientifically based



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the LMHP provides family members with accurate                      isolation that many parents experience (Menveille &
information regarding same-sex sexual orientation                   Tuerk, 2002).
and dispels myths regarding the lives, health, and
psychological well-being of LGB individuals.
   Perrin (2002) recommended that when working
                                                                         Community Approaches for Children,
with families of preadolescent children, LMHP                               Adolescents, and Families
counsel parents who are concerned that their young                  Research has illuminated the potential that school-
children may grow up to be lesbian or gay to tolerate               based and community interventions have for increasing
the ambiguity inherent in the limited knowledge of                  safety and tolerance of sexual minorities, preventing
development. In addition, Perrin suggested a two-                   distress and negative mental health consequences,
prong approach: (a) Provide information to reduce                   and increasing the psychological well-being and health
heterosexism within the family and increase the                     of sexual minority youth (APA, 1993; D’Augelli &
family’s capacity to provide support and (b) introduce              Patterson, 2001; Goodenow, Szalacha, & Westheimer,
information about LGB issues into family discussions to             2006; Harper, Jamil, & Wilson, 2007; Kosciw & Diaz,
aid the child’s own self-awareness and self-acceptance              2006; A. J. Peters, 2003; Roffman, 2000; Safren &
and to counter stigma. For adolescents, Ryan et al.                 Heimberg, 1999; Schneider, 1991; Treadway & Yoakum,
(2009) recommended that LMHP assess family reactions                1992). For instance, sexual minority adolescents in
to LGB youth, specifically the presence of family                   schools with support groups for LGB students reported
rejection. Further, the authors advocated attempting                lower rates of suicide attempts and victimization
to modify highly rejecting behaviors, providing                     than those without such groups (Goodenow et al.,
anticipatory guidance to families that includes                     2006; Kosciw & Diaz, 2006; Szalacha, 2003). Kosciw
recommendations for support on the part of the family,              and Diaz (2006) found that such support groups were
and explaining the link between family rejection and                related to improved academic performance and college
negative health problems in children and adolescents.               attendance. The support groups that were examined in
   Families with strong religious beliefs that condemn              the research provided accurate affirmative information
homosexuality may struggle with a child’s same-sex                  and social support, and the groups’ presence was also
sexual orientation (Cates, 2007; Yarhouse, 1998b;                   related to increased school tolerance and safety for LGB
Yarhouse & Tan, 2005a). Yarhouse and Tan (2005a)                    youth (Goodenow et al., 2006; Kosciw & Diaz, 2006;
suggested that family therapy reframe the religious                 Szalacha, 2003). School policies that increased staff
beliefs to focus on aspects of faith that encourage love            support and positive school climate have been found
and acceptance of their child rather than on a religion’s           to moderate suicidality and to positively affect sexual
prohibitions. The authors stressed that these positive              minority youth school achievement and mental health
elements of faith can lay a constructive foundation for             (Goodenow et al., 2006).
communication and problem solving and reduce family                    School and community interventions have the
discord and rejection (Yarhouse & Tan, 2005a, p. 534).              potential for introducing other sources of peer and adult
   Providing anticipatory guidance to parents to address            support that may buffer children and adolescents from
their unique personal concerns can be helpful (Ryan                 rejection that may occur in certain family, community,
& Futterman, 1997). The LMHP can help the parents                   and religious contexts. These school and community
plan in an affirmative way for the unique life challenges           interventions may provide alternative sources of
that they may face as parents of a sexual minority child.           information regarding LGB identities and lives.
Parents must deal with their own unique choices and                 However, such school and community interventions are
process of “coming out” and resolve fears of enacted                unlikely to directly affect the core attitudes and beliefs
stigma if they risk disclosure within their communities,            of the religious institutions and communities in which
at work, and to other family members (Bernstein, 1990).             sexual orientation distress and family rejection might
Further, the LMHP can address other stresses, such as               occur. These programs may have an indirect effect on
managing life celebrations and transitions and coping               communities and religious institutions because of their
with feelings of loss, and aid parents in advocating for            potential to change the general social context in which
their children in school situations—for example, when               families deal with conflicts between their children’s
they face bullying or harassment. Multiple family                   emerging sexual orientations and identities. We hope
groups led by LMHP might be helpful to counter the                  that such change will reduce the level of psychological




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distress that such conflicts between religion and                                                               that LMHP avoid
sexuality create and reduce the level of hostility and                   Some advocates of these                such efforts and
punitiveness to which some children and adolescents                      treatments see homosexuality as        provide instead
are exposed as a result of their sexual orientation.                     a mental disorder, a concept           multicultural,
  For families, groups such as Parents, Families,                        that has been rejected by the          client-centered,
and Friends of Lesbians and Gays (PFLAG) and the                         mental health professions for          and affirmative
Straight Spouse Network may also provide a safe,                                                                treatments
                                                                         more than 35 years.
nonjudgmental space in which to discuss their concerns,                                                         that are
receive accurate information, reduce isolation, and                      developmentally appropriate (Perrin, 2002).
reduce feelings of perceived stigma (Goldfried &                            Second, we were asked to comment on the presence
Goldfried, 2001). PFLAG offers extensive literature for                  of adolescent inpatient facilities that offer coercive
parents based on affirmative approaches to same-sex                      treatment designed to change sexual orientation or
sexual attractions as well as a nationwide network of                    the behavioral expression of sexual orientation. We
support groups. Such groups, by providing alternative                    found that serious questions are raised by involuntary
sources of information, could reduce the distress for                    and coercive interventions and residential centers
parents and increase family support of their sexual                      for adolescents due to their advocacy of treatments
minority children, thus positively affecting sexual                      that have no scientific basis and potential for harm
minority youth and children whose families are                           due to coercion, stigmatization, inappropriateness of
concerned about their future sexual orientation.                         treatment level and type, and restriction of liberty.
  Parents who are religious may benefit from finding                     Although the prevalence of these treatment centers is
support through religious organizations and groups.                      unknown, we recommend that some form of oversight
One concern is that some groups may provide parents                      be established for such youth facilities, such as
with information that presents same-sex sexual                           licensure and monitoring, especially as a means of
orientation in a negative light (e.g., defective, “broken”),             reporting abuse or neglect.
which could increase stigma and rejection of children                       States have different requirements and standards
and adolescents; thus, such groups should rarely                         for obtaining informed consent to treatment for
be considered. Alternatively, some groups provide                        adolescents; however, it is recognized that adolescents
resources that are both LGB affirming and religious.62                   are cognitively able to participate in some health care
                                                                         treatment decisions and that such participation is
                                                                         helpful. We recommend that when it comes to treatment
                        Conclusion                                       that purports to have an impact on sexual orientation,
We were asked to report on three issues for children                     LMHP assess the adolescent’s ability to understand
and adolescents. First, we were asked to provide                         treatment options, provide developmentally appropriate
recommendations regarding treatment protocols that                       informed consent to treatment that is consistent with
attempt to prevent homosexuality in adulthood by                         the adolescent’s level of understanding, and, at a
promoting stereotyped gender-normative behavior in                       minimum, obtain the youth’s assent to treatment. SOCE
children to mitigate behaviors that are perceived to                     that focus on negative representations of homosexuality
be indicators that a child will develop a homosexual                     and lack a theoretical or evidence base provide no
orientation in adolescence and adulthood. We found                       documented benefits and can pose harm through
no empirical evidence that providing any type of                         increasing sexual stigma and providing inaccurate
therapy in childhood can alter adult same-sex sexual                     information. We further concluded that involuntary or
orientation. Some advocates of these treatments see                      coercive residential or inpatient programs that provide
homosexuality as a mental disorder, a concept that has                   SOCE to children and adolescents may pose serious
been rejected by the mental health professions for more                  risk of harm, are potentially in conflict with ethical
than 35 years. Further, the theories that such efforts                   imperatives to maximize autonomous decision making
are based on have not been corroborated by scientific                    and client self-determination, and have no documented
evidence or evaluated for harm. Thus, we recommend                       benefits. Thus, we recommend that parents, guardians,
                                                                         or youth not consider such treatments.
62
  See, e.g., “Family Fellowship” (www.ldsfamilyfellowship.org/) for         Finally, we were asked to report on the appropriate
parents who belong to the Church of Jesus Christ of Latter-Day
                                                                         application of affirmative therapeutic interventions
Saints. The Institute of for Sexual Orientation and Judaism also lists
resources: www.huc.edu/ijso/.                                            for children and adolescents who present a desire to



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change their sexual orientation or their behavioral
expression of their sexual orientation, or both, or whose
guardian expresses a desire for the minor to change.
                                      We recommend
We recommend that LMHP                that LMHP provide
provide multiculturally competent multiculturally
and client-centered therapies to competent and
children, adolescents, and their client-centered
                                      therapies
families rather than SOCE.
                                      to children,
adolescents, and their families rather than SOCE. Such
approaches include an awareness of the interrelatedness
of multiple identities in individual development as
well an understanding of cultural, ethnic, and religious
variation in families. Specific approaches can include (a)
supporting children and youth in their developmental
processes and milestones, (b) reducing internalized
stigma in children and sexual stigma in parents, and
(c) providing affirmative information and education
on LGB identities and lives. These approaches would
support children and youth in identity exploration and
development without seeking predetermined outcomes.
Interventions that incorporate knowledge from the
psychology of religion and that increase acceptance,
love, and understanding among individuals, families,
and communities are recommended for populations
for whom religion is important. Family therapy that
provides anticipatory guidance to parents to increase
their support and reduce rejection of children and
youth addressing these issues is essential. School and
community interventions are also recommended to
reduce societal-level stigma and provide information
and social support to children and youth.




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                          9. SUMMARY AND CONCLUSIONS


A
      PA’s charge to the task force included three major   Third, the task force was asked to inform APA’s
      tasks that this report addresses. First, the task    response to groups that promote treatments to change
      force was asked to review and update the 1997        sexual orientation or its behavioral expression and
resolution on Appropriate Therapeutic Responses to         to support public policy that furthers affirmative
Sexual Orientation (APA, 1998). Second, the task force     therapeutic interventions.
was asked to report on the following:                         The substance of the second task has been achieved
                                                           in the preceding chapters of this report. In Chapters 3
• The appropriate application of affirmative therapeutic
                                                           and 4, we reviewed the body of research on the efficacy
  interventions for children and adolescents who
                                                           and safety of sexual orientation change effort (SOCE).
  present a desire to change either their sexual
                                                           In Chapter 5 we addressed the nature of distress and
  orientation or their behavioral expression of their
                                                           identified conflicts in adults that provide the basis of
  sexual orientation, or both, or whose guardian
                                                           our recommendations for affirmative approaches for
  expresses a desire for the minor to change.
                                                           psychotherapy practice that are described in Chapter 6.
• The appropriate application of affirmative therapeutic   Chapter 7 discusses ethical issues in SOCE for adults.
  interventions for adults who present a desire to         In Chapter 8, we considered the more limited body of
  change their sexual orientation or their behavioral      research on children and adolescents, including a review
  expression of their sexual orientation, or both.         of SOCE with children and adolescents and affirmative
                                                           approaches for psychotherapy.
• The presence of adolescent inpatient facilities
                                                              In this final chapter, we summarize the report and
  that offer coercive treatment designed to change
                                                           address those two tasks—one and three—that have not
  sexual orientation or the behavioral expression of
                                                           been addressed in the report so far. With regard to the
  sexual orientation.
                                                           policy, we recommend that the 1997 policy be retained
• Education, training, and research issues as they         and that a new policy be adopted to complement it. The
  pertain to such therapeutic interventions.               new policy that we propose is presented in Appendix A.
                                                           With regard to APA’s response to groups that advocate
• Recommendations regarding treatment protocols that       for SOCE, we provide those recommendations at the
  promote stereotyped gender-normative behavior to         end of this chapter in the section on policy.
  mitigate behaviors that are perceived to be indicators      To achieve the charge given by APA, we decided to
  that a child will develop a homosexual orientation in    conduct a systematic review of the empirical literature
  adolescence and adulthood.                               on SOCE. This review covered the peer-reviewed




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journal articles in English from 1960 to 2007.63 The                      profoundly different methodological and philosophical
review is reported in Chapters 3 and 4: Chapter 3                         viewpoints. The APA has affirmed that proven methods
addresses methodological issues in the research and                       of scientific inquiry are the best methods to explore
Chapter 4 addresses the outcomes, such as safety,                         and understand human behavior and are the basis
efficacy, benefit, and harm of the SOCE.                                  for the association’s policies (APA, 2007a, 2008a). The
   We also reviewed the recent literature on the                          APA affirms that discrimination directed at religions
psychology of sexual orientation. There is a growing                      and their adherents or derived from religious beliefs
body of literature that concludes that social stigma,                     is unacceptable and that religious faith should be
known specifically as sexual stigma, manifested as                        respected as an aspect of human diversity (APA, 2008a).
prejudice and discrimination directed at same-sex
sexual orientations and identities, is a major source
of stress for sexual minorities. This stress, known as                          Summary of the Systematic
minority stress, is a major cause of the mental health                           Review of the Literature
disparities of sexual minorities. On the basis of this
literature, we recommend that all interventions and                       To fulfill the charge given by APA, we undertook a
policy for these populations include efforts to mitigate                  systematic review to address the key questions: What
minority stress and reduce stigma.                                        are the outcomes of SOCE and their potential benefits
   Further, we found that religious individuals with                      and harms? What is the evidence on whether SOCE
beliefs that homosexuality is sinful and morally                          is effective or safe? The first step was to evaluate the
unacceptable are prominent in the population that                         research to determine if such conclusions could be
currently undergoes SOCE. These individuals seek                          drawn from the research—in other words, was the
SOCE because the disapproving stance of their faiths                      research performed with the appropriate degree of
toward homosexuality produces conflicts among their                       methodological rigor to provide such answers? The next
beliefs and values and their sexual orientation. These                    question was to determine, if such research existed,
conflicts result in significant distress due to clients’                  what answers it provided.
perceptions that they are unable to integrate their faith
and sexual orientation. To respond as well as possible to                                 Efficacy and Safety
this population, we included in our review some of the
                                                                          We found few scientifically rigorous studies that could
empirical and theoretical literature from the psychology
                                                                          be used to answer the questions regarding safety,
of religion, recently adopted APA policies on religion
                                                                          efficacy, benefit, and harm (e.g., Birk et al., 1971; S.
and science, and specific interventions that have been
                                                                          James, 1978; McConaghy, 1969, 1976; McConaghy et
proposed in the literature for religious populations.
                                                                          al., 1972; Tanner, 1974, 1975). Few studies could be
   SOCE has been quite controversial, and the
                                                                          considered true experiments or quasi-experiments that
                                        controversy has
APA has affirmed that proven                                              would isolate and control the factors that might effect
                                        at times become
                                                                          change (see the list of studies in Appendix B). These
methods of scientific inquiry are polemical because
                                                                          studies were all conducted in the period from 1969 to
the best methods to explore             of clashes between
                                                                          1978 and used aversive or other behavioral methods.
and understand human behavior differing political                            Recent SOCE differ from those interventions
and are the basis for the               viewpoints
                                                                          explored in the early research studies. The recent
                                        about LGB
association’s policies.                                                   nonreligious interventions are based on the assumption
                                        individuals and
                                                                          that homosexuality and bisexuality are mental
communities and the differing values between some
                                                                          disorders or deficits and are based on older discredited
faith-based organizations and scientific and professional
                                                                          psychoanalytic theories (e.g., Socarides, 1968; see
organizations (Drescher, 2003; Zucker, 2008).
                                                                          American Psychoanalytic Association, 1991, 1992, 2000;
Psychology, as a science, and various faith traditions, as
                                                                          Drescher, 1998a; Mitchell, 1978, 1981). Some focus on
theological systems, can acknowledge and respect their
                                                                          increasing behavioral consistency with gender norms
63
  The articles in English include material on populations outside         and stereotypes (e.g., Nicolosi, 1991). None of these
the United States, including Canada, Mexico, Western Europe, and
                                                                          approaches is based on a credible scientific theory,
some material on Middle Eastern, South Asian, and East Asian
populations. No articles based on new research have been published        as these ideas have been directly discredited through
since 2007. One article published in 2008 is a restatement of Schaeffer   evidence or rendered obsolete. There is longstanding
et al. (2000).




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scientific evidence that homosexuality per se is not a        sexual attractions. Thus, we concluded the following
mental disorder (American Psychiatric Association,            about SOCE: The results of scientifically valid research
1973; Bell & Weinberg, 1978; Bell et al., 1981; Conger,       indicate that it is unlikely that individuals will be able
1975; Gonsiorek, 1991; Hooker, 1957), and there are           to reduce same-sex sexual attractions or increase other-
a number of alternate theories of sexual orientation          sex attractions through SOCE.
and gender consistent with this evidence (Bem, 1996;             The few early research investigations that were
Butler, 2004; Chivers et al., 2007; Corbett, 1996, 1998,      conducted with scientific rigor raise concerns about
2001; Diamond, 1998, 2006; Drescher, 1998a; Enns,             the safety of SOCE, as some participants suffered
2008; Heppner & Heppner, 2008; Levant & Silverstein,          unintended harmful side effects from the interventions.
2006; Mustanksi et al., 2002; O’Neil, 2008; Peplau &          These negative side effects included loss of sexual
Garnets, 2000; Pleck, 1995; Rahman & Wilson, 2005;            feeling, depression, suicidality, and anxiety. The high
Wester, 2008).                                                dropout rate in these studies may indicate that some
   Other forms of recent SOCE are religious, are not          research participants may have experienced these
based on theories that can be scientifically evaluated,       treatments as harmful and discontinued treatment
and have not been subjected to rigorous examination           (Lilienfeld, 2007). There are no scientifically rigorous
of efficacy and safety. These approaches are based            studies of recent SOCE that would enable us to make a
on religious beliefs that homosexuality is sinful and         definitive statement about whether recent SOCE is safe
immoral and, consequently, that identities and life           or harmful and for whom.
paths based on same-sex sexual orientation are not
religiously acceptable. The few high-quality studies of
SOCE conducted from 1999 to 2004 are qualitative (e.g.,
                                                                       Individuals Who Seek SOCE
Beckstead & Morrow, 2004; Ponticelli, 1999; Wolkomir,                     and Their Experiences
2001) and these, due to the research questions explored,      Although scientific evidence shows that SOCE is not
aid in understanding the population that seeks sexual         likely to produce its intended outcomes and can produce
orientation change but do not provide the kind of             harm for some of its participants, there is a population
information needed for definitive answers to questions        of consumers who present to LMHP seeking SOCE.
of the safety and efficacy of SOCE.                           To address the questions of appropriate application of
   Thus, we concluded that the early evidence, though         affirmative interventions for this population, which was
extremely limited, is the best basis for predicting what      a major aspect of APA’s charge to the task force, we
would be the outcome of psychological interventions.          returned to the research literature on SOCE, expanding
Scientifically rigorous older work in this area (e.g., Birk   beyond the scope of the systematic review to include
et al., 1971; S. James, 1978; McConaghy, 1969, 1976;          other literature in order to develop an understanding of
McConaghy et al., 1973; Tanner, 1974, 1975) shows that        the current population that seeks SOCE. The research
enduring change to an individual’s sexual orientation         does reveal something about those individuals who
                                      is uncommon and         seek SOCE, how they evaluate their experiences,
The results of scientifically valid   that a very small       and why they undergo SOCE, even if the research
research indicate that it is          number of people        does not indicate whether SOCE has anything to do
unlikely that individuals will be     in these studies        with the changes some clients perceive themselves
able to reduce same-sex sexual show any credible              to have experienced. We sought this information
attractions or increase other-sex evidence of reduced         to be as comprehensive as possible and to develop
                                      same-sex sexual         an information base that would serve as a basis for
attractions through SOCE.
                                      attraction, though      considering affirmative interventions.
some show lessened physiological arousal to all sexual           SOCE research identifies a population of individuals
stimuli. Compelling evidence of decreased same-sex            who experience conflicts and distress related to same-
sexual behavior and increased sexual attraction to            sex sexual attractions. The population of adults
and engagement in sexual behavior with the other              included in recent SOCE research is highly religious,
sex was rare. Few studies provided strong evidence            participating in faiths that many would consider
that any changes produced in laboratory conditions            traditional or conservative (e.g., the Church of Jesus
translated to daily life. Many individuals continued to       Christ of Latter-Day Saints [Mormon], evangelical
experience same-sex sexual attractions following SOCE         Christian, or Orthodox Jewish). Most of the participants
and seldom reported significant change to other-sex



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in recent studies are White men who report that their               commonly attributed to sexual orientation (e.g., sexual
religion is extremely important to them (Nicolosi et                behavior with men and/or women; sexual values,
al., 2000; Schaeffer et al., 2000; Shidlo & Schroeder,              norms, and motivations; social affiliations with LGB or
2002; Spitzer, 2003). These recent studies include a                heterosexual individuals and communities; emotional
small number of participants who identify as members                attachment preferences for men or women; gender role
of ethnic minority groups. Recent studies include more              and identity; lifestyle choices) are potential correlates
women than in early studies, and two qualitative                    of sexual orientation rather than principal dimensions
studies are exclusively female (i.e., Moran, 2007;                  of the construct. Sexual orientation identity refers to
Ponticelli, 1999). Most of the individuals studied tried            recognition and internalization of sexual orientation
a variety of methods to change their sexual orientation,            and reflects self-awareness, self-recognition, self-
including psychotherapy, support groups, and religious              labeling, group membership and affiliation, culture,
efforts. Many of the individuals studied were recruited             and self-stigma. Sexual orientation identity is a key
from groups endorsing SOCE. The body of literature                  element in determining relational and interpersonal
overall is based on convenience samples; thus, the                  decisions, as it creates a foundation for the formation of
relationship between the characteristics of these                   community, social support, role models, friendship, and
individuals compared with to the entire population of               partnering (APA, 2003; Jordan & Deluty, 1998; McCarn
people who seek SOCE is unknown.                                    & Fassinger, 1996; Morris, 1997).
   Comparisons of the early and recent research indicate               Recent studies of SOCE participants frequently
changes in the demographics of those who seek SOCE.                 do not distinguish between sexual orientation and
The individuals who participated in early research                                                          sexual orientation
on SOCE were also predominantly White males, but                    The available evidence, from            identity. We
those studies included men who were court-referred to               both early and recent studies,          concluded that
treatment, men who were referred to treatment for a                 suggests that although sexual           the failure to
range of psychiatric and sexual concerns, and men who               orientation is unlikely to change, distinguish
were fearful of criminal or legal sanctions, in addition                                                    these aspects of
                                                                    some individuals modified their
to men who were distressed by their sexual attractions.                                                     human sexuality
There are no data on the religious faith beliefs of                 sexual orientation identity (i.e.,      has led SOCE
those in the early studies. As noted previously, the                individual or group membership research to obscure
individuals in recent studies indicated that religion is            and affiliation, self-labeling) and understanding of
very important to them.                                             other aspects of sexuality (i.e.,       what aspects of
   We concluded that some of the controversy                                                                human sexuality
                                                                    values and behavior).
surrounding SOCE can be explained by different                                                              might and might
understandings of the nature of sexual orientation                  not change through intervention. The available
and sexual orientation identity. Recent research in                 evidence, from both early and recent studies, suggests
the field of sexual orientation indicates a range of                that although sexual orientation is unlikely to change,
sexual attractions and desires, sexual orientations,                some individuals modified their sexual orientation
and multiple ways of self-labeling and self-identifying             identity (i.e., individual or group membership and
(e.g., Carrillo, 2002; Diamond, 1998, 2006, 2008; Fox,              affiliation, self-labeling) and other aspects of sexuality
1995; Hoburg et al., 2004; Savin-Williams, 2005).                   (i.e., values and behavior). They did so in a variety of
Some researchers have found that distinguishing the                 ways and with varied and unpredictable outcomes, some
constructs of sexual orientation and sexual orientation             of which were temporary (Beckstead, 2003; Beckstead &
identity adds clarity to an understanding of the                    Morrow, 2004; Shidlo & Schroeder, 2002). For instance,
variability inherent in reports of these two variables (R.          in recent research, many individuals claim that through
L. Worthington & Reynolds, 2009). Sexual orientation                participating in SOCE, they became skilled in ignoring
refers to an individual’s patterns of sexual, romantic,             or tolerating their attractions or limiting the impact of
and affectional arousal and desire for other persons                their attractions on their sexual behavior (Beckstead &
based on those persons’ gender and sex characteristics.             Morrow, 2004; McConaghy, 1976; Shidlo & Schroeder,
Sexual orientation is tied to physiological drives and              2002). Early nonexperimental case studies described
biological systems that are beyond conscious choice and             individuals who reported that they went on to lead
involve profound emotional feelings such as “falling                outwardly heterosexual lives, including, for some,
in love” and emotional attachment. Other dimensions                 developing a sexual relationship with another-sex



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partner and adopting a heterosexual identity (Birk,           & Schroeder, 2002; Spitzer, 2003; Wolkomir, 2001,
1974; Larson, 1970). Some of these individuals reported       2006). Some reported that SOCE helped them view
heterosexual experience prior to treatment. People            their sexual orientation in a different light that
whose sexual attractions were initially limited to people     permitted them to live in a manner consistent with
of the same sex report much lower increases (if any)          their faith, which they perceived as positive (Nicolosi et
in other-sex attractions compared to those who report         al., 2000). Some individuals described finding a sense
initial attractions to both men and women (Barlow et          of support and community through SOCE and valued
al., 1975). However, the low degree of scientific rigor in    having others with whom they could identify (Beckstead
these studies makes any conclusion tentative.                 & Morrow, 2004; Ponticelli, 1999; Wolkomir, 2001).
   Recent research indicates that former participants in      These effects mirror those provided by mutual support
SOCE report diverse evaluations of their experiences.         groups for a range of problems. And the positive benefits
Some individuals perceive that they have benefited from       reported by participants in SOCE, such as reduction
SOCE, while other individuals perceive that they have         of isolation, change of meaning, and stress reduction,
been harmed by SOCE (Beckstead & Morrow, 2004;                are consistent with the findings of social support
Nicolosi et al., 2000; Schroeder & Shidlo, 2001; Shidlo       literature (Levine et al., 2004). Given the findings
& Schroeder, 2002). Across studies, it is unclear what        of limited efficacy of change of sexual orientation, it
specific individual characteristics and diagnostic criteria   is unlikely that SOCE provides any unique benefits
would prospectively distinguish those individuals             other than those documented for the social support
who will later perceive that they have succeeded and          mechanisms of mutual help groups (Levine et al., 2004).
benefited from SOCE from those who will later perceive        For those in psychotherapy, the positive perceptions
that they have failed or been harmed.                         described appear to reflect the documented effects of
   Some individuals who participated in the early             the supportive function of psychotherapy relationships
research reported negative side effects such as loss of       (e.g., Norcross, 2002). For instance, providing emotional
sexual arousal, impotence, depression, anxiety, and           support, empathy, support, and compassion can reduce
relationship dysfunction. Individuals who participated        distress.
in recent research and who failed to change sexual
orientation, while believing they should have changed
with such efforts, described their experiences as a
                                                                Literature on Children and Adolescents
significant cause of emotional distress and negative          The task force was asked to report on the following: (a)
self-image (Beckstead & Morrow, 2004; Shidlo &                the appropriate application of affirmative therapeutic
Schroeder, 2002). Overall, those in this recent research      interventions for children and adolescents who present
who indicated that they were harmed reported feelings         a desire to change either their sexual orientation or
of distress, anxiety, depression, suicidal ideation, self-    their behavioral expression of their sexual orientation,
blame, guilt, and loss of hope among other negative           or both, or whose guardian expresses a desire for the
feelings. Those who experienced religious interventions       minor to change; (b) the presence of adolescent inpatient
and perceived them negatively said that they felt             facilities that offer coercive treatment designed to
disillusioned with faith and a sense of failure in the        change sexual orientation or the behavioral expression
eye of divine being (Beckstead & Morrow, 2004; Shidlo         of sexual orientation; and (c) recommendations
& Schroeder, 2002). Indirect harm from the associated         regarding treatment protocols that promote stereotyped
costs (time, energy, effort, money, disillusionment           gender-normative behavior to mitigate behaviors that
with psychotherapy) spent in ineffective treatment is         are perceived to be indicators that a child will develop a
significant. Both the early and recent research provide       homosexual orientation in adolescence and adulthood.
little clarity on the associations between claims to             We reviewed the limited research on child and
modify sexual orientation from same-sex to other-sex          adolescent issues and drew the following conclusions:
and subsequent improvements or harm to mental                 There is no research demonstrating that providing
health.                                                       SOCE to children or adolescents has an impact on
   Other individuals reported that they perceived             adult sexual orientation. The few studies of children
SOCE to be helpful by providing a place to discuss            with gender identity disorder found no evidence that
their conflicts, reduce isolation, and receive support        psychotherapy provided to those children had an
(Beckstead & Morrow, 2004; Jones & Yarhouse, 2007;            impact on adult sexual orientation (R. Green, 1986,
Nicolosi et al., 2000; Ponticelli, 1999; Shidlo               1987; Zucker, 2008; Zucker & Bradley, 1995). There



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is currently no evidence that teaching or reinforcing               • Acceptance and support
stereotyped gender-normative behavior in childhood
                                                                    • Comprehensive assessment
or adolescence can alter sexual orientation (Mathy
& Drescher, 2008). We are concerned that such                       • Active coping
interventions may increase the self-stigma, minority
                                                                    • Social support
stress, and ultimately the distress of children and
adolescents. We have serious concerns that the coercive             • Identity exploration and development
or involuntary treatment of children or adolescents has
the potential to be harmful and may potentially violate                Acceptance and support include (a) unconditional
current clinical and practice guidelines, standards for             positive regard for and empathy with the client, (b)
ethical practice, and human rights.                                 openness to the client’s perspective as a means to
                                                                    understanding their concerns, and (c) encouragement of

            Recommendations                                         the client’s positive self-concept.
                                                                       A comprehensive assessment considers sexual
           and Future Directions                                    orientation uniquely individual and inseparable from an
                                                                    individual’s personality and sense of self. This includes
      Affirmative Psychotherapy With Adults                         (a) being aware of the client’s unique personal, social,
                                                                    and historical context and (b) exploring and countering
The appropriate application of affirmative therapeutic
                                                                    the harmful impact of stigma and stereotypes on the
interventions with adults is built on three key
                                                                    client’s self-concept (including the prejudice related to
findings in the research: (a) an enduring change to an
                                                                    age, gender, gender identity, race, ethnicity, culture,
individual’s sexual orientation as a result of SOCE is
                                                                    national origin, religion, sexual orientation, disability,
unlikely, and some participants were harmed by the
                                                                    language, and socioeconomic status).
interventions; (b) sexual orientation identity, not sexual
                                                                       Active coping strategies are efforts that include
orientation, appears to change via psychotherapy,
                                                                    cognitive, behavioral, or emotional responses designed
support groups, or life events; and (c) clients benefit
                                                                    to change the nature of the stressor itself or how an
from approaches that emphasize acceptance, support,
                                                                    individual perceives it and include both cognitive and
and recognition of important values and concerns.
                                                                    emotional strategies. These may include cognitive
   On the basis of these findings and the clinical
                                                                    strategies to reframe conflicts and emotional strategies
literature on this population, we suggest client-
                                                                    to manage potential losses.
centered, multiculturally competent approaches
                                                                       Psychotherapy, self-help groups, or welcoming
grounded in the following scientific facts: (a) same-
                                                                    communities (ethnic communities, social groups,
sex sexual attractions, behavior, and orientations
                                                                    religious denominations) provide social support that
per se are normal and positive variants of human
                                                                    can mitigate distress caused by isolation, rejection, and
sexuality—in other words, they are not indicators
                                                                    lack of role models. Conflicts among disparate elements
of mental or developmental disorders; (b) same-sex
                                                                    of identity play a major role in the conflicts and mental
sexual attractions and behavior can occur in the
                                                                    health concerns of those seeking SOCE.
context of a variety of sexual orientations and sexual
                                                                       Identity exploration is an active process of exploring
orientation identities; (c) gay men, lesbians, and
                                                                    and assessing one’s identity and establishing a
bisexual individuals can live satisfying lives and form
                                                                    commitment to an integrated identity that addresses
stable, committed relationships and families that are
                                                                    identity conflicts without an a priori treatment goal for
equivalent to those of heterosexual individuals in
                                                                    how clients identify or live out their sexual orientation.
essential respects; and (d) no empirical studies or peer-
                                                                    The process may include a developmental process that
reviewed research supports theories attributing same-
                                                                    includes periods of crisis, mourning, reevaluation,
sex sexual orientation to family dysfunction or trauma.
                                                                    identity deconstruction, and growth.
   Based on these findings summarized above and
                                                                       Treatments that are based on assumptions that
our comprehensive review of the research and
                                                                    homosexuality or same-sex sexual attractions are, a
clinical literature, we developed a framework for the
                                                                    priori, a mental disorder or psychopathology or based on
appropriate application of affirmative therapeutic
                                                                    inaccurate stereotypes regarding LGB people are to be
interventions for adults that has the following central
                                                                    avoided because they run counter to empirical data and
elements:



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because reports of harm suggest that such treatments                      Special Concerns of
can reinforce restricting stereotypes, increase
internalized stigma, and limit a client’s development
                                                                   Religious Individuals and Families
(Beckstead & Morrow, 2004; Haldeman, 2001; Shidlo &          Many religious sexual minorities experience significant
Schroeder, 2002; Smith et al., 2004; see Lilienfeld, 2007,   psychological distress and conflict due to the divergence
for information on psychotherapy harms).                     between their sexual orientation and religious beliefs.
                                                             To support clients who have these concerns, LMHP
                                                                                                    can provide
          Psychotherapy With Children                                                               psychological
                                                             The goal of treatment is for the
               and Adolescents                               client to explore possible life
                                                                                                    acceptance,
We were asked to report on the appropriate application                                              support, and
                                                             paths that address the reality         recognition of the
of affirmative therapeutic interventions for children
and adolescents who present a desire to change either
                                                             of their sexual orientation while      importance of faith
their sexual orientation or the behavioral expression        considering the possibilities          to individuals
of their sexual orientation, or both, or whose guardian      for a religiously and spiritually      and communities
expresses a desire for the minor to change. Consistent       meaningful and rewarding life.         while recognizing
with the current scientific evidence, those working                                                 the science of
with children and adolescents should strive to have a        sexual orientation. LMHP working with religious
developmentally appropriate perspective that includes        individuals and families can incorporate research
a client-centered multicultural perspective to reduce        from the psychology of religion into the client-centered
self-stigma and mitigate minority stress. This includes      multicultural framework summarized above. The
interventions that (a) reduce stigma and isolation, (b)      goal of treatment is for the client to explore possible
support the exploration and development of identity,         life paths that address the reality of their sexual
(c) facilitate achievement of developmental milestones,      orientation while considering the possibilities for a
and (d) respect age-appropriate issues regarding self-       religiously and spiritually meaningful and rewarding
determination. Such services are ideally provided in the     life. Such psychotherapy can enhance clients’ search
least restrictive setting and with, at a minimum, the        for meaning, significance, and a relationship with the
assent of the youth. However, LMHP are encouraged to         sacred in their lives (e.g., Pargament & Maloney, 2005).
acquire developmentally appropriate informed consent         Such an approach would focus on increasing positive
to treatment.                                                religious coping, understanding religious motivations,
   Affirmative approaches encourage families to reduce       integrating religious and sexual orientation identities,
rejection and increase acceptance of their child and         and reframing sexual orientation identities to reduce or
adolescent (Perrin, 2002; Ryan et al., 2009). Parents        eliminate self-stigma.
who are concerned or distressed by their children’s
sexual orientation can be provided accurate information                   Ethical Considerations
about sexual orientation and sexual orientation identity
                                                             LMHP strive to provide interventions that benefit
and offered anticipatory guidance and psychotherapy
                                                             clients and avoid harm, consistent with current
that supports family reconciliation (e.g., communication,
                                                             professional ethics. Psychologists aspire to provide
understanding, and empathy) and maintenance of their
                                                             treatment that is consistent with the APA Ethical
child’s total health and well-being. Interventions that
                                                             Principles of Psychologists and Code of Conduct (APA,
increase family, school, and community acceptance and
                                                             2002b) and relevant APA guidelines and resolutions
safety of sexual minority children and youth appear
                                                             (e.g., APA, 2000, 2002c, 2004, 2005a, 2007b) with a
particularly helpful. Such interventions are offered in
                                                             special focus on ethical principles such as Benefit and
ways that are consistent with aspects of diversity such
                                                             Harm; Justice; and Respect for People’s Rights and
as age, gender, gender identity, race, ethnicity, culture,
                                                             Dignity (including self-determination). LMHP reduce
national origin, religion, sexual orientation, disability,
                                                             potential harms and increase potential benefits by
language, and socioeconomic status.
                                                             basing their professional judgments and actions on the
                                                             most current and valid scientific evidence, such as that
                                                             provided in this report (see APA, 2002b, Standard 2.04,
                                                             Bases for Scientific and Professional Judgments).



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    LMHP enhance principles of social justice when they             LMHP may have been educated during the period when
strive to understand and mitigate the effects of sexual             homosexuality was pathologized (cf. Bartlett, King,
stigma, prejudice, and discrimination on the lives of               & Phillips, 2001; Beutler, 2000; M. King et al., 2004;
individuals, families, and communities. Further, LMHP               Liszcz & Yarhouse, 2005). We recommend that LMHP
aspire to respect diversity in all aspects of their work,           increase their awareness of their own assumptions and
including age, gender, gender identity, race, ethnicity,            attitudes toward sexual minorities (APA, 2000; R. L.
culture, national origin, religion, sexual orientation,             Worthington et al., 2005). This occurs by increasing
disability, and socioeconomic status.                               knowledge about the diversity of sexual minorities
    Self-determination is the process by which a                    (e.g., age, gender, gender identity, race, ethnicity,
person controls or determines the course of her or his              culture, national origin, religion, sexual orientation,
own life (Oxford American Dictionary, n.d.). LMHP                   disability, language, and socioeconomic status), as
maximize self-determination by (a) providing effective              well as the management of the LMHP’s own biases
psychotherapy that explores the client’s assumptions                in order to avoid colluding with clients’ internalized
and goals, without preconditions on the outcome; (b)                stigma and with the negating environments in which
providing resources to manage and reduce distress; and              clients and LMHP live (APA, 2000; Dillon et al., 2004;
(c) permitting the client herself or himself to decide              Israel & Hackett, 2004; R. L. Worthington et al., 2005).
the ultimate goal of how to self-identify and live out              We recommend that training in affirmative, evidence-
her or his sexual orientation. We were not persuaded                based, and multiculturally informed interventions for
by some accounts that suggest that providing SOCE                   sexual minorities be offered at all graduate schools and
increases self-determination, because these suggestions             postgraduate training programs.
                                      encourage LMHP                   An important resource for LMHP is the APA (2000)
...therapy that increases             to offer treatment            Guidelines for Psychotherapy With Lesbian, Gay,
the client’s ability to cope,         that (a) has not              and Bisexual Clients,64 which advises LMHP to be
understand, acknowledge, and provided evidence                      competent in a variety of domains, including knowledge
integrate sexual orientation          of efficacy; (b) has          of the impact of stigma on mental health, the unique
concerns into a self-chosen life the potential to be                issues facing same-sex relationships and families, and
                                      harmful; and (c)              the range of diversity concerns for sexual minority
is the measured approach.
                                      delegates important           individuals. We recommend that several areas in which
professional decisions that should be based on qualified            LMHP working with clients seeking SOCE obtain
expertise and training—such as diagnosis and the type               additional knowledge and skills include: (a) sexuality,
of intervention. Rather, therapy that increases the                 sexual orientation, and sexual identity development;
client’s ability to cope, understand, acknowledge, and              (b) the psychology of religion and spirituality, including
integrate sexual orientation concerns into a self-chosen            models of faith development, religious coping, and the
life is the measured approach.                                      positive psychology of religion; (c) identity development
                                                                    models, including those that integrate multiple
                                                                    identities and facilitate identity conflict resolution; and
      Education, Training, and Research                             (d) adaptive ways to manage stigma, minority stress,
We were asked to provide recommendations for                        and multiple aspects of identity. We also recommend
education, training, and research as they pertain to                that practitioners review publications that explicate
such affirmative interventions. We examine these                    the above-mentioned topics and evidence-based,
areas separately.                                                   LGB-affirmative, and multicultural approaches to
                                                                    psychological interventions (APA, 2000, 2002a, 2002c,
EDuCATIOn AnD TRAInIng                                              2004, 2005b, 2006, 2007b, 2008a; Bartoli & Gillem,
                                                                    2008; Brown, 2006; Fowers & Davidov, 2006; Schneider
Professional education and training
                                                                    et al., 2002).
Training of LMHP to provide affirmative, evidence-                     Those less familiar with religious perspectives can
based, and multicultural interventions with individuals             broaden their views on religion and religious individuals
distressed by their same-sex sexual attractions is                  and reduce their potential biases by seeking relevant
critical. Research on LMHP behaviors indicates a range              information on religious faith and the psychology of
of interventions, some of which are based on attitudes
                                                                    64
                                                                      These guidelines are being revised, and a new version will be
and beliefs rather than evidence, especially as some
                                                                    available in 2010.




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religion (e.g., Ano & Vasconcelles, 2005; Exline, 2002;       of this report and other relevant material on LGBT
Emmons, 1999; Emmons & Paloutzian, 2003; Fowler,              issues into graduate school training programs and
2001; Goldstein, 2007; Pargament & Mahoney, 2005;             internship sites.
Pargament et al., 1998, 2005). Training programs for
                                                            2. Disseminate information to faculty in psychology
practitioners can increase competencies in these areas
                                                              departments in community colleges, colleges, and
by including comprehensive material on religion and
                                                              university programs as information and for use in
spirituality (Bartoli, 2007; Hage, 2006; Hathaway et al.,
                                                              curriculum development.
2004; Yarhouse & Fisher, 2002; Yarhouse & VanOrman,
1999) and on ways to incorporate religious approaches       3. Maintain the currently high standards for APA
into psychotherapy (see, e.g., Richards & Bergin,             approval of continuing professional education
2000, 2004; Sperry & Shafranske, 2004). Additionally,         providers and programs.
publications that illustrate affirmative integration and
resolution of religious and sexual minority identity are
                                                            4. Offer symposia and continuing professional education
                                                              workshops at APA’s annual convention that focus on
helpful (Astramovich, 2003; Beckstead & Israel, 2007;
                                                              treatment of individuals distressed by their same-sex
Glassgold, 2008; Haldeman, 2004; Ritter & O’Neil,
                                                              sexual attractions, especially those who struggle to
1989, 1995).
                                                              integrate religious and spiritual beliefs with sexual
   Conservative religious practitioners can increase
                                                              orientation identity.
their compassionate and understanding responses to
sexual minorities. For instance, recent publications        5. Pursue the publication of a version of this report in
provide insight into techniques that address negative         an appropriate journal or other publication.
attitudes toward sexual minorities by focusing
on increasing compassionate responses toward or             Public education
positive attitudes of sexual minorities by conservative     The information available to the public about SOCE
religious students or individuals (Bassett et al., 2005;    and sexual orientation is highly variable and can
Benoit, 2005; Fischer & DeBord, 2007; McMinn, 2005;         be confusing. In those information sources that
Yarhouse, Burkett, & Kreeft, 2001; Zahniser & Boyd,         encourage SOCE, the portrayals of homosexuality and
2008; Zahniser & Cagle, 2007). This research includes       sexual minorities tend to be negative and at times
exploring the evolution of positive attitudes toward        to emphasize inaccurate and misleading stereotypes
sexual minorities of LMHP who hold conservative             (Kennedy & Cianciotto, 2006; SPLC, 2005). Sexual
religious values (E. Adams, Longoria, Hitter, & Savage,     minorities, individuals aware of same-sex sexual
2009). These perspectives are based on established          attractions, families, parents, caregivers, policymakers,
social psychology research, such as the contact             religious leaders, and society at large can benefit from
hypothesis, where increasing personal contact with          accurate scientific information about sexual orientation
members of minority groups of equal status reduces          and about appropriate interventions for individuals
bias, including attitudes toward sexual minorities (e.g.,   distressed by their same-sex sexual attractions both in
Herek & Capitanio, 1996; Herek & Glunt, 1993; Pew           the United States and internationally. We recommend
Forum on Religion and Public Life, 2003).                   that APA:
   Finally, although this report has limited information
regarding sexual minorities in other countries, the         1. Create informational materials for sexual minority
research review and practice recommendations may be           individuals, families, parents, and other stakeholders
helpful to professionals. We recommend dissemination of       on appropriate multiculturally competent and client-
this report to international mental health organizations      centered interventions for those distressed by their
and LGBT advocacy groups.                                     sexual orientation and who may seek SOCE.
   We recommend the following steps be taken by the         2. Create informational materials on sexual orientation,
APA to educate LMHP and support training programs             sexual orientation identity, and religion for all
in providing education:                                       stakeholders, including the public and institutions
1. Disseminate this report to accredited doctoral             of faith.
  programs, internships, and other postdoctoral             3. Create informational materials focused on the
  programs in psychology both in the United States            integration of ethnic, racial, national origin and
  and other countries to encourage the incorporation



Summary and Conclusions                                                                                            89
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  cultural issues, and sexual orientation and sexual                conclusions about cause and effect to be confidently
  orientation identity.                                             drawn, and employ sampling methods that allow
                                                                    proper generalization.65 Future research should also
4. Integrate the conclusions of this report into existing
                                                                    include appropriate measures in terms of specificity
  APA public information resources, including print,
                                                                    of measurement of sexual orientation, sexual
  media, and the Internet.
                                                                    orientation identity and outcomes, and psychometric
5. Collaborate with other relevant organizations,                   adequacy. Mixed-method research, in which
  especially religious organizations, to disseminate                methods and measures with offsetting weaknesses
  this information.                                                 are simultaneously employed, may be especially
                                                                    advantageous. Alternative physiological means of
RESEARCH                                                            measuring sexual orientation objectively may also be
                                                                    helpful. Recent research has used alternatives to genital
Our systematic review of research has highlighted the
                                                                    gauges for the assessment of sexual orientation in men
methodological problems pervasive in recent research
                                                                    and women, such as functional magnetic resonance
on SOCE. This raises two issues: (a) the publication of
                                                                    imaging (Ponseti et al., 2006). Physiological measures
poorly designed research and (b) whether more research
                                                                    often use visual portrayals of nude individuals
on SOCE should be conducted to pursue questions
                                                                    that some religious individuals may find morally
of benefit, harm, and safety. These two issues are
                                                                    unacceptable. Jlang, Costello, Fang, Huang, and He
addressed separately.
                                                                    (2006) have explored the use of invisible images and
   Much of the recent research on SOCE has had serious
                                                                    have measured selective inattention/attention as an
methodological problems. Although this research
                                                                    alternative to assess sexual arousal. Such methods
area presents serious challenges (e.g., obtaining a
                                                                    or the development of methods that are less intrusive
representative sample, finding appropriate measures,
                                                                    and are more consistent with religious values would be
and using evidence-based constructs), many of the
                                                                    helpful to develop for this population.
problems were avoidable. Many of the problems
                                                                       Additionally, preexisting and co-occurring conditions,
in published SOCE research indicate the need for
                                                                    mental health problems, participants’ need for
improvement in the journal review process, for instance.
                                                                    monitoring self-impression, other interventions, and
Problems included: (a) violations of statistical measures,
                                                                    life histories would have to be given appropriate
(b) measures that were not evaluated prior to use, and
                                                                    consideration so that research can better account
(c) inappropriate conclusions drawn from data.
                                                                    for and test competing explanations for any changes
   Hunt and Carlson (2007) have argued that studies
                                                                    observed in study participants over time. Specific
with immediate social relevance that have an impact on
                                                                    conceptual and methodological challenges exist in
social policy or social issues should be held to a higher
                                                                    research related to sexual minority populations, such
standard because this literature has the potential to
                                                                    as the conceptualization of sexual orientation and
influence policymakers and the public, and incomplete
                                                                    sexual orientation identity and obtaining representative
or misleading information has serious costs. Whether
                                                                    samples. Researchers would be advised to consider
a higher standard is necessary is not clear; however,
                                                                    and compensate for the unique conceptual and
research published on SOCE needs to meet current
best-practice research standards. It is recommended                 65
                                                                      A published study that appeared in the grey literature in 2007
that professional and scientific journals retain reviewers          (Jones & Yarhouse, 2007) has been described by SOCE advocates
                                                                    and its authors as having successfully addressed many of the
and editors with expertise in this area to maintain the             methodological problems that affect other recent studies, specifically
standards of published research.                                    the lack of prospective research. The study is a convenience sample of
   We concluded that research on SOCE (psychotherapy,               self-referred populations from religious self-help groups. The authors
                                                                    claim to have found a positive effect for some study respondents
mutual self-help groups, religious techniques) has                  in different goals such as decreasing same-sex sexual attractions,
not answered basic questions of whether it is safe or               increasing other-sex attractions, and maintaining celibacy. However,
effective and for whom. Any future research should                  upon close examination, the methodological problems described in
                                                                    Chapter 3 (our critique of recent studies) are characteristic of this
conform to best-practice standards for the design of                work, most notably the absence of a control or comparison group and
efficacy research. Additionally, research into harm                 the threats to internal, external, construct, and statistical validity.
and safety is essential. Certain key issues are worth               Best-practice analytical techniques were not performed in the study,
                                                                    and there are significant deficiencies in the analysis of longitudinal
highlighting. Future research must use methods                      data, use of statistical measures, and choice of assessment measures.
that are prospective and longitudinal, allow for                    The authors’ claim of finding change in sexual orientation is
                                                                    unpersuasive due to their study’s methodological problems.




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methodological challenges in this area (Meyer & Wilson,        of children, adolescents, and families around sexual
2009; Moradi, Mohr, Worthington, Fassinger, 2009).             orientation and identity concerns (D’Augelli, 2002,
   Safety issues continue to be important areas of             2003; Goodenow et al., 2006; Perrin, 2002; Ryan et
study. As noted previously, early research indicates           al., 2009). However, sexual minority adolescents
that aversive techniques have been found to have very          are underrepresented in research on evidence-based
limited benefits as well as potentially harmful effects.       approaches, and sexual orientation issues in children
These documented harms were serious. An additional             are virtually unexamined (APA, 2008d). Specific
finding is that these treatments had extremely high            research on sexual minority adolescents and children
dropout rates, which has been linked to adverse effects.       has identified that stigma can be reduced through
Some individuals report harm from recent nonaversive           community interventions, supportive client-centered
techniques, and some individuals report benefits.              approaches, and family reconciliation techniques
   Indeed, some have raised the concern about both             that focus on strengthening the emotional ties of
research and practice in this area due to the limited          family members to each other, reducing rejection, and
examination of safety (Davison, 1976, 1991; Herek,             increasing acceptance (D’Augelli, 2003; Goodenow et al.,
2003), as it is still unclear which techniques or methods      2006; Ryan et al., 2009).
may or may not be harmful. Assessing the safety                   Finally, we presented a framework for therapy
of recent practices is a high priority given that this         with this population. Although this model is based on
research is the least rigorous. Given that types of harm       accepted principles of psychotherapy and is consistent
can be multiple (Lilienfeld, 2007), outcome studies            with evidence-based approaches to psychotherapy, it
with measures capable of assessing deterioration               has not been evaluated for safety and efficacy. Such
in mental health, appearance of new symptoms,                  studies would have to be conducted in the same manner
heightened concern regarding existing symptoms,                as research on SOCE and in ways that are consistent
excessive dependency on the LMHP, and reluctance               with current standards (see, e.g., Flay et al., 2005).
to seek out new treatment are important to include in
future research (Lilienfeld, 2007). Other areas to assess      Recommendations for basic research
are types of harm to others (e.g., some individuals            To advance knowledge in the field and improve the lives
have noted that advocating other-sex marriage or               of individuals distressed by same-sex sexual attractions
promising sexual orientation change may negatively             who seek SOCE, it is recommended that researchers,
affect spouses, potential spouses, and children)               research-funding organizations, and other stakeholders,
(Buxton, 1994, 2007; Wolkomir, 2006). Finally, LMHP            including those who establish funding priorities, work
must be mindful of the indirect harms of SOCE, such            together to improve our knowledge of sexuality, sexual
as the “opportunity costs” (Lilienfeld, 2007) and the          orientation, and sexual orientation identity in the
time, energy, effort, and expense of interventions that        following areas:
offer limited benefit and have the potential to cause
disillusionment in psychotherapy. However, as concerns         1. The nature and development of sexuality, sexual
regarding harm have been raised, addressing risks to             orientation, sexual orientation identity across the
research participants and concerns regarding voluntary           life span and the correlates to these variables,
participation (see Standard 8.02 in APA, 2002b) must             incorporating differences brought about by age,
be carefully considered in any future research.                  gender, gender identity, race, ethnicity, culture,
   Research that meets these scientific standards and            national origin, religion, sexual orientation, disability,
addresses efficacy and safety might help to clarify the          language, and socioeconomic status.
issues. Even so, scientific research may not help to           2. Religious identity and faith development (inclusive of
resolve the issues unless it can better account for the          all world religions) and their intersection with other
complexity of the concerns of the current population.            aspects of human life and identity, such as sexual
The results of current research are complicated by the           orientation, sexual orientation identity, and the
belief system of many of the participants whose religious        multiple social identity statuses related to privilege
faith and beliefs may be intricately tied to the possibility     and stigma.
of change. Future research will have to better account
for the motivations and beliefs of participants in SOCE.       3. Identity integration, reduction in distress, and
   Emerging research reveals that affirmative                    positive mental health for populations of religious
interventions show promise for alleviating the distress          sexual minorities and ethnic minority populations.



Summary and Conclusions                                                                                                91
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4. Culture, gender, religion, and race/ethnicity in the             sexual minorities (APA, 2003, 2005, 2006, 2008b). We
  experience and construction of sexual orientation and             encourage collaborative activities in pursuit of shared
  sexual orientation identity.                                      prosocial goals between psychologists and religious
                                                                    communities when such collaboration can be done in
5. Mental health outcomes of those who choose not to
                                                                    a mutually respectful manner that is consistent with
  act on their sexual orientation by living celibately or
                                                                    psychologists’ professional and scientific roles. These
  in relationships with other-sex partners.
                                                                    collaborative relationships can be designed to integrate
                                                                    humanitarian perspectives and professional expertise
Recommendations for research in psychotherapy
                                                                    (Tyler, Pargament, & Gatz, 1983).
We recommend that researchers and practitioners                       Thus, the task force urges APA to:
rigorously investigate multiculturally competent and
affirmative evidence-based treatments for sexual                    1. Actively oppose the distortion and selective use of
minorities and those distressed by their sexual                        scientific data about homosexuality by individuals
orientation that do not aim to alter sexual orientation                and organizations seeking to influence public policy
but rather focus on sexual orientation identity                        and public opinion and take a leadership role in
exploration, development, and integration without                      responding to such distortions.
prioritizing one outcome over another, for the following
                                                                    2. Support the dissemination of accurate scientific and
populations:
                                                                       professional information about sexual orientation
1. Sexual minorities who have traditional religious                    in order to counteract bias that is based on lack of
  beliefs                                                              scientific knowledge about sexual orientation.

2. Sexual minorities who are members of ethnic                      3. Encourage advocacy groups, elected officials,
  minority and culturally diverse communities both in                  policymakers, religious leaders, and other
  the United States and internationally                                organizations to seek accurate information and
                                                                       avoid promulgating inaccurate information about
3. Children and adolescents who are sexual minorities                  sexual minorities.
  or questioning their sexual orientation
                                                                    4. Seek areas where collaborationwith religious leaders,
4. Parents who are distressed by their children’s                      institutions, and organizations can promote the well-
  perceived future sexual orientation                                  being of sexual minorities through the use of accurate
5. Populations with any combination of the above                       scientific data regarding sexual orientation and
  demographics                                                         sexual orientation identity.

                                                                    5. Encourage the Committee onLesbian, Gay, Bisexual,
                         Policy                                        and Transgender Concerns to prioritize initiatives
                                                                       that address religious and spiritual concerns and the
We were asked to make recommendations to APA
                                                                       concerns of sexual minorities from conservative faiths.
to inform the association’s response to groups that
promote treatments to change sexual orientation or its              6. Adopt a new resolution: the Resolution on
behavioral expression and to support public policy that                Appropriate Affirmative Responses to Sexual
furthers affirmative therapeutic interventions.                        Orientation Distress and Change Efforts (see
   The debate surrounding SOCE has become mired                        Appendix A).
in ideological disputes and competing political
agendas (Drescher, 2003; Drescher & Zucker, 2006).
Some organizations opposing civil rights for LGBT
individuals advocate SOCE (SPLC, 2005). Other policy
concerns involve religious or socially conservative
agendas where issues of religious morality conflict with
scientific-based conceptions of positive and healthy
development. We encourage APA to continue its
advocacy for lesbian, gay, bisexual, and transgender
individuals and families and to oppose prejudice against




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            AppEndIx A: RESOluTIOn On AppROpRIATE
               AFFIRMATIVE RESPONSES TO SEXUAL
           ORIENTATION DISTRESS AND CHANGE EFFORTS

                Research Summary                                         Some individuals and groups have promoted the idea
                                                                         of homosexuality as symptomatic of developmental


T
     he longstanding consensus of the behavioral                         defects or spiritual and moral failings and have argued
     and social sciences and the health and mental                       that SOCE, including psychotherapy and religious
     health professions is that homosexuality per se                     efforts, could alter homosexual feelings and behaviors
is a normal and positive variation of human sexual                       (Drescher & Zucker, 2006; Morrow & Beckstead, 2004).
orientation (Bell, Weinberg & Hammersmith, 1981;                         Many of these individuals and groups appeared to be
Bullough, 1976; Ford & Beach 1951; Kinsey, Pomeroy,                      embedded within the larger context of conservative
& Martin, 1948; Kinsey, Pomeroy, Martin, & Gebhard,                      religious political movements that have supported the
1953). Homosexuality per se is not a mental disorder                     stigmatization of homosexuality on political or religious
(APA, 1975). Since 1974, the American Psychological                      grounds (Drescher, 2003; Drescher & Zucker, 2006;
Association (APA) has opposed stigma, prejudice,                         Southern Poverty Law Center, 2005). Psychology, as
discrimination, and violence on the basis of sexual                      a science, and various faith traditions, as theological
orientation and has taken a leadership role in                           systems, can acknowledge and respect their profoundly
supporting the equal rights of lesbian, gay, and bisexual                different methodological and philosophical viewpoints.
individuals (APA, 2005).                                                 The APA concludes that psychology must rely on proven
   APA is concerned about ongoing efforts to                             methods of scientific inquiry based on empirical data,
mischaracterize homosexuality and promote the                            on which hypotheses and propositions are confirmed or
notion that sexual orientation can be changed and                        disconfirmed, as the basis to explore and understand
about the resurgence of sexual orientation change                        human behavior (APA, 2008a; 2008c).
efforts (SOCE).A1 SOCE has been controversial due                           In response to these concerns, APA appointed the
to tensions between the values held by some faith-                       Task Force on Appropriate Therapeutic Responses to
based organizations, on the one hand, and those held                     Sexual Orientation to review the available research
by lesbian, gay, and bisexual rights organizations                       on SOCE and to provide recommendations to the
and professional and scientific organizations, on the                    association. The task force reached the following
other (Drescher, 2003; Drescher & Zucker, 2006).                         findings.
                                                                            Recent studies of participants in SOCE identify
A1
   APA uses the term sexual orientation change efforts to describe       a population of individuals who experience serious
all means to change sexual orientation (e.g., behavioral techniques,     distress related to same sex sexual attractions. Most
psychoanalytic techniques, medical approaches, religious and
spiritual approaches). This includes those efforts by mental health      of these participants are Caucasian males who report
professionals, lay individuals, including religious professionals,       that their religion is extremely important to them
religious leaders, social groups, and other lay networks such as self-   (Beckstead & Morrow, 2004; Nicolosi, Byrd, & Potts,
help groups.




Appendix A                                                                                                                    119
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2000; Schaeffer, Hyde, Kroencke, McCormick, &                       Garnets, 2007)A2 and balance ethical principles of
Nottebaum, 2000; Shidlo & Schroeder, 2002, Spitzer,                 beneficence and nonmaleficence, justice, and respect for
2003). These individuals report having pursued a                    people’s rights and dignity (APA, 1998, 2002; Davison,
variety of religious and secular efforts intended to help           1976; Haldeman, 2002; Schneider, Brown, & Glassgold,
them change their sexual orientation. To date, the                  2002).
research has not fully addressed age, gender, gender
identity, race, ethnicity, culture, national origin,
disability, language, and socioeconomic status in the                                       Resolution
population of distressed individuals.                               WHEREAS, The American Psychological Association
   There are no studies of adequate scientific rigor to                expressly opposes prejudice (defined broadly)
conclude whether or not recent SOCE do or do not work                  and discrimination based on age, gender, gender
to change a person’s sexual orientation. Scientifically                identity, race, ethnicity, culture, national origin,
rigorous older work in this area (e.g., Birk, Huddleston,              religion, sexual orientation, disability, language, or
Miller, & Cohler, 1971; James, 1978; McConaghy, 1969,                  socioeconomic status (APA, 1998, 2000, 2002, 2003,
1976; McConaghy, Proctor, & Barr, 1972; Tanner,                        2005, 2006, 2008c);
1974, 1975) found that sexual orientation (i.e., erotic
attractions and sexual arousal oriented to one sex or               WHEREAS, The American Psychological Association
the other, or both) was unlikely to change due to efforts              takes a leadership role in opposing prejudice and
designed for this purpose. Some individuals appeared to                discrimination (APA, 2008b, 2008c), including
learn how to ignore or limit their attractions. However,               prejudice based on or derived from religion or
this was much less likely to be true for people whose                  spirituality, and encourages commensurate
sexual attractions were initially limited to people of the             consideration of religion and spirituality as diversity
same sex.                                                              variables (APA, 2008c);
   Although sound data on the safety of SOCE are                    WHEREAS, Psychologists respect human diversity
extremely limited, some individuals reported being                     including age, gender, gender identity, race, ethnicity,
harmed by SOCE. Distress and depression were                           culture, national origin, religion, sexual orientation,
exacerbated. Belief in the hope of sexual orientation                  disability, language, and socioeconomic status (APA,
change followed by the failure of the treatment was                    2002) and psychologists strive to prevent bias from
identified as a significant cause of distress and negative             their own spiritual, religious, or non-religious beliefs
self-image (Beckstead & Morrow, 2004; Shidlo &                         from taking precedence over professional practice
Schroeder, 2002).                                                      and standards or scientific findings in their work as
   Although there is insufficient evidence to support                  psychologists (APA, 2008c);
the use of psychological interventions to change sexual
orientation, some individuals modified their sexual                 WHEREAS, Psychologists are encouraged to recognize that
orientation identity (i.e., group membership and                       it is outside the role and expertise of psychologists,
affiliation), behavior, and values (Nicolosi et al., 2000).            as psychologists, to adjudicate religious or spiritual
They did so in a variety of ways and with varied and                   tenets, while also recognizing that psychologists
unpredictable outcomes, some of which were temporary                   can appropriately speak to the psychological
(Beckstead & Morrow, 2004; Shidlo & Schroeder,                         implications of religious/spiritual beliefs or practices
2002). Based on the available data, additional claims                  when relevant psychological findings about those
about the meaning of those outcomes are scientifically                 implications exist (APA, 2008c);
unsupported.                                                        WHEREAS, Those operating from religious/spiritual
   On the basis of the task force’s findings, the APA                  traditions are encouraged to recognize that it
encourages mental health professionals to provide                      is outside their role and expertise to adjudicate
assistance to those who seek sexual orientation change                 empirical scientific issues in psychology, while
by utilizing affirmative multiculturally competent
                                                                    A2
                                                                       We use the term sexual minority (cf. Blumenfeld, 1992; McCarn &
(Bartoli & Gillem, 2008; Brown, 2006) and client-
                                                                    Fassinger, 1996; Ullerstam, 1966) to designate the entire group of
centered approaches (e.g., Beckstead & Israel, 2007;                individuals who experience significant erotic and romantic attractions
Glassgold, 2008; Haldeman, 2004; Lasser & Gottlieb,                 to adult members of their own sex, including those who experience
                                                                    attractions to members of both their own and the other sex. This term
2004) that recognize the negative impact of social
                                                                    is used because we recognize that not all sexual minority individuals
stigma on sexual minorities (Herek, 2009; Herek &                   adopt an LGB bisexual identity.




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  also recognizing they can appropriately speak to          BE IT FURTHER RESOLVED, That the American
  theological implications of psychological science (APA,     Psychological Association reaffirms its position that
  2008c);                                                     homosexuality per se is not a mental disorder and
                                                              opposes portrayals of sexual minority youths and
WHEREAS, The American Psychological Association
                                                              adults as mentally ill due to their sexual orientation;
  encourages collaborative activities in pursuit of
  shared prosocial goals between psychologists and          BE IT FURTHER RESOLVED, That the American
  religious communities when such collaboration               Psychological Association concludes that there
  can be done in a mutually respectful manner that            is insufficient evidence to support the use of
  is consistent with psychologists’ professional and          psychological interventions to change sexual
  scientific roles (APA, 2008c);                              orientation;

WHEREAS, Societal ignorance and prejudice about a           BE IT FURTHER RESOLVED, That the American
  same-sex sexual orientation places some sexual              Psychological Association encourages mental health
  minorities at risk for seeking sexual orientation           professionals to avoid misrepresenting the efficacy
  change due to personal, family, or religious conflicts,     of sexual orientation change efforts by promoting
  or lack of information (Beckstead & Morrow,                 or promising change in sexual orientation when
  2004; Haldeman, 1994; Ponticelli, 1999; Shidlo &            providing assistance to individuals distressed by their
  Schroeder, 2002; Wolkomir, 2001);                           own or others’ sexual orientation;

WHEREAS, Some mental health professionals advocate          BE IT FURTHER RESOLVED, That the American
  treatments based on the premise that homosexuality          Psychological Association concludes that the benefits
  is a mental disorder (e.g., Nicolosi, 1991; Socarides,      reported by participants in sexual orientation change
  1968);                                                      efforts can be gained through approaches that do not
                                                              attempt to change sexual orientation;
WHEREAS, Sexual minority children and youth are
  especially vulnerable populations with unique             BE IT FURTHER RESOLVED, That the American
  developmental tasks (Perrin, 2002; Ryan &                   Psychological Association concludes that the
  Futterman, 1997) who lack adequate legal protection         emerging knowledge on affirmative multiculturally
  from involuntary or coercive treatment (Arriola, 1998;      competent treatment provides a foundation for an
  Burack & Josephson, 2005; Molnar, 1997) and whose           appropriate evidence-based practice with children,
  parents and guardians need accurate information to          adolescents and adults who are distressed by or seek
  make informed decisions regarding their development         to change their sexual orientation (Bartoli & Gillem,
  and well-being (Cianciotto & Cahill, 2006; Ryan &           2008; Brown, 2006; Martell, Safren & Prince, 2004;
  Futterman, 1997); and                                       Norcross, 2002; Ryan & Futterman, 1997);

WHEREAS, Research has shown that family rejection           BE IT FURTHER RESOLVED, That the American
  is a predictor of negative outcomes (Remafedi,              Psychological Association advises parents, guardians,
  Farrow, & Deisher, 1991; Ryan, Huebner, Diaz, &             young people, and their families to avoid sexual
  Sanchez, 2009; Savin-Williams, 1994; Wilber, Ryan,          orientation change efforts that portray homosexuality
  & Marksamer, 2006) and that parental acceptance             as a mental illness or developmental disorder and to
  and school support are protective factors (D’Augelli,       seek psychotherapy, social support and educational
  2003; D’Augelli, Hershberger, & Pilkington, 1998;           services that provide accurate information on sexual
  Goodenow, Szalacha, & Westheimer, 2006; Savin-              orientation and sexuality, increase family and school
  Williams, 1989) for sexual minority youth;                  support, and reduce rejection of sexual minority
                                                              youth;
THEREFORE, BE IT RESOLVED, That the American
  Psychological Association affirms that same-sex           BE IT FURTHER RESOLVED, That the American
  sexual and romantic attractions, feelings, and              Psychological Association encourages practitioners
  behaviors are normal and positive variations of             to consider the ethical concerns outlined in the 1997
  human sexuality regardless of sexual orientation            APA Resolution on Appropriate Therapeutic Response
  identity;                                                   to Sexual Orientation (APA, 1998), in particular the
                                                              following standards and principles: scientific bases




Appendix A                                                                                                       121
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  for professional judgments, benefit and harm, justice,            REFEREnCES
  and respect for people’s rights and dignity;                      American Psychological Association. (1975). Policy statement
                                                                      on discrimination against homosexuals. American
BE IT FURTHER RESOLVED, That the American
                                                                      Psychologist, 30, 633.
  Psychological Association encourages practitioners
                                                                    American Psychological Association. (1997). Resolution on
  to be aware that age, gender, gender identity, race,
                                                                      appropriate therapeutic responses to sexual orientation.
  ethnicity, culture, national origin, religion, disability,          American Psychologist, 53, 934-935.
  language, and socioeconomic status may interact with              American Psychological Association. (2000). Guidelines for
  sexual stigma, and contribute to variations in sexual               psychotherapy with lesbian, gay, and bisexual clients.
  orientation identity development, expression, and                   American Psychologist, 55, 1440-1451.
  experience;                                                       American Psychological Association. (2002). Ethical principles
                                                                      of psychologists and code of conduct. American Psychologist,
BE IT FURTHER RESOLVED, That the American
                                                                      57, 1060-1073.
  Psychological Association opposes the distortion and
                                                                    American Psychological Association. (2003). Lawrence v.
  selective use of scientific data about homosexuality                Texas: Brief for amicus curiae, Supreme Court of the
  by individuals and organizations seeking to influence               United States. Washington, DC. Retrieved February 25,
  public policy and public opinion and will take a                    2008, from http://www.apa.org/pi/lgbc/policy/amicusbriefs.
  leadership role in responding to such distortions;                  html#lawrence
                                                                    American Psychological Association. (2005). APA policy
BE IT FURTHER RESOLVED, That the American
                                                                      statements on lesbian, gay, and bisexual concerns. Retrieved
  Psychological Association supports the dissemination                July 4, 2008, from http://www.apa.org/pi/lgbc/policy/
  of accurate scientific and professional information                 pshome.html
  about sexual orientation in order to counteract bias              American Psychological Association. (2006). Resolution on
  that is based in lack of knowledge about sexual                     prejudice, stereotypes, and discrimination. American
  orientation; and                                                    Psychologist, 62, 475-481.
                                                                    American Psychological Association. (2008a). Resolution
BE IT FURTHER RESOLVED, That the American
                                                                      rejecting intelligent design as scientific and reaffirming
  Psychological Association encourages advocacy                       support for evolutionary theory. American Psychologist, 63,
  groups, elected officials, mental health professionals,             426-427.
  policy makers, religious professionals and                        American Psychological Association. (2008b). Resolution
  organizations, and other organizations to seek areas                opposing discriminatory legislation and initiatives aimed at
  of collaboration that may promote the wellbeing of                  lesbian, gay, and bisexual persons. American Psychologist,
  sexual minorities.                                                  63, 428-430.
                                                                    American Psychological Association. (2008c). Resolution on
                                                                      religious, religion-related and/or religion-derived prejudice.
                                                                      American Psychologist, 63, 431-434.
                                                                    Arriola, E. R. (1998). The penalties for puppy love:
                                                                      Institutionalized violence against lesbian, gay, bisexual,
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                                                                      Association.




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Burack, C., & Josephson, J. J. (2005). A report from “Love           of desensitization/arousal as compared with anticipatory
  Won Out: Addressing, Understanding, and Preventing                 avoidance conditioning: Results of a controlled trial.
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D’Augelli, A. R., Hershberger, S. L., & Pilkington, N. W.            Practice, 35, 194-200.
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Goodenow, C., Szalacha, L., & Westheimer, K. (2006). School          Behavior, 2, 65–79.
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Appendix A                                                                                                                     123
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  therapy. The Counseling Psychologist, 32, 641–650.                    orientation. Archives of Sexual Behavior, 32, 403–417.
Nicolosi, J. (1991). Reparative therapy of male homosexuality.        Tanner, B. A. (1974). A comparison of automated aversive
  Northvale, NJ: Jason Aronson.                                         conditioning and a waiting list control in the modification of
Nicolosi, J., Byrd, A. D., & Potts, R. W. (2000). Retrospective         homosexual behavior in males. Behavior Therapy, 5, 29–32.
  self-reports of changes in homosexual orientation:                  Tanner, B. A. (1975). Avoidance training with and without
  A consumer survey of conversion therapy clients.                      booster sessions to modify homosexual behavior in males.
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Norcross, J. C. (2002). Psychotherapy relationships that work:        Ullerstam, L. (1966). The erotic minorities: A Swedish view.
  Therapist contributions and responsiveness to patients. New           New York: Grove.
  York: Oxford University Press.                                      Wilber, S., Ryan, C., & Marksamer, J. (2006). CWLA, best
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  health care. New York: Kluwer/Plenum.                                 of America.
Ponticelli, C. M. (1999). Crafting stories of sexual identity         Wolkomir, M. (2001). Emotion work, commitment, and
  reconstruction. Social Psychology Quarterly, 62, 157–172.            the authentication of the self: The case of gay and ex-
Remafedi, G., Farrow, J. A., & Deisher, R. W. (1991). Risk             gay Christian support groups. Journal of Contemporary
  factors of attempted suicide in gay and bisexual youth.              Ethnography, 30, 305–334.
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                   AppEndIx B: STudIES REvIEWEd
                      (N = 83) IN THIS REPORT




Appendix B                                                                             125
 126
                                                                                                                                                                                             Retention
                                                                                                                                                       %
                                                                                                                                Study            N                  Sample                  & treatment               Research design               Treatment             Outcome measure
                                                                                                                                                      Males                                 withdrawals
                                                                                                                         Experimental studies
                                                                                                                                                                                                                                              Immediate and
                                                                                                                                                                     Clinical                                                                 delayed aversion
                                                                                                                                                                                                                  4 treatment group
                                                                                                                           McConaghy, 1969      40     100    (6 by court order; 18    3 withdrawals                                          apomorphine therapy        Penile circumference
                                                                                                                                                                                                                  randomized experiment
                                                                                                                                                              with arrest history)                                                            and aversion relief
                                                                                                                                                                                                                                              therapy
                                                                                                                                                                                                                                              Aversive apomorphine
                                                                                                                                                                                                                                              therapy or aversion-
                                                                                                                                                                                                                                              relief; aversive therapy
                                                                                                                                                                                                                  4 experimental substudies
                                                                                                                                                                                                                                              or apomorphine
                                                                                                                                                                                                                  (ns = 40, 40, 46, 31,                                  Sexual feelings; sexual
                                                                                                                                                                                                                                              or avoidance
                                                                                                                                                                    Clinical                                      respectively) with random                              behavior; penile
                                                                                                                           McConaghy, 1976      157    100                             None reported                                          conditioning;
                                                                                                                                                               (21 by court order)                                assignment to one of                                   circumference; sexual
                                                                                                                                                                                                                                              classical, or avoidance,
                                                                                                                                                                                                                  two or three treatment                                 orientation
                                                                                                                                                                                                                                              or backward
                                                                                                                                                                                                                  alternatives
                                                                                                                                                                                                                                              conditioning; classical
                                                                                                                                                                                                                                              aversive therapy or
                                                                                                                                                                                                                                              positive conditioning
                                                                                                                                                                                       26 had incomplete
                                                                                                                                                                                                                                              Classical conditioning,
                                                                                                                                                                                       treatment exposure;                                                            Heart rate; penile
                                                                                                                          McConaghy & Barr,                                                                       3 treatment group           avoidance
                                                                                                                                                46     100          Clinical           2 of 20 with complete                                                          circumference; galvanic
                                                                                                                                1973                                                                              randomized experiment       conditioning, backward
                                                                                                                                                                                       exposure lost to follow-                                                       skin response
                                                                                                                                                                                                                                              conditioning
                                                                                                                                                                                       up
                                                                                                                                                                                                                                              Immediate and
                                                                                                                                                                                                                                              delayed aversive
                                                                                                                                                                     Clinical          16 with incomplete
                                                                                                                         McConaghy, Proctor,                                                                      4 treatment group           apomorphine therapy;
                                                                                                                                                40     100         (police and         follow-up data and 2                                                          Penile circumference
                                                                                                                            & Barr, 1972                                                                          randomized experiment       immediate and delayed
                                                                                                                                                              psychiatric referrals)   withdrawals
                                                                                                                                                                                                                                              anticipatory avoidance
                                                                                                                                                                                                                                              learning
                                                                                                                                                                                                                  Random assignment                                  Penile circumference;
                                                                                                                             Tanner, 1974       16     100          Clinical           None reported              experiment with wait list   Aversive shock therapy sexual behavior;
                                                                                                                                                                                                                  control                                            personality
                                                                                                                                                                                                                                                                     Penile circumference;
                                                                                                                                                                                                                                              Aversive shock therapy
                                                                                                                                                                                                                  2 treatment group                                  self-reported arousal;
                                                                                                                             Tanner, 1975       10     100          Clinical           None reported                                          with/without booster
                                                                                                                                                                                                                  randomized experiment                              sexual behavior;
                                                                                                                                                                                                                                              sessions
                                                                                                                                                                                                                                                                     personality
                                                                                                                                                                                                                                                                                                   Case 8:17-cv-02896-WFJ-AAS Document 1 Filed 12/04/17 Page 182 of 198 PageID 182




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                                                                               Retention
                                             %
                    Study              N                Sample                & treatment          Research design                Treatment            Outcome measure
                                            Males                             withdrawals




Appendix B
             Quasi-experimental studies
                                                                                                                            Aversive shock            Sexual behavior;
              Birk, Huddleston,                                          2 withdrew            Nonequivalent 2 treatment
                                       18    100         Clinical                                                           therapy vs. associative   clinical judgment;
             Miller, & Cohler, 1971                                      participation         group comparison design
                                                                                                                            conditioning              personality
                                                                                                                            Anticipatory
                                                                                                                            avoidance,
                                                                                               Nonequivalent 2 treatment                              Sexual orientation;
                 James, 1978           40    100     Court-referred      None reported                                      desensitization,
                                                                                               group comparison design                                personality
                                                                                                                            hypnosis, anticipatory
                                                                                                                            avoidance
                 McConaghy,
                                                                                               Nonequivalent 2 treatment    Aversive therapy;
                Armstrong, &           20    100         Clinical        None reported                                                                Sexual feelings
                                                                                               group comparison design      covert sensitization
              Blaszczynski, 1981

             Nonexperimental studies
                                                                         6 withdrew
                                                                         participation prior
                Bancroft, 1969         16    100         Clinical                              Case study                   Aversive shock therapy Sexual behavior
                                                                         to treatment and 1
                                                                         during treatment
                                                                                                                                                      Penile circumference;
             Barlow & Agras, 1973      3     100         Clinical        None reported         Case study                   Fading                    sexual urges; sexual
                                                                                                                                                      fantasies
             Barlow, Agrus, Abel,
                                                                                               Single case pre–post
             Blanchard, & Young,       3     100         Clinical        None reported                                      Biofeeback                Penile circumference
                                                                                               within-subject
                    1975
                                                                                                                                                      Subjective experiences
                                                                                                                            Conversion therapy,       of treatment; subjective
             Beckstead & Morrow,                                                               Qualitative retrospective,
                                       50    80        Purposive         None                                               ex-gay ministries, and/   appraisal of sexual
                    2004                                                                       grounded theory
                                                                                                                            or support groups         orientation identity,
                                                                                                                                                      attraction, & behavior
                                                                         13 withdrew
                  Birk, 1974           66    100         Clinical                              Pre–post within-subject      Psychotherapy             Sexual orientation
                                                                         participation
                                                                                                                            Relaxation therapy
               Blitch & Haynes,
                                       1      0          Clinical        None reported         Case study                   and masturbation          Sexual behavior
                     1972
                                                                                                                            reconditioning
                                                                         9 men withdrew
                                                                                                                            Aversion shock
                 Callahan &                         Clinical with 2 by   participation and 8
                                       23    100                                               Pre–post within-subject      therapy and covert        Penile circumference
               Leitenberg, 1973                        court order       excluded from data
                                                                                                                            sensitization
                                                                         analyses
                                                                                                                            Olfactory aversion
                                                                                                                                                                                 Case 8:17-cv-02896-WFJ-AAS Document 1 Filed 12/04/17 Page 183 of 198 PageID 183




                 Colson, 1972          1     100         Clinical        None reported         Case study                                             Sexual behavior
                                                                                                                            therapy




127
                                                                                                                                                                                          Retention




 128
                                                                                                                                                       %
                                                                                                                                Study            N                  Sample               & treatment           Research design             Treatment           Outcome measure
                                                                                                                                                      Males                              withdrawals
                                                                                                                                                                                                                                                              Sexual behavior;
                                                                                                                          Conrad & Wincze,                                                                                           Orgasmic
                                                                                                                                                 4     100          Clinical         None reported         Case study                                         sexual fantasies; penile
                                                                                                                               1976                                                                                                  reconditioning
                                                                                                                                                                                                                                                              circumference
                                                                                                                         Curtis & Presly, 1972   1     100          Clinical         None reported         Case study                Covert sensitization     Sexual orientation
                                                                                                                            Feldman &
                                                                                                                                                 43    100          Clinical         7 withdrawals         Pre–post within-subject   Anticipatory avoidance Sexual orientation
                                                                                                                          MacCulloch, 1964
                                                                                                                                                                    Clinical (7
                                                                                                                                                                  exhibitionists,                                                    Aversion shock
                                                                                                                             Fookes, 1960        27    100       5 fetishists, and   None reported         Pre–post within-subject   therapy and calorie      Clinical judgment
                                                                                                                                                                 15 bisexual and                                                     deprivation
                                                                                                                                                                homosexual men)
                                                                                                                                                                                                                                     Aversion shock therapy
                                                                                                                          Freeman & Meyer,                                                                                                                  Sexual behavior; sexual
                                                                                                                                                 9     100           Clinical        None reported         Pre–post within-subject   and masturbation
                                                                                                                               1975                                                                                                                         orientation
                                                                                                                                                                                                                                     reconditioning
                                                                                                                                                                                                                                     Aversion apomorphine
                                                                                                                             Freund, 1960        67    100           Clinical        20 withdrawals        Pre–post within-subject                            Clinical judgment
                                                                                                                                                                                                                                     therapy
                                                                                                                                                                                                                                     Desensitization
                                                                                                                              Gray, 1970         1     100           Clinical        None reported         Case study                and masturbation         Sexual behavior
                                                                                                                                                                                                                                     reconditioning
                                                                                                                                                              Clinical (2 pedophiles,
                                                                                                                         Hallam & Rachman,                    1 fetishist, 3 bisexual                                                Aversion shock           Heart rate; galvanic
                                                                                                                                                 7     100                            None reported        Pre–post within-subject
                                                                                                                                1972                          and homosexual men,                                                    therapy                  skin response
                                                                                                                                                                  and 1 voyeur)
                                                                                                                                                                                                                                     Desensitization and
                                                                                                                          Hanson & Adesso,
                                                                                                                                                 1     100           Clinical        None reported         Case study                aversive counter-        Sexual behavior
                                                                                                                               1972
                                                                                                                                                                                                                                     conditioning
                                                                                                                         Herman, Barlow, &                                                                                                                    Penile circumference;
                                                                                                                                                 4     100           Clinical        None reported         Case study                Counter-conditioning
                                                                                                                            Agras, 1974                                                                                                                       self-reported arousal
                                                                                                                         Herman & Prewett,
                                                                                                                                                 1     100           Clinical        None reported         Case study                Biofeedback              Penile circumference
                                                                                                                              1974
                                                                                                                                                                                                                                                              Sexual behavior;
                                                                                                                              Huff, 1970         1     100           Clinical        None reported         Case study                Desensitization
                                                                                                                                                                                                                                                              personality
                                                                                                                                                                                     Treatment stopped due                           Aversion apomorphine     Sexual fantasies;
                                                                                                                          James, 1962, 1963      1     100           Clinical                              Case study
                                                                                                                                                                                     to adverse reaction                             therapy                  sexual behavior
                                                                                                                            Kendrick &                                                                                                                        Sexual fantasies;
                                                                                                                                                 1     100           Clinical        None reported         Case study                Covert sensitization
                                                                                                                          McCullough, 1972                                                                                                                    sexual behavior
                                                                                                                                                                                                                                                              Sexual fantasies;
                                                                                                                             Larson, 1970        3     100           Clinical        None reported         Case study                Anticipatory avoidance
                                                                                                                                                                                                                                                              sexual behavior
                                                                                                                            Levin, Hirsch,
                                                                                                                                                                                                                                                                                         Case 8:17-cv-02896-WFJ-AAS Document 1 Filed 12/04/17 Page 184 of 198 PageID 184




                                                                                                                                                                                                                                     Desensitization,
                                                                                                                          Shugar, & Kapche,      1     100           Clinical        None reported         Case study                                         Personality
                                                                                                                                                                                                                                     avoidance conditioning
                                                                                                                                1968




Report of the American Psychological Association Task Force on Appropriate Therapeutic Responses to Sexual Orientation
                                                                                  Retention
                    Study             N     %            Sample                  & treatment              Research design               Treatment           Outcome measure
                                           Males                                 withdrawals




Appendix B
                LoPiccolo, 1971      1      100          Clinical           None reported             Case study                  Desensitization          Masturbation fantasies
             LoPiccolo, Stewart, &                                                                                                Orgasmic
                                     1      100          Clinical           None reported             Case study                                           Sexual behavior
                Watkins, 1972                                                                                                     reconditioning
                                                      Clinical (18 by                                                             Anticipatory avoidance
                MacCulloch &                                                                                                                             Sexual orientation;
                                     43      ?       court order and 4      7 withdrawals             Pre–post within-subject     with aversion shock
                Feldman, 1967                                                                                                                            sexual behavior
                                                   psychiatric referrals)                                                         therapy
                                                                                                                                  Anticipatory avoidance
             MacCulloch, Feldman,                   Clinical (3 by court
                                     4      100                             1 withdrawal              Case study                  with aversion shock    Attractions; pulse rate
               & Pinshoff, 1965                            order)
                                                                                                                                  therapy
                                                                                                                                  Orgasmic
                Marquis, 1970        14     79           Clinical           None reported             Case study                                           Clinical judgment
                                                                                                                                  reconditioning
                                                                                                                                                           Sexual preference,
                McCrady, 1973         1     100          Clinical           None reported             Case study                  Forward fading
                                                                                                                                                           sexual behavior
                 Mintz, 1966         10     100          Clinical           5 withdrawals             Case study                  Therapy                  Clinical judgment
                                                      Convenience
               Nicolosi, Byrd, &                                                                                                                           Sexual orientation;
                                     882    78     (NARTH and ex-gay        None reported             Retrospective pretest       Conversion therapy
                 Potts, 2000                                                                                                                               sexual behavior
                                                    ministry members)
             Pattison, & Pattison,                     Convenience          None reported; 19         Qualitative retrospective
                                     11     100                                                                                   Religious folk therapy   Subjective experience
                     1980                                                   declines to participate   case study
                                                    Purposive (ex-gay
                Ponticelli, 1999     15      0                              None reported             Ethnography                 Ex-gay ministry          None
                                                       ministry)
               Quinn, Harbison,                                                                                                   Desensitization and
                                      1     100          Clinical           None reported             Case study                                           Penile circumference
               McAllister, 1970                                                                                                   hydration deprivation
              Rehm & Rozensky,                                                                                                    Therapy and orgasmic
                                      1     100          Clinical           None reported             Case study                                           Sexual behavior
                   1974                                                                                                           reconditioning
                                                                                                                                  Differential
              Sandford, Tustin, &
                                      2    100%          Clinical           1 withdrawal reported     Case study                  reinforcement and        Penile circumference
                 Priest, 1975
                                                                                                                                  punishment
               Schaeffer, Hyde,                                                                                                                            Sexual behavior;
                                                       Convenience
                  Kroencke,                                                                                                       Varied counseling and    sexual feelings;
                                     248    74     (Exodus International None reported                Retrospective pretest
                McCormick, &                                                                                                      conversion therapies     sexual orientation
                                                   conference attendees)
               Nottebaum, 2000                                                                                                                             identity
                                                                                                                                  Varied, including
                                                                                                                                  behavior therapy;
                                                                                                                                  psychoanalysis;
                                                                                                                                  aversive therapies;
              Schroeder & Shidlo,                                                                     Qualitative retrospective                            Perceived harmfulness
                                     150    91         Convenience          None reported                                         hypnosis; spiritual
                     2001                                                                             case study                                           or helpfulness of SOCE
                                                                                                                                  counseling;
                                                                                                                                  psychotropic
                                                                                                                                                                                    Case 8:17-cv-02896-WFJ-AAS Document 1 Filed 12/04/17 Page 185 of 198 PageID 185




                                                                                                                                  medication; in-patient
                                                                                                                                  treatment.




129
                                                                                                                                                                                            Retention




 130
                                                                                                                                                        %
                                                                                                                                Study             N                  Sample                & treatment             Research design               Treatment           Outcome measure
                                                                                                                                                       Males                               withdrawals
                                                                                                                                                                                                                                                                    Self-report of continued
                                                                                                                          Segal & Sims, 1972      1     100          Clinical          None reported           Case study                  Covert sensitization
                                                                                                                                                                                                                                                                    need for treatment
                                                                                                                                                                                                                                           Varied including
                                                                                                                                                                                                                                           behavior therapy;
                                                                                                                                                                                                                                           psychoanalysis;
                                                                                                                                                                                                                                           aversive therapies;      Sexual orientation;
                                                                                                                          Shidlo & Schroeder,                                                                  Qualitative retrospective
                                                                                                                                                 202    90         Convenience         None reported                                       hypnosis; spiritual      sexual orientation
                                                                                                                                 2002                                                                          case study
                                                                                                                                                                                                                                           counseling;              identity
                                                                                                                                                                                                                                           psychotropic
                                                                                                                                                                                                                                           medication; in-patient
                                                                                                                                                                                                                                           treatment.
                                                                                                                                                                                                                                                                  Galvanic skin
                                                                                                                         Solyom & Miller, 1965    6     100          Clinical          None reported           Case study                  Aversive shock therapy responses;
                                                                                                                                                                                                                                                                  penile circumference
                                                                                                                                                                                                                                           Varied including         Sexual attraction;
                                                                                                                                                                  Convenience
                                                                                                                                                                                       None reported; 74 not                               ex-gay and religious     sexual orientation
                                                                                                                             Spitzer, 2003       200    71      (Ex-gay ministry                               Retrospective pretest
                                                                                                                                                                                       eligible                                            support groups and       identity; sexual
                                                                                                                                                                   members)
                                                                                                                                                                                                                                           therapy.                 behavior;
                                                                                                                                                                                                                                                                    Sexual fantasy; ability
                                                                                                                          Thorpe, Schmidt, &
                                                                                                                                                  1     100          Clinical          None reported           Case study                  Classical conditioning   to orgasm in response
                                                                                                                            Castell, 1963
                                                                                                                                                                                                                                                                    to female stimuli
                                                                                                                           Thorpe, Schmidt,                      Clinical (referred
                                                                                                                           Brown, & Castell,      8     75     for variety of mental   2 withdrawals           Case study                  Aversion relief          Anxiety; personality
                                                                                                                                1964                             health concerns)
                                                                                                                                                                                                                                           2 Bible study support    Subjective experience
                                                                                                                            Wolkomir, 2001       n/a                Purposive          None reported           Ethnography
                                                                                                                                                                                                                                           groups
                                                                                                                                                                                                                                                                                               Case 8:17-cv-02896-WFJ-AAS Document 1 Filed 12/04/17 Page 186 of 198 PageID 186




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                    IN THE UNITED STATES DISTRICT COURT FOR
                         THE MIDDLE DISTRICT OF FLORIDA
                                  Tampa Division

 ROBERT L. VAZZO, LMFT, individually       )
 and on behalf of his patients, DAVID H.   )
 PICKUP, LMFT, individually and on         )   Civil Action No.:
 behalf of his patients,                   )
                                           )
                     Plaintiffs,           )   INJUNCTIVE RELIEF SOUGHT
                                           )
 v.                                        )
                                           )
 CITY OF TAMPA, FLORIDA,                   )
                                           )
                     Defendant             )




                                    EXHIBIT C
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        Sexual reorientation therapy not unethical: Column
          Nicholas A. Cummings    Published 6:07 p.m. ET July 30, 2013 | Updated 6:14 p.m. ET July 30, 2013



        Southern Poverty Law Center wrongly fighting against patients' right to choose.

                                             The Southern Poverty Law Center (http://www.splcenter.org/) has done amazing service for our nation in
                                             fighting prejudice. But it has gone astray in its recent New Jersey lawsuit (http://www.splcenter.org/get­
                                             informed/news/splc­files­groundbreaking­lawsuit­accusing­conversion­therapy­organization­of­frau) charging
                                             JONAH, formerly Jews Offering New Alternatives for Healing, a group that offers to help gay people change
                                             their orientation, with committing consumer fraud. The sweeping allegation that such treatment must be a fraud
                                             because homosexual orientation can't be changed is damaging. The lawsuit is the opening salvo
                                             (http://prospect.org/article/new­gay­rights­frontier)of a wave of activism intended to discredit therapy offered in
         (Photo: Mel Evans, AP)
                                             70 clinics across 20 states, according to the SPLC.

When I was chief psychologist for Kaiser Permanente (http://narth.com/docs/cummings.html) from 1959 to 1979, San Francisco's
(http://thisbigcity.net/urban­implications­growth­gay­lesbian­populations­suburbs/) gay and lesbian population burgeoned. I personally saw more than
2,000 patients with same­sex attraction, and my staff saw thousands more. We worked hard to develop approaches to meeting the needs of these
patients. (http://narth.com/docs/cummings.html)

Individual's goals


They generally sought therapy for one of three reasons: to come to grips with their gay identity, to resolve relationship issues or to change their sexual
orientation. We would always inform patients in the third group that change was not easily accomplished. With clinical experience, my staff and I learned
to assess the probability of change in those who wished to become heterosexual.

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Of the roughly 18,000 gay and lesbian patients whom we treated over 25 years through Kaiser, I believe (http://narth.com/docs/cummings.html) that most
had satisfactory outcomes. The majority were able to attain a happier and more stable homosexual lifestyle. Of the patients I oversaw who sought to
change their orientation, hundreds were successful.

I believe that our rate of success with reorientation was relatively high because we were selective in recommending therapeutic change efforts only to
those who identified themselves as highly motivated and were clinically assessed as having a high probability of success.


Patients over politics


Since then, the role of psychotherapy in sexual orientation change efforts has been politicized. Gay and lesbian rights activists appear to be convincing
the public that homosexuality is one identical inherited characteristic. To my dismay, some in the organized mental health community seem to agree,
including the American Psychological Association (http://www.apa.org/), though I don't believe that view is supported by scientific evidence
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(http://www.ncregister.com/daily­news/same­sex­desire­hard­wired­with­no­hope­for­change/).



                                                   ADVERTISING




Gays and lesbians have the right to be affirmed in their homosexuality. That's why, as a member of the APA Council of Representatives in 1975, I
sponsored the resolution by which the APA stated that homosexuality is not a mental disorder (http://www.lifesitenews.com/news/former­president­of­apa­
says­organization­controlled­by­gay­rights­movement/) and, in 1976, the resolution
(http://www.consciencedefense.org/contents/media/Nicholas_Cummings_Declaration.pdf), which passed the council unanimously, that gays and lesbians
should not be discriminated against in the workplace.


But contending that all same­sex attraction is immutable is a distortion of reality. Attempting to characterize all sexual reorientation therapy as "unethical"
(http://www.splcenter.org/get­informed/news/oregon­doctor­should­be­investigated­for­unethical­use­of­conversion­therapy) violates patient choice and
gives an outside party a veto over patients' goals for their own treatment. A political agenda shouldn't prevent gays and lesbians who desire to change
from making their own decisions.

Whatever the situation at an individual clinic, accusing professionals from across the country who provide treatment for fully informed persons seeking to
change their sexual orientation of perpetrating a fraud serves only to stigmatize the professional and shame the patient.


Nicholas Cummings was president of the American Psychological Association (1979­80).

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from outside writers, including ourBoard of Contributors (/reporters/boc.html).


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                                                      returning-
                                              user=true&requested-
                                                   state=create-
                                                   account&gps-
                                            source=beazusatregdd&utm_medium=agilityzone&utm_source=bounce-
                                            exchange&utm_campaign=usatreg&utm_content=directanddedicated)


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  Legislators are Not Psychotherapists!
  by admin3 on January 26, 2014 in Press Release

  Gainesville, Florida – January 27, 2014 – The American College of Pediatricians urges legislators to refrain
  from legislating psychotherapy. Similar to laws recently enacted in California and New Jersey, a bill is being
  considered in Virginia to ban professional therapists from practicing conversion therapy with same-sex attracted
  adolescents who, or whose parents, request such therapy. Although several medical groups have moved to
  discourage this practice, there is no ﬁrm basis for their position. The scientiﬁc literature, however, is clear: Same-
  sex attractions are more ﬂuid than ﬁxed, especially for adolescents ─ many of whom can and do change. The
  outcomes for the treatment of unwanted attractions are no different than outcomes for other difﬁcult
  psychological problems. There is not a single randomized controlled study demonstrating universal failure
  and/or harm from Sexual Orientation Change Efforts (SOCE). However, there is a body of literature
  demonstrating a variety of positive outcomes from SOCE.

  Barring change therapy or SOCE will threaten the health and well-being of children wanting therapy. With no
  other options available, same-sex attracted young people will believe that they have no choice but to engage in
  homosexual behaviors. These behaviors place them at risk for grave physical and psychological harm.
  Adolescents have a right to explore sexual orientation change efforts (SOCE) with full informed consent and
  under the care of mental health experts in the ﬁeld, just as they do for other concerns.

  For more information on this topic, visit www.FactsAboutYouth.com and ACPeds.org.

  See also NARTH commentary on the California Bill SB 1172

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                                    EXHIBIT E
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